              Case 1:24-cv-03744-BAH              Document 16-10         Filed 01/03/25       Page 1 of 329




                     OHANA GROWTH PARTNERS, LLC                          IN THE

                                              Plaintiff,                 CIRCUIT COURT

                             vs.                                         FOR

                     RYAN DILLON-CAPPS                                   BALTIMORE COUNTY

                                              Defendant.                 CASE NO: C-03-CV-24-002264


                            MEMORANDUM OF LAW IN SUPPORT OF MANDATORY HEARING OF
                                            ADJUDICA1ED FACTS

                    COMES NOW, Ryan Dillon-Capps ("Dillon-Capps" or " Defendant" ), and submits this

                    Memorandum of Law in Support of Mandatory hearing of Adj udicated Facts to establish

                    that Plaintiff, Ohana Growth Partners, LLC ("Ohana" or " Plaintiff'), in concert with its counsel,

                    Miles and Stockbridge, PC ("M&S" or "Counsel"), has violated multiple federal and state

                    protections, including the Family and Medical Leave Act (FMLA), the Americans with

                    Disabilities Act (ADA), and whistleblower protections, while engaging in retaliatory and

                    discriminatory conduct.

                            Further, this Memorandum demonstrates that Plaintiff and Counsel have willfully

                    misused judicial processes to pursue baseless litigation, relying on perjurious statements, abusive

                    tactics, and unclean hands to subvert equitable relief. Defendant therefore respectfully requests a

                    mandatory hearing for fu ll adjudication of these established violations and sanctions against

                    Plaintiff and Counsel, as required to uphold judicial integrity and ensure reciprocal justice.




                                                                                                            Page 1 of329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 1 of329                       Exhibit 108
              Case 1:24-cv-03744-BAH                            Document 16-10                      Filed 01/03/25                  Page 2 of 329




                                                                               Table of Contents
                   MEMORANDUM OF LAW IN SUPPORT OF MANDATORY HEARING OF ADJUDICATED FACTS .................... 1
                   TABLE OF CONTENTS ..... ..................................................................................................................... 2
                   I INTRODUCTION .............................................................................................................................. 13
                   II PURPOSE AND STRUCTURE OF PREVENT FRAMEWORK................................................................... 15
                   Ill FACTUAL BACKGROUND ................................................. .............................................................. 16
                   IV LEGAL ARGUMENT AND KEY SANCTIONABLE CONDUCT ................................................................ 19
                       CORE LEGAL ARGUMENTS FOR SANCTIONABLE CONDUCT .................... ............................ .... ........ ..... . .............. 19
                         1     Equitable Defense - Unclean Hands ........................................................................................ 20
                         2     Perjury and Fraud Upon the Court ................. ... .......... ........ .................................................... .20
                         3     Bad Faith Litigation - Including Abuse of Process, Frivolous and Vexing Litigation, Malicious
                         Prosecution, and Obstruction of Evidence ................................ ..................................... ............ ....... 21
                         4     Estoppel - Induced Harm and Reliance ............................................................. .... .................. 22
                         5     Witness Tampering............................ ... ........ ........ ......... ...................... ....... ..... ... ....................22
                       CONCLUSION ........................................................................................................................................ 23

                    V PREVENT FRAMEWORK .................................................................................................................. 23
                       A PROTECT - DISQUALIFICATION FOR ETHICAL VIOLATIONS AND MISCONDUCT ................................................. ...... 23
                          1    Foundations for Disqualification .......... .............. ......... ... .......................................................... 23
                          2    Judicial Standards and Purpose .... .................................................................. ... ..................... 24
                          3    Criteria for Imposing Disqualification for Misconduct .................................. ........ ...................... 24
                          4    Maryland Case Law ................................ ... ...................................... ............. .......................... 24
                          5    Cross-Argument Case Law ... ........ ........................... ................................ ... ............................ 25
                          6    Application to Dillon-Capps's Case ............................................ ................................. ............ 25
                          7    Conclusion ................................................................................ ......... ..... ........................... ... 25
                        BRESTORE- MOTION TO VACATETHETRO ···································································································25
                           1    Foundations for Vacatur of TRO .. .......................................... ................................................... 25
                           2   Judicial Standards and Purpose for Vacatur .................... ......................................................... 26
                           3    Criteria for Vacating a TRO ........................................................... ........................................... 26
                           4    Maryland Case Law ................................................................................................................ 26
                           5    Cross-Argument Case Law ..................................................................................................... 27
                           6   Application to Dillon-Capps's Case ............................. .... ...... ................................................ .. 27
                           7    Conclusion ..................................................... ... ....................................................................27
                        C ENFORCE- MOTION TO IMPOSE SANCTIONS .. ........ ......... .... ......................... ... ............................................ 28
                           1    Foundations for Imposing Sanctions ..... ... ................................................................................ 28
                           2   Judicial Standards and Purpose for Imposing Sanctions ............... .......................... ... ............... 28
                           3    Criteria for Imposing Sanctions .......................................... .. .................................................. .28
                           4    Maryland Case Law ........................................................... ....... ......................................... .....29
                           5    Cross-Argument Case Law .................................................................................. .................. .29
                           6   Application to Dillon-Capps's Case ....................................................... .................................. 29
                           7    Conclusion ...... ....................................................................................... ................... ............ 30
                        D VERIFY- MOTION FOR REFERRAL FOR CRIMINAL AND ETHICAL INVESTIGATION ..................................................... 30
                           1    Foundations for Referral for Investigation .................... ........... ............................... ................... 30
                           2    Judicial Standards and Purpose for Referral ............................................................................. 30
                           3    Criteria for Referral for Criminal and Ethical Investigation ......................................................... 31
                           4    Maryland Case Law .............. ............................................................................... ................... 31
                           5    Cross-Argument Case Law ..................................................................................................... 32
                           6    Application to Dillon-Capps's Case .... ... ....................... ........................................................... 32
                           7    Conclusion ............................................................................................................................ 32

                                                                                                                                                         Page 2 of329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts                                Page# 2 of329                                          Exhibit 108
               Case 1:24-cv-03744-BAH                                 Document 16-10                            Filed 01/03/25                      Page 3 of 329




                        E ENSURE - MOTION FOR INJUNCTION TO PREVENT FUTURE ABUSE OF COURT PROCESS ........ . ....... .. ......... .. ..... . ....... 32
                           1        Foundations for Injunctive Relief .. ................................................. .......................................... 33
                           2        Judicial Standards and Purpose for Issuing an Injunction .... .... ..... ............................................. 33
                           3        Criteria for Granting an Injunction Against Further Abuse .......................................................... 34
                           4        Maryland Case Law ............................................ ........................... ....... .................................. 34
                           5        Cross-Argument Case Law .. .............................................................. ..................................... 34
                           6        Application to Dillon-Capps's Case ..... .................................................................................... 35
                           7        Conclusion ... ..... ........... .. ...................................... .................. ............................................... 35
                        F NEUTRALIZE- MOTION FOR A BETTER MARYLAND WITH RECIPROCAL RELIEF .......... ..... ..... .................................... 35
                           1        Foundations for Reciprocal Financial Relief ................... .. ........... ..... ................ ........................ 35
                           2        Judicial Standards and Purpose for Reciprocal Relief................................................................ 36
                           3        Criteria for Reciprocal Financial Relief................................ .......................................... ......... ..36
                           4        Maryland Case Law .................... ............................................................... ............................. 37
                           5        Cross-Argument Case Law ................. ................................................................ .................... 37
                           6        Application to Dillon-Capps 's Case ..................... ...... ...................................... ........................ 3 7
                           7        Conclusion .................................................. ................... ....................................................... 38
                       G TERMINATE - MOTION TO DISMISS WITH PREJUDICE FOR A JUNE 13TH WORTH OF REASONS .......... .... . .......... ......... .. 38
                           1        Foundations for Permanent Dismissal with Prejudice .... ......... ................. ............. ................. ... 38
                           2        Judicial Standards and Purpose for Dismissal with Prejudice ................... ................................. 38
                           3        Criteria for Imposing Dismissal with Prejudice .......................................................................... 39
                           4        Maryland Case Law .................................... ................................... ..... ...... ...... ...................... .. 39
                           5        Cross-Argument Case Law .. ..... ... ....... .......... ........ ........ ..... ................ ........ ............................. 40
                           6        Application to Dillon-Capps's Case ...................... ..... ...... .............. .. ............ ............................ 40
                           7        Conclusion ... .... ..................................................................................................................... 40
                    VI STATUTES ........................................................................... ..... .................................................... 41
                       A FAM ILY AND MEDICAL LEAVEACT(FMLA)VIOLATIONS ....... ...... . ............................. ............................ 41
                           1        Legal Standard and Prima Facie Elements ............................. ..... ......................... ............ ........ 41
                           2        Prima Facie Elements of FMLA lnterference ............................................................................. 41
                           3        Retaliation Defined............................................................................ ................................ ..... 41
                           4        Supporting Case Law................... ........... ............................ .................................................... 42
                           5        Application to Dillon-Capps' Case ... ..... ....... ............................................... ...... ... .................... 43
                           6        Conclusion ... .... ................ ...... ............................................................................................... 44
                        B AM ERICANSWITH DISAB ILIT IESACT(ADA)VIOLATIONS ........ ... .. .. ...... . .. ............ ........... ...................... 45
                           1        Legal Standard and Prima Facie Elements .................................. ............................................. 45
                           2        Prima Facie Elements of ADA Failure to Accommodate .................... ........................................ 45
                           3        Prima Facie Elements of ADA Retaliation .. ... ........................................................ .................... 46
                           4        Supporting Case Law...................................................................... ...... ................... ..... .......... 46
                           5        Application in Dillon-Capps' Case .................................................................... .. .... ................. 46
                           6        Conclusion .................................................. ...................................................... ....................48
                       C WHISTLEBLOWER VIOLATIONS ................................. . .. ...... ... .... ........ ............................................ ........... 48
                           1        Legal Standard and Prima Facie Elements ...... ...... .... ..... ..... ... ...... .. ..... ..... ....... ..... .................... 48
                           2        Prima Facia Elements of Whistleblower Retaliation under Maryland Law ................. ..................49
                           3        Prima Facie Elements of Whistleblower Retaliation under SOX ......... ........................................ 49
                           4        Supporting Case Law........................................................ ........................................... ........... 49
                           5        Application in Dillon-Capps' Case ........................................................................................... 50
                           6        Conclusion ... .... .............. ... ........ ................. ..................... ............................. ...... .. ................. 52
                       D RETALIATION ················· ······ ······· ··········· · ···· · ···· · ····· · ·········· ···· · ·· ·········· ··········· ····· " ••••••••••••••••• ••••••• •••• ••• 52
                           1        Legal Standard and Prima Facie Elements .......................................... ............ .. ....................... 52
                           2        Prima Facie Elements of Retaliation ........................................................................................ 52

                                                                                                                                                                            Page 3 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts                                          Page # 3 of329                                                  Exhibit 108
              Case 1:24-cv-03744-BAH                               Document 16-10                         Filed 01/03/25                     Page 4 of 329




                           3   Supporting Case Law.............................................................................................................. 53
                           4   Application in Dillon-Capps' Case .................................................. ..... ..................... ... ............ 53
                           5   Conclusion ............. ................. ........................................................................... ................... 55
                       E PERJURY ... ................................. ............................... ............. ................. ........... ......... ........... ..... . ...... 55
                          1    Legal Standard and Prima Facie Elements of Perjury in Maryland ....... .................. ..................... 55
                          2    Prima Facie Elements of Perjury .............................................................................................. 56
                          3    Supporting Case Law............................................................ .................................................. 57
                          4    Application of Perjury in Dillon-Capps' Case ................................................................. ........... 57
                          5    Conclusion ...................................... ................................. ..................................................... 59
                       FWRONGFUL TERMINATION ...... . ..... ....................................................................................... .................. . 59
                          1    Legal Standard and Prima Facie Elements of Wrongful Termination ........................................... 60
                          2    Prima Facie Elements for Wrongful Termination under FMLA and ADA: ...................................... 60
                          3    Prima Facie Elements of Wrongful Termination ....... ............ ........................................... .......... 60
                          4    Supporting Case Law.............................................................................................................. 61
                          5    Application of Wrongful Termination in Dillon-Capps's Case ..................................................... 62
                          6    Conclusion ............. ..... ........................................................................................................ .. 63
                       G HOSTILE WORK ENVIRONMENT (HWE) ......................................................... . ............ . .. .. .......................... 63
                          1    Legal Standard and Prima Facie Elements of Hostile Work Environment ........ ..... ....................... 63
                          2    Prima Facie Elements for Hostile Work Environment under ADA and Maryland Law: ... .. .............. 64
                          3    Prima Facie Elements of Hostile Work Environment ............. .................................................. .. 64
                          4    Supporting Case Law.................................................. .................................................. .......... 65
                          5    Application of Hostile Work Environmentin Dillon-Capps 's Case .............................................. 65
                          6    Conclusion ......... ............ ................................................................. ...................................... 66
                       HWITNESSTAMPERING ................. ................. ......... ........ ......................... ... ............................... ............. 67
                           1       Legal Standard and Prima Facie Elements of Witness Tampering ........... ................................... 67
                           2       Prima Facie Elements for Witness Tampering: .. ........................................................................ 67
                           3       Prima Facie Elements of Witness Tampering ............................................................... ............ . 68
                           4       Supporting Case Law .............................................................................................................. 69
                           5       Application of Witness Tampering in Dillon-Capps's Case ........................................................ 69
                           6       Conclusion .............. ................................ .............................................................................. 70
                       I DISQUALIFICATION OF COUNSEL ......................................................................... . ······· ... ........ ........ .. . .. ... ... 71
                          1      Legal Standard and Purpose of Disqualification ................ ................ ....................................... 71
                          2      Prima Facie Elements for Disqualification ................................................................................ 72
                          3      Supporting Case Law.................................................................. ..... ....................................... 72
                          4      Application to Dillon-Capps's Case ............................. ............................................................ 72
                       J 42 U .S.C. § 1983: CIVIL ACTION FOR D EPRIVATION OF RIGHTS ... .............................. ...................................... 73
                          1      Legal Standard and Prima Facie Elements ........................... .................................................... 74
                          2      Supporting Case Law................. .... ... ...................................................................................... 74
                          3      Application to Judge Barranco's Actions in Dillon-Capps's Case ............................................... 75
                          4      Conclusion ....................... ........................................................................... .......................... 77
                    VII EXPANDING MARYLAND STATUTES THROUGH THE INTENT, PURPOSE, FOCUS, AND MEANING OF
                    COMMON LAW .............................................. ................................................................................... 77
                       A Mo. CODE ANN., CTS. &JUD. PROC.§§ 10-501 AND 10-503 .......... . ................ .............. ... .. .... ....... . ............. 7 7
                          1    Section 10-501: Incorporation of English Common Law Principles .... .............. .......................... 77
                          2    Section 10-503: Judicial Discretion in Applying Common Law Principles .. ............................. ..... 78
                       8 INCORPORATION OF TORT DOCTRINES ................................... . ............ . ... ..................... ................. ............. 78
                          1    Foundations of Maryland's Tort Doctrines .................... .......................... .. ................................ 79
                          2    Judicial Standards for Applying Tort Doctrines in Maryland ........................................................ 80
                          3    Maryland Case Law on Tort Doctrines ..................................... ....... .... .... .... .............................. 81

                                                                                                                                                                    Page 4 of329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts                                      Page # 4 of329                                               Exhibit 108
              Case 1:24-cv-03744-BAH                              Document 16-10                         Filed 01/03/25                    Page 5 of 329




                         4    Application in Dillon-Capps's Case .. .................... ................................................................... 82
                      C EQUITABLE DOCTRINES OF DEFENSE . ........... .............. ............................. . ........... .... ................................. 84
                         1    Foundations of Maryland's Equitable Defenses ........................................................................ 84
                         2    Judicial Standards for Applying Equitable Defenses in Maryland ................................................ 85
                         3    Maryland Case Law on Equitable Defenses .................................................................. ............ 86
                         4    Application in Dillon-Capps's Case ................................................ ..... .................................... 87
                      D DOCTRINE OF MOOTNESS ... ..................... ... ..... ... .. .... .... .. ............... ........................................................ 88
                         1    Foundations of the Doctrine of Mootness in Maryland Law........................................................ 89
                         2    Judicial Standards for Applying the Doctrine of Mootness in Maryland .................. ..................... 89
                         3    Maryland Case Law on the Doctrine of Mootness ..................................................................... 90
                         4    Application in Dillon-Capps's Case ......................................................................................... 91
                      E GOOD FAITH AND REASONABLE JURY STANDARD ..........................................................................................92
                         1    Foundations of Good Faith and Reasonable Jury Standard in Maryland Law ............................... 93
                         2    Judicial Standards for Applying Good Faith and Reasonable Jury Standard in Maryland ............... 94
                         3    Maryland Case Law on Good Faith and Reasonable Jury Standard............................................. 94
                         4    Application in Dillon-Capps's Case ............................................. .. .......................................... 95
                      F PREPONDERANCE OF EVIDENCE .................... ..... ..... ....................... .............................. . ........................... 96
                         1    Foundations of Preponderance of Evidence ..................................... ......... .... ........ ........ .......... . 97
                         2    Judicial Standards for Applying Preponderance of Evidence ...................................................... 97
                         3    Maryland Case Law ................................................................................................................ 97
                         4    Application to Dillon-Capps's Case ............... : .............................................................. ........... 98
                      G IRREPARABLE H ARM . .. ........... . ................................... : ......... ..... ... . ......... ........ .......................................98
                         1    Foundations of Irreparable Harm....................... ...................................................................... 99
                         2    Judicial Standards for Applying Irreparable Harm .................................................................... . 99
                         3    Maryland Case Law .............................................................................................................. 100
                         4    Application to Dillon-Capps's Case ....................................................................................... 100
                       H L EGITIMATE PURPOSE ......................................................... ..... .......................................... ................. 102
                           1       Foundations of Legitimate Purpose ....................................................................................... 102
                           2       Judicial Standards for Applying Legitimate Purpose ................. ...... ... ...................................... 102
                           3       Maryland Case Law .............................................................................................................. 103
                           4       Application to Dillon-Capps's Case ....................................................................................... 104
                       I SEVERE HARM .................................................................. ........... ..... . .... ............................................. 105
                           1       Foundations of Severity of Harm ............ .. .. ............................................................................ 105
                           2       Judicial Standards for Applying Severity of Harm .................................................................... 106
                           3       Maryland Case Law ........................................ ....................... ............................................... 106
                           4       Application to Dillon-Capps's Case ........ .... ...................................... .................................. ... 107
                       J INTENT .................... ..... ............... . .......................................... .......................................... ................ 108
                           1       Foundations of Intent ............................................ .................. ........ .... .................. .. ............. 108
                           2       Judicial Standards for Applying Intent .................................................................................... 109
                           3       Maryland Case Law ..... ...................................... ................................................................... 109
                           4       Application to Dillon-Capps's Case ............................................................................... .... .... 11 0
                       K MALICIOUS PURPOSE ............. ..... ..... .... ................. .... .. ..... .......... ................................ ......................... 112
                          1    Foundations of Malicious Purpose .............. ........................................................................... 112
                          2    Judicial Standards for Applying Malicious Purpose ...................... ...... ........................... .......... 113
                          3    Maryland Case Law .............................................................................................................. 113
                          4    Application to Dillon-Capps 's Case ....................................................................................... 114
                       L MATERIAL STATEMENTS AND SUPPORTING EVIDENCE ................................................................................... 116
                           1       Foundations of Material Statements and Supporting Evidence ................................................ 116
                           2       Judicial Standards for Applying Material Statements and Evidence ................................. .. ....... 117
                           3       Maryland Case Law and Statutory Basis................................................................. ................ 117

                                                                                                                                                                 Page 5 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts                                     Page # 5 of 329                                            Exhibit 108
               Case 1:24-cv-03744-BAH                            Document 16-10                        Filed 01/03/25                   Page 6 of 329
       .J




                          4      Application to Dillon-Capps's Case ....................................................................................... 118
                       M B REACH OF CONTRACT: .............................................................................. .............. ... ........ . .............. 119
                          1      Foundations of Breach of Contract ........................................................................................ 119
                          2      Judicial Standards for Applying Breach of Contract................ ................................................. 120
                          3      Maryland Case Law and Statutory Basis................................................................................. 120
                          4      Application to Dillon-Capps's Case ....................................................................................... 121
                       N ATTEMPTED ...................................................................................................................................... 122
                          1      Foundations of Attempted Conduct in Maryland Common Law and Statutory Law ................... 122
                          2      Judicial Standards for Applying Attempted Conduct ............................................................... 123
                          3      Maryland Case Law and Statutory Basis................................................................................. 124
                          4      Application to Attempted False Imprisonment and Procedural Abuse in Dillon-Capps's Case .. 124
                       0 FALSE IMPRISONMENT.. ........................................................ ................................... ............................ 126
                          1      Foundations of Attempted False Imprisonment.. .................................................................... 126
                          2      Judicial Standards for Applying Attempted False Imprisonment ....................... ....................... 127
                          3      Maryland Case Law and Statutory Basis................................................................................. 128
                          4      Cross Argument Case Law ......................................................................... ........................... 128
                          5      Application to Dillon-Capps's Case ... .................................................................................... 129
                       P COERCION ........... ................................................................... ......................................................... 130
                          1      Foundations of Coercion ...................................................................................................... 131
                          2      Judicial Standards for Applying Coercion ............................................................................... 131
                          3      Maryland Case Law and Statutory Basis.................................................. ............................... 132
                          4      Application to Dillon-Capps's Case ....................................................................................... 132
                       Q FRAUD UPON THE COURT .................................................................................................................... 134
                          1      Foundations of Fraud Upon the Court .................................................................................... 134
                          2      Judicial Standards for Applying Fraud Upon the Court ............................................................. 135
                          3      Maryland Case Law .............................................................................................................. 135
                          4      Application to Fraud Upon the Court in Dillon-Capps 's Case .................................................. 136
                       R BIAS ...............................................................................................................................................138
                          1      Foundations of Bias ................. ............... ............................................................ .................. 138
                          2      Judicial Standards for Applying Bias....................................................................................... 139
                          3      Maryland Case Law .............................................................................................................. 139
                          4      Application to Bias in Dillon-Capps' Case .............................................................................. 140
                       S DISCRIMINATION ..................................................... .................................................... ...... .. ............... 141
                          1        Foundations of Discrimination .............................................................................................. 141
                          2        Judicial Standards for Addressing Discrimination ................................................................... 142
                          3        Maryland Case Law .............................................................................................................. 143
                          4        Application to Discrimination in Dillon-Capps' Case............................................................... 143
                       T CONSPIRACY ................................................................................. ................................... ............... .. 145
                          1    Foundations of Conspiracy ................................................................................................... 146
                          2    Judicial Standards for Applying Conspiracy ............................................................................ 146
                          3    Maryland Case Law and Statutory Basis................................................................................. 147
                          4    Application to Conspiracy in Dillon-Capps Case .................................................................... 148
                       U STARE DECISIS ..... .......... ............. .... ................. ................................................................................. 150
                          1        Foundations of Stare Decisis... .............................................................................................. 151
                          2        Judicial Standards for Applying Stare Decisis in Maryland ....................................................... 151
                          3        Maryland Case Law on Stare Decisis and Binding Authority..................................................... 152
                          4        Application in Dillon-Capps' Case ........................................................................................ . 153
                       V LIMITS OF JUDICIAL DISCRETION ............................................................................................... .............. 1 55
                          1        Foundations ofJudicial Discretion and Limits ......................................................................... 155
                          2        Judicial Standards for Determining Excessive Discretion .................. .. ..................................... 156

                                                                                                                                                             Page 6 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts                                  Page # 6 of 329                                          Exhibit 108
               Case 1:24-cv-03744-BAH                             Document 16-10                        Filed 01/03/25                    Page 7 of 329




                           3       Maryland Case Law ........... ......................................................... .......................................... 156
                           4       Application to Exceeding Judicial Discretion in Dillon-Capps' Case ......... ................ .......... .... .. 157
                       WACCESSORY AND ACCESSORY AFTER THE FACT ............... ..... .... ..... ...... .. ..... ........ .... .. ... \ . ............................ 160
                           1       Foundations of Accessory and Accessory After the Fact ............................ ............................. 160
                           2       Judicial Standards for Applying Accessory and Accessory After the Fact .................................. 161
                           3       Maryland Case Law and Statutory Basis.. ............. ...................... ............................................ 161
                           4       Application to Accessory and Accessory After the Fact in Dillon-Capps' Case ....... .. .. ........ ...... 162
                       X DUE PROCESS ............ .... ...................... ................................... .. ........ ................ ................... ..... ........ 164
                          1     Foundations of Due Process ....... ............... .. .... ... .................. .. ...... .... ...... ................. ............. 165
                          2     Judicial Standards for Applying Due Process .......................................................................... 165
                          3     Maryland Case Law and Statutory Basis...... ..... .. .... .................... .................................. .......... 166
                          4     Constitutional and Federal Basis ............................... ............ ................. .......... ..................... 167
                          5     Application to Dillon-Capps's Case ............................... ..................... ....... ... ......................... 167
                       Y HARASSMENT ................................................................................................. ......................... .......... 169
                          1     Foundations of Harassment.................................................................................................. 169
                          2     Judicial Standards for Applying Harassment.. .... ... .................................................... ..... ......... 169
                          3     Maryland Case Law and Statutory Basis........................................................ ................ ......... 170
                          4     Application to Dillon-Capps's Case ... .................... ... ............................................................. 171
                       Z SPOLIATION OF EVIDENCE ..... . .. ..... ..... ..... ............ ..... .... ................ ....................... ................................. 172
                          1     Foundation of Spoliation of Evidence ............ ....... ..... ................ .. ... ..... ................................... 172
                          2     Judicial Standards for Applying Spoliation of Evidence ..................................... ...................... . 172
                          3     Maryland Case Law and Statutory Basis................................................................................. 174
                          4     Application to Dillon-Capps's Case ................................... ................ ...... .. ............................ 174
                       AA DEFAMATION ................ .... ................ ..... ... ......... ............................................................................. 1 76
                          1     Foundation of Defamation .............................................................................................. ... ... 176
                          2     Judicial Standards for Applying Defamation .. ....... .................................................................. 177
                          3     Maryland Case Law and Statutory Basis ............. .... .... ..... .......... .. ............... ............................ 177
                          4     Application to Dillon-Capps's Case ... ... .............................................. ....... ...... ...................... 178
                       BB INTENTIONAL INFLICTION OF EMOTIONAL D ISTRESS (II ED) .......................................................................... 179
                          1     Foundation of Intentional Infliction of Emotional Distress (I/ED) .. ... ......................................... 180
                          2     Judicial Standards for Applying I/ED .. ............................................................... ...................... 180
                          3     Maryland Case Law and Common Law Basis ...................... ....... ..... ....................................... 181
                          4     Application to Dillon-Capps's Case .................................................................... ... ................ 182
                       CC NEGLIGENCE . .......... ........ ... .......................................................................... ... .......... ..... ..... . .... ..... 183
                          1     Foundations of Negligence and Individual Liability............... ........... ........................................ 183
                          2     General Negligence and Corporate Liability .................. ...................... ................................... 184
                          3     Application of Duty and Breach to Ohana and M&S ............................................... .... .............. 185
                          4     Professional Negligence and Judicial Accountability............................................................... 185
                          5     Individual Liability of Corporate Members and Associates.................. ..................................... 187
                          Conclusion of Negligence ................................................... .......... ............. ................................... 188
                       DD RECKLESS ENDANGERMENT ............................. . .... ............................................................................. 188
                           1       Foundations of Reckless Endangerment ........... ............................. ........................ .............. .. 188
                           2       Judicial Standards for Applying Reckless Endangerment .................... ................... .................. 189
                           3       Maryland Case Law and Statutory Basis ......... ........................................................................ 189
                           4       Application to Dillon-Capps's Case ..... ... .. .................................................................... ......... 190
                       EE JUDICIAL ECONOMY .................... .... ..... ........... . .... ... ..... .......... . .......................................................... 192
                           1       Foundations of Judicial Economy ..... ............................................ ...... ................ ................... 192
                           2       Judicial Standards for Applying Judicial Economy ................................................................... 193
                           3       Maryland Case Law ........ ........... ..... .. ................................................. ................................... 193
                           4       Application to Judicial Economy in Dillon-Capps' Case .. ................. .. ..................................... 194

                                                                                                                                                               Page 7 of329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts                                   Page# 7 of329                                              Exhibit 108
              Case 1:24-cv-03744-BAH                               Document 16-10                         Filed 01/03/25                    Page 8 of 329




                        FF RULES OF EVIDENCE, ADJUDICATION OF FACT, AND CONFLICTING STATEMENTS ............ .......... . ..... .. ..... ... .. . .... .. 196
                            1     Foundations of Evidence, Trier of Fact, and Conflicting Statements ... ............... ....................... 196
                            2     Judicial Standards for Evaluating Evidence, Conflicting Statements, and Dishonest Conduct.... 197
                            3     Maryland Case Law ... ........................................................................................................... 198
                            4     Cross-Argument Supporting Case Law ..... ..... ...... .............. ............................................. ....... 198
                            5     Application to Rules of Evidence, Conflicting Statements, and Judicial Discretion in Dillon-Capps'
                            Case200
                        GG JUDICIAL REFERRAL FOR CRIMINAL AND ETHICAL VIOLATIONS ........ ........ ................................................ ..... 203
                            1     Foundations of Judicial Referral for Criminal and Ethical Violations ......................................... 203
                            2     Judicial Standards for Referral and Addressing Ethical Violations ............................................ 204
                            3     Maryland Case Law ..................................... ..... ........................ ................................... ......... 205
                            4     Application to Judicial Referral in Dillon-Capps 's Case ......................... .. ................................ 206
                        HH PRESERVATION OF CLAIMS FOR SEPARATE ADJUDICATION .............. ..... ........... ..... ................. ................... ... 208
                            1     Foundations of Judicial Referral for Criminal and Ethical Violations .............. ......... .......... ........ 208
                            2     Judicial Standards for Referral and Addressing Ethical Violations ......... .......................... ......... 209
                            3     Maryland Case Law ............................................. ...... ... ... ...... ... .... ........................................ 209
                            4     Application to Judicial Referral in Dillon-Capps's Case ........................ ... ............. ............. ...... 210
                        II EXPEDITED RULINGS AND HEARINGS TO PREVENT FURTHER HARM ............................... . .. ...................... .......... 212
                            1     Foundations of Expedited Rulings and Hearings .......................... ..... .... ....... ... ........... ............. 212
                            2     Judicial Standards for Expedited Hearings and Emergency Rulings ........ ............ ...................... 213
                            3     Maryland Case Law .................................... ............................................ ..................... ......... 213
                            4     Application to Expedited Rulings and Hearings in Dillon-Capps's Case........................... ......... 214
                        JJ JUDICIAL CORRECTION OF THE COURT RECORD ............ ......................... .......................................... .. ..... ... 216
                            1     Foundations of Judicial Correction of the Court Record ................... ..... .................................. 216
                            2     Judicial Standards for Correcting the Court Record .............................................. .......... ........ 217
                            3     Maryland Case Law .............................................. ..................... ............ ............................... 218
                            4     Application to Judicial Correction of the Court Record in Dillon-Capps 's Case .............. ..... ...... 218
                        KK RULING IN FAVOR OR THE PARTY WITH A L EGITIMATE CLAIM ....................................... ........... .......... ............. 220
                            1     Foundations for Ruling in Favor of the Legitimate Claim in Maryland Law ........... .... .... .............. 221
                            2     Judicial Standards for Ruling in Favor of a Legitimate Claim....................... ... ........................... 222
                            3     Maryland Case Law ............................ .................................... .... .... ... ........................... ........ 222
                            4     Application to Ruling in Favor of Dillon-Capps 's Legitimate Claims.......................................... 223
                        LL 6. CIRCUIT COURT AUTHORITY TO SET PRECEDENT OF RECIPROCAL RELIEF .......................... ................... ........ 225
                            1     Foundations for Circuit Court Authority to Set Precedent of Reciprocal Relief in Maryland Law.. 225
                            2     Judicial Standards for Establishing Precedent for Reciprocal Relief ................. ...... ....... ........... 226
                            3     Maryland Case Law .......... ........... ........ ...................... ... ..................... ................................... 22 7
                            4     Cross-Argument Supporting Case Law ... ............................................................................... 228
                            5     Application to Reciprocal Relief in Dillon-Capps's Case ......................................................... 228
                    VIII SANCTIONS ............................................................................................................................. 230
                       A INTRODUCTION ....... .. . ... ... ........... . ...................................................... .. ........... .... ...................... ......... 231
                       B GENERAL SANCTIONS UNDER MD. RULE 1-341 .......................................... ... .. ..... ........................... .......... 232
                           1   Judicial Standards, Purpose, and Criteria for Imposing Sanctions under Md. Rule 1-341 ........... 233
                          2    Criteria for Imposing Sanctions: ............................................................................................ 233
                          3    Maryland Case Law ..................................... .................... ...... ... ....................... ............ ......... 234
                          4    Supporting Case Law Beyond Maryland ................................................................................. 234
                          5    Cross Argument Case Law .. .................. .... ........ .................................................................... 235
                          6    Application to Dillon-Capps's Case ....................................................................................... 235
                          7    Conclusion ...... .................................................................... .................. .............................. 2 37
                       C VOLUNTARY DISM ISSAL UNDER MD. RULE 2-506 ............................................................................. .......... 237


                                                                                                                                                                  Page 8 of329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts                                     Page# 8 of 329                                             Exhibit 108
              Case 1:24-cv-03744-BAH                            Document 16-10                       Filed 01/03/25                    Page 9 of 329




                          1       Foundation for Sanctions under Md. Rule 2-506 ............. ... ... .......... ..... ................................. .. 237
                          2       Judicial Standards, Purpose, and Criteria for Imposing Sanctions under Md. Rule 2-506 ..... .. .... 237
                          3       Criteria for Imposing Sanctions under Rule 2-506: .......................... ............. ........................... 238
                          4       Maryland Case Law .................................................................. .................. .......................... 238
                          5       Supporting Case Law Beyond Maryland ............. ....................... ...... ... ....... ............................. 239
                          6       Cross Argument Case Law ........................... ..................................................... .................... 239
                          7       Application to Dillon-Capps's Case ................................................ ....................................... 240
                          8       Conclusion .................................. ........................................................................................ 241
                       D RULE 4.1 - TRUTHFULNESS IN STATEMENTS TO OTHERS .. .. ........................................................................... 241
                          1       Foundational Principles and Purpose of Rule 4. 1.......................................... .......................... 241
                          2       Judicial Standards and Purpose from Maryland Precedent ............................................. ......... 242
                          3       Criteria for Establishing a Breach of Rule 4. 1 ............................................... ........................... 242
                          4       Maryland Case Law on Rule 4. 1.... ....... .................................................................................. 243
                          5       Supporting Case Law Beyond Maryland ............ .. ................................................................... 243
                          6       Cross-Argument Case Law: Rule 4. 1 and Misconduct ............................................................. 244
                          7       Application to Dillon-Capps's Case ..................................................... ....... ..... ...................... 244
                          8       Conclusion ....................................................................... ....... ............................................ 245
                       E RULE 8 .4(C) - MISCONDUCT (DISHONESTY, FRAUD, DECEIT, OR MISREPRESENTATION) ......................... ............. . 246
                          1      Foundational Principles and Purpose of Rule 8.4(c) ......................... ....................................... 246
                          2     Judicial Standards and Purpose from Maryland Precedent ........... ........... ................................ 247
                          3      Criteria for Establishing a Breach of Rule 8.4(c) .......... ...................................................... ...... 247
                          4      Maryland Case Law on Rule 8.4(c) ................................ .. ....................................................... 248
                          5      Supporting Case Law Beyond Maryland ................................................................................. 248
                          6      Cross-Argument Case Law: Rule 8.4(c) and Professional Misconduct ..................................... 248
                          7     Application to Dil/on-Capps's Case ................................... .... ........................................... ..... 249
                          8      Conclusion ..................................... ..................... ................................................................ 250
                       F MARYLAND CRIM INAL LAW§ 9-101: PERJURY ... .............................................................. ....... ........ ......... .. 250
                          1       Foundational Principles and Purpose of§ 9-1 0 1............................................................... ...... 251
                          2       Judicial Standards and Purpose from Maryland Precedent ......................................................251
                          3       Criteria for Establishing Perjury under§ 9-101 ........................................................................ 252
                          4       Maryland Case Law on Perjury .............................................................................................. 252
                          5       Supporting Case Law Beyond Maryland ......... ................................. ....................................... 253
                          6       Cross-Argument Case Law: Perjury, Material Misrepresentation, and Procedural Fairness ....... 253
                          7       Application to Dillon-Capps's Case ....................................................................................... 253
                          8       Conclusion ...................................................................... .... ....................... ...... ................... 255
                       G ABUSE OF PROCESS ......................... .. ....... ......................................................................................... 255
                          1       Foundational Principles and Purpose of Abuse of Process ......................... ... .................. ... ..... 255
                          2       Judicial Standards and Purpose from Precedent for Abuse of Process ..................................... 256
                          3       Criteria for Imposing Sanctions for Abuse of Process .............. ................... ............................. 25 7
                          4       Maryland Case Law on Abuse of Process ......................................................................... ...... 258
                          5       Supporting Case Law Beyond Maryland ........ ........ ..... .... ........................................................ 258
                          6       Cross-Argument Case Law: Abuse of Process and Retaliation................................................. 259
                          7       Application to Dillon-Capps's Case .......... ..... ........................................................................ 259
                          8       Conclusion .... ..................................................... ...... ............... ...... .............. ........................ 261
                       H ATTEMPTED/FALSE IMPRISONMENT . . ..... ............. .. ............................................ ........ ........ .......... ... ..... . .... 261
                          1    Foundations for Attempted/False Imprisonment in Sanctions ......................... ....... ..... .. .......... 261
                          2   Judicial Standards and Purpose from Precedent ........ ............ .................. .............................. 262
                          3    Criteria for Imposing Sanctions for Attempted/False Imprisonment.. ....... ............................... . 262
                          4    Maryland Case Law ......................................... .... ................................................................. 263
                          5    Supporting Case Law Beyond Maryland ........ ..... ........ ......................... ................. ... ............... 264

                                                                                                                                                            Page 9 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts                                Page# 9 of329                                             Exhibit 108
              Case 1:24-cv-03744-BAH                            Document 16-10                       Filed 01/03/25                   Page 10 of 329




                           6       Cross Argument Case Law................................................. ....... ............................................ 264
                           7       Application to Dillon-Capps's Case ...... ........................................................................... ...... 265
                           8       Conclusion ............ ....... .............................................. .. ....................................................... 265
                       I MALICIOUS PROSECUTION ........................................................................................ .............. .............. 266
                           1       Foundations for Malicious Prosecution in Sanctions ............................................................... 266
                           2       Judicial Standards and Purpose from Precedent for Malicious Prosecution ............................ .. 266
                           3       Criteria for Imposing Sanctions for Malicious Prosecution ............................... .. ..................... 267
                           4       Maryland Case Law .............................................................................................................. 267
                           5       Supporting Case Law Beyond Maryland ............................................................... ... ............... 268
                           6       Cross Argument Case Law................................................................................... ....... ......... . 268
                           7       Application to Dillon-Capps 's Case ............. ..... ............ ................................. ... ..................... 269
                           8       Conclusion ............................ ...... ...... .................................................................................. 270
                       J VEXING LITIGATIONS . ................................ ........... .... ...................................................................... ...... 270
                           1    Foundations for Vexatious Litigation in Sanctions .......... ......................................................... 270
                          2     Judicial Standards and Purpose from Precedent for Vexatious Litigation .................................. 270
                           3    Criteria for Imposing Sanctions for Vexatious Litigation ........................................................... 271
                          4     Maryland Case Law ........ ...................................................................................................... 2 72
                           5    Supporting Case Law Beyond Maryland ............................................................................ ..... 272
                           6    Cross Argument Case Law ..... ...................................... ............................... ........ ........ .......... 273
                           7    Application to Dillon-Capps's Case ....................................................................................... 273
                          8     Conclusion ... ..................................... .................................................................................. 274
                       K FRIVOLOUS LITIGATION AS SANCTIONABLE CONDUCT ......................... . ........................ ............. ................... 274
                          1       Foundations for Frivolous Litigation in Sanctions .................................................................... 274
                          2       Judicial Standards and Purpose from Precedent for Frivolous Litigation ................................... 275
                          3       Criteria for Imposing Sanctions for Frivolous Litigation ......................................... ................... 275
                          4       Maryland Case Law ........................................................................ ... ................................... 276
                          5       Supporting Case Law Beyond Maryland ................................................................................. 276
                          6       Cross Argument Case Law................................................ .................................................... 277
                          7       Application to Dillon-Capps's Case ......................................................................... ..... ...... .. . 277
                          8       Conclusion ..........................................................................................................................278
                       L OBSTRUCTION OF EVIDENCE ....................................... ............................................. .............. . ............ .. 2 7 8
                          1    Foundation for Obstruction of Evidence ................................................................................. 278
                          2    Judicial Standards and Purpose from Precedent ................................ .................................... 279
                          3    Criteria for Imposing Sanctions for Obstruction of Evidence .................................................... 279
                          4    Maryland Case Law .............................................................................................................. 280
                          5    Supporting Case Law Beyond Maryland .... .... .................................... ...................... ..... .......... 281
                          6    Cross Argument Case Law .................................................................................................... 281
                          7    Application to Dillon-Capps's Case ....... .............. .................................................................. 282
                          Conclusion .................................................................................................................................. 283
                       M 81. RULE 19-303.3(A)- CANDOR TOWARD THE TRIBUNAL ............................................................... ........... 283
                          1     Foundation for Sanctions under MRPC Rule 19-303.3(a) ......................................................... 283
                          2     Judicial Standards and Purpose from Maryland Precedent ...................................................... 284
                          3     Criteria for Establishing a Breach ofMRPC 19-303.3(a) ........................................................... 285
                          4     Maryland Case Law on Rule 3. 3(a) ......................................................................................... 285
                          5     Supporting Case Law Beyond Maryland ................................................................................. 286
                          6     Cross-Argument Case Law: Rule 3.3(a) and Ethical Misconduct.. .. ... ........ ................ ............... 286
                          7     Application to Dillon-Capps's Case ............................................................ .... .... ... ................ 287
                          8     Conclusion ...........................................................................................................,.............. 288
                       N R ULE 19-303.5 (IMPROPER INFLUENCE AND CONTACT WITH COURT) ............................................................. 288
                          1     Foundation for Sanctions under MRPC Rule 19-303.5 .......................... ................................... 288

                                                                                                                                                          Page 10 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts                                Page# IOof329                                             Exhibit 108
              Case 1:24-cv-03744-BAH                            Document 16-10                         Filed 01/03/25                     Page 11 of 329




                          2       Judicial Standards, Purpose, and Criteria for Imposing Sanctions under MRPC Rule 19-303.5 ... 288
                          3       Criteria for Imposing Sanctions under Rule 19-303. 5: ....................... ...................................... 289
                          4       Maryland Case Law ... ............... ................................................................. ........................... 289
                          5       Supporting Case Law Beyond Maryland ............................ ... ................................. ........ ........ . 290
                          6       Cross Argument Case Law...................................................................... ...... .......... ...... ........ 290
                          7       Application to Dillon-Capps's Case ................................... ................................................. ... 291
                          8       Conclusion ....... ..... ....... ... ...... ..... .................... ..................................................................... 292
                       0 RULES 19-301.7 TO 19-301.11 (CONFLICTS OF INTEREST) ......................................................................... 292
                          1    Foundation for Sanctions under MRPC Rules 19-301. 7 to 19-301. 11 ....... ............... ................. 292
                          2    Judicial Standards, Purpose, and Criteria for Imposing Sanctions under MRPC Rules 19-301. 7 to
                          19-301 . 11 .......... ................ ................................................ ... ..... ............. ............... ......... .............. 292
                          3    Criteria for Imposing Sanctions under Rules 19-301. 7 to 19-301. 11: ........................................ 293
                          4    Maryland Case Law ....... ... ... .......................... .... ........ ....................................... .................... 294
                          5    Supporting Case Law Beyond Maryland .... ............ ............................... ....... ......... ............. ..... 294
                          6    Cross Argument Case Law ....................................................................................................295
                          7    Application to Dillon-Capps's Case .......... .................... ...... ............ .... ................................... 295
                          8    Conclusion ............................................................................................................... ........... 296
                       P RULE 1 9 -308.4(F) (FAILURE TO RESPOND TO REQUESTS) ............................................... ................ ... .......... 296
                          1    Foundation for Sanctions under MRPC Rules 19-301. 7to 19-301. 11 ....................................... 296
                          2    Judicial Standards, Purpose, and Criteria for Imposing Sanctions under MRPC Rules 19-301. 7 to
                          19-301.11 ... ....... ...........................................................................................................................297
                          3    Criteria for Imposing Sanctions under Rules 19-301. 7 to 19-301. 11: ................................... ..... 297
                          4    Maryland Case Law ................ ..................... ................................... ...................................... 298
                          5    Supporting Case Law Beyond Maryland .............................................. ................................... 299
                          6    Cross Argument Case Law .................................................................................................... 299
                          7    Application to Dillon-Capps's Case ................................................................................. ...... 299
                          8    Conclusion .................................................. ....................................................... ................. 300
                       Q RULES 19-308.4(A) THROUGH (D) (BROAD MISCONDUCT) .. ... ..... .. . ..... . ........ . ........... ................................... 301
                          1    Foundation for Sanctions under MRPC Rule 19-308.4(a) through {d) .......................... .............. 301
                         2     Judicial Standards, Purpose, and Criteria for Imposing Sanctions under MRPC Rule 19-308.4{a)
                          through (d) ......................... .......... ..................... ............................................................. .............. 301
                         3     Criteria for Imposing Sanctions under Rules 19-308.4(a) through (d): ....................................... 302
                         4     Maryland Case Law .............................................................................................................. 302
                         5     Supporting Case Law Beyond Maryland ............................................... .................................. 303
                          6    Cross Argument Case Law.................................................................................................... 303
                          7    Application to Dillon-Capps's Case ....................................................................................... 303
                          8    Conclusion .......................................................................................................................... 304
                       R 18-10 2.1 (IMPARTIALITY) ........................ . ............................................................................................ 305
                          1    Foundation for Sanctions under Maryland Judicial Code Rule 18-102. 1 ................................... 305
                          2    Judicial Standards, Purpose, and Criteria for Imposing Sanctions under Maryland Judicial Code
                          Rule 18-102.1 .... .................................................... .. ............................................... ..... ................. 305
                          3    Criteria for Imposing Sanctions under Rule 18-102. 1: ............................................................. 306
                          4    Maryland Case Law ................. ..................................... .................. ................... ................... 306
                          5    Supporting Case Law Beyond Maryland ............................................................................. .... 307
                          6    Cross Argument Case Law .................................................................................................... 307
                          7    Application to Dillon-Capps's Case ........................................... ............................................ 307
                          B    Conclusion ................................................................... .......................... .. ......... .......... ........ 308
                       S 1 8 -102.2 (PUBLIC CONFIDENCE) .......................... ........................ . ...................... ................................. 309
                           1       Foundation for Sanctions under Maryland Judicial Code Rule 18-102.2 ............ .......... ...... ....... 309


                                                                                                                                                               Page 11 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts                                   Page# 11 of 329                                              Exhibit 108
              Case 1:24-cv-03744-BAH                           Document 16-10                       Filed 01/03/25                  Page 12 of 329

       -·




                          2    Judicial Standards, Purpose, and Criteria for Imposing Sanctions under Maryland Judicial Code
                          Rule 18- 102.2 ....................................... ... ..................................................................................... 309
                          3    Criteria for Imposing Sanctions under Rule 18-102.2: ............................................................. 310
                          4    Maryland Case Law .................................... .......................................................................... 31 0
                          5    Supporting Case Law Beyond Maryland ................................................................................. 311
                          6    Cross Argument Case Law ........................................... ..... ..... ............................................... 311
                          7    Application to Dillon-Capps 's Case ....................................................................................... 311
                          8    Conclusion ............. .. ............ ....... .. ...................................................................................... 312
                       T 18-102.5 (COMPETENCE AND D ILIGENCE) ................ .. ... ......... . .. ..................... ......................................... 313
                          1    Foundation for Sanctions under Maryland Judicial Code Rule 18-102.5 ........ ........................... 313
                          2    Judicial Standards, Purpose, and Criteria for Imposing Sanctions under Maryland Judicial Code
                          Rule 18-102.5 ..................................................... .................................................... ...................... 313
                          3    Criteria for Imposing Sanctions under Rule 18-102.5: .. .............. ............................................. 314
                          4    Maryland Case Law ............................................................................................. ................. 314
                          5    Supporting Case Law Beyond Maryland .... ................................ ............................................. 315
                          6    Cross Argument Case Law ................................................................................... ............ .... . 315
                          7    Application to Dillon-Capps 's Case .......................................... .............. ............................... 315
                          8    Conclusion .................................. .. ............ .......... .................................................. .............. 316
                       U 18-102.9 (EX PARTE COMMUNICATIONS) ................ ... ............ . ................................................................ 317
                          1    Foundation for Sanctions under Maryland Judicial Code Rule 18-102.5 ................................... 317
                          2    Judicial Standards, Purpose, and Criteria for Imposing Sanctions under Maryland Judicial Code
                          Rule 18-102.5 ......... ........... ........................................................... ................................................ 317
                          3    Criteria for Imposing Sanctions under Rule 18-102.5: ............................................................. 318
                          4    Maryland Case Law ...................................... ................ ..... ... ................................................ 318
                          5    Supporting Case Law Beyond Maryland ...................................................... ........................... 319
                          6    Cross Argument Case Law ........................................... ......................................................... 319
                          7    Application to Dillon-Capps's Case ............................ .. ...... ............... .................................... 319
                          8    Conclusion .......................................................................................................................... 320
                       V 18-102.11 (DISQUALIFICATION DUETO BIAS AND CONFLICT OF INTEREST) ........................... ........................... 321
                          1    Foundation for Sanctions under Maryland Judicial Code Rule 18-102. 11 .. ...... .. ........................ 321
                          2    Judicial Standards, Purpose, and Criteria for Imposing Sanctions under Rule 18-102. 11 ........... 321
                          3    Criteria for Imposing Sanctions under Rule 18-102. 11: ........................................................... 322
                          4    Maryland Case Law .................................. ............................................................................ 322
                          5    Supporting Case Law Beyond Maryland ............ ..................................................................... 323
                          6    Cross Argument Case Law ................................................. .. ................................................. 323
                          7    Application to Dillon-Capps's Case ........................................................ ... ............................ 323
                          8    Conclusion ............. .. .......... ................................................................................................. 324
                       W 18-102.16 - COMPLIANCE WITH JUDICIAL INTEGRITY .................................................... .. ........................... 324
                           1      Foundation for Sanctions under Maryland Judicial Code Rule 18-102. 16.. .................. .............. 324
                           2      Judicial Standards, Purpose, and Criteria for Imposing Sanctions under Rule 18-102. 16 .. ......... 325
                           3      Criteria for Imposing Sanctions under Rule 18-102. 16: ........................................................... 325
                           4      Maryland Case Law ....... ....................................................................................................... 325
                           5      Supporting Case Law Beyond Maryland ................................................................................. 326
                           6      Cross Argument Case Law ........................................ ........ .................................................... 326
                           7      Application to Dillon-Capps's Case .................. ..................... ................................................ 327
                           8      Conclusion ...... ...... ............... ...... ......................................................................................... 327
                    RESPECTFULLY SUBMITTED ............................................................................................................ 329
                    CERTIFICATE OF SERVICE .......................... ......................... ............................................................ 329



                                                                                                                                                        Page 12 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts                               Page # I 2 of329                                         Exhibit 108
              Case 1:24-cv-03744-BAH              Document 16-10         Filed 01/03/25      Page 13 of 329




                                                            I IN1RODUCTION
                    2       This Memorandum of Law in Support of a Mandatory Hearing of Adjudicated

                    Facts is submitted by Ryan Dillon-Capps (" Dillon-Capps" or "Defendant") to demonstrate that

                    Ohana Growth Partners, LLC ("Ohana" or "Plaintiff'), with the aid of its counsel, Miles and

                    Stockbridge, PC ("M&S" or "Counsel" ), has pursued litigation with unclean hands, seeking

                    relief to which it is legally barred. Defendant contends that Plaintiffs actions have violated

                    Dillon-Capps's federally protected rights under the Family and Medical Leave Act (FMLA), the

                    Americans with Disabilities Act (ADA), and whistleblower statutes, and constitute a series of

                    unethical and abusive litigation practices designed to harass, intimidate, and prevent

                    accountability.

                    3       At the heart of this memorandum are core equitable defenses, beginning with unclean

                    hands and extending to perjury, abuse of process, malicious prosecution, and frivolous and

                    vexing litigation. Plaintiffs and Counsel' s conduct, including knowingly false and perjurious

                    statements, intentional abuse of judicial processes, and manipulative tactics that undermine

                    judicial integrity, collectively establish grounds for these defenses. These actions amount to

                    fraud upon the court, witness tampering, and obstruction of evidence. Additionally,

                    Plaintiffs reliance on inconsistent statements and representations in prior dealings induces

                    harmful reliance, rendering Plaintiff further estopped from obtaining relief.

                    4       This document also addresses the serious consequences of Plaintiff s and Counsel' s

                    actions, which have inflicted significant personal and professional harm upon Dillon-Capps,

                    including unknown business impacts, loss of professional opportunities, and personal health

                                                                                                          Page 13 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts   Page# 13 of329                       Exhibit 108
              Case 1:24-cv-03744-BAH              Document 16-10         Filed 01/03/25        Page 14 of 329




                    effects requiring medical and legal evaluation. Furthennore, procedural limitations, including

                    missing parties necessary to adjudicate the full scope of harm, pending motions, jurisdictional

                    limitations due to federal and multi-state elements, and unresolved requirements for Dillon-

                    Capps's medical prognosis and EEOC protections, underscore the necessity of a mandatory

                    hearing.

                    5       The Request for Emergency Administrative Review, filed on October 30, 2024, under

                    envelope 18609911, and the Request for Mandatory Judicial Notice Hearing on Material

                    Facts, filed on November 1, 2024, under envelope 18649236, alongside the Motion for

                    Directed Verdict and Notice of Line Filing for Directed Verdict, together establish the need

                    for a hearing. This Memorandum supports the Adjudication of Facts and the six pre-hearing

                    motions, answer, and seven counterclaims, as listed with other supporting filings in the Notice of

                    Line Filing for Directed Verdict.

                    6       Additionally, this Memorandum will join a reply to the Plaintiffs opposition to a

                    previous motion for sanctions, as the Plaintiff has persisted in efforts to evade accountability

                    through abuse of process. Plaintiff and Counsel ' s continued lack of remorse and repeated

                    attempts to evade accountability further emphasize the severity of their actions and the necessity

                    of adopting the PREVENT framework. Over 300 pages of law, criteria, case law, and

                    applications relevant to Defendant's current and future litigation thoroughly answer Plaintiff and

                    Counsel's attempts to mislead the court. These detailed legal arguments reinforce the necessity

                    for sanctions, equitable relief, and a hearing to adjudicate Plaintiffs conduct in a manner

                    consistent with judicial integrity, public policy, and Dillon-Capps' s legal rights.




                                                                                                           Page 14 of329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 14 of 329                    Exhibit 108
              Case 1:24-cv-03744-BAH              Document 16-10         Filed 01/03/25     Page 15 of 329




                                  II PURPOSE AND S1RUCTIJRE OF PREVENT FRAMEWORK
                    7       The PREVENT framework serves as a comprehensive solution addressing both the

                    immediate and long-term impacts of Plaintiffs conduct. Rooted in equitable principles and

                    judicial standards, each element of the framework is designed to redress harm, enforce

                    accountability, and prevent future abuse of the legal system. The following outlines each element

                    of PREVENT, its legal basis, and the corresponding motion for relief:

                    P - Protect: Motion to Disqualify Miles & Stockbridge for Ethical Violations and Misconduct
                           Legal Basis: Equitable principles of unclean hands, conflict of interest, and duty to
                           uphold judicial integrity.
                           Objective: Disqualification is warranted to protect the judicial process from further
                           misuse by counsel alleged to have engaged in unethical conduct, risking further harm to
                           both Defendant and the court' s integrity.
                    R- Restore: Motion to Vacate the Temporary Restraining Order (TRO)
                           Legal Basis: Maryland' s equitable doctrine of unjust enrichment and principles of fraud
                           upon the court.
                           Objective: Restoration of the status quo through vacatur of the TRO, an order improperly
                           obtained through perjury and misrepresentation, will prevent the Plaintiff from benefiting
                           from its misconduct.
                    E- Enforce: Motion to Impose Sanctions Not Sanction Fraudulent Lawsuits
                           Legal Basis: Maryland Rule 1-341 and doctrines of deterrence in sanctioning abuse.
                           Objective: Enforce judicial standards by imposing sanctions on Plaintiff and Counsel to
                           deter future misuse of the legal process, ensuring accountability and protecting
                           Defendant's rights.
                    V - Verify: Motion of Referral for Criminal and Ethical Investigation
                           Legal Basis: Duty to report criminal and ethical violations under Maryland professional
                           conduct standards.
                           Objective: Verify and hold Plaintiff and Counsel accountable through a referral for
                           investigation, ensuring adherence to ethical and legal standards.
                    E - Ensure: Motion for Injunction to Prevent Future Abuse of Court Process
                           Legal Basis: Equitable doctrines of injunctions and necessity for judicial oversight.
                           Objective: Ensure future protection by requiring judicial approval for any future
                           litigation by Plaintiff, thus deterring vexatious and retaliatory litigation.

                                                                                                       Page 15 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts   Page # 15 of329                     Exhibit 108
              Case 1:24-cv-03744-BAH              Document 16-10         Filed 01/03/25    Page 16 of 329




                    N -Neutralize: Motion for a Better Maryland with Reciprocal Relief
                           Legal Basis: Principles of equitable relief, reciprocal penalties, and public policy in
                           deterrence.
                           Objective: Neutralize harm inflicted by Plaintiffs bad-faith litigation through reciprocal
                           financial penalties, aligning consequences with the severity of Plaintiffs actions.
                    T - Terminate: Motion to Dismiss with Prejudice for a June 13th Worth of Reasons
                           Legal Basis: Equitable doctrine of unclean hands, abuse of process, and malicious
                           prosecution.
                           Objective: Terminate Plaintiffs claims permanently, preventing re-litigation of the same
                           claims that are rooted in misconduct and abuse.

                    8       Collectively, the PREVENT framework provides a comprehensive approach to

                    addressing Plaintiffs misconduct, safeguarding judicial integrity, and ensuring that similar

                    abuses do not recur.


                                                     ill FACTIJALBACKGROUND
                    9       Background of Dillon-Capps's Employment, Health Conditions, and Request for

                    Protected Leave

                    On January 4, 2024, Dillon-Capps notified Ohana of the need for intermittent FMLA leave due

                    to PTSD and related health conditions, providing all required documentation and receiving

                    formal approval several months before, Dillon-Capps exercised these rights in compliance with

                    company policies, notifying Richard Hartman, Justin Drummond, and Glenn Norris as required.

                    Dillon-Capps's PTSD required reasonable accommodations under the ADA, which Ohana

                    acknowledged previously when providing work from home accommodations. Disregarding

                    ADA accommodations on June 13, 2024 for the day of leave.

                    IO      Retaliation and Interference with Protected Rights on June 13, 2024

                    On June 13, 2024, Dillon-Capps informed Ohana' s leadership, including Human Resources Vice

                    President Richard Hartman and President Justin Drummond, of the need to take FMLA leave for

                                                                                                        Page 16 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts   Page# 16 of 329                    Exhibit 108
             Case 1:24-cv-03744-BAH               Document 16-10         Filed 01/03/25     Page 17 of 329




                    the day due to escalating PTSD symptoms. Despite this notice, Hartman issued an ultimatum via

                    email, demanding that Dillon-Capps return to work immediately and complete demands by 3:00

                    p.m. under threat of disciplinary action. The demand, issued mere hours after Dillon-Capps' s

                    protected leave request, constitutes a direct violation of Dillon-Capps' s FMLA and ADA rights.

                    11      Escalation Despite Good-Faith Efforts to Comply with Company Requests

                    At noon on June 13, Dillon-Capps responded to Hartman' s coercive demand by sending a cease-

                    and-desist letter asserting his FMLA rights and requesting that his leave be respected.

                    Additionally, at 2:05 p.m., Dillon-Capps escalated his concerns to Ohana's ownership,

                    highlighting the retaliatory nature of Hartman's actions in relation to previous whistleblower

                    complaints. Fifteen minutes later, in what appeared to be further retaliation, Hartman placed

                    another employee, Darren Koritzka, on leave due without cause. At approximately 9:00 p.m.,

                    Dillon-Capps was formally suspended without pay, after a multi-hour conversation with

                    Drummond and Victor Brick who made no mention of adverse employment action .

                    12      Fraudulent Litigation Initiated Under False Pretenses

                    On June 14, 2024, Ohana, represented by Miles & Stockbridge, PC, filed a lawsuit against

                    Dillon-Capps, falsely asserting that he had "seized" control of Ohana' s Microsoft 365 account.

                    Ohana's affidavits, signed by Hartman and Drummond, alleged that Dillon-Capps restricted

                    administrative access to company systems and prevented the organization from regaining

                    control. However, evidence shows that Drummond had entered a written accord with Dillon-

                    Capps on June 7, which would have enabled him to access company systems at any time and

                    provide access to others. Drummond's failure to satisfy the accord on June I 0, 11 , or 13, despite

                    multiple opportunities, underscores the pretextual nature of the lawsuit. Ohana's actions thus


                                                                                                          Page 17 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts   Page # 17 of329                      Exhibit 108
             Case 1:24-cv-03744-BAH               Document 16-10         Filed 01/03/25       Page 18 of 329




                   constitute perjury and bad-faith litigation, as its counsel knew and stated under oath of their

                   knowledge of the FMAL violation.

                    13      Court Admissions and Continued Litigation Misconduct

                   During a hearing on June 26, 2024, Ohana' s counsel, Robert Brennen, admitted that Ohana' s

                   demand for Dillon-Capps to work during protected leave was a clear violation of his FMLA

                    rights. Despite this admission, Ohana proceeded with the lawsuit, misrepresenting Dillon-

                   Capps's actions to the court and engaging in sustained procedural misconduct. Ohana' s

                   continued filings included contradictory affidavits and misrepresentation of all material facts,

                    intending to mislead the court and avoid legal accountability.

                    14      Tactics to Evade Judicial Scrutiny and Accountability

                    In the following months, Ohana and M&S employed procedural tactics designed to evade court

                    scrutiny and accountability. On October 25, 2024, Ohana filed a Notice of Voluntary Dismissal,

                    circumventing an upcoming evidentiary hearing where Plaintiff would have been compelled to

                    substantiate its claims. This filing exemplifies an abuse of process, as it seeks to escape

                    consequences for submitting fraudulent claims and perjured affidavits.

                    15      Harm and Ongoing Damages Suffered by Dillon-Capps

                    Ohana' s actions have inflicted severe personal, financial, and professional harm on Dillon-

                    Capps, as documented in the Affidavit of Harm, Affidavit of Financial Urgency, Amended

                    Affidavit of Plaintifrs Abusive Use of the Judicial System, and Motion for Pro Se

                    Representation of LLC . Dillon-Capps has suffered physical and mental health deterioration

                    due to PTSD exacerbation, manifesting in severe memory issues and malignant catatonia, which

                    is life-thretening. The financial impact has forced Dillon-Capps into economic hardship,


                                                                                                           Page 18 of329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 18 of329                         Exhibit 108
             Case 1:24-cv-03744-BAH               Document 16-10         Filed 01/03/25        Page 19 of 329




                   threatening his personal security, business interests, and the well-being of family dependents.

                    Reputational harm, exacerbated by Dillon-Capps' s inability to engage in his professional field

                    due to legal entanglements, has resulted in lost opportunities and potential investors for his

                    business, MXT3, LLC.

                    16      Necessity for Judicial Intervention and Equitable Relief

                    The ongoing misconduct, perjury, and abuse of process by Plaintiff and Counsel demand

                    immediate judicial intervention. Given the extensive harm Dillon-Capps has endured, these

                    actions call for reciprocal relief to address personal, professional, and financial damages,

                    alongside measures to protect Dillon-Capps from future abuse and to deter similar actions in

                    Maryland' s legal system.


                                IV LEGAL ARGUMENT AND KEY SANCTIONABLE CONDUCT
                    17      This Motion establishes that Plaintiff Ohana and its counsel, Miles & Stockbridge, have

                    engaged in a sustained pattern of malicious and bad-faith litigation, violating Dillon-Capps' s

                    FMLA and ADA rights, obstructing due process, and causing irreparable harm. In support of the

                    seven counterclaims and motions outlined in the PREVENT framework, this section sets forth

                    the legal basis for the equitable relief and reciprocal relief, penalties, and sanctions necessary to

                    protect Dillon-Capps, deter future misconduct, and uphold the integrity of the Maryland judicial

                    system.


                                CORE LEGAL ARGUMENTS FOR SANCTIONABLE CONDUCT




                                                                                                            Page 19 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 19 of 329                      Exhibit 108
             Case 1:24-cv-03744-BAH               Document 16-10         Filed 01/03/25        Page 20 of 329




                    1       Eguitable Defense - Unclean Hands
                    18      Legal Standard and Purpose: The doctrine of unclean hands, and other Equitable

                    Defenses, bars a plaintiff from seeking relief when they have engaged in unethical or fraudulent

                   conduct in relation to the matter at hand.

                    19      Supporting Case Law:

                            Precision Instrument Mfg. Co. v. Automotive Maintenance Machinery Co., 324 U.S. 806

                            ( 1945): Established that courts may deny relief to parties acting in bad faith.

                            Manown v. Adams, 328 Md. 463,615 A.2d 611 (1992): Maryland's highest court

                            emphasized that unclean hands protect judicial integrity and require the court to bar

                            claims tainted by deceit.

                    20      Application to Dillon-Capps's Case: Plaintiff and Counsel's submission of knowingly

                    false affidavits, abuse of voluntary dismissal to evade accountability, and perjury on key issues

                    regarding Dillon-Capps' s employment and leave rights create a compelling basis for applying

                    unclean hands to bar Plaintiffs claims in their entirety.


                    2       Perjury and Fraud Upon the Court
                    21      Legal Standard and Purpose: Maryland criminalizes perjury as any knowingly false or

                    misleading statement made under oath in a judicial proceeding (Md. Code Ann., Crim. Law § 9-

                    101).

                    22      Supporting Case Law:

                            1.      Shifflett v. State, 245 Md. 169, 225 A.2d 440 (1967): Perjury encompasses both

                            falsehoods and omissions intended to mislead.




                                                                                                               Page 20 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 20 of329                         Exhibit 108
              Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25       Page 21 of 329




                            2.      Attorney Grievance Commission v. Agbaje, 438 Md. 695, 93 A.3d 262 (2014):

                            Deliberate deceit and misrepresentations by counsel are serious ethical violations

                            warranting sanctions.

                    23      Application to Dillon-Capps's Case: The affidavits from Hartman and Drummond

                    contain materially false statements that directly misrepresent Dillon-Capps's compliance with

                    company access protocols, standards, and contractual obligations creating a basis for sanctions

                    for perjury and fraud upon the court.


                    3      Bad Faith Litigation - Including Abuse of Process, Frivolous and Vexing
                    Litigation, Malicious Prosecution, and Obstruction of Evidence
                    24      Legal Standard and Purpose: Maryland Rule 1-341 provides courts with authority to

                    impose sanctions for litigation conducted in bad faith, without substantial justification, or for an

                    improper purpose.

                    25      Supporting Case Law:

                            Inlet Assocs. v. Assateague House Condo. Ass 'n, 313 Md. 413, 545 A.2d 1296 (1988):

                            Sanctions warranted for bad faith or lack of substantial justification in litigation.

                            Majority Props., Inc. v. Town ofHancock, 333 Md. 3,633 A.2d 392 (1993): Maryland

                            courts may impose sanctions for frivolous or vexatious litigation.

                    26      Application to Dillon-Capps's Case:

                            l.      Abuse of Process: Plaintiffs actions demonstrate misuse of judicial mechanisms

                            to harass Dillon-Capps and evade scrutiny, particularly through the filing of the Notice of

                            Voluntary Dismissal, and show cause seeking incarceration.

                            2.      Frivolous Litigation: The lawsuit against Dillon-Capps lacked any valid basis,

                            relying on perjured affidavits and fabricated claims, warranting sanctions.
                                                                                                            Page 21 of329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 21 of329                        Exhibit 108
             Case 1:24-cv-03744-BAH               Document 16-10         Filed 01/03/25      Page 22 of 329




                            3.      Malicious Prosecution: The litigation was filed in retaliation for Dillon-Capps' s

                           whistleblowing activities, confirming malicious intent.

                            4.      Obstruction of Evidence: M&S obstructed Dillon-Capps 's access to critical

                            evidence of the June 26th Hearing, preventing a fair defense and obstructing due process.


                   4        Estoppel - Induced Harm and Reliance
                    27      Legal Standard and Purpose: Estoppel bars a party from making inconsistent claims

                    when another has reasonably relied on their prior representations.

                    28      Supporting Case Law:

                            Knapp v. Smethurst, 139 Md. App. 676, 779 A.2d 970 (2001): Estoppel prevents parties

                            from changing their stance after inducing reliance to another' s detriment.

                            Pavel Enterprises, Inc. v. A.S. Johnson Co. , 342 Md. 143,674 A.2d 521 (I 996):

                            Promissory estoppel binds a party to promises relied upon in good faith.

                    29      Application to Dillon-Capps's Case: Plaintiffs contradictory assertions and repeated

                    misrepresentations justify estoppel, barring them from further claims and supporting reciprocal

                    equitable relief to Dillon-Capps.


                    5       Witness Tampering
                    30      Legal Standard and Purpose: Witness tampering involves attempts to influe nce witness

                    testimony improperly, especially through coercion or manipulation.

                    31      Supporting Case Law:

                            Attorney Grievance Commission v. Hodes, 441 Md. 136, I 05 A.3d 533 (2014): Maryland

                            courts impose sanctions for ethical violations including witness manipulation.




                                                                                                          Page 22 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts   Page# 22 of329                       Exhibit 108
             Case 1:24-cv-03744-BAH               Document 16-10         Filed 01/03/25      Page 23 of 329




                    32      Application to Dillon-Capps's Case: Randall Romes and Daniel Levett' s affidavits

                    appear to reflect manipulation, selectively omitting or altering material facts leading them to

                    make incorrect affirmations and influencing their statements. Such conduct by Plaintiff and

                    Counsel supports further scrutiny under oath.


                                                               CONCLUSION

                    33      The Plaintiff's consistent engagement in bad-faith litigation tactics, perjury, procedural

                    abuses, and obstruction of due process establishes a compelling need for sanctions, equitable

                    relief, and dismissal with prejudice. The court is urged to apply the PREVENT framework as a

                    comprehensive remedy to address Dillon-Capps' s immediate harm, deter future abuses, and

                    uphold the integrity of Maryland' s judicial system.


                                                      V PREVENT FRAMEWORK

                                A Protect - Disgualification for Ethical Violations and Misconduct

                    1       Foundations for Disqualification
                    34      Legal Standard: Disqualification is an equitable remedy aimed at protecting the judicial

                    process and ensuring fair representation by removing attorneys who engage in unethical

                    behavior.

                    35      Purpose: Disqualification preserves judicial integrity by removing counsel who have

                    breached ethical duties, avoiding undue influence or procedural advantage.




                                                                                                           Page 23 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts     Page # 23 of329                    Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25        Page 24 of 329




                   2       Judicial Standards and Purpose
                   36      Judicial Standards: Maryland Rule 19-301 .7 (Conflict oflnterest) and Rule 19-303.3

                   (Candor Toward the Tribunal) establish that attorneys must avoid conflicts and uphold honesty

                   before the court.

                   37       Case Law:

                           Attorney Grievance Commission v. Hodes, 441 Md. 136 (2014): Maryland courts have

                            discretion to disqualify counsel for ethical violations that harm the fairness of

                            proceedings.

                            Attorney Grievance Commission v. Agbaje, 438 Md. 695 (2014): Repeated deceit

                            warrants severe disciplinary action, including disqualification.


                    3       Criteria for Imposing Disg_ualification for Misconduct
                    38      Conflict of Interest: Evidence of conflicting interests or divided loyalty.

                    39      Lack of Candor and Ethical Violations: Instances of dishonesty, bad faith, or actions

                    detrimental to the client, the opposing party, or the court.

                    40      Intent to Mislead or Obstruct: Counsel' s actions designed to gain unfair advantage or

                    obstruct the court' s function.


                    4       Maryland Case Law
                    41      Attorney Grievance Commission v. Mixter, 441 Md. 416(2015): Established that

                    deceitful behavior and procedural abuses warrant disqualification, with sanctions extended to

                    prevent further abuse.

                    42      Manown v. Adams, 328 Md. 463 (1992): Confirmed that courts may disqualify counsel

                    when ethical violations impair judicial integrity and the fair administration of justice.


                                                                                                           Page 24 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 24 of 329                      Exhibit 108
             Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25      Page 25 of 329




                    5       Cross-Argument Case Law
                    43      Precision Instrument Mfg. Co. v. Automotive Maintenance Machinery Co. , 324 U.S. 806

                    (1945): Affirmed courts' authority to deny relief when counsel' s conduct is inequitable,

                    supporting the remedy of disqualification.

                    44      Shaffer v. Farm Fresh, Inc., 966 F.2d 142 (4th Cir. 1992): Recognized that unethical

                    behavior by counsel justifies disqualification to preserve fairness.


                    6       A1mlication to Dillon-Ca1212s' s Case
                    45      Ethical Breaches by Miles & Stockbridge: M&S engaged in conflicts of interest,

                    misrepresented facts in filings, and obstructed evidence, violating Maryland Rules of

                    Professional Conduct 19-301.7, 19-303.1 , and 19-303.3.

                    46      Pattern of Misconduct: Counsel repeatedly filed affidavits and motions containing

                    knowingly false statements and withheld evidence. Disqualification is necessary to prevent

                    continued harm to Dillon-Capps, protect judicial integrity, and ensure accountability.


                    7       Conclusion
                    47      Disqualification is warranted to protect Dillon-Capps from further procedural abuses and

                    ensure the court' s proceedings are not tainted by ethical violations or conflicts of interest from

                    Plaintiffs counsel.



                                                 B Restore - Motion to Vacate the TRO

                    1       Foundations for Vacatur ofTRO
                    48      Legal Standard: A TRO obtained through deceptive or fraudulent means violates

                    principles of fairness and should be vacated to restore the status quo.




                                                                                                            Page 25 of 329



Memor:andum of Law in Support of Mandatory Hearing of Adjudicated Facts   Page # 25 of329                      Exhibit 108
             Case 1:24-cv-03744-BAH               Document 16-10         Filed 01/03/25      Page 26 of 329




                   49       Purpose: Vacating the TRO reverses unjust restrictions imposed without due cause,

                   particularly where there was perjury or abuse of process in obtaining it.


                   2        Judicial Standards and Purpose for Vacatur
                    50      Judicial Standards: Courts have broad discretion to vacate orders that were improperly

                   obtained, particularly where evidence of fraud, perjury, or lack of material basis is established.

                    51      Case Law:

                            Precision Instrument Mfg. Co. v. Automotive Maintenance Machinery Co. , 324 U.S. 806

                            (1945): Highlighted the courts' authority to vacate orders founded on bad faith or

                            fraudulent conduct.

                            Schaffer v. Farm Fresh, Inc., 966 F.2d 142 (4th Cir. 1992): Confirmed that courts may

                            vacate rulings to prevent perpetuation of fraud or unfair advantage.


                    3       Criteria for Vacating a TRO
                    52      Fraud or Misrepresentation: The TRO was granted based on inaccurate or perjured

                    statements.

                    53      Absence of Substantive Grounds: Lack of factual or legal basis for the TRO due to

                    reliance on baseless claims.

                    54      Procedural Irregularities: Failure to provide necessary notice or meet criteria for TRO

                    issuance.

                    4       Mazyland Case Law
                    55      Attorney Grievance Commission v. Vanderlinde, 364 Md. 376 (200 I): Established that

                    fraudulent conduct justifies vacatur and strict penalties to deter abuse of court orders.




                                                                                                           Page 26 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 26 of 329                       Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25       Page 27 of 329




                   56        Hammond v. Marketing Management, Inc., 445 Md. 310(2015): Recognized the court's

                    inherent authority to vacate TROs issued without proper evidentiary support or obtained through

                   bad faith.

                    5        Cross-Argument Case Law
                    57       United States v. Beggerly, 524 U.S. 38 (I 998): Stated that equitable relief, including

                    vacatur, is appropriate to prevent the perpetuation of injustice from misleading filings.

                    58       Hazel-Atlas Glass Co. v. Hartford-Empire Co., 322 U.S. 238 (1944): Supported vacatur

                    for judgments based on fraudulent misrepresentation.


                    6        A:twlication to Dillon-Capps' s Case
                    59       Evidence of Fraudulent Basis: The TRO against Dillon-Capps was granted based on

                    affidavits that, as demonstrated, contained knowingly false statements. These perjurious

                    affidavits misled the court into issuing an unwarranted order, imposing restrictions without just

                    cause.

                    60       No Substantive Basis: Given the admissions by Plaintiffs counsel on June 26, 2024,

                    confirming FMLA violations, and conflicting statements within the affidavits, the TRO lacks a

                    legitimate legal or factual basis. Vacatur is necessary to remedy the improper imposition of

                    restrictions on Dillon-Capps.


                    7        Conclusion
                    61       Vacating the TRO is essential to restore Dillon-Capps's rights, as the order was

                    improperly granted and rooted in deceit. This action realigns the case with principles of justice,

                    nullifying the restrictions imposed through Plaintiffs procedural abuses.




                                                                                                            Page 27 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 27 of329                        Exhibit 108
             Case 1:24-cv-03744-BAH               Document 16-10         Filed 01/03/25     Page 28 of 329




                                               C Enforce - Motion to Impose Sanctions

                    1       Foundations for Imposing Sanctions
                    62      Legal Standard: Sanctions serve to deter misuse of the judicial system, especially when

                    parties engage in bad faith litigation, perjury, or abuse of process. Maryland Rule 1-341

                    authorizes courts to impose sanctions to discourage vexatious and frivolous conduct, ensuring

                    accountability and preserving judicial integrity.

                    63      Purpose: Imposing sanctions holds litigants and their counsel accountable for

                    misconduct, deterring future violations and enforcing judicial standards to prevent misuse of

                    court processes.


                    2       Judicial Standards and Pm:pose for Imposing Sanctions
                    64      Judicial Standards: Courts have inherent authority to impose sanctions on parties or

                    counsel engaging in deceptive practices, bad faith litigation, or obstructive conduct.

                    65      Case Law:

                            Attorney Grievance Commission v. Mixter, 441 Md. 416(2015): Established that courts

                            have broad authority to sanction attorneys for misuse of the court system and misleading

                            behavior.

                            Majority Props., Inc. v. Town ofHancock, 333 Md. 3 (1993): Confirmed that sanctions

                            are warranted for frivolous claims and abuses of process, underscoring judicial discretion

                            in enforcing accountability.

                    3       Criteria for Imposing Sanctions
                    66      Bad Faith Litigation: Plaintiff's conduct includes repeated filings of baseless claims and

                    procedural abuse without substantive merit.


                                                                                                             Page 28 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 28 of329                       Exhibit 108
              Case 1:24-cv-03744-BAH              Document 16-10         Filed 01/03/25         Page 29 of 329
       .,




                    67      Misrepresentation and Perjury: False statements in affidavits and motions intended to

                    deceive the court and influence rulings.

                    68      Pattern of Obstruction: Engaging in delay tactics, filing misleading documents, and

                    attempting to evade accountability through voluntary dismissals.


                    4       Maryland Case Law
                    69      Inlet Assocs. v. Assateague House Condo. Ass 'n, 313 Md. 413 ( 1988): Held that sanctions

                    are warranted in cases of bad faith or lack of substantial justification.

                    70      Klupt v. Krongard, 126 Md. App. 179 (1999): Established that parties engaging in

                    deliberate misrepresentation and obstruction are subject to sanctions to deter abusive litigation

                    practices.


                    5       Cross-Argument Case Law
                    71      Roadway Express, Inc. v. Piper, 447 U.S. 752 (1980): The U.S. Supreme Court

                    recognized the inherent authority of courts to impose sanctions to prevent abuse of the judicial

                    process.

                    72      Chambers v. NASCO, Inc. , 50 I U.S. 32 ( 1991 ): Reaffirmed the principle that courts have

                    broad discretion to sanction litigants and counsel who engage in bad-faith or vexatious litigation.


                    6       A1wlication to Dillon-Capps' s Case
                    73      Pattern of Misconduct by Plaintiff and Counsel: Ohana and M&S filed affidavits

                    containing false statements, obstructed evidence, and repeatedly engaged in actions with no legal

                    merit, all aimed at harassing Dillon-Capps.

                    74      Demonstrated Bad Faith: Counsel admitted to FMLA violations in court, and Plaintiff

                    used procedural mechanisms like the TRO and Notice of Voluntary Dismissal to avoid


                                                                                                          Page 29 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 29 of329                    Exhibit 108
              Case 1:24-cv-03744-BAH              Document 16-10         Filed 01/03/25       Page 30 of 329




                    accountability. Sanctions are critical to deter further abuse and compensate Dillon-Capps for the

                    harm caused by Plaintiffs misconduct.


                    7       Conclusion
                    75      Imposing sanctions is necessary to enforce judicial standards, deter Plaintiff and

                    Counsel's continued abuse, and restore judicial integrity. Sanctions will prevent future misuse of

                    the court system and uphold principles of fairness and accountability.



                               D Verify - Motion for Referral for Criminal and Ethical Investigation

                    I       Foundations for Referral for Investigation
                    76      Legal Standard: Courts have the authority to refer matters to external regulatory bodies

                    for investigation where unethical or potentially criminal conduct is alleged. Referrals support

                    judicial integrity by ensuring that behavior violating professional or ethical standards is

                    addressed by appropriate oversight agencies.

                    77      Purpose: A referral for investigation reinforces accountability, allowing independent

                    authorities to evaluate Plaintiffs and Counsel' s conduct, including perjury, witness tampering,

                    obstruction of evidence, and other ethical violations.


                    2       Judicial Standards and Pml)ose for Referral
                    78      Judicial Standards: Maryland courts recognize that maintaining judicial integrity

                    involves addressing potential ethical and criminal violations through referrals. Judicial referrals

                    uphold the court' s role in safeguarding the legal profession's ethical standards and ensuring

                    justice is served.

                    79      Case Law:



                                                                                                           Page 30 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts   Page# 30 of329                       Exhibit 108
              Case 1:24-cv-03744-BAH              Document 16-10         Filed 01/03/25     Page 31 of 329




                             Attorney Grievance Commission v. Vanderlinde, 364 Md. 376 (200 I): Established that

                             unethical conduct warrants investigation and, where appropriate, disciplinary measures.

                            Attorney Grievance Commission v. Mixter, 441 Md. 416 (2015): Supported referral for

                             investigation in cases of persistent misconduct, where unethical actions undermine

                            judicial integrity.


                    3        Criteria for Referral for Criminal and Ethical Investigation
                    80      Probable Cause of Unethical or Criminal Conduct: Evidence indicating serious

                    misconduct, including perjury, obstruction, and abuse of court processes.

                    81      Intentional Misrepresentation: False statements intended to deceive the court and

                    manipulate judicial outcomes.

                    82      Obstruction and Witness Tampering: Plaintiff and Counsel's conduct raises credible

                    concerns about obstruction ofjustice and influencing witness statements.

                    4       Mazyland Case Law
                    83      Attorney Grievance Commission v. Mixter, 441 Md. 416(2015): Maryland courts assert

                    that credible allegations of misconduct warrant investigation by regulatory bodies, especially

                    where the conduct could impact the fairness of judicial proceedings.

                    84      Attorney Grievance Commission v. Rand, 411 Md. 83 (2009): Reinforced the necessity of

                    external review in cases where an attorney's actions demonstrate intentional dishonesty or

                    misrepresentation in legal proceedings.




                                                                                                        Page 31 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts   Page# 31 of329                     Exhibit 108
              Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25       Page 32 of 329




                    5       Cross-Argument Case Law
                    85      Chambers v. NASCO, Inc., 501 U.S. 32 (1991): U.S. Supreme Court acknowledged that

                    courts may refer matters to authorities for criminal or ethical investigation where litigant or

                    attorney misconduct undermines judicial processes.

                    86      Young v. United States ex rel. Vuitton et Fils S.A., 481 U.S. 787 (1987): Established that

                    courts have authority to address misconduct that undermines the administration of justice,

                    including referring cases for criminal investigation where warranted.


                    6       Ai;mlication to Dillon-Capps' s Case
                    87      Evidentiary Basis for Referral: The affidavits, motions, and other court submissions

                    from Plaintiff and Counsel reveal patterns of perjury, witness tampering, and obstruction. The

                    filing of affidavits with false statements, manipulation of evidence, and evasion of accountability

                    through procedural tactics provide ample grounds for referral to regulatory and criminal bodies.

                    88      Specific Incidents Warranting Investigation: Plaintiffs reliance on false affidavits,

                    repeated misrepresentations, and Counsel' s failure to address Dillon-Capps 's challenges to their

                    ethics underscore the need for formal investigation. A referral will enable independent

                    authorities to review these practices and uphold the integrity of judicial processes.


                    7       Conclusion
                    89      A referral for criminal and ethical investigation is essential to verify Plaintiff and

                    Counsel ' s accountability, reinforcing legal standards and maintaining the integrity of the court.

                    This referral serves as an independent check, ensuring that violations of legal and ethical

                    standards are thoroughly addressed.



                           E Ensure - Motion for Injunction to Prevent Future Abuse of Court Process
                                                                                                            Page 32 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 32 of 329                      Exhibit 108
             Case 1:24-cv-03744-BAH               Document 16-10         Filed 01/03/25       Page 33 of 329




                    1       Foundations for Injunctive Relief
                    90      Legal Standard: Injunctive relief serves as an equitable remedy to prevent ongoing or

                    future harm, particularly where parties have demonstrated a pattern of bad-faith litigation,

                    harassment, or procedural abuse. Under Maryland law, courts can issue an injunction to prohibit

                    further harmful actions that threaten judicial integrity or cause irreparable harm to litigants.

                    91      Purpose: An injunction aims to ensure that Plaintiff is prevented from pursuing further

                    abusive litigation without prior court approval, addressing both ongoing and potential future

                    harm.


                    2       Judicial Standards and Pumose for Issuing an Injunction
                    92      Judicial Standards: Courts may grant injunctive relief when a party ' s conduct suggests

                    likely future abuse or continued harm if not restricted. Maryland courts support issuing

                    injunctions when procedural abuses disrupt judicial proceedings, with the objective of ensuring

                    fairness and judicial economy.

                    93      Case Law:

                            State Comm 'non Human Relations v. Amecom Div., Litton Systems, Inc. , 278 Md. 120

                            (1976): Affirmed that injunctive relief is appropriate when there is a continuing threat of

                            harm or abuse that courts have a duty to prevent.

                            J.L. Matthews, Inc. v. Maryland-Nat'/ Capital Park & Planning Comm 'n, 368 Md. 71

                            (2002) : Maryland's highest court affirmed that injunctions serve as preventative measures

                            to safeguard against improper actions that interfere with lawful proceedings.




                                                                                                            Page 33 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 33 of 329                       Exhibit 108
             Case 1:24-cv-03744-BAH               Document 16-10         Filed 01/03/25       Page 34 of 329




                    3       Criteria for Granting an Injunction Against Further Abuse
                    94      Likelihood of Continued Abuse: Evidence of repeated procedural abuses or baseless

                    filings by Plaintiff indicating likely future misconduct if left unchecked.

                    95      Irreparable Harm and Judicial Integrity: Plaintiff's actions threaten Dillon-Capps' s

                    rights and undermine judicial integrity, warranting an injunction to preserve court resources and

                    prevent continued harm.

                    96      Lack of Adequate Remedy at Law: Monetary damages alone cannot adequately prevent

                    the recurrence of abuse or address the systemic impact of Plaintiffs actions.


                    4       Mai:yland Case Law
                    97      State Comm 'non Human Relations v. Amecom Div., Litton Systems, Inc., 278 Md. 120

                    (1976): Maryland courts recognize injunctions as essential to preventing ongoing harm and abuse

                    when legal remedies are insufficient.

                    98      El Bey v. Moorish Science Temple ofAmerica, Inc., 362 Md. 339 (2001): An injunction

                    was upheld where repeated filings by the plaintiff disrupted judicial resources, illustrating the

                    court's authority to protect against vexatious litigation.


                    5       Cross-Argument Case Law
                    99      Clinton v. Jones, 520 U.S. 681 (1997): Established that injunctions may be necessary to

                    prevent continued abusive litigation practices that harm an individual's rights or the judicial

                    process.

                    JOO     Matter ofMartin-Trigona, 737 F.2d 1254 (2d Cir. 1984): Courts may enjoin parties from

                    filing further lawsuits without prior approval if their litigation history demonstrates a pattern of

                    abusive filings.


                                                                                                           Page 34 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 34 of329                       Exhibit 108
              Case 1:24-cv-03744-BAH              Document 16-10         Filed 01/03/25       Page 35 of 329




                    6       Am;,lication to Dillon-Capps' s Case
                    I 01    Pattern of Abusive Filings by Plaintiff: Plaintiff has engaged in baseless litigation,

                    delay tactics, and repetitive filings aimed solely at harassment. These actions indicate a high

                    likelihood of continued abuse, justifying the need for an injunction to prevent future misconduct.

                    102     Harm to Judicial Resources and Dillon-Capps: Plaintiff's continued misuse of the

                    court system depletes judicial resources, prolongs harm to Dillon-Capps, and perpetuates

                    emotional and financial strain. Injunctive relief is essential to safeguard judicial integrity and

                    prevent future harm.


                    7       Conclusion
                    103     An injunction is necessary to ensure that Plaintiff and Counsel do not continue abusing

                    the judicial system through baseless filings or further misconduct. This injunction will uphold the

                    integrity of judicial processes, protect Dillon-Capps from ongoing hann, and deter future misuse

                    of court resources.



                                F Neutralize - Motion for a Better Maryland with Reciprocal Relief

                    1       Foundations for Reciprocal Financial Relief
                    I 04    Legal Standard: Maryland law supports the imposition of equitable relief to counteract

                    harm inflicted by bad-faith litigation, including reciprocal penalties to neutralize the financial

                    impact on harmed parties. This relief aims to place the burden of harm back onto those

                    responsible for its creation, upholding fairness and deterring similar misconduct in the future.

                    I 05    Purpose: The reciprocal relief requested here serves to balance the extensive hann

                    inflicted on Dillon-Capps through financial restitution and penalties assessed against each

                    individual involved in the misconduct.

                                                                                                            Page 35 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 35 of329                        Exhibit 108
             Case 1:24-cv-03744-BAH               Document 16-10         Filed 01/03/25       Page 36 of 329




                   2         Judicial Standards and Purpose for Reciprocal Relief
                    l 06     Judicial Standards: Reciprocal financial relief is warranted when a party' s intentional

                    misconduct results in significant financial, reputational, and personal harm to another. Maryland

                   courts may order reciprocal relief to restore balance and deter malicious conduct, addressing

                    harm proportionately to the severity and pervasiveness of the abuse.

                    107      Case Law:

                             Inlet Assocs. v. Assateague House Condo. Ass'n, 313 Md. 413, 545 A.2d 1296 (1988):

                             Maryland courts require accountability and deterrence where misconduct in litigation

                             causes substantial harm, authorizing sanctions and reciprocal relief.

                             Majority Props. , Inc. v. Town ofHancock, 333 Md. 3, 633 A.2d 392 ( 1993): Recognized

                             that reciprocal financial penalties may be imposed to address unjust enrichment from

                             litigation abuse.


                    3        Criteria for Reciprocal Financial Relief
                    l 08     Equitable Balance of Harm: Relief seeks to counteract the financial and personal toll

                    inflicted upon Dillon-Capps due to Plaintiffs bad-faith litigation, assessed on a per-individual

                    basis.

                    109      Intent to Deter Future Misconduct: The financial burden placed on Plaintiff and its

                    representatives reflects the intent to deter similar misconduct in future cases.

                    110      Reciprocal Liability for Individual Participants: Reciprocal relief should be applied

                    individually to each agent involved, creating personal accountability for contributions to the

                    cumulative harm inflicted.




                                                                                                          Page 36 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 36 of329                      Exhibit 108
              Case 1:24-cv-03744-BAH              Document 16-10         Filed 01/03/25      Page 37 of 329




                    4        Maryland Case Law
                    111      Inlet Assocs. v. Assateague House Condo. Ass 'n, 313 Md. 413 (1988): The court imposed

                    reciprocal relief where defendants' litigation tactics created substantial harm, underscoring the

                    principle that misconduct should carry financial consequences.

                    112      Kramer v. Emche, 64 Md. App. 27, 494 A.2d 225 (1985): Affirmed that financial

                    penalties may be assessed individually to deter collective misconduct and prevent recurrence of

                    abuse.


                    5        Cross-Argument Case Law
                    113      Chambers v. NASCO, Inc., 501 U.S. 32 (1991): U.S. Supreme Court upheld sanctions to

                    recoup financial harm caused by bad-faith litigation, underscoring the necessity of penalties that

                    mirror the impact of the misconduct.

                    114      Roadway Express, Inc. v. Piper, 447 U.S. 752 (1980): Recognized that financial sanctions

                    may be required to offset the harm and deter litigants who manipulate the judicial system to

                    inflict financial damage on opposing parties.


                    6        Application to Dillon-Capps' s Case
                    115      Basis for Reciprocal Relief: Plaintiffs bad-faith litigation has imposed severe financial

                    strain, reputational harm, and personal hardship on Dillon-Capps, justifying a per-individual

                    financial penalty to balance the harm caused. Each responsible party should be held liable in a

                    reciprocal manner, creating individual financial accountability for their respective roles in the

                    misconduct.




                                                                                                          Page 37 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts   Page# 37 of329                       Exhibit 108
             Case 1:24-cv-03744-BAH               Document 16-10         Filed 01/03/25       Page 38 of 329




                   116      Scope of Relief: The cumulative financial relief includes reciprocal penalties against all

                   fourteen individuals involved, ensuring that each participant is held accountable for their

                   contributions to Dillon-Capps' s hann.


                    7       Conclusion
                    117     Reciprocal financial relief is essential to neutralize the financial impact of Plaintiffs and

                    Counsel's sustained litigation abuse. This relief establishes individual responsibility, deters

                    future misconduct, and restores the equitable balance compromised by Plaintiff's bad-faith

                    actions.


                        G Terminate - Motion to Dismiss with Prejudice for a June 13th Worth of Reasons

                    1       Foundations for Permanent Dismissal with Prejudice
                    118     Legal Standard: A motion to dismiss with prejudice pennanently closes the case and

                    prevents refiling, typically granted when the plaintiffs claims are found to be baseless,

                    malicious, or filed with intent to harass. Maryland law provides for dismissal with prejudice to

                    prevent further abuse of the legal system and to protect defendants from ongoing or repeat

                    litigation rooted in bad faith.

                    119        Purpose: Dismissal with prejudice serves to finalize Dillon-Capps' s protection from

                    further harassment by pennanently ending the plaintiff's baseless claims, reflecting the doctrines

                    of unclean hands, estoppel, and abuse of process to prevent relitigation.


                    2          Judicial Standards and Pm1>ose for Dismissal with Prejudice
                    120        Judicial Standards: Courts may dismiss with prejudice if claims lack legal or factual

                    foundation, are used to harass, or are barred by equitable doctrines like unclean hands or




                                                                                                            Page 38 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts     Page # 38 of 329                     Exhibit 108
             Case 1:24-cv-03744-BAH               Document 16-10         Filed 01/03/25       Page 39 of 329




                    estoppel. Maryland courts emphasize that dismissal with prejudice is warranted where litigation

                    is used as a tool for retaliation, devoid of legitimate grounds.

                    121     Case Law:

                            Deleon v. Stear, 328 Md. 569, 616 A.2d 380 (I 992): Maryland' s highest court confirmed

                            that courts may dismiss cases with prejudice when litigants abuse legal processes for

                            improper purposes.

                            Standard Fire Ins. Co. v. Berrett, 395 Md. 439,9 10 A.2d 1072 (2006): Established that

                            dismissal with prejudice is an appropriate remedy where one party' s conduct

                            demonstrates an intent to misuse the judicial process.


                    3       Criteria for Imposing Dismissal with Prejudice
                    122     Frivolous or Baseless Claims: Plaintiffs claims lack legal merit and are contradicted by

                    factual evidence, showing no substantive grounds for pursuing litigation.

                    123     Intent to Harass or Retaliate: Evidence supports that the litigation was initiated and

                    maintained with intent to retaliate against Dillon-Capps for protected actions, not to resolve

                    legitimate disputes.

                    124     Failure to Act in Good Faith: Plaintiffs conduct in initiating, maintaining, and

                    attempting to dismiss the case demonstrates bad faith and procedural abuse, violating equitable

                    standards.


                    4       Maryland Case Law
                    125     Deleon v. Slear, 328 Md. 569 (1992): Maryland courts affirm that dismissal with

                    prejudice is justified where litigants act in bad faith or use litigation as a means of harassment.




                                                                                                            Page 39 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 39 of329                      Exhibit 108
             Case 1:24-cv-03744-BAH               Document 16-10         Filed 01/03/25      Page 40 of 329




                    126     Christian v. Maternal-Fetal Medicine Assocs. ofMd., LLC, 459 Md. 1, 183 A.3d 762

                    (2018): Courts are empowered to dismiss with prejudice to protect defendants from baseless

                    litigation and maintain judicial integrity.


                    5       Cross-Argument Case Law
                    127     Chambers v. NASCO, Inc., 501 U.S. 32 (1991): Reinforced that dismissal with prejudice

                    is an appropriate sanction for parties who abuse judicial proceedings, ensuring defendants are not

                    subject to prolonged harassment.

                    128     Curtis v. Citibank, NA., 226 F.3d I 33 (2d Cir. 2000): Courts may permanently dismiss

                    claims that are found to be harassing, retaliatory, or lacking in merit, particularly when they

                    reflect a pattern of procedural abuse.


                    6       Application to Dillon-Capps's Case
                    129     Grounds for Dismissal with Prejudice: Plaintiffs lawsuit, rooted in perjured affidavits,

                    misrepresentations, and malicious intent, constitutes a clear abuse of legal process and lacks

                    merit. The dismissal would serve to protect Dillon-Capps from further harm and prevent Plaintiff

                    from re-litigating baseless claims.

                    130     Finality of Protection: The relief sought is permanent, ensuring Plaintiff and Counsel

                    cannot continue to exploit legal processes to intimidate or harass Dillon-Capps, thus upholding

                    fairness and judicial economy.


                    7       Conclusion
                    13 I    Dismissal with prejudice is essential to conclude this litigation and protect Dillon-Capps

                    from continued harm . It reflects both the doctrines of unclean hands and abuse of process,




                                                                                                          Page 40 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts   Page # 40 of 329                     Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25      Page 41 of 329




                   ensuring that the Plaintiff cannot reinitiate the claims and that Dillon-Capps receives finality

                   from the ongoing misconduct.


                                                              VI STATUTES

                               A FAMILY AND MEDICAL LEAVE ACT ffMLA) VIOLATIONS

                    1       Legal Standard and Prima Facie Elements
                    132     The Family and Medical Leave Act (FMLA), 29 U.S.C. § 2615, guarantees eligible

                    employees up to 12 weeks of unpaid, job-protected leave for serious health conditions, and it

                    expressly prohibits both interference with FMLA rights and retaliation against employees who

                    exercise those rights. The relevant provisions here are:

                    Interference with FMLA Rights (29 U.S .C. § 2615(a)(l)): Employers are prohibited from
                    interfering with, restraining, or denying the exercise or attempt to exercise any FMLA rights.
                    Retaliation for Exercising FMLA Rights (29 U.S.C. § 2615(a)(2)): Employers may not
                    retaliate against employees who use or seek to use FMLA leave by taking adverse employment
                    actions that would dissuade a reasonable employee from exercising their rights.

                    2       Prima Facie Elements of FMLA Interference
                    133     To establish a prima facie case of interference under the FMLA, a plaintiff must

                    demonstrate:

                    Eligibility for FMLA Leave: The employee was eligible under FMLA standards.
                    Entitlement to FMLA Leave: The employee had a qualifying reason for FMLA leave.
                    Employer Knowledge: The employee provided appropriate notice of the need for leave.
                    Denial or Disruption of FMLA Rights: The employer denied, obstructed, or otherwise
                    interfered with the employee's rights under FMLA.

                    3       Retaliation Defined
                    134     Under the FMLA, retaliation refers to any adverse employment action taken by an

                    employer against an employee for exercising or attempting to exercise their FMLA rights.
                                                                                                          Page 41 of329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 41 of329                      Exhibit 108
             Case 1:24-cv-03744-BAH               Document 16-10         Filed 01/03/25     Page 42 of 329




                    Retaliation can include actions such as termination, suspension, demotion, or any other measure

                    that would deter a reasonable employee from asserting their rights under the FMLA. The

                    FMLA's anti-retaliation provisions, codified at 29 U.S.C. § 26 I 5(a)(2), protect employees from

                    punitive responses by employers who might otherwise seek to discourage the use of FMLA

                    leave.

                    135      To establish a retaliation, claim under the FMLA, the following elements must be proven:

                    Exercise of FMLA Rights: The employee engaged in a protected activity by taking or
                    requesting FMLA leave.
                    Adverse Employment Action: The employer took a materially adverse action against the
                    employee that would dissuade a reasonable worker from exercising FMLA rights.
                    Causal Connection: A causal relationship exists between the employee's protected activity and
                    the adverse employment action.

                    4        SuJJporting Case Law
                    136      Hoge v. Honda of Am. Mfg., Inc., 384 F.3d 238 (6th Cir. 2004) (Judge Boggs): In

                    Hoge, the court held that "interference with an employee' s FMLA rights occurs when an

                    employer' s actions discourage or obstruct the employee's legitimate use of leave." Ohana's

                    demand that Dillon-Capps report to work during approved FMLA leave constitutes such

                    interference, as it pressured them to abandon their leave.

                    137      Burlington N. & Santa Fe Ry. Co. v. White, 548 U.S. 53 (2006) (Justice Breyer): The

                    Burlington decision established that retaliation includes any action that would deter a reasonable

                    employee from exercising their rights. Ohana' s disciplinary threats and suspension of Dillon-

                    Capps would dissuade a reasonable person from using FMLA leave, thereby constituting

                    retaliation.



                                                                                                         Page 42 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts   Page# 42 of329                     Exhibit 108
              Case 1:24-cv-03744-BAH              Document 16-10         Filed 01/03/25       Page 43 of 329




                       5      Application to Dillon-Capps' Case
                  I.       FMLA INTERFERENCE

                       138    Eligibility and Entitlement to FMLA Leave: Dillon-Capps initially requested

                       intennitttnt FMLA leave on January 4, 2024, for a qualifying serious health condition-PTSD-

                       which required both leave and periodic accommodations. Their healthcare provider completed

                       the necessary FMLA certification forms and provided an additional letter to support Dillon-

                       Capps' s need for intermittent leave. Ohana subsequently approved Dillon-Capps' s FMLA

                       request, affirming their eligibility and entitlement to FMLA leave. Statements by Ohana and its

                       counsel, as well as HR documentation, confirm Dillon-Capps's authorized right to take

                       intermittent FMLA leave as needed.

                       139    Employer Knowledge and Notice Provided: On the morning of June 13, 2024, Dillon-

                       Capps provided notice to Ohana that they would be using FMLA leave that day due to health

                       concerns related to PTSD. This notice was issued approximately two hours before Richard

                       Hartman, Vice-President of Human Resources, sent an email demanding Dillon-Capps's return

                       to work immediately and complete demands by 3:00 p.m. Hartman' s email conveyed a coercive

                       threat: comply with the demand or face disciplinary action. This demand occurred after Dillon-

                       Capps had invoked their legally protected right to FMLA leave, effectively disrupting and

                       denying Dillon-Capps' s entitlement to the leave for which they had already provided notice.

                       140    Denial or Disruption of FMLA Rights: Hartman's threat and disciplinary action

                       constitute clear interference with Dillon-Capps' s FMLA rights. By demanding that Dillon-Capps

                       return to work despite an approved and properly noticed FMLA leave, Ohana attempted to

                       obstruct Dillon-Capps's exercise of FMLA rights. This demand pressured Dillon-Capps to forgo


                                                                                                          Page 43 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 43 of 329                     Exhibit 108
             Case 1:24-cv-03744-BAH                 Document 16-10         Filed 01/03/25      Page 44 of 329




                   their leave to avoid adverse action, creating a hostile and coercive environment that directly

                   contravenes the protections provided under the FMLA.


                 11.         FMLA RETALIATIQN

                       141       Exercise of FMLA Rights: Dillon-Capps exercised their protected FMLA rights on June

                       13, 2024, by notifying Ohana of their need to take intermittent leave for health reasons.

                       142       Adverse Employment Action: Following this notice, Ohana subjected Dillon-Capps to

                       adverse actions, including the coercive demand to return to work under threat of discipline and a

                       subsequent suspension without pay. These actions constitute significant adverse employment

                       measures, each of which would deter a reasonable employee from using FMLA leave in the

                       future.

                       143       Causal Connection: The temporal proximity between Dillon-Capps' s exercise of FMLA

                       rights and Ohana's adverse actions demonstrates a direct causal link. The coercive demand was

                       issued just two hours after Dillon-Capps provided notice of their need for leave, and the

                       suspension followed shortly thereafter. Ohana' s rapid disciplinary response strongly indicates

                       that these actions were retaliatory, motivated by Dillon-Capps' s decision to exercise their FMLA

                       rights.


                       6         Conclusion
                       144       Ohana' s actions on June 13, 2024, fulfill the prima facie elements of both FMLA

                       interference and retaliation. Dillon-Capps was entitled to FMLA leave, properly notified their

                       employer, and yet faced coercive demands and suspension in response. Admissions by Richard

                       Hartman in his June 14 affidavit and statements by counsel during the June 26 hearing further

                       affirm Ohana' s knowledge of the unlawful nature of these demands. The actions taken against

                                                                                                             Page 44 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts      Page# 44 of 329                        Exhibit 108
             Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25     Page 45 of 329




                    Dillon-Capps violated both the spirit and letter of the FMLA, constituting clear interference with

                    and retaliation for their lawful exercise of FM LA rights.


                               B AMERICANS WITH DISABILITIES ACT (ADA) VIOLATIONS

                    1       Legal Standard and Prima Facie Elements
                    145     The Americans with Disabilities Act (ADA), under 42 U .S.C. § 12112, prohibits

                    employers from discriminating against qualified individuals with disabilities. This includes a

                    requirement to provide reasonable accommodations to employees with disabilities unless doing

                    so would impose an undue hardship on the employer. The ADA also prohibits retaliation against

                    employees for asserting their rights under the Act.


                    2       Prima Facie Elements of ADA Failure to Accommodate
                    146     To establish a prima facie case for failure to accommodate under the ADA, a plaintiff

                    must demonstrate:

                    Qualified Individual with a Disability: The employee has a recognized disability that

                    substantially limits one or more major life activities, and they are otherwise qualified to perform

                    the essential functions of their job with or without accommodations.

                    Employer Knowledge: The employer was aware of the employee's disability and need for

                    accommodation.

                    Reasonable Accommodation Request: The employee requested a reasonable accommodation

                    that would enable them to manage their disability.

                    Denial of Accommodation: The employer failed to provide, or engage in the interactive process

                    to determine, a reasonable accommodation, thereby denying the employee their rights under the

                    ADA.

                                                                                                          Page 45 of 329



Memorandum of Law in Support of Mandatory Hearing of Adj udicated Facts    Page # 45 of329                    Exhibit 108
              Case 1:24-cv-03744-BAH                     Document 16-10   Filed 01/03/25       Page 46 of 329




                       3       Prima Facie Elements of ADA Retaliation
                       147     To establish a prima facie case of ADA retaliation, a plaintiff must show:

                    Protected Activity: The employee engaged in a protected activity, such as requesting or using
                    an accommodation.
                       Adverse Employment Action: The employer took adverse action against the employee.
                       Causal Connection: A causal link exists between the protected activity and the adverse action.

                    4          Supporting Case Law
                       148     EEOC v. Ford Motor Co., 782 F.3d 753 (6th Cir. 2015) (Judge Gibbons): This case

                       affirmed that reasonable accommodations, such as leave or flexibility in work requirements,

                       must be honored if they do not impose undue hardship on the employer. Ohana' s refusal to honor

                       Dillon-Capps's intermittent leave- without claiming undue hardship--constitutes a clear ADA

                       violation.

                       149     Taylor v. Phoenixville Sch. Dist., 184 F.3d 296 (3d Cir. 1999) (Judge Cowen): In

                       Taylor, the court held that an employer must engage in the interactive process to determine a

                       reasonable accommodation and cannot disregard approved accommodations. Ohana' s failure to

                       respect Dillon-Capps's pre-approved leave as an accommodation, followed by retaliatory

                       actions, demonstrates a failure to adhere to ADA standards.


                       5       A1;mlication in Dillon-Capps' Case
                  I.       AD.A.f.AJJ..J.JM. J9. 1.\5;.C::.Q.MM.O.O.AJ&

                       150      Qualified Individual with a Disability: Dillon-Capps is a qualified individual with a

                       disability under the ADA due to their diagnosed PTSD, a condition that substantially limits

                       major life activities related to mental health. This condition was documented by Dillon-Capps' s

                       healthcare provider, who completed the necessary ADA documentation in January 2024,


                                                                                                            Page 46 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts     Page# 46 of329                      Exhibit 108
             Case 1:24-cv-03744-BAH                Document 16-10        Filed 01/03/25       Page 47 of 329




                   certifying Dillon-Capps' s need for both leave and periodic accommodations to manage their

                   disability.

                   151         Employer Knowledge and Accommodation Approval: Ohana was fully aware of

                   Dillon-Capps' s PTSD and their need for intermittent leave as an accommodation. On January 4,

                   2024, Dillon-Capps requested intermittent leave as a reasonable accommodation for their PTSD,

                   which was substantiated by healthcare provider documentation. Ohana reviewed and approved

                   this request, confirming Dillon-Capps's entitlement to intermittent leave whenever their

                   condition required it. Statements by Ohana and its counsel, as well as documented approvals,

                   confirm the employer's knowledge of and consent to Dillon-Capps' s right to use this leave as an

                   accommodation under the ADA.

                       152     Denial of Accommodation on June 13, 2024: Despite this prior approval, on June 13,

                    2024, Ohana directly violated Dillon-Capps's ADA rights by demanding that they report to work

                    that day, despite Dillon-Capps's notice two hours earlier that they were exercising their right to

                       intermittent leave due to health needs. Richard Hartman' s demand, coupled with a threat of

                    disciplinary action if Dillon-Capps did not comply, constituted an outright denial of the

                    previously approved accommodation. Instead of respecting Dillon-Capps' s lawful right to take

                       leave for their disability, Ohana issued a coercive ultimatum, disrupting Dillon-Capps's use of

                       their leave and contravening ADA-mandated accommodations.

                 II.         ADA RETALIATION,

                       153      Protected Activity: Dillon-Capps engaged in protected activity under the ADA by

                       notifying Ohana of their need to use intermittent leave on June 13, 2024, due to their PTSD. This



                                                                                                           Page 47 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts     Page # 47 of329                      Exhibit 108
             Case 1:24-cv-03744-BAH               Document 16-10         Filed 01/03/25     Page 48 of 329




                   notice was provided to Ohana in compliance with the ADA, as part of Dillon-Capps's approved

                   accommodation.

                    154     Adverse Employment Action: Following Dillon-Capps' s exercise of their right to use

                   leave, Ohana took adverse actions, including issuing a coercive demand that they return to work

                   and subsequently suspending them without pay. These actions constituted a significant adverse

                   employment action that would deter a reasonable employee from using ADA-protected

                    accommodations in the future.

                    155     Causal Connection: The temporal proximity between Dillon-Capps's use of their leave

                    and Ohana's adverse actions on the same day demonstrates a direct retaliatory response. Ohana's

                    disciplinary threats and suspension immediately followed Dillon-Capps's notification of their

                    leave, evidencing a causal link between the assertion of ADA rights and Ohana's retaliation.


                    6       Conclusion
                    156     Ohana' s actions on June 13, 2024, meet the legal requirements for both failure to

                    accommodate and retaliation under the ADA. Dillon-Capps' s PTSD qualifies as a disability,

                    Ohana was fully aware of the need for intermittent leave, and Ohana unlawfully interfered with

                    Dillon-Capps's use of this accommodation by imposing a coercive demand and issuing a

                    suspension. These actions constitute an outright denial of ADA rights and a retaliatory response

                    to Dillon-Capps's lawful exercise of those rights, in violation of the ADA.


                                                       C Whistleblower Violations

                    1       Legal Standard and Prima Facie Elements
                    157     The Sarbanes-Oxley Act (SOX) ( 18 U .S.C. § 1514A) and Maryland state law provide

                    robust protections for employees who report fraud or misconduct within their organizations.

                                                                                                         Page 48 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts   Page # 48 of329                     Exhibit 108
              Case 1:24-cv-03744-BAH              Document 16-10         Filed 01/03/25     Page 49 of 329




                   Maryland's whistleblower protections are encapsulated in the Maryland Whistleblower Law

                   (Md. Code Ann., Lab. & Empl. § 5-305), which prohibits employers from retaliating against

                   employees who report violations of laws, regulations, or unethical practices. Both SOX and

                   Maryland law protect employees who, in good faith, report misconduct internally or externally to

                    relevant authorities.

                    2       Prima Facia Elements of Whistleblower Retaliation under Maryland Law
                    158     Under Maryland law, a prima facie case of whistleblower retaliation requires:

                            1.      Protected Disclosure: The employee made a disclosure of information that the
                            employee reasonably believed evidenced a violation of law or misconduct.
                            2.      Employer Knowledge: The employer was aware of the disclosure.
                            3.      Adverse Employment Action: The employer took an adverse employment action
                            against the employee.
                            4.      Causal Connection: There exists a causal link between the employee's protected
                            disclosure and the employer' s adverse action.
                    3       Prima Facie Elements of Whistleblower Retaliation under SOX
                    159     To establish a prima facie case for whistleblower retaliation under SOX, a plaintiff must

                    show:

                            1.      Protected Activity: The employee engaged in a protected activity by making a
                            disclosure that they reasonably believed evidenced fraud, violations of federal law, or
                            other forms of corporate misconduct.
                            2.      Employer Knowledge: The employer knew of the employee' s disclosure.
                            3.      Adverse Employment Action: The employer took a materially adverse action
                            against the employee.
                            4.      Causal Connection: There is a causal relationship between the protected activity
                            and the adverse action taken by the employer.
                    4       Supporting Case Law
                    160     Lawson v. FMR LLC, 571 U.S. 429 (2014) (Justice Ginsburg): This case confirmed that

                    SOX protects employees from retaliation for reporting corporate wrongdoing, including fraud or



                                                                                                        Page 49 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts   Page# 49 of3 29                    Exhibit 108
              Case 1:24-cv-03744-BAH                       Document 16-10                Filed 01/03/25     Page 50 of 329




                    violations of law. Ohana's suspension of Dillon-Capps after their whistleblower disclosure is

                    precisely the kind of retaliatory conduct prohibited by SOX.

                    161          Klopfenstein v. PCC Flow Techs. Holdings, Inc., 2004-SOX-l l (Judge Sutton):

                    Klopfenstein established that retaliation under SOX can be demonstrated by adverse action

                    immediately following a protected disclosure. The temporal proximity of Ohana's retaliatory

                    actions to Dillon-Capps's whistleblower disclosures underscores the retaliation claim.

                    162          Adams v. Manown, 328 Md. 463,615 A.2d 611 (1992) (Judge Eldridge): In Adams, the

                    Maryland Court of Appeals emphasized that Maryland' s whistleblower laws protect employees

                    from retaliation for good-faith reporting of workplace misconduct or legal violations. Ohana' s

                    retaliatory suspension, immediately following Dillon-Capps's report of misconduct, violates

                    Maryland' s whistleblower protections under Md. Code Ann., Lab. & Empl. § 5-305.

                       163       Hicks v. Gilbert, 135 Md. App. 394, 762 A.2d 986 (2000) (Judge Eyler): Maryland

                    courts recognize temporal proximity as a key indicator of causation in whistleblower cases. Here,

                    the close timing between Dillon-Capps's protected disclosure and Ohana's adverse action

                    supports a finding of retaliatory intent.

                       5         Application in Dillon-Capps' Case
                  I.         fB.QT.l;~It;Q.RtS.<;J.,.QS.URE.<\"N.D.EMl'J.,.O.Y.J;R.K"NQ:WJ.,J;R.QJ;

                       164        On June 13, 2024, at 2:05 p.m., Dillon-Capps sent an email and a series of text messages

                       to Ohana's President, Justin Drummond, and other executives, detailing concerns regarding

                       internal misconduct and potential fraud within Ohana. These disclosures highlighted Dillon-

                       Capps's observations of corporate mismanagement, fraud, and harassment-all protected




                                                                                                                      Page 50 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts                    Page # 50 of329                Exhibit 108
              Case 1:24-cv-03744-BAH               Document 16-10         Filed 01/03/25      Page 51 of 329




                    disclosures under both SOX and Maryland' s whistleblower statutes, as they were intended to

                    expose potential violations of law and unethical conduct within the company.

                       165     Maryland ' s whistleblower protections specifically shield employees from adverse actions

                       following disclosures of suspected legal violations or corporate misconduct. Dillon-Capps' s

                    disclosures, made directly to company leadership, qualify as protected activities under Md. Code

                    Ann., Lab. & Empl. § 5-305 and SOX. Ohana, through its senior executives, received these

                    reports and thus had knowledge of Dillon-Capps's whistleblower activities.

                 II.         ADVERSE EMPLOYMENT ACTION.AND CAUSAL CONNECTION

                       166     Immediately following these disclosures, Ohana responded with adverse employment

                    actions against Dillon-Capps. Specifically, after the 2:05 p.m. email and text disclosures, Ohana

                    suspended Dillon-Capps without pay. This adverse action constitutes a material, punitive

                    measure that would deter a reasonable employee from engaging in whistleblower activities in the

                    future.

                       167     The causal link between Dillon-Capps' s whistleblower disclosures and the suspension is

                    evident from the timing of the actions. Ohana's immediate disciplinary response- within hours

                    of Dillon-Capps's disclosure-demonstrates clear retaliatory intent. Maryland courts have

                    consistently found temporal proximity between protected disclosures and adverse actions to be

                    sufficient evidence of causation in whistleblower claims. This time line and the retaliatory

                    suspension substantiate the causal connection required for a prima facie case under both SOX

                    and Maryland law.




                                                                                                          Page 5 1 of329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 51 of 329                     Exhibit 108
              Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25       Page 52 of 329
        .



                    6       Conclusion
                    168     Dillon-Capps's June 13, 2024 disclosures, including the 2:05 p.m. email and text

                    messages, qualify as protected whistleblower activities under both SOX and Maryland' s

                    whistleblower protections. Ohana's immediate suspension of Dillon-Capps without pay

                    constitutes a clear act of retaliation, in direct violation of these protections. The timeline and

                    circumstances around the retaliatory action make a compelling case for judicial relief and

                    penalties against Ohana for its violation of Dillon-Capps's statutory rights under both federal and

                    state whistleblower laws.


                                                                D Retaliation

                    1       Le~al Standard and Prima Facie Elements
                    169     Federal statutes, including the Family and Medical Leave Act (FMLA), Americans with

                    Disabilities Act (ADA), and whistleblower laws under both the Sarbanes-Oxley Act (SOX) and

                    Maryland state law, collectively prohibit employers from retaliating against employees who

                    exercise protected rights. Retaliation occurs when an employer takes adverse action against an

                    employee in response to the employee' s lawful engagement in activities protected by these

                    statutes. Each statute provides specific protections, but the elements of a retaliation claim under

                    these laws are similar.


                    2       Prima Facie Elements of Retaliation
                    170     To establish a prima facie case of retaliation, the following elements must be proven:

                            1.      Protected Activity: The employee engaged in a protected activity, such as taking
                            FMLA leave, requesting an ADA accommodation, or making a whistleblower disclosure.
                            2.      Employer Knowledge: The employer was aware of the employee's engagement
                            in the protected activity.



                                                                                                            Page 52 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 52 of329                        Exhibit 108
              Case 1:24-cv-03744-BAH                       Document 16-10              Filed 01/03/25     Page 53 of 329
        ..



                                 3.      Adverse Employment Action: The employer took a materially adverse action
                                 against the employee that would dissuade a reasonable person from engaging in the
                                 protected activity.
                                 4.      Causal Connection: There is a causal link between the employee' s protected
                                 activity and the employer's adverse action.

                       3         Su,iu,orting Case Law
                       171       Harris v. Forklift Systems, Inc., 510 U.S. 17 (1993) (Justice O'Connor): The Supreme

                       Court in Harris established that any adverse action by an employer that would deter a reasonable

                       person from exercising their rights constitutes retaliation. Ohana' s suspension of Dillon-Capps

                       immediately following their use of FMLA leave, ADA accommodations, and whistleblower

                       activities constitutes an adverse action that would deter a reasonable employee from engaging in

                       similar protected activities.

                       172       Robinson v. Shell Oil Co., 519 U.S. 337 (1997) (Justice Thomas): The Court in

                       Robinson held that retaliation includes any discriminatory or punitive action that would dissuade

                       an employee from pursuing protected activities. Ohana' s swift suspension of Dillon-Capps and

                       the subsequent financial impact and harm to their reputation serve as retaliatory measures

                       intended to discourage Dillon-Capps and others from asserting protected rights.


                       4         Am;,Iication in Dillon-Ca1,ws' Case
                  I.         PB.Qir;r.nm.Ar.H)'.IIm~i.\NR..6.t-:U'J..,Q.U:RK:t:{Q»'.l.f;P.Q.1$.

                       173       Dillon-Capps engaged in multiple protected activities, including:

                                 l.     Exercising FMLA Rights: Dillon-Capps requested and used interm ittent FMLA
                                 leave on June 13, 2024, due to health issues related to PTSD.
                                 2.     Requesting and Using an ADA Accommodation: Dillon-Capps requested and
                                 received intermittent leave as an ADA accommodation, which was reasserted on June 13,
                                 2024, due to their ongoing need for support related to PTSD.
                                 3.     Engaging in Whistleblower Activity: Dillon-Capps reported internal
                                 misconduct, fraud, and harassment in their 2:05 p.m. email and text messages to Ohana' s

                                                                                                                   Page 53 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts                  Page # 53 of329               Exhibit 108
              Case 1:24-cv-03744-BAH                Document 16-10          Filed 01/03/25       Page 54 of 329




                                President, Justin Drummond, and other executives, disclosing protected information
                                under SOX and Maryland's whistleblower protections.
                        174     Ohana, including its senior management and legal representatives, had knowledge of all

                    these protected activities. The FMLA and ADA accommodations were documented in early

                    2024, and Dillon-Capps' s whistleblower disclosures were directly addressed to Ohana' s

                        leadership. Ohana' s executives and HR department were therefore fully aware of Dillon-Capps' s

                        engagement in protected activities.




                        175     Following Dillon-Capps 's exercise of these protected rights, Ohana took immediate

                        adverse actions against them, most notably by suspending them without pay on June 13, 2024.

                        The suspension followed directly after Dillon-Capps ' s use of FMLA leave, request for ADA

                        accommodation, and whistleblower disclosures, and it constituted a significant adverse action

                        that would deter a reasonable employee from engaging in similar protected activities in the

                        future . A suspension without pay has substantial financial and reputational impacts, meeting the

                        definition of an adverse action under FMLA, ADA, and whistleblower laws.

                 III.         CAUSAL CONNECTION


                        176     The causal connection between Dillon-Capps' s protected activities and Ohana' s adverse

                        actions is established through the timing and context of the suspension. Within hours of Dillon-

                        Capps' s whistleblower disclosures and reassertion of their FMLA and ADA rights, Ohana

                        suspended them without pay. This close temporal proximity, along with admissions by Ohana' s

                        counsel that Dillon-Capps's FMLA rights had been violated, demonstrates a clear retaliatory

                        motive, satisfying the causation element required for a retaliation claim.


                                                                                                            Page 54 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts       Page # 54 of 329                   Exhibit 108
              Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25        Page 55 of 329
        ..




                    5       Conclusion
                    177     Dillon-Capps' s suspension by Ohana on June 13, 2024, following their exercise of

                    FMLA, ADA, and whistleblower rights, meets all elements for a prima facie case of retaliation.

                    Ohana's suspension without pay immediately after these protected activities demonstrates

                    retaliatory intent, which violates federal protections under the FMLA, ADA, SOX, and

                    Maryland's whistleblower laws. The combination of Dillon-Capps's protected activities,

                    Ohana's knowledge, and the immediate adverse response further supports the conclusion that

                    Ohana's actions were retaliatory, meriting judicial intervention and remedies for Dillon-Capps ' s

                    statutory rights under federal and state laws.


                                                                  E Perjuzy

                    1       Legal Standard and Prima Facie Elements of Perjuzy in Mazyland
                    178     Under Maryland law, perjury is defined as the act of knowingly making a false statement

                    under oath with the intent to mislead or deceive, particularly when the statement is material to

                    the proceeding. Codified in Md. Code Ann., Crim. Law§ 9-101, perjury encompasses not only

                    directly false statements but also statements intended to create a misleading impression, even if

                    technically accurate. Maryland's legal standard focuses on the intent behind the statement: to

                    distort the court's understanding of the facts, undermine judicial integrity, and obstruct justice.

                    179     The primary elements for establishing perjury in Maryland include:

                    180     Misleading or False Statement: The defendant must have made a statement under oath

                    that is either directly false or intentionally crafted to mislead the court by omitting critical

                    context.




                                                                                                             Page 55 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts     Page # 55 of329                       Exhibit 108
              Case 1:24-cv-03744-BAH              Document 16-10         Filed 01/03/25       Page 56 of 329




                    181     Materiality: The misleading or false statement must be material, meaning it has the

                    potential to affect the outcome of the case or influence the court' s understanding of the facts.

                    182     Intent to Mislead: The statement must be made with the intent to deceive or mislead the

                    court or relevant parties involved, affecting the administration of justice.

                    183     Maryland's focus on intent and materiality underscores the state' s commitment to

                    maintaining the integrity ofjudicial proceedings and preventing efforts to misrepresent the facts

                    through perjury.


                    2       Prima Facie Elements of Perjury
                    184     For a charge of perjury to be substantiated under Maryland law, the following prima facie

                    elements must be demonstrated:

                    185     Statement Made Under Oath: The defendant must have made a statement while under

                    oath, affinning to provide truthful infonnation in court proceedings, depositions, or affidavits.

                    186     Knowledge of the Statement's Misleading Nature: The defendant must have known

                    that the statement was misleading or false, including instances where a "technically truthful"

                    statement was given with the intent to mislead by omission or selective presentation of facts .

                    187     Materiality of the Misleading or False Statement: The misleading or false statement

                    must be material to the proceedings, meaning that it could reasonably influence the court' s

                    decision-making or perception of the case.

                    188     Intent to Mislead or Deceive: Maryland law requires that the misleading or false

                    statement was made with the intent to deceive or mislead the court, specifically crafted to distort

                    the court's understanding of facts in a way that could influence the outcome.




                                                                                                           Page 56 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 56 of329                      Exhibit 108
              Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25      Page 57 of 329




                    189     These elements emphasize that perjury includes not only outright lies but also carefully

                    framed statements designed to mislead. Maryland courts require clear evidence that the

                    defendant deliberately intended to mislead through material misrepresentation or omission.


                    3       Supporting Case Law
                    190     State v. Anderson, 5 Md. App. 482, 248 A.2d 807 (1969): The Maryland Court of

                    Special Appeals held that perjury requires clear evidence of intentional falsehood or misleading

                    information provided under oath. This case underscored the importance of intent and materiality,

                    recognizing that statements deliberately crafted to mislead can constitute perjury.

                    191     Smith v. State, 7 Md. App. 384, 256 A.2d 357 (1969): This case highlighted the

                    materiality requirement for perjury, holding that misleading statements must have the potential to

                    affect judicial findings. Materiality in Maryland is determined by a statement's potential

                    influence on case outcomes, whether the falsehood is direct or conveyed through selective truth.

                    192     Shifflett v. State, 245 Md. 169, 225 A.2d 440 (1967): The Maryland Court of Appeals

                    confirmed that perjury applies to statements intended to mislead the court' s understanding of

                    material facts, even if technically true. The court emphasized that perjury is established when the

                    intent is to distort or manipulate the court's perception of the facts.


                    4       Application of Perjury in Dillon-Ca1ws' Case
                    I 93    In Dillon-Capps's case, Plaintiff and Plaintiffs counsel, Miles & Stockbridge (M&S),

                    submitted multiple statements under oath that meet Maryland' s elements for perjury, specifically

                    by making " technically truthful" statements crafted to mislead the court. These statements

                    misrepresented critical facts, directly impacting the court's decisions and prolonging harm to

                    Dillon-Capps. Specific instances include:


                                                                                                          Page 57 of329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts     Page# 57 of329                    Exhibit 108
              Case 1:24-cv-03744-BAH              Document 16-10         Filed 01/03/25        Page 58 of 329




                    194     Technically True Statements Intended to Mislead the Court: M&S made statements

                    under oath that omitted critical context or selectively presented facts to portray a false narrative.

                    For instance, affidavits submitted by M&S regarding Dillon-Capps ' s FMLA rights contained

                    language that, while technically accurate in some respects, omitted context critical to the court' s

                    understanding, and others are entirely false. Under Shifflett v. State, Maryland law recognizes

                    perjury where statements are framed to mislead rather than inform. These omissions and

                    selective truths created a misleading impression that directly affected the court' s rulings,

                    satisfying the requirement of knowing falsity.

                    195     Materiality of the Misleading Statements: M&S' s statements concerning Dillon-

                    Capps' s work status and FMLA entitlements were central to the court' s findings on injunctive

                    relief and contempt orders. According to Smith v. State, statements qualify as perjury if they

                    could reasonably impact the court' s decision-making. The misleading statements in this case

                    materially affected rulings that have caused ongoing harm to Dillon-Capps, establishing their

                    significance.

                    196     Intent to Mislead and Misrepresent the Facts: The nature of M&S ' s statements and

                    their pattern of omissions, selective truth, and procedural manipulation indicate a clear intent to

                    deceive. The affidavits presented by M&S were structured to lead the court to specific,

                    unfavorable conclusions about Dillon-Capps without disclosing essential context, a practice

                    Maryland courts have recognized as perjury. As affirmed in State v. Anderson, M&S's deliberate

                    omissions and selective presentations demonstrate intent to distort the court's understanding of

                    Dillon-Capps' s legitimate claims and defenses.




                                                                                                            Page 58 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 58 of329                        Exhibit 108
              Case 1:24-cv-03744-BAH              Document 16-10           Filed 01/03/25     Page 59 of 329




                    197     Cumulative Harm and Distortion of Judicial Findings: The perjured statements made

                    by M&S have led to significant harm for Dillon-Capps, with procedural decisions influenced by

                    these misleading statements compounding the injury. Under Maryland law, as evidenced in

                    Shifflett v. State, perjury that materially impacts the proceedings and results in harm warrants

                    corrective action. The cumulative effect of M&S ' s statements has distorted the court' s findings,

                    causing undue financial, reputational, physical, and emotional damage to Dillon-Capps and

                    further validating the need for judicial correction.

                    198     M&S' s statements meet Maryland's prima facie elements for perjury due to their

                    misleading nature, material impact, and evident intent to deceive. These statements influenced

                    critical rulings in the case, extending and worsening harm to Dillon-Capps, and warranting

                    judicial intervention.


                    5       Conclusion
                    199     Maryland law defines perjury as not only making false statements under oath but also

                    providing statements that intentionally mislead the court, particularly where material facts are

                    affected. In Dillon-Capps' s case, M&S ' s actions in submitting misleading, selectively truthful

                    statements under oath constitute perjury. The materiality of these statements and their impact on

                    Dillon-Capps' s rights demonstrate the severity of M&S's conduct and the need for judicial

                    correction. Addressing these perjured statements is essential to uphold judicial integrity, correct

                    previous rulings, and prevent further harm to Dillon-Capps, aligning with Maryland ' s statutory

                    and case law standards.


                                                          F Wrongful Termination



                                                                                                          Page 59 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts     Page# 59 of329                     Exhibit 108
             Case 1:24-cv-03744-BAH               Document 16-10         Filed 01/03/25     Page 60 of 329




                    1      Legal Standard and Prima Facie Elements of Wrongful Termination
                   200      Legal Standard: Under both the Family and Medical Leave Act (FMLA) and the

                   Americans with Disabilities Act (ADA), it is unlawful to terminate an employee in retaliation

                    for exercising protected rights. The FMLA protects employees who take medical leave from

                   adverse employment actions, while the ADA prohibits discrimination against employees with

                    disabilities, including unjust termination. Maryland employment law also offers protections that

                    reinforce the standards set forth by these federal statutes.


                    2       Prima Facie Elements for Wrongful Termination under FMLA and ADA:
                    201     Protected Activity: The employee must demonstrate engagement in a legally protected

                    activity, such as taking medical leave under FMLA or requesting reasonable accommodations

                    under ADA.

                    202     Adverse Employment Action: The employer terminated or took a materially adverse

                    action against the employee.

                    203     Causal Connection: A clear, proximate link between the protected activity and the

                    adverse action, suggesting that the protected activity was a motivating factor in the termination.


                    3       Prima Facie Elements of Wrongful Termination
                    204     To establish wrongful termination, Dillon-Capps must meet the following prima facie

                    elements under FMLA and ADA protections:

                            1.      Engagement in Protected Activity: Dillon-Capps requested and was granted

                            intermittent FMLA leave due to documented medical conditions and exercised ADA

                            rights by requesting workplace accommodations.




                                                                                                          Page 60 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 60 of329                     Exhibit 108
             Case 1:24-cv-03744-BAH               Document 16-10         Filed 01/03/25     Page 61 of 329




                           2.       Termination or Adverse Action by Employer: Dillon-Capps faced adverse

                           actions, including suspension, retaliatory litigation, and eventual termination, following

                           their exercise of FMLA and ADA rights.

                            3.      Causal Link Between Protected Activity and Adverse Action: There must be a

                            connection between Dillon-Capps' s exercise of FMLA leave and ADA accommodations

                            and the termination or related adverse actions by Ohana. Dillon-Capps was terminated

                            during ongoing litigation and suspension for FMLA-related leave, which suggests

                            retaliatory motivation.


                    4       Supportin~ Case Law
                    205     Burlington Northern & Santa Fe Railway Co. v. White, 548 U.S. 53 (2006): The U.S.

                    Supreme Court held that retaliation includes any adverse employment action that would dissuade

                    a reasonable employee from engaging in protected activity. Termination following the exercise

                    of protected rights, such as FMLA leave, can meet this standard.

                    206     Hoge v. Honda of America Mfg., Inc., 384 F.3d 238 (6th Cir. 2004): The court found

                    that interference with FMLA rights, especially when retaliatory termination follows medical

                    leave, justifies a wrongful termination claim.

                    207     Ennis v. National Ass'n of Business and Educational Radio, Inc., 53 F.3d 55 (4th Cir.

                    1995): The Fourth Circuit affirmed that the ADA protects against termination based on an

                    employee' s disability, recognizing wrongful termination when an employer tenninates an

                    employee in retaliation for seeking reasonable accommodations.

                    208     Shapiro v. Massengill, 105 Md. App. 743, 661 A.2d 202 (1995): The Maryland Court of

                    Special Appeals supported an employee' s claim that retaliation for engaging in protected activity


                                                                                                          Page 61 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts   Page#61 of 329                      Exhibit 108
             Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25      Page 62 of 329




                   violated state employment law, establishing grounds for wrongful termination under Maryland

                   common law principles.


                   5       Application of Wrongful Termination in Dillon-Capps's Case
                   209      In Dillon-Capps' s case, Ohana' s conduct meets the criteria for wrongful termination

                   under FMLA and ADA based on the following actions:

                            1.      Engagement in Protected Activity: Dillon-Capps was granted FMLA leave for

                            medical conditions and exercised ADA rights by requesting work-from-home

                            accommodations. Both of these actions constitute protected activities under federal law.

                            2.      Adverse Actions by Employer: After notifying supervisors of FMLA leave and

                            seeking accommodations, Dillon-Capps experienced escalating adverse actions, including

                            suspension, retaliatory litigation, and eventual termination. The timing of these actions,

                            especially the suspension and termination, directly followed Dillon-Capps' s exercise of

                            protected rights, indicating retaliatory intent.

                            3.      Causal Link Between Protected Activity and Adverse Action: The termination

                            occurred during ongoing litigation in which Dillon-Capps sought to enforce their FMLA

                            and ADA rights. Ohana's decision to terminate Dillon-Capps in the context of disputed

                            FMLA leave and ADA accommodations demonstrates retaliatory motivation, as

                            discussed in Hoge v. Honda ofAmerica Mfg., Inc. and Burlington Northern.

                            4.      Retaliation Through Litigation: Ohana' s lawsuit appears to serve as a pretext

                            for retaliatory suspension and termination, further supporting a wrongful termination

                            claim. Filing a lawsuit without substantial grounds shortly after Dillon-Capps exercised




                                                                                                          Page 62 of 329




Memorandum of Law in Support of Mandatoiy Hearing of Adjudicated Facts     Page # 62 of 329                   Exhibit 108
             Case 1:24-cv-03744-BAH               Document 16-10         Filed 01/03/25      Page 63 of 329




                           their rights highlights an attempt to suppress protected activity through retaliatory

                            litigation.


                   6        Conclusion
                   210      Dillon-Capps' s claim for wrongful tennination is supported by both FMLA and ADA

                    standards, as well as Maryland' s employment laws. Ohana's suspension, litigation, and ultimate

                   tennination of Dillon-Capps after their exercise of protected rights reflect an adverse

                    employment action motivated by retaliation. Maryland and federal case law establish grounds for

                    wrongful tennination, justifying a finding in favor ofDillon-Capps' s claim. Sanctions against

                    Ohana are warranted for violating statutory protections against wrongful tennination, as well as

                    for engaging in retaliatory actions intended to prevent Dillon-Capps from exercising federally

                    protected rights.


                                                  G Hostile Work Environment (HWE)

                    1       LeJlal Standard and Prima Facie Elements of Hostile Work Environment
                    211     Legal Standard: The Americans with Disabilities Act (ADA) prohibits a hostile work

                    environment based on disability discrimination, and Maryland employment laws similarly

                    prohibit discriminatory and retaliatory workplace conditions. A hostile work environment claim

                    arises when an employee is subject to severe or pervasive conduct that interferes with their

                    ability to work or creates an abusive atmosphere. Furthermore, retaliatory litigation can also

                    contribute to a hostile work environment if intended to harass or suppress an employee' s rights.




                                                                                                          Page 63 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts   Page # 63 of 329                     Exhibit 108
             Case 1:24-cv-03744-BAH               Document 16-10         Filed 01/03/25     Page 64 of 329




                   2    Prima Facie Elements for Hostile Work Environment under ADA and Maryland
                   Law:
                   212     Membership in a Protected Class: The employee must belong to a protected class, such

                   as an individual with a disability under ADA.

                   213      Unwelcome Harassment: The employee must experience unwelcome harassment or

                   adverse actions that affect workplace conditions.

                   214      Severe or Pervasive Conduct: The harassment must be severe or pervasive enough to

                   create an intimidating, hostile, or abusive work environment.

                   215      Causal Connection: A link between the protected characteristic (e.g., disability) or

                    protected activities (e.g., ADA requests, FMLA leave) and the adverse or hostile conduct.


                    3       Prima Facie Elements of Hostile Work Environment
                    216     For Dillon-Capps' s hostile work environment claim, the following elements must be

                    established:

                    217     Protected Class Membership: Dillon-Capps is an individual with a disability, qualifying

                    for protection under ADA.

                    218     Unwelcome Harassment: Dillon-Capps faced unwelcome actions, including

                    discriminatory comments, dismissive treatment, and adverse employment actions.

                    219     Severe or Pervasive Conduct: The adverse actions, including the initiation ofretaliatory

                    litigation and efforts to undermine Dillon-Capps' s FMLA and ADA rights, were pervasive and

                    had a significant impact on Dillon-Capps's ability to perform their role.

                    220     Causal Connection to Protected Activity: Ohana' s hostile actions followed Dillon-

                    Capps' s request for ADA accommodations and FMLA leave, suggesting that these actions were

                    retaliatory in nature.

                                                                                                         Page 64 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts   Page# 64 of329                     Exhibit 108
             Case 1:24-cv-03744-BAH               Document 16-10         Filed 01/03/25      Page 65 of 329




                   4       Supporting Case Law
                   221     Harris v. Forklift Systems, Inc., 510 U.S. 17 (1993): The U.S. Supreme Court held that

                   a hostile work environment claim requires conduct severe or pervasive enough to alter the

                   conditions of employment. Conduct that intimidates or undermines an employee' s rights under

                   federal statutes, such as ADA, can meet this standard.

                   222      Faragher v. City of Boca Raton, 524 U.S. 775 (1998): The Court found that hostile

                   work environment claims may arise from actions that are frequent, severe, or create an abusive

                   workplace atmosphere, establishing grounds for a hostile work environment based on harassment

                   and intimidation.

                   223      Fox v. General Motors Corp., 247 F.3d 169 (4th Cir. 2001): The Fourth Circuit held

                   that ADA-related harassment that impedes an employee' s ability to perform job duties

                    constitutes a hostile work environment.

                    224     Mossburg v. Montgomery County, 105 Md. App. 1, 658 A.2d 1093 (1995): The

                    Maryland Court of Special Appeals ruled that a hostile work environment claim can be based on

                    pervasive conduct that interferes with an employee' s job performance or mental well-being,

                    reinforcing the hostile work environment doctrine within Maryland law.


                    5       Application of Hostile Work Environment in Dillon-Capps's Case
                    225     In Dillon-Capps ' s case, Ohana' s conduct meets the criteria for a hostile work

                    environment claim under ADA and Maryland law based on the following actions:

                            I.      Protected Class Membership: Dillon-Capps' s status as an individual with a

                            disability and their exercise of ADA and FMLA rights qualify them for statutory

                            protection against discriminatory and retaliatory treatment.


                                                                                                           Page 65 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts   Page # 65 of329                       Exhibit 108
             Case 1:24-cv-03744-BAH               Document 16-10         Filed 01/03/25        Page 66 of 329




                           2.       Unwelcome Harassment: Dillon-Capps faced persistent hostility, including

                           suspension, coerced employment conditions, and retaliatory litigation intended to

                            undermine their ADA and FMLA rights. Additionally, litigation itself became a means of

                            harassment, with Ohana pursuing baseless claims and adversarial actions to intimidate

                            Dillon-Capps.

                            3.      Severe or Pervasive Conduct: The hostile environment was amplified by

                            Ohana' s use of litigation to further harm Dillon-Capps, creating a stressful and hostile

                            atmosphere that affected Dillon-Capps' s mental well-being and ability to defend their

                            rights. This conduct aligns with Harris v. Forklift Systems and Faragher v. City ofBoca

                            Raton, where pervasive hostility impacted the terms and conditions of employment.

                            4.      Causal Connection: The adverse actions, particularly the initiation of retaliatory

                            litigation after Dillon-Capps requested ADA accommodations and FMLA leave, indicate

                            a clear connection between the protected activities and Ohana' s hostile conduct. Ohana' s

                            actions appear intended to suppress Dillon-Capps ' s rights through retaliatory legal

                            proceedings, creating an abusive atmosphere similar to Fox v. General Motors Corp..

                            5.      Litigation as Hostile Work Environment: Ohana' s use of the legal system to

                            attack Dillon-Capps's rights further substantiates the hostile work environment claim.

                            The lawsuit exacerbated Dillon-Capps' s hostile work environment, demonstrating an

                            intent to retaliate and harass rather than resolve legitimate disputes.


                    6       Conclusion
                    226     Ohana's conduct, including retaliatory litigation, baseless disciplinary actions, and a

                    hostile workplace atmosphere, meets the legal standard for a hostile work environment claim


                                                                                                           Page 66 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 66 of329                       Exhibit 108
             Case 1:24-cv-03744-BAH               Document 16-10         Filed 01/03/25       Page 67 of 329
       J.




                   under ADA and Maryland law. Maryland and federal case law support finding a hostile work

                   environment when an employer engages in discriminatory, retaliatory, or coercive actions that

                    interfere with an employee' s ability to perform their job. The court should impose sanctions

                   against Ohana for creating and perpetuating a hostile work environment, as demonstrated in

                   Harris v. Forklift Systems, Faragher v. City ofBoca Raton, and related cases, to protect Dillon-

                   Capps's rights and reinforce workplace protections against retaliatory discrimination


                                                           H Witness Tampering

                    1       Legal Standard and Prima Facie Elements of Witness Tampering
                    227     Legal Standard: Witness tampering is prohibited under both Maryland' s criminal

                    statutes and common law. Maryland Criminal Law§ 9-305 makes it illegal to intimidate,

                    influence, or mislead a witness with the intent to alter their testimony or disrupt judicial

                    proceedings. This standard encompasses both direct intimidation and more subtle actions, such

                    as providing misleading information, "coaching" witnesses, or altering affidavits to manipulate

                    the court's perception of facts. In cases where attorneys or parties facilitate or engage in such

                    conduct, the court may impose sanctions to uphold the integrity of the judicial process.


                    2       Prima Facie Elements for Witness Tampering:
                            1.      Intent to Influence Testimony: The party sought to influence, alter, or

                            manipulate the witness's statements in a manner that would impact court proceedings.

                            2.      Interference with Judicial Process: Actions that disrupt the course of justice or

                            impede the discovery of truth by affecting witness statements.

                            3.      Deceptive or Coercive Tactics: Conduct that includes misleading statements,

                            omission of material facts, or procedural interference with a witness's testimony.

                                                                                                            Page 67 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 67 of 329                      Exh ibit 108
             Case 1:24-cv-03744-BAH               Document 16-10         Filed 01/03/25      Page 68 of 329




                           4.      Material Impact on Proceedings: The tampering had the potential to influence

                           the outcome or obstruct the proper administration ofjustice.

                   3       Prima Facie Elements of Witness Tampering
                   228      In Dillon-Capps's case, witness tampering is evident through affidavits that contain

                   contradictory or misleading statements, reflecting a potential attempt to control or distort witness

                   testimony:

                            1.      Intent to Influence Testimony: The affidavits by Randall Romes and Daniel

                            Levett contain language and content indicating that their statements may have been

                            influenced or structured by counsel, resulting in affidavits that appear designed to align

                            with Ohana's claims rather than objectively present the facts.

                            2.      Interference with Judicial Process: M&S's direct communication with the court

                            to attach Romes' signature page ex parte raises questions about whether these actions

                            were intended to avoid scrutiny or limit cross-examination opportunities.

                            3.      Deceptive or Coercive Tactics: Romes' affidavit contains contradictions to other

                            evidence provided by Dillon-Capps, particularly concerning Romes' statements about

                            Dillon-Capps' s communication of specific requirements--despite contrary evidence in

                            the letter and attachments provided to the judge.

                            4.      Material Impact on Proceedings: The affidavits, if believed, support Ohana 's

                            claims against Dillon-Capps and could materially influence the court's decisions.

                            Additionally, Judge Barranco's prevention of cross-examination of Romes obstructed

                            Dillon-Capps's ability to challenge these statements and to address inconsistencies

                            directly.


                                                                                                           Page 68 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts   Page # 68 of329                      Exhibit 108
             Case 1:24-cv-03744-BAH               Document 16-10         Filed 01/03/25      Page 69 of 329




                   4       Supporting Case Law
                   229     People v. Martinez, 200 P.3d 1053 (Cal. 2009): The California Supreme Court held that

                   altering witness testimony or otherwise influencing witness statements is grounds for sanctions

                   and criminal penalties. Coaching witnesses or shaping testimony to fit a narrative, rather than to

                   present truthful statements, constitutes witness tampering.

                   230     State v. Johnson, 282 Md. 314, 384 A.2d 709 (1978): The Maryland Court of Appeals

                   confirmed that manipulating testimony to mislead the court undermines the integrity of judicial

                   proceedings and warrants sanctions or criminal liability.

                   231      Attorney Grievance Commission v. Kent, 447 Md. 555, 136 A.3d 1126 (2016): The

                   court emphasized that attorneys are subject to sanctions for witness tampering or any conduct

                   aimed at influencing or controlling witness statements to favor their client's narrative.

                   232      United States v. Aguilar, 515 U.S. 593 (1995): The U.S. Supreme Court reinforced that

                    witness tampering includes attempts to mislead witnesses and present fabricated or altered

                    statements to the court, mandating sanctions to maintain judicial integrity.


                    5       Application of Witness Tampering in Dillon-Capps's Case
                    233     In Dillon-Capps' s case, the following actions by Ohana, M&S, and witnesses reflect an

                    effort to tamper with witness statements, alter court perception, and obstruct the administration

                    of justice:

                    234     Intent to Influence Testimony - Randall Romes: Randall Romes' affidavit contains

                    copy-pasted language from Richard Hartman's affidavit, suggesting collusion or "coaching." His

                    statement that he was provided with Dillon-Capps' s letter to the judge is contradicted by his

                    assertion that Dillon-Capps made no statements about specific requirements, despite evidence to


                                                                                                          Page 69 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts   Page # 69 of 329                      Exhibit 108
             Case 1:24-cv-03744-BAH               Document 16-10         Filed 01/03/25      Page 70 of 329




                   the contrary. The structured language and omissions in his affidavit suggest intentional shaping

                   to avoid unfavorable admissions.

                   235     Interference with Judicial Process - Submission of Signature Page: After Romes'

                   affidavit was submitted, M&S contacted the judge directly to have the signature page attached,

                   bypassing standard filing procedures. This communication appears to have been used to prevent

                   Dillon-Capps from challenging the affidavit in a timely manner, further compromising

                   procedural fairness.

                   236      Deceptive or Coercive Tactics - Daniel Levett's Affidavit: Levett' s affidavit claims

                    involvement in critical events, but the described timeline and actions raise questions about his

                    actual role and whether he was "coached" to support Ohana' s narrative. Shifts in language and

                   tone within his affidavit indicate possible editing or guidance by counsel to ensure statements

                    aligned with Ohana's defense, leading to a reasonable inference of tampering.

                    237     Material Impact on Proceedings: The content of Romes and Levett' s affidavits could

                    significantly affect judicial perception, particularly in misrepresenting Dillon-Capps' s statements

                    and actions. Dillon-Capps ' s inability to cross-exam ine Romes-prevented by Judge Barranco-

                    further exacerbates the prejudicial impact, as Romes' testimony went unchallenged on points

                    central to the defense.


                    6       Conclusion
                    238     Ohana and M&S ' s actions in relation to witness testimony demonstrate clear evidence of

                    witness tampering under Maryland Criminal Law§ 9-305 and applicable case law. The

                    affidavits from Romes and Levett appear strategically crafted to fit Ohana' s narrative, with

                    inconsistencies and omissions that hinder the court' s ability to ascertain truth. Communications


                                                                                                          Page 70 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts   Page# 70 of329                       Exhibit 108
             Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25       Page 71 of 329




                   to attach Romes' affidavit signature and the obstruction of cross-examination indicate deliberate

                    attempts to control the record, violate procedural fairness, and prejudice Dillon-Capps' s defense.

                    Maryland case law and broader legal precedents support imposing sanctions against Ohana and

                    M&S to uphold judicial integrity, deter tampering, and reinforce the importance of unbiased

                    witness testimony.


                                                       I Disgualification of Counsel

                    1       Legal Standard and Pml)ose of Disgualification
                    239     Disqualification of counsel is a fundamental tool in Maryland law designed to protect the

                    integrity of the judicial system, uphold the public's trust in legal proceedings, and ensure that

                    parties are represented fairly. Under Maryland Rules of Professional Conduct Rule 1.7,

                    disqualification is warranted where conflicts of interest exist, particularly if those conflicts

                    impact a lawyer' s judgment or impartiality or compromise the fairness of the litigation.

                    Disqualification serves equitable goals by preventing counsel with potential biases or improper

                    motivations from continuing representation, thereby protecting the court, opposing parties, and

                    the public from further harm.

                    240     In cases like this, disqualification does more than ensure fairness-it serves as a

                    safeguard against continued misuse of the judicial process. By disqualifying counsel, the court

                    not only protects Dillon-Capps from further harm but also prevents Plaintiffs counsel from

                    perpetuating a litigation strategy that has already revealed itself as abusive, malicious, and

                    intended to inflict harm. Here, disqualification protects, aligning with principles ofjudicial

                    economy, Maryland's public policy goals, and equitable doctrines by setting a precedent that

                    such behavior has no place in Maryland's courts.

                                                                                                             Page 71 of 329



Memorandum of Law in Support of Mandato!)' Hearing of Adjudicated Facts    Page# 7 1 of 329                      Exhibit 108
             Case 1:24-cv-03744-BAH               Document 16-10         Filed 01/03/25      Page 72 of 329




                   2       Prima Facie Elements for Disg_ualification
                            1.      Conflict of Interest: The representation must involve a conflict that affects the

                            lawyer's independent judgment, creating bias or partiality.

                           2.       Unethical or Bad-Faith Conduct: Counsel's conduct must show a pattern of

                            behavior that harms the integrity of the proceedings, either through perjury,

                            misrepresentation, or abusive litigation tactics.

                            3.      Impact on Fairness and Judicial Integrity: The continued representation must

                            compromise the fairness of the case or the public' s confidence in the judicial system.


                    3       Supporting Case Law
                   241      Klupt v. Krongard, 126 Md. App. 179, 728 A.2d 727 (1999): In this case, Maryland' s

                    Court of Special Appeals emphasized that disqualification is warranted when a lawyer's

                    representation is compromised by conflicts or ethical breaches that could jeopardize the fairness

                    of the trial. The court underscored the importance of ensuring that parties receive unbiased

                    representation to maintain the integrity of the judicial process.

                    242     Ashcraft & Gerel v. Shaw, 126 Md. App. 325, 728 A.2d 798 (1999): Maryland' s Court

                    of Special Appeals disqualified counsel where representation raised ethical concerns that

                    compromised judicial fairness. The court's ruling stressed that protectingjudicial integrity

                    outweighs any inconvenience to the client or counsel, underscoring disqualification' s role in

                    upholding the court' s credibility.


                    4       Application to Dillon-Capps's Case
                    243     The disqualification of Miles & Stockbridge, PC, Plaintiffs counsel, is essential in this

                    case. Disqualification serves multiple purposes: it protects the defendant and public by


                                                                                                            Page 72 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts     Page# 72 of329                      Exhibit 108
             Case 1:24-cv-03744-BAH               Document 16-10         Filed 01/03/25       Page 73 of 329




                   preventing further harm, prevents Plaintiff from continuing to pursue a meritless, perjury-driven

                   lawsuit, and preserves the integrity of the judiciary by removing counsel whose motivations are

                   steeped in apparent malice and unethical intentions. Miles & Stockbridge' s involvement has

                   revealed clear conflicts of interest and a personal vendetta, as shown by their persistent,

                   aggressive tactics aimed at incarcerating Dillon-Capps and pursuing unwarranted contempt

                   actions--conduct that exceeds the bounds of typical representation.

                   244      Given that this litigation has persisted for over five months, with Miles & Stockbridge

                    pursuing severe penalties and incarceration as outcomes for what are demonstrably baseless

                    claims, disqualification is necessary. A law firm acting without bias or personal interests would

                    likely not pursue such aggressive measures against Dillon-Capps, nor would they continue

                    representation with the ethical breaches and sanctionable conduct displayed thus far.

                    245     Disqualification of Plaintiffs counsel is both a protective measure and a preventative

                    one. It protects the court, defendant, and public from ongoing abuse, prevents the Plaintiff from

                    continuing a fraudulent, malicious, and unethical lawsuit, and sends a message that the pursuit of

                    litigation as a tool for harm will not be tolerated. Maryland' s courts must deter bad-faith

                    litigation by disqualifying counsel whose representation jeopardizes the judicial system's

                    integrity, setting a precedent of reciprocal relief in which unethical actions yield proportional

                    consequences. Disqualification here not only prevents further hann to Dillon-Capps but

                    establishes Maryland as a jurisdiction committed to fairness, ethics, and the rule of law.


                                     J 42 U .S.C. § 1983: Civil Action for Deprivation of Rights




                                                                                                           Page 73 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 73 of 329                       Exhibit 108
              Case 1:24-cv-03744-BAH              Document 16-10         Filed 01/03/25       Page 74 of 329




                    1       Legal Standard and Prima Facie Elements
                    246     Under 42 U.S.C. § 1983, individuals may bring a civil action against state officials,

                    including judges, for violating federally protected rights under the color of law. Although judges

                    are typically granted judicial immunity, this immunity is limited and does not protect against

                    actions taken outside the judge's jurisdiction or actions performed with clear absence of all

                    jurisdiction or malice. Additionally, courts have ruled that judicial immunity does not apply

                    when the conduct in question violates constitutional due process protections or is willfully

                    abusive.

                    247     To establish a § 1983 claim against a judicial officer, the plaintiff must show:

                    248     Deprivation ofa Federal Right: The plaintiff must prove that the judge' s actions

                    violated a federally protected right, such as due process or equal protection.

                    249     Acting Under Color of State Law: The judge' s actions must be conducted within the

                    scope of official duties, though exceptions apply when the judge acts beyond jurisdiction.

                    250     Absence of Judicial Immunity: Judicial immunity is forfeited if the judge' s actions

                    demonstrate malice, exceed jurisdictional authority, or involve a deprivation of constitutional

                    rights that fundamentally undermines the judicial process.


                    2       Supporting Case Law
                    251     Stump v. Sparkman, 435 U.S. 349 (1978): The U.S. Supreme Court ruled that judicial

                    immunity applies only if the judge' s actions were within their lawful jurisdiction. The case

                    emphasized that judges are liable under § 1983 if their actions are entirely outside their

                    jurisdiction or conducted in bad faith.




                                                                                                          Page 74 of329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts   Page # 74 of 329                        Exhibit 108
              Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25       Page 75 of 329




                    252     Pierson v. Ray, 386 U.S. 547 (1967): This decision established that judicial immunity

                    does not shield judges when their actions violate clear constitutional protections or when they act

                    with malicious intent to harm the individual 's rights.

                    253     Forrester v. White, 484 U.S. 219 (1988): The Court held that judicial immunity is

                    qualified and can be removed if judges engage in administrative or executive acts that fall

                    outside judicial discretion or that are abusive in nature, especially if such actions violate

                    constitutional protections.

                    254     Pulliam v. Allen, 466 U.S. 522 (1984): The Supreme Court allowed for injunctive relief

                    and attorney's fees against judges under § I 983 when their actions violate constitutional rights,

                    demonstrating that judicial immunity is not absolute in cases involving clear deprivations of due

                    process.


                    3       Application to Judge Barranco's Actions in Dillon-Capps's Case
                    255     In Dillon-Capps's case, Judge Barranco' s actions included multiple instances of bias,

                    denial of due process rights, and refusals to hear crucial evidence, all of which fundamentally

                    compromised Dillon-Capps' s constitutional rights:

                    256     Deprivation of Due Process: Judge Barranco repeatedly dismissed Dillon-Capps' s

                    attempts to present evidence related to FMLA and ADA violations. Additionally, the judge' s

                    comments referring to Dillon-Capps's filings as "unintelligible" or "incoherent" indicate a

                    prejudiced view that limited Dillon-Capps's ability to present an effective defense. This violates

                    the due process protections under the Fourteenth Amendment and constitutes a deprivation of

                    federal rights.




                                                                                                            Page 75 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 75 of329                       Exhibit 108
             Case 1:24-cv-03744-BAH               Document 16-10         Filed 01/03/25       Page 76 of 329




                   257      Exceeding Judicial Discretion and Acting with Bias: Judge Barranco' s refusal to allow

                   cross-examination of witnesses, especially regarding material facts related to alleged fraud and

                    procedural violations, went beyond the bounds of judicial discretion and prevented Dillon-Capps

                    from exercising the right to a fair trial. As established in Stump v. Sparkman and Forrester v.

                    White, judicial immunity does not apply when a judge' s actions exceed judicial discretion or

                    demonstrate clear bias, as these actions do not serve the judiciary's neutral role.

                    258     Malicious Conduct and Refusal to Correct Errors: Judge Barranco's conduct,

                    including repeated denials of motions and baseless rulings of " moot" without addressing

                    substantive claims, demonstrates a pattern of intentional disregard for Dillon-Capps 's rights.

                    This conduct aligns with the malice exception under Pierson v. Ray, where malicious intent in

                   judicial actions that disregard fundamental rights exposes the judge to § 1983 liability.

                    259     Pattern of Procedural Violations and Constitutional Deprivations: The cumulative

                    nature of Judge Barranco's actions, including the no-notice TRO, two-day show cause orders,

                    and continued denial of ADA accommodations, shows a persistent violation of procedural

                    norms. In Pulliam v. Allen, the Court ruled that judicial immunity does not protect judges from §

                    1983 liability when their actions demonstrate a systematic disregard for procedural protections,

                    as is evident in Judge Barranco's handling ofDillon-Capps's case.

                    260     Through these actions, Judge Barranco effectively deprived Dillon-Capps of a fair

                    hearing and access to due process protections. The judge' s dismissive rulings and hostile

                    comments reflect not only bias but also a breach of judicial duty, effectively stripping him of

                    immunity under§ 1983.




                                                                                                          Page 76 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 76 of329                       Exhibit 108
             Case 1:24-cv-03744-BAH               Document 16-10         Filed 01/03/25       Page 77 of 329




                   4        Conclusion
                   261      Under 42 U.S.C. § 1983 and as supported by Stump v. Sparkman, Pierson v. Ray, and

                    Pulliam v. Allen, Judge Barranco' s actions in Dillon-Capps' s case demonstrate a clear

                    deprivation of due process and biased judicial conduct. His refusal to acknowledge Dillon-

                    Capps' s FMLA, ADA, and due process claims, coupled with hostile comments and procedural

                    dismissals, shows a pattern of actions that exceed the scope of judicial discretion and are marked

                    by apparent malice. The court should perm it § 1983 claims against Judge Barranco, hold the

                    Maryland judiciary accountable, and order remedies that address these constitutional

                    deprivations to protect judicial integrity and ensure fair proceedings.


                 VIl EXPANDING MARYLAND STAWTES THROUGH THE INTENT, PURPOSE, FOCUS,
                                    ANDMEANING OFCOMMONLAW
                                     A Md. Code Ann., Cts. & Jud. Proc. §§ 10-501 and 10-503

                    262     Maryland' s statutory framework, particularly Md. Code Ann., Cts. & Jud. Proc.§§ 10-

                    501 and 10-503, provides the legal foundation for Maryland courts to incorporate principles

                    rooted in English common law, including key tort doctrines and equitable defenses. These

                    statutes authorize Maryland' s courts to reference doctrines summarized in the Restatements of

                    Torts and Contracts- sources widely recognized for shaping common law doctrine in the United

                    States. Together, §§ 10-501 and 10-503 equip Maryland courts with the authority and discretion

                    necessary to interpret and apply these doctrines in a way that upholds judicial integrity and

                    fairness in contemporary cases.

                    1       Section 10-501: Incoworation of English Common Law Principles
                    263     Section 10-501 codifies Maryland ' s reliance on English common law principles, stating

                    that Maryland law " incorporates principles derived from the common law of England" unless

                                                                                                         Page 77 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts   Page # 77 of329                      Exhibit 108
              Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25       Page 78 of 329




                    expressly altered by statute or judicial decision. This statute grants Maryland courts the legal

                    basis to draw from established doctrines like unclean hands, estoppel, fraud, and abuse of

                    process-doctrines that ensure fairness and accountability in judicial proceedings. Section I 0-

                    501 empowers Maryland courts to utilize these traditional doctrines in cases where equitable

                    relief or tort liability is sought, making it possible for Maryland courts to apply the same high

                    standards of integrity and fairness as those upheld in the English common law tradition.


                    2       Section 10-503: Judicial Discretion in A1wlying Common Law Principles
                    264     Section 10-503 provides Maryland courts with discretionary authority to adapt and apply

                    common law doctrines to the specific circumstances of each case. This statute enables

                    Maryland ' s judiciary to assess the relevance and suitability of doctrines such as unclean hands,

                    equitable estoppel, promissory estoppel, fraud, and abuse of process in light of modem standards

                    of fairness. By granting courts the flexibility to interpret these doctrines to align with

                    contemporary justice, § 10-503 ensures that Maryland's common law defenses and tort

                    principles are applied in ways that uphold both ethical standards and judicial integrity.

                    265     Together, §§ 10-50 I and I 0-503 create a statutory foundation that supports the use of

                    established common law doctrines as effective tools for maintaining fairness, accountability, and

                    consistency in Maryland' s judicial system. This statutory foundation underpins Maryland courts'

                    ability to apply doctrines derived from the Restatements of Torts and Contracts in cases

                    involving tortious and equitable claims, allowing the judiciary to enforce high standards of

                    conduct, prevent misuse of judicial resources, and ensure just outcomes.


                                                    B Incomoration of Tort Doctrines



                                                                                                            Page 78 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 78 of 329                       Exhibit 108
              Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25     Page 79 of 329




                    266     Maryland's common law framework allows the application of key tort doctrines to

                    uphold standards of honesty, fairness, and lawful conduct in cases involving fraud, abuse of

                    process, negligence, and other tortious conduct. Supported by Md. Code Ann., Cts. & Jud.

                    Proc. § 10-503, Maryland courts apply these doctrines, often referenced in the Restatements of

                    Torts, to protect parties from harm resulting from deceit, misuse of legal processes, and breaches

                    of reasonable care. These doctrines are instrumental in holding parties accountable for wrongful

                    conduct, ensuring that Maryland's legal standards reflect principles of justice and good faith.


                    1       Foundations of Mazyland's Tort Doctrines
                    267     Maryland courts rely on the Restatements to define and apply tort doctrines that address

                    fraudulent, abusive, and negligent behavior, ensuring the accountability of parties who cause

                    harm:

                            1.      Doi us (Fraud): Restatement (Second) of Torts,§ 525 defines fraud as an

                            intentional misrepresentation intended to deceive another party, resulting in hann.

                            Maryland courts use this standard to evaluate claims of fraudulent conduct, holding

                            parties liable when intentional deception causes financial or personal harm to others. This

                            doctrine emphasizes Maryland's commitment to honesty and transparency in contractual

                            and transactional dealings.

                            2.      Fraudulent Misrepresentation: Defined in Restatement (Third) of Torts, § 9,

                            fraudulent misrepresentation involves knowingly false statements that induce another

                            party' s reliance, causing harm. Maryland courts apply this doctrine to prevent parties

                            from benefitting from deliberately misleading conduct, affirming that truthfulness is

                            essential in both contract and tort claims.


                                                                                                          Page 79 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 79 of329                    Exhibit 108
             Case 1:24-cv-03744-BAH                Document 16-10        Filed 01/03/25     Page 80 of 329




                            3.      Abuse of Process: Restatement (Second) of Torts,§ 682 establishes abuse of

                            process as a tort remedy for misuse of legal proceedings to achieve ends other than those

                            intended by law. Maryland courts recognize this doctrine to prevent parties from

                            weaponizing judicial processes for coercive or retaliatory purposes, ensuring that legal

                            procedures are used solely for legitimate purposes.

                            4.      Malicious Prosecution: Restatement (Second) of Torts,§ 674 defines malicious

                            prosecution as the initiation of baseless legal actions with improper motives. Maryland

                            courts apply this doctrine to hold parties liable when they pursue groundless claims for

                            ulterior purposes, protecting individuals from the harm and harassment associated with

                            baseless litigation.

                            5.      Duty of Care (Negligence): Under Restatement (Second) of Torts,§ 282,

                            Maryland courts recognize a duty of care, requiring individuals to act reasonably to avoid

                            foreseeable harm. Maryland courts enforce this standard to hold parties liable when they

                            fail to exercise reasonable care, resulting in injury or damage. This doctrine underscores

                            Maryland's emphasis on accountability for actions that result in harm to others.


                    2       Judicial Standards for Am2lyin~ Tort Doctrines in Mazyland
                    268     Maryland courts enforce these tort doctrines according to specific standards that ensure

                    fair and ethical behavior in legal and contractual matters:

                            1.      Fraud and Fraudulent Misrepresentation: Maryland courts evaluate fraud by

                            determining whether a party intentionally misrepresented facts to deceive another, and

                            whether this deception led to financial or personal harm. Fraudulent misrepresentation

                            requires a showing that the defendant knowingly made false statements, causing the


                                                                                                          Page 80 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts   Page # 80 of 329                      Exhibit 108
              Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25        Page 81 of 329




                            plaintiff to rely on these statements to their detriment. This standard holds parties to a

                            high duty of truthfulness.

                            2.      Abuse of Process and Malicious Prosecution: Abuse of process is assessed by

                            examining whether legal procedures were used for improper purposes, while malicious

                            prosecution requires proof of baseless legal action with malicious intent. Maryland courts

                            apply these standards to protect individuals from harm and harassment caused by the

                            misuse ofjudicial procedures, upholding the court' s integrity.

                            3.      Duty of Care (Negligence): Maryland courts impose a duty of care based on

                            what a reasonable person would do to prevent harm. This standard requires parties to

                            exercise caution and foreseeability in their actions. Breaches of this duty are assessed by

                            evaluating whether the harm was preventable and whether reasonable measures could

                            have mitigated the risk.


                    3       Maryland Case Law on Tort Doctrines
                    269     Maryland appellate courts provide consistent guidance on applying these tort doctrines,

                    establishing a framework for lower courts to address cases involving fraud, abuse, and

                    negligence effectively:

                            1.      Fraud and Fraudulent Misrepresentation: In Hoffman v. Stamper, 385 Md. I,

                            867 A.2d 276 (2005), the Maryland Court of Appeals affirmed that fraud requires

                            intentional misrepresentation made with the intent to deceive. Maryland courts enforce

                            this doctrine strictly, holding parties liable for actions that result in financial harm due to

                            deceitful conduct.




                                                                                                             Page 81 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts     Page # 81 of 329                      Exhibit 108
              Case 1:24-cv-03744-BAH              Document 16-10         Filed 01/03/25       Page 82 of 329




                            2.      Abuse of Process to Address Judicial Misuse: In One Thousand Fleet Ltd.

                            P'ship v. Guerriero, 346 Md. 29, 694 A.2d 952 (1997), the Maryland Court of Appeals

                            outlined that abuse of process occurs when legal procedures are used to coerce or harass

                            another party. This case highlights Maryland's commitment to preventing misuse of

                            judicial authority for purposes beyond lawful intent.

                            3.      Malicious Prosecution for Groundless Actions: Herring v. Citizens Bank & Tr.

                            Co., 21 Md. App. 517, 320 A.2d 575 (1974), reinforced Maryland' s standards for

                            malicious prosecution, holding that parties may be liable for initiating baseless claims out

                            of malice. Maryland courts emphasize that initiating legal action without probable cause

                            and with improper motives warrants accountability.

                            4.      Duty of Care and Negligence: In Jacques v. First Nat'! Bank ofMd., 307 Md.

                            527,515 A.2d 756 (1986), the Maryland Court of Appeals held that parties must adhere

                            to a duty of care, recognizing that negligence occurs when actions fall short of what a

                            reasonable person would do to avoid harm. This standard reinforces Maryland' s

                            commitment to protecting individuals from foreseeable harm through reasonable

                            precautions.


                    4       A,1wlication in Dillon-Capps' s Case
                    270     Each of these tort doctrines directly applies to Dillon-Capps' s case, as Ohana' s actions

                    reflect fraudulent misrepresentations, misuse of legal processes, and failures in exercising

                    reasonable care:

                            1.      Fraud and Fraudulent Misrepresentation: Ohana's contradictory statements

                            about Dillon-Capps' s employment status and access rights amount to fraudulent


                                                                                                           Page 82 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts   Page # 82 of 329                      Exhibit 108
              Case 1:24-cv-03744-BAH              Document 16-10         Filed 01/03/25      Page 83 of 329




                           misrepresentation. Drummond's assurances on June 7th that Dillon-Capps would receive

                            support from Hartman Executive Advisors (HEA) were never upheld, misleading Dillon-

                            Capps about his ability to perform his role effectively. Maryland courts would likely hold

                            Ohana accountable for this misrepresentation, as Dillon-Capps relied on their assurances

                            in good faith.

                            2.      Abuse of Process: Ohana' s pursuit of contempt orders and fines based on

                            unfounded allegations constitutes abuse of process. Maryland courts, following One

                            Thousand Fleet, would view these actions as an improper use of judicial authority to

                            retaliate against Dillon-Capps for exercising his legal rights. By seeking coercive

                            measures without just cause, Ohana misused the court' s resources to harass rather than

                            seek lawful relief.

                            3.      Malicious Prosecution: Ohana' s baseless actions against Dillon-Capps, including

                            punitive measures unsupported by probable cause, reflect malicious prosecution.

                            Maryland courts would likely apply this doctrine to hold Ohana accountable for initiating

                            legal actions driven by improper motives. In line with Herring, Maryland courts would

                            recognize that Ohana' s actions lacked legitimate grounds, constituting a misuse of

                            judicial processes for malicious purposes.

                            4.      Duty of Care and Negligence: Ohana' s disregard for Dillon-Capps' s requests for

                            access and support reflect a failure to exercise reasonable care. Maryland courts would

                            likely apply the duty of care standard to assess Ohana's negligence, recognizing that

                            failing to provide promised access directly hindered Dillon-Capps's ability to fulfill his




                                                                                                          Page 83 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts   Page# 83 of329                       Exhibit 108
             Case 1:24-cv-03744-BAH               Document 16-10         Filed 01/03/25       Page 84 of 329




                            role. This negligence created foreseeable hann, as Ohana's lack of response to requests

                            undennined Dillon-Capps's professional responsibilities.

                   271      Maryland's incorporation of tort doctrines-fraud, abuse of process, malicious

                   prosecution, and duty of care-provides a robust framework for holding parties accountable for

                   wrongful actions that cause hann. Supported by§ 10-503, Maryland courts apply these doctrines

                   to prevent misuse of legal proceedings and uphold standards of fairness and accountability. In

                    Dillon-Capps's case, each doctrine would bar Ohana from benefitting from their wrongful

                    actions and impose accountability for fraudulent misrepresentations, misuse of process, and

                    negligent conduct.


                                                    C Eg_uitable Doctrines of Defense

                    272     Maryland's legal system incorporates core equitable defenses that prevent parties from

                    benefitting from wrongful conduct and ensure fairness in judicial proceedings. Supported by Md.

                    Code Ann., Cts. & Jud. Proc.§ 10-503, Maryland courts apply doctrines such as unclean

                    hands, public policy-based unclean hands, equitable estoppel, and promissory estoppel to

                    hold parties accountable for their representations, conduct, and commitments. These defenses bar

                    relief where a party has engaged in conduct that violates legal protections or contradicts prior

                    assurances, particularly where another party has reasonably relied on those representations.


                    1       Foundations of Mar:yland's Eg_uitable Defenses
                    273     Maryland's equitable doctrines are rooted in principles of fairness, supported by sections

                    of the Restatements that provide clear standards for their application:

                            1.      Unclean Hands (Public Policy and Unlawful Conduct): Maryland courts apply

                            the unclean hands doctrine, grounded in Restatement (Second) of Contracts, § 179 and

                                                                                                          Page 84 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 84 of 329                    Exhibit 108
            Case 1:24-cv-03744-BAH              Document 16-10           Filed 01/03/25     Page 85 of 329




                             § 192, to deny claims when a party' s actions violate ethical standards or involve unlawful

                            conduct. This doctrine ensures that Maryland' s judicial resources are not used to support

                            claims arising from wrongful conduct that conflicts with legal protections or public

                            standards.

                            2.       Equitable Estoppel: As outlined in Restatement (Second) of Torts,§ 894(1),

                            equitable estoppel prevents parties from taking contradictory positions when another

                            party has reasonably relied on their prior representations. Maryland courts use this

                            doctrine to maintain consistency, preventing parties from manipulating their statements to

                            the disadvantage of others.

                            3.       Promissory Estoppel: Defined in Restatement (Second) of Contracts,§ 90,

                            promissory estoppel enforces promises that induce reasonable reliance. Maryland courts

                            apply this doctrine to prevent unjust outcomes by holding parties to their promises,

                            especially when one party has relied to their detriment.


                    2       Judicial Standards for Aimlyin~ Eguitable Defenses in Maryland
                    274     Maryland courts apply these doctrines under specific standards that protect the integrity

                    ofjudicial proceedings:

                             1.     Unclean Hands and Public Policy: Maryland courts consider whether a party' s

                            conduct contravenes public policy or legal principles, invoking unclean hands to bar

                            relief when actions violate statutory protections or ethical standards. This prevents misuse

                            of the judiciary by denying equitable relief to those who act inconsistently with core legal

                            and ethical principles.




                                                                                                          Page 85 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts     Page# 85 of329                    Exhibit 108
            Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25      Page 86 of 329




                            2.      Equitable and Promissory Estoppel: Maryland courts apply equitable estoppel

                            where a party's contradictory conduct harms another who relied on prior statements.

                            Promissory estoppel is applied to enforce promises when reliance has resulted in

                            substantial harm. These doctrines ensure accountabi lity by preventing unjust reversals of

                            position.


                    3       Maryland Case Law on Eguitable Defenses
                    275     Maryland appellate courts provide binding guidance on these doctrines, ensuring

                    equitable defenses are applied fairly and consistently:

                            1.      Unclean Hands and Public Policy: In Hammond v. Marketing Management,

                            Inc. , 445 Md. 310, 126 A.3d 1137(2015), the Maryland Court of Appeals held that courts

                            may deny relief on public policy grounds under the unclean hands doctrine when a

                            party's actions contradict ethical principles or societal values. Maryland courts thus

                            prevent unethical or unlawful conduct from benefitting from judicial relief.

                            2.      Equitable Estoppel for Consistency: In Knapp v. Smethurst, 139 Md. App. 676,

                            779 A.2d 970 (2001 ), the court applied equitable estoppel to bar a party from altering a

                            previously asserted position that had induced reasonable reliance. The court underscored

                            that equitable estoppel is essential to uphold consistency and fairness in the judicial

                            process.

                            3.      Promissory Estoppel for Reliance-Based Commitments: In Pavel Enterprises,

                            Inc. v. A.S. Johnson Co. , 342 Md. 143, 674 A.2d 521 (1996), the Maryland Cou11 of

                            Appeals enforced promissory estoppel to hold a party accountable for a promise made in




                                                                                                           Page 86 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 86 of329                      Exhibit 108
            Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25     Page 87 of 329




                            good faith that had induced reasonable reliance. This precedent emphasizes that

                            Maryland courts uphold promises to prevent injustice and honor reliance.


                    4       Application in Dillon-Capps' s Case
                    276     Each of these equitable defenses directly applies to Dillon-Capps' s case, as Ohana' s

                    actions demonstrate contradictions, broken promises, and unlawful conduct. Maryland courts

                    would likely apply these doctrines to prevent Ohana from benefitting from its own inconsistent,

                    retaliatory, and unlawful actions:

                            1.      Unclean Hands Due to Unlawful Conduct and Public Policy Violations:

                            Ohana's conduct-including baseless contempt orders, unjustified fines, and attempts to

                            discourage Dillon-Capps's use of FMLA leave-violates statutory protections. Under 29

                            U.S.C. § 2615(a)(l) and 29 C.F.R. § 825.220, it is unlawful for an employer to interfere

                            with or retaliate against an employee' s FMLA rights. Maryland courts would invoke the

                            unclean hands doctrine to bar Ohana's claims, given their attempts to circumvent these

                            statutory protections. Ohana' s actions, rooted in retaliation and interference, contravene

                            public policy, disqualifying them from relief.

                            2.      Equitable Estoppel to Address Contradictory Actions:

                            Ohana' s contradictory conduct surrounding Dillon-Capps' s access rights and

                            employment commitments warrants application of equitable estoppel. For instance, Justin

                            Drummond assured Dillon-Capps on June 7th that someone from Hartman Executive

                            Advisors (HEA) would address his access issues, only for Ohana to disregard these

                            assurances and later penalize Dillon-Capps. Maryland courts would apply equitable




                                                                                                           Page 87 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 87 of 329                      Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25      Page 88 of 329




                            estoppel to hold Ohana to their prior statements, protecting Dillon-Capps from harm

                            caused by their reversal.

                            3.      Promissory Estoppel to Enforce Commitments on Employment Support:

                            Ohana's June 7th accord with Dillon-Capps promised access rights and job

                            accommodations, which Dillon-Capps reasonably relied upon to structure his job

                            responsibilities. Despite this, Ohana failed to fulfill these assurances, undermining

                            Dillon-Capps' s employment stability. Consistent with Pavel Enterprises, Maryland

                            courts would apply promissory estoppel to prevent Ohana from retracting their promises,

                            as Dillon-Capps' s reliance was both justified and essential to his role.

                    277     Maryland ' s equitable doctrines of unclean hands, public policy-based unclean hands,

                    equitable estoppel, and promissory estoppel ensure that courts uphold fairness, integrity, and

                    consistency. Supported by§ 10-503, Maryland courts are empowered to apply these doctrines to

                    cases like Dillon-Capps' s, where unethical conduct, contradictions, and broken promises

                    undermine the opposing party' s rights and expectations. Applying these doctrines would bar

                    Ohana from obtaining relief, enforcing Maryland ' s standards for equitable conduct and

                    accountability, and ensuring that judicial resources are not used to support claims arising from

                    improper actions.


                                                          D Doctrine of Mootness

                    278     The doctrine of mootness is a principle ofjudicial restraint, limiting courts to live

                    controversies where effective relief remains possible. Grounded in Article Ill's "case or

                    controversy" requirement, mootness restricts judicial power, preventing courts from issuing

                    advisory opinions or addressing hypothetical scenarios. Maryland courts incorporate this

                                                                                                           Page 88 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 88 of329                     Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25      Page 89 of 329
J




                    doctrine as part of the state' s reliance on English common law and uphold it as a fundamental

                    constraint on judicial authority. However, Maryland courts also recognize important exceptions

                    to ensure cases with unresolved consequences or lasting impact receive judicial consideration.

                    1       Foundations of the Doctrine of Mootness in Maryland Law
                    279     Maryland 's adoption of the doctrine of mootness is rooted in common law principles.

                    While not expressly codified, mootness principles align with Restatement (Second) of

                    Judgments,§ 13, which states that only active disputes merit judicial review. This Restatement

                    underscores the importance of focusing judicial resources on current controversies and avoiding

                    determinations on legally irrelevant or resolved issues. However, it also recognizes that some

                    issues retain practical importance due to lasting consequences or potential relief, which

                    Maryland courts consider essential in mootness determinations.

                    2       Judicial Standards for Applying the Doctrine of Mootness in Mazyland
                    280     Maryland courts have developed clear standards for applying mootness, including

                    specific circumstances under which the doctrine may be set aside to avoid unjust outcomes:

                            1.      Active Controversy Requirement: Maryland courts require a present, ongoing

                            dispute for mootness to apply, ensuring that the matter is not merely hypothetical or

                            resolved without further implications. Maryland courts consistently hold that cases with

                            unresolved legal, reputational, or financial consequences do not meet the criteria for

                            mootness, as such cases involve ongoing interests that necessitate judicial intervention.

                            2.      Collateral Consequences Exception: The collateral consequences doctrine

                            allows Maryland courts to proceed with cases when there are ongoing effects of a

                            resolved issue-such as reputational or financial harm-that warrant judicial attention.


                                                                                                         Page 89 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 89 of 329                      Exhibit 108
             Case 1:24-cv-03744-BAH                 Document 16-10          Filed 01/03/25        Page 90 of 329




                               This exception ensures that Maryland courts protect parties from unresolved harm and

                               underscores that cases with continuing implications are not dismissed as moot, allowing

                               the court to provide meaningful relief.

                               3.      Potential for Relief: Maryland courts exercise caution to ensure that mootness

                               does not prematurely prevent cases with possible relief from judicial review. Preliminary

                               motions and objections that seek clarification of material facts or essential claims hold

                               significant value in cases where unresolved issues remain relevant to the parties.

                               Maryland courts uphold judicial responsibility by recognizing potential relief as a basis

                               for allowing cases to proceed, even if some primary issues appear resolved.

                     3         Maryland Case Law on the Doctrine of Mootness
                    281        Maryland appellate courts have provided important guidance on the application of

                    mootness, establishing exceptions that ensure fairness and accountability in cases with lasting

                     impact:

                               I.      Attorney Grievance Commission v. Stolarz, 379 Md. 387, 842 A.2d 42 (2004):

                               The Maryland Court of Appeals held that a matter should not be dismissed as moot if

                               resolving it would provide meaningful relief or address unresolved legal issues. This case

                               affirms that Maryland courts apply mootness cautiously, ensuring that cases with

                               significant implications for the parties receive a full judicial review.

                               2.      In re Kaela C., 394 Md. 432, 906 A.2d 915 (2006): The Maryland Court of

                             Appeals ruled that mootness does not bar review in cases with collateral consequences

                             that continue to affect a party. This ruling underscores that Maryland courts should avoid




                                                                                                             Page 90 of 329



Memorandum of Law in Support of Mandatory Hearing of Adj udicated Facts      Page# 90 of329                      Exhibit 108
             Case 1:24-cv-03744-BAH               Document 16-10         Filed 01/03/25      Page 91 of 329




                             dismissing cases where unresolved reputational or financial harm remains, prioritizing

                             comprehensive judicial review in cases with lasting impact.

                             3.       State v. Parker, 334 Md. 576, 640 A.2d 1 I 04 ( 1994): This case emphasized that

                             courts should exercise caution when applying mootness to prevent denying parties

                             meaningful relief. The Court of Appeals confirmed that cases must not be dismissed if

                             live issues affecting the parties continue, thereby upholding fairness and ensuring that the

                             courts address substantive claims.


                    4        Application in Dillon-Capps' s Case
                    282      The doctrine ofmootness, particularly in light of Maryland's standards and exceptions,

                    plays a critical role in Dillon-Capps' s case, where unresolved legal, reputational, and financial

                    consequences remain due to prior court rulings:

                             1.       Unresolved Contempt Orders and Fines: Judge Mayer's August 20 ruling,

                            which deemed Dillon-Capps' s Motion to Vacate the Show Cause Order " moot" after

                            Plaintiffs withdrawal of the contempt petition, failed to address Dillon-Capps' s

                            reputational and financial harm arising from the unresolved contempt orders. Under the

                            collateral consequences exception, Maryland courts would recognize that this ruling

                            leaves Dillon-Capps with enduring reputational damage, warranting further judicial

                            review.

                            2.        Dismissal of Counterclaims on Mootness Grounds: Judge Stringer' s October

                            28 ruling, which dismissed Dillon-Capps's counterclaims as moot following Plaintiffs

                            voluntary dismissal, disregarded his timely response challenging the allegations. By

                            dismissing his defense as moot, the court failed to consider the ongoing reputational and


                                                                                                           Page 91 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts   Page # 91 of329                      Exhibit 108
             Case 1:24-cv-03744-BAH               Document 16-10         Filed 01/03/25      Page 92 of 329




                             financial harm arising from these unaddressed allegations. Maryland case law, as shown

                             in Stolarz and Kaela C., supports judicial review in cases where potential relief could

                             mitigate lasting consequences.

                             3.      Impact of Judicial Bias in Mootness Rulings: Judge Barranco ' s ruling on

                             Dillon-Capps' s Motion to Assert Rights, which dismissed arguments concerning

                             premature default as moot, included statements that personally criticized Dillon-Capps' s

                             prose conduct. This ruling overlooked valid claims and failed to provide judicial relief

                             from unresolved legal implications. Consistent with Parker, Maryland courts should

                            ensure that all claims with potential for effective relief receive thorough consideration

                            rather than dismissal under mootness.

                    283     Maryland' s doctrine of mootness serves as a critical constraint on judicial power, yet it is

                    applied with care to avoid prematurely dismissing unresolved matters. By enforcing the active

                    controversy requirement and recognizing exceptions for collateral consequences and potential

                    relief, Maryland courts ensure that cases with lasting legal significance are not dismissed as

                    moot. In Dillon-Capps ' s case, the inappropriate application of mootness has left him with

                    ongoing reputational, financial, and legal consequences. Maryland ' s standards for applying

                    mootness support judicial review in cases like this, ensuring that unresolved issues and claims

                    are addressed to uphold fairness and provide meaningful relief.


                                              E Good Faith and Reasonable Jur:y Standard

                    284     Maryland 's commitment to fairness and ethical litigation is underscored by the doctrines

                    of good faith and the reasonable jury standard, both fundamental principles that ensure

                    integrity in the judicial process. Grounded in Md. Code Ann., Cts. & Jud. Proc. §§ 10-501 and

                                                                                                           Page 92 of329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts   Page# 92 of329                       Exhibit 108
             Case 1:24-cv-03744-BAH               Document 16-10         Filed 01/03/25      Page 93 of 329




                     10-503, Maryland's statutory framework incorporates these doctrines from common law,

                    allowing courts to evaluate claims with a rigorous standard that preserves judicial resources,

                     prevents abusive litigation, and promotes substantive fairness.


                     1       Foundations of Good Faith and Reasonable Juzy Standard in Mazyland Law
                    285      Maryland's adoption of good faith and the reasonable jury standard is supported by

                    common law principles and the Restatements, which Maryland courts incorporate under §§ I 0-

                    501 and 10-503:

                             1.       Good Faith: Good faith is a central principle in Maryland law, requiring honesty,

                            fairness, and integrity in both contractual dealings and litigation conduct. This doctrine

                            prohibits deceptive practices, manipulation, or bad-faith tactics aimed at gaining an unfair

                            advantage. In Maryland, good faith is essential for claims and defenses invo lving

                            equitable doctrines like unclean hands, where courts examine a party' s ethical behavior to

                            ensure fairness.

                            2.        Reasonable Jury Standard: The reasonable jury standard, a common law

                            principle reinforced by Maryland' s statutory framework, requ ires claims to be assessed

                            based on what a reasonable jury could plausibly find g iven the evidence. This doctrine

                            filters out cases that lack factual substance, ensuring only claims with credible support

                            progress to full adjudication. Maryland courts apply this standard to prevent specu lative

                            or baseless claims from advancing, preserving the integrity and efficiency of the court

                            system.




                                                                                                          Page 93 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 93 of329                      Exhibit 108
             Case 1:24-cv-03744-BAH               Document 16-10         Filed 01/03/25      Page 94 of 329




                     2     Judicial Standards for A.tmlying Good Faith and Reasonable Jur:y Standard in
                     Mazyland
                     286     Maryland courts enforce good faith and reasonable jury standards to maintain ethical

                     conduct and procedural fairness. Specific judicial standards guide the application of these

                     doctrines:

                             1.      Good Faith as a Procedural and Substantive Requirement: Maryland courts

                             apply good faith as both a procedural and substantive requirement. Procedurally, good

                             faith mandates that parties engage in litigation without intent to deceive or manipulate,

                             while substantively, it supports equitable doctrines like unclean hands by denying relief

                             to parties acting dishonestly. Maryland courts routinely assess good faith to determine

                             whether a party's behavior meets ethical standards; a failure to do so can lead to the

                             denial of relief or dismissal of claims.

                             2.      Reasonable Jury Standard as a Threshold for Claims: The reasonable jury

                             standard operates as a threshold, requiring claims to present enough credible evidence for

                             a jury to find plausibility. Maryland courts employ this standard to prevent baseless

                            claims from consuming judicial resources, ensuring that only plausible cases advance. By

                            rigorously applying this standard, Maryland courts uphold procedural integrity and shield

                            the judicial system from frivolous claims.


                    3       Mar:yland Case Law on Good Faith and Reasonable Jur:y Standard
                    287     Maryland appellate courts have consistently enforced these doctrines, providing

                    precedents that lower courts follow to ensure fair and ethical litigation:

                            1.      Good Faith in Contractual and Litigation Conduct: In Hammond v. Marketing

                            Management, Inc. , 445 Md. 310, 126 A.3d 1137 (2015), the Maryland Court of Appeals

                                                                                                          Page 94 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts   Page# 94 of329                       Exhibit 108

                                                                                                                            j
             Case 1:24-cv-03744-BAH               Document 16-10         Filed 01/03/25      Page 95 of 329
       •




                             emphasized that good faith is critical in both contractual and procedural matters. Parties

                             are expected to engage in honest and fair dealings, and Maryland courts underscore that

                             good faith is essential for upholding claims and enforcing contracts.

                             2.      Application of the Reasonable Jury Standard: Parker v. State, 334 Md. 576,

                             640 A.2d 1104 (1994), outlines that claims must meet the threshold of plausibility based

                             on evidence that would convince a reasonable jury. Maryland courts apply this standard

                             to ensure that unsubstantiated claims do not progress, safeguarding judicial resources and

                             fairness in legal proceedings.

                             3.      Good Faith and Unclean Hands Doctrine: Hicks v. Gilbert, 135 Md. App. 394,

                             762 A.2d 986 (2000), reinforces that good faith is integral to the doctrine of unclean

                             hands. The Maryland Court of Special Appeals applied unclean hands to bar relief for a

                             party lacking good faith, affirming that Maryland courts demand ethical standards for

                            judicial relief.


                    4       Application in Dillon-Capps' s Case
                    288      In Dillon-Capps's case, the doctrines of good faith and the reasonable jury standard are

                    crucial in evaluating the validity and ethical grounding of Ohana' s claims. These doctrines

                    support Dillon-Capps' s core arguments, particularly concerning the tort doctrines, equitable

                    defenses, and claims of perjury:

                             1.     Lack of Good Faith in Plaintifrs Conduct: Ohana Growth Partners, LLC, and

                            its counsel have demonstrated a lack of good faith through contradictory statements,

                            baseless contempt orders, and coercive litigation tactics unsupported by factual evidence.

                            Maryland courts would likely find Ohana's conduct ethically deficient under the good


                                                                                                          Page 95 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts   Page# 95 of 329                      Exhibit 108
              Case 1:24-cv-03744-BAH                Document 16-10       Filed 01/03/25       Page 96 of 329
... - .



                             faith standard, thereby making them ineligible for judicial relief. This lack of good faith

                             supports defenses such as unclean hands, barring Ohana' s claims and ensuring procedural

                             integrity.

                             2.      Failure to Meet the Reasonable Jury Standard: Ohana's allegations lack the

                             evidentiary basis required by the reasonable jury standard, as their claims, including

                             disputed contempt orders and unsupported accusations, do not present credible evidence

                             sufficient to convince a reasonable jury. Maryland courts, consistent with Parker, would

                             likely dismiss these claims as implausible, thereby preserving judicial resources for

                             substantiated cases.

                             3.      Intersection with Perjury Claims: The principle of good faith bolsters Dillon-

                            Capps' s arguments regarding perjury, as Ohana's use of contradictory affidavits, evasive

                            statements, and misleading claims reveals a pattern of intent to deceive. Maryland courts

                             view good faith as essential in assessing claims of perjury and apply doctrines like

                            unclean hands to prevent relief for parties engaged in unethical litigation conduct.

                    289     Incorporated under§§ 10-501 and 10-503, Maryland's doctrines of good faith and

                    reasonable jury standard uphold ethical conduct, fairness, and judicial efficiency. By filtering out

                    baseless or unethical claims, Maryland courts ensure that only substantiated cases advance

                    through the judicial process. In Dillon-Capps's case, applying these principles would likely lead

                    to the dismissal of Ohana' s claims, reinforcing the court' s commitment to a principled and fair

                    judicial process and lending critical support to Dillon-Capps's primary arguments regarding tort

                    doctrines, equitable defenses, and perjury.


                                                       F Preponderance of Evidence
                                                                                                           Page 96 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 96 of329                       Exhibit 108
              Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25       Page 97 of 329




                     1       Foundations of Preponderance of Evidence
                     290     The preponderance of evidence standard is the foundational burden of proof in

                     Maryland civil cases, requiring that the evidence make a claim more likely true than not.

                     Grounded in common law and incorporated under Md. Code Ann., Cts. & Jud. Proc.§§ 10-

                     501 and 10-503, this standard is essential for establishing a fair basis for civil claims. The

                     preponderance standard functions as a threshold for proving entitlement to relief, especially in

                     cases involving equitable remedies, by determining whether a claim meets the minimum level of

                     evidentiary support necessary for judicial action.


                     2       Judicial Standards for Applying Preponderance of Evidence
                    291      Maryland courts rigorously apply the preponderance of evidence standard to ensure that

                    only substantiated claims move forward. Under this standard, the party with the burden of proof

                     must present evidence that tips the scale slightly in its favor. By filtering out claims that lack

                    sufficient evidence, Maryland courts uphold judicial integrity, discourage speculative or

                    frivolous litigation, and preserve judicial resources.

                    292     Applying the preponderance standard aligns with Maryland's commitment to fairness and

                    judicial economy, as it demands that each party substantiate its claims before receiving judicial

                    relief. This threshold test serves as a safeguard, ensuring that only claims with a reasonable

                    evidentiary basis are adjudicated.


                    3       Maryland Case Law
                    293     Coleman v. Anne Arundel County Police Dept., 369 Md. I 08, 797 A.2d 770 (2002):

                    Maryland's Court of Appeals affirmed the preponderance of evidence as the standard in civil

                    cases, establishing that a claim must be more probable than not based on the evidence. This case



                                                                                                             Page 97 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts     Page # 97 of329                      Exhibit 108
              Case 1:24-cv-03744-BAH              Document 16-10         Filed 01/03/25        Page 98 of 329




                     confirmed that the preponderance standard is the baseline for determining the validity of civil

                     claims, upholding Maryland' s focus on fairness and judicial integrity.

                     294     Owens-Illinois, Inc. v. Hunter, 162 Md . App. 385, 875 A.2d 157 (2005): This decision

                     reinforced that preponderance of evidence is essential in both equitable and tort claims, ensuring

                     that claims lacking evidentiary support do not advance in litigation. Maryland courts rely on this

                     standard to provide a fair balance of proof in civil cases, filtering out baseless claims from

                     further consideration.


                     4       Application to Dillon-Capps' s Case
                     295     In Dillon-Capps's case, the preponderance of evidence standard is central to his

                     counterclaims, which seek equitable relief based on Plaintiff's repeated misuse of judicial

                    processes and apparent bad faith. Evidence such as documented contradictions, baseless

                    contempt filings, and harassing tactics demonstrate that Plaintiff's actions are more likely than

                    not to have been motivated by malice and intent to harm. This weight of evidence meets the

                    preponderance standard, supporting Dillon-Capps's claim for reciprocal relief and sanctions.

                    296     Applying the preponderance of evidence standard here ensures that the claims for relief

                    are substantively backed by evidence, aligning with Maryland ' s public policy to deter frivolous

                    litigation and uphold equitable principles. By requiring claims to meet this evidentiary thresho ld,

                    Maryland courts protect judicial efficiency and fairness, ensuring that cases with sufficient merit

                    proceed to full adjudication.


                                                             G Irreparable Harm




                                                                                                           Page 98 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 98 of329                      Exhibit 108
              Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25        Page 99 of 329




                     1       Foundations oflrreparable Harm
                     297     Irreparable harm is a principle rooted in Maryland' s common law and incorporated

                     through Md. Code Ann., Cts. & Jud. Proc.§§ 10-501 and 10-503, which establishes that

                     certain types of harm cannot be adequately remedied by monetary compensation alone. This

                     standard justifies the granting of equitable relief, including injunctive measures, when the harm

                     is imminent, severe, and uniquely injurious. Irreparable harm must be ongoing or immediate,

                    creating consequences that cannot be later reversed or compensated. The doctrine ensures that

                    courts have the authority to intervene promptly to prevent lasting damage and protect

                    fundamental rights.


                    2        Judicial Standards for Applying Irreparable Harm
                    298      Maryland courts apply the irreparable harm standard with rigorous scrutiny, evaluating

                    whether the harm:

                             1.      Is ongoing or imminent, presenting a significant threat to a party ' s rights, well-

                            being, or livelihood.

                            2.       Cannot be adequately addressed through monetary damages due to its unique or

                            non-compensable nature.

                            3.      Necessitates immediate judicial intervention to prevent continued or exacerbated

                            harm.

                    299     Maryland courts recognize that this standard aligns with principles of fairness and

                    judicial efficiency, allowing comts to respond decisively to prevent harms that monetary

                    remedies cannot adequately resolve.




                                                                                                             Page 99 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts     Page# 99 of329                        Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25       Page 100 of 329




                     3       Maryland Case Law
                     300     State Dep't of Health & Mental Hygiene v. Baltimore County, 281 Md. 548, 383 A.2d

                     51 (1978): The Maryland Court of Appeals held that irreparable harm supports non-monetary

                     relief, particularly when the harm cannot be fully addressed by monetary compensation alone.

                    The court emphasized the necessity ofjudicial intervention in situations where ongoing or

                     imminent harm threatens the party's fundamental rights or well-being.

                    301      Schade v. Maryland State Bd. of Elections, 401 Md. 1,930 A.2d 304 (2007):

                    Reinforced that irreparable harm justifies equitable relief, especially where hann is such that it

                    cannot be undone or compensated later. This case underscores the principle that courts must

                    protect against irreversible harm when monetary damages are insufficient.

                    4       Atn,lication to Dillon-Capps's Case
                    302     In Dillon-Capps' s case, the harm inflicted by Plaintiff and counsel is multi-faceted,

                    severe, and ongoing, warranting immediate injunctive relief. Plaintiffs relentless tactics-

                    including harassment, manipulation of legal processes, and efforts to coerce Dillon-Capps

                    through baseless contempt filings and threats of incarceration-have caused irreparable harm

                    impacting nearly every aspect of Dillon-Capps' s life. This includes:

                            1.      Mental and Physical Health Deterioration: The litigation has exacerbated

                            Dillon-Capps' s PTSD, resulting in a mental break and catatonic episodes, which have

                            worsened to malignant catatonia-a life-threatening condition affecting autonomous

                            functions like temperature regulation and breathing. The physical toll has manifested as

                            severe memory loss, which not only impairs daily functioning but also hinders Dillon-




                                                                                                         Page l 00 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 100 of 329                   Exhibit 108
             Case 1:24-cv-03744-BAH                Document 16-10        Filed 01/03/25       Page 101 of 329




                             Capps's ability to engage in their Al work, effectively halting their career and erasing

                             years of expertise.

                             2.      Professional and Financial Devastation: The reputational and professional harm

                             caused by Plaintiff's actions has resulted in the collapse of Dillon-Capps' s investment in

                             MXT3, LLC, as well as the loss of investor confidence and access to funding.

                             Financially, this has placed Dillon-Capps in severe distress, with damage to their credit

                             rating, defaulting obligations, and the inability to cover basic necessities. The financial

                             damage extends to those dependent on Dillon-Capps, including their disabled brother,

                             elderly mother, and spouse with cerebral palsy.

                             3.      Imminent Risk of Homelessness: As financial harm continues to escalate,

                             Dillon-Capps faces the immediate risk of utility shutoff, foreclosure, and homelessness.

                            The potential loss of housing jeopardizes Dillon-Capps' s safety and welfare as well as

                            those of their vulnerable dependents.

                            4.       Denial of Due Process and Failure of Relief Mechanisms: Dillon-Capps has

                            been consistently denied access to relief, with half a dozen motions for hearings and

                            injunctive relief dismissed or ruled as moot. Plaintiff has exploited the legal process to

                            avoid accountability, including using procedural tactics to dismiss claims without consent

                            despite counterclaims and ongoing harm.

                    303     This combination of physical, financial, professional, and reputational harm is

                    irremediable through financial compensation alone. The pervasive and escalating nature of the

                    harm caused by Plaintiff's litigation requires immediate injunctive relief to prevent further

                    irreparable damage to Dillon-Capps' s life, health, and career.


                                                                                                           Page IOI of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 101 of 329                      Exhibit 108
            Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25      Page 102 of 329

.r




                    304     Maryland' s doctrine of irreparable harm mandates judicial intervention where harm is

                    imminent, severe, and non-compensable by monetary damages. In Dillon-Capps' s case, the

                    cumulative effects of harassment, bad-faith litigation, and financial and reputational damage

                    have created a situation that cannot be rectified by damages alone. By granting injunctive relief,

                    the court can prevent ongoing harm, protect Dillon-Capps' s rights, and uphold Maryland ' s

                    commitment to fairness and judicial integrity.


                                                           H Legitimate Purpose

                    1       Foundations of Legitimate Purpose
                    305     The concept oflegitimate purpose is central to Maryland' s judicial standards for

                    evaluating the validity and propriety of claims in civil litigation. Under Md. Code Ann., Cts. &

                    Jud. Proc.§§ 10-501 and 10-503, Maryland courts incorporate common law principles,

                    including the doctrine that legal actions must serve a legitimate, bona fide purpose. Claims or

                    legal actions filed with no purpose other than to harass, burden, or intimidate the opposing party

                    are viewed as an abuse of the judicial system. When claims lack legitimate purpose, Maryland

                    courts are authorized to dismiss those claims or impose sanctions on the offending party, as such

                    actions undermine the equitable and just use of judicial resources.


                    2       Judicial Standards for Applying Legitimate Purpose
                    306     Maryland courts employ several standards to detennine whether a claim serves a

                    legitimate purpose:

                            I.       Objective of the Claim: The claim should aim to address a substantive legal

                            issue or resolve a genuine dispute, rather than to harass or cause harm to the opposing

                            party.

                                                                                                        Page 102 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 102 of329                   Exhibit 108
             Case 1:24-cv-03744-BAH                Document 16-10        Filed 01/03/25      Page 103 of 329




                            2.       Intent of the Filing Party: Courts assess whether the intent behind filing the

                            claim was to pursue justice or, conversely, to retaliate, delay, or coerce.

                             3.      Consistency with Judicial Integrity: Claims that serve only to waste judicial

                            resources or impose unnecessary burdens on the opposing party contradict Maryland ' s

                            public policy goals of fairness, judicial economy, and ethical litigation.

                    307     The absence of a legitimate purpose undennines the credibility of the judicial process and

                    diverts resources from genuine claims, justifying judicial intervention to prevent abuse.

                    Maryland courts thus ensure that all claims brought before them serve a bona fide purpose,

                    aligned with ethical and procedural standards.

                    3       Maryland Case Law
                             1.     Needle v. White, 81 Md. App. 463,568 A.2d 856 (1990): The Court of Special

                            Appeals clarified that litigation without a legitimate purpose constitutes an abuse of

                            process, warranting sanctions. The court held that legal actions solely intended to harass

                            or burden the opposing party violate the standards of proper legal practice and ethical

                            conduct.

                            2.      Bartlett v. Portfolio Recovery Assocs., LLC, 438 Md. 255, 91 A.3d 1127

                            (2014): This case reinforced that Maryland courts may dismiss or penalize claims that

                            lack substantive merit or legitimate purpose. The court emphasized that the justice system

                            must not be used as a tool for harassment or coercion, reaffirming the importance of good

                            faith in litigation.




                                                                                                          Page I 03 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 103 of329                      Exhibit 108
            Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25       Page 104 of 329




                    4       Application to Dillon-Capps' s Case
                    308     In Dillon-Capps' s case, Plaintiff's legal actions demonstrate a clear absence of legitimate

                    purpose, as evidenced by their reliance on tactics designed to intimidate, coerce, and exhaust

                    Dillon-Capps financially, professionally, and personally. Key examples of Plaintiffs lack of

                    legitimate purpose include:

                            1.      Hostile and Retaliatory Filings: Plaintiff's filings, including motions for

                            contempt and demands for incarceration, reveal a strategy aimed at pressuring Dillon-

                            Capps rather than pursuing a bona fide legal resolution. The aggressive pursuit of

                            penalties, such as incarceration, reflects a retaliatory approach that has escalated without

                            substantive legal grounds.

                            2.      Manipulation of Legal Procedures: Plaintiff has exploited procedural loopholes,

                            including filing a no-notice TRO and a two-day notice contempt hearing, tactics that

                            denied Dillon-Capps the opportunity for adequate preparation and defense. Such

                            strategies are inconsistent with legitimate litigation objectives and have instead been

                            employed to create undue pressure on Dillon-Capps.

                            3.      Prolonged and Unsubstantiated Litigation: For over five months, Plaintiff has

                            perpetuated this baseless lawsuit, draining Dillon-Capps' s resources and preventing them

                            from focusing on their livelihood and well-being. The absence of substantive claims,

                            coupled with a pattern of excessive and redundant filings, underscores that Plaintiffs

                            intent is to inflict harm, rather than to resolve a genuine dispute.

                    309     The Plaintiff's conduct exemplifies bad-faith litigation and reflects an abuse of process as

                    described in Needle v. White. These actions, lacking any legitimate legal purpose, align with


                                                                                                          Page I 04 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 104 of 329                    Exhibit 108
            Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25         Page 105 of 329




                    Maryland's criteria for imposing sanctions and reciprocal relief. Granting Dillon-Capps 's request

                    for relief would send a clear message that Maryland courts do not tolerate litigation intended

                    solely to harass, intimidate, or coerce the opposing party.

                    3 IO     Maryland's standards require that legal actions serve a legitimate purpose, aligned with

                    principles of fairness and judicial integrity. In Dillon-Capps's case, the Plaintiffs claims have

                    been pursued with the intent to harass and inflict harm, rather than to address a genuine legal

                    grievance. Under Maryland's common law standards, this absence of legitimate purpose justifies

                    the court's intervention through sanctions and dismissal, reinforcing Maryland's commitment to

                    equitable litigation practices and the ethical use of judicial resources.


                                                                I Severe Harm

                    1       Foundations of Severity of Harm
                    311     The concept of severity of harm serves as a guiding factor for Maryland courts in

                    assessing appropriate remedies and sanctions in cases involving significant misconduct. Under

                    Md. Code Ann., Cts. & Jud. Proc.§§ 10-501 and 10-503, Maryland courts incorporate

                    common law principles, allowing them to consider the gravity or " severity" of a party's conduct

                    as a basis for determining whether heightened penalties are justified. This standard allows courts

                    to evaluate the impact and intent of the offending party's actions to ensure that responses are

                    proportionate to the harm inflicted.

                    312     The severity of harm includes consideration of factors such as the nature of the offense,

                    the extent of damage caused, and the broader implications for the court's integrity and the

                    public ' s confidence in the justice system. Where harm is particularly severe-such as cases

                    involving malicious intent, bad faith, or systematic abuse of process-Maryland courts may

                                                                                                         Page 105 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 105 of 329                  Exhibit 108
            Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25       Page 106 of 329

        4




                    impose heightened sanctions or equitable remedies to prevent ongoing harm and deter future

                    misconduct.


                    2       Judicial Standards for Applying Severity of Harm
                    313     Maryland courts assess the severity of harm by evaluating the degree to which the

                    offending conduct:

                            1.      Demonstrates bad faith, malice, or intent to harm.

                            2.      Results in substantial damage that cannot be easily mitigated or rectified.

                            3.      Threatens broader interests, such as judicial integrity or public confidence in the

                            justice system.

                    314     The severity of harm is considered when issuing remedies that exceed standard

                    compensatory relief, allowing Maryland courts to address particularly egregious cases of

                    misconduct with appropriate consequences.


                    3       Mazyland Case Law
                    315     Higginbotham v. Public Serv. Comm'n, 171 Md. App. 254, 909 A.2d 1087 (2006): The

                    Maryland Court of Special Appeals held that courts may assess the degree of offense when

                    determining the severity of sanctions or remedies. The case highlighted that misconduct resulting

                    in significant harm warrants more substantial judicial responses, emphasizing that Maryland

                    courts have the discretion to consider the impact and intent behind the actions in question.

                    316     Worsham v. Ehrlich, 181 Md. App. 711 , 957 A.2d 161 (2008): This case reinforced that

                    courts should assess the severity of harm when evaluating equitable relief, especially where

                    intentional or reckless actions cause lasting damage. The court held that greater harm justifies

                    more rigorous judicial intervention to uphold fairness and prevent further abuse.


                                                                                                         Page 106 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # I 06 of329                   Exhibit 108
            Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25        Page 107 of 329




                    4       Application to Dillon-Capps's Case
                    317     The severity of harm in Dillon-Capps' s case is evident in the compounded financial,

                    professional, and personal damage inflicted by Plaintiffs sustained pattern of abusive litigation

                    tactics. Key aspects of this severe harm include:

                             1.     Malicious Litigation Tactics: Plaintiffs relentless pursuit of baseless contempt

                            actions, aggressive motions for incarceration, and disregard for procedural fairness reflect

                            an intent to harm Dillon-Capps beyond any legitimate legal objective. This pattern

                            demonstrates bad faith and malice, intended to inflict maximum disruption on Dillon-

                            Capps's life.

                            2.      Irreversible Financial and Professional Harm: The Plaintiffs actions have

                            caused Dillon-Capps irreparable financial harm, including the destruction of their

                            business investments and the loss of investor confidence in MXT3, LLC, thereby

                            terminating a 15-year investment in AI research. This financial devastation is

                            compounded by harm to Dillon-Capps's credit rating, defaulting on financial obligations,

                            and now impending homelessness due to potential foreclosure.

                            3.      Severe Physical and Mental Health Deterioration: The Plaintiffs tactics have

                            escalated Dillon-Capps' s PTSD to the point of triggering catatonic episodes, which have

                            worsened to malignant catatonia, a life-threatening condition. The severity of these

                            symptoms has impacted Dillon-Capps's ability to function on a basic level, presenting

                            irreparable harm that worsens with each day the litigation persists.

                            4.      Impact on Vulnerable Dependents: The financial and emotional toll on Dillon-

                            Capps directly threatens the well-being of their dependents, including a disabled brother,


                                                                                                        Page 107 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # I 07 of 329                 Exhibit 108
            Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25       Page 108 of 329




                            elderly mother, and a spouse with cerebral palsy. The harm Plaintiff has caused extends

                            beyond Dillon-Capps, creating further adverse effects on these individuals who rely on

                            Dillon-Capps for support.

                            5.       Maryland courts, under the principles established in Higginbotham v. Public Serv.

                            Comm 'n and Worsham v. Ehrlich, are empowered to impose heightened sanctions and

                            equitable relief in cases involving severe harm. The Plaintiff's sustained abuse of the

                            judicial system justifies a significant judicial response to prevent further damage, deter

                            future misconduct, and provide Dillon-Capps with meaningful relief.

                    318     Maryland' s judicial standards allow for an assessment of severity when issuing remedies,

                    particularly where conduct reflects bad faith, intent to harm, or gross negligence. The severe,

                    multi-dimensional harm inflicted upon Dillon-Capps by Plaintiffs malicious litigation tactics

                    meets the threshold for heightened judicial intervention. By addressing the severity of hann

                    through rigorous penalties and equitable relief, the court can uphold Maryland' s commitment to

                    fairness, protect Dillon-Capps from ongoing hann, and deter similar misconduct in future cases.


                                                                    J Intent

                    1       Foundations of Intent
                    319     Intent is a critical factor in Maryland' s common law, especially in cases involving bad-

                    faith litigation, fraud, and abuse of process. Under Md. Code Ann., Cts. & Jud. Proc.§§ 10-

                    501 and 10-503, Maryland courts incorporate common law principles that assess whether actions

                    were deliberate, malicious, or calculated, as opposed to accidental or negligent. Where intent to

                    harm or deceive is evident, Maryland courts impose heightened penalties and equitable relief to

                    prevent further abuse. Intent to harm elevates the severity of the offense, justifying a judicial

                                                                                                          Page 108 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 108 of 329                    Exhibit 108
            Case 1:24-cv-03744-BAH              Document 16-10           Filed 01/03/25      Page 109 of 329




                    response proportionate to the misconduct, particularly where legal processes are weaponized to

                    evade accountability or coerce the opposing party.


                    2       Judicial Standards for Applying Intent
                    320     Maryland courts examine intent by assessing whether:

                            I.      Deliberate, Calculated Actions: Courts evaluate whether actions reveal a

                            premeditated approach to inflict hann, deceive, or evade responsibility, as opposed to

                            incidental conduct.

                            2.      Misuse of Legal Procedures for Coercive Purposes: Intent is scrutinized where

                            legal processes are exploited for intimidation, deception, or coercion rather than to

                            resolve a legitimate dispute.

                            3.      Pattern of Evasion and Knowledge of Harm: Courts consider whether the party

                            actively evaded responsibilities or misled the court, signaling a pattern of calculated

                            misconduct that suggests a deliberate intent to harm.

                    321     When intent is proven to be malicious or reckless, Maryland courts impose heightened

                    sanctions to prevent ongoing abuse, safeguard judicial integrity, and deter similar conduct.


                    3       Mazyland Case Law
                    322     Montgomery County v. MicroVote Corp., 200 Md. App. 134, 24 A.3d 1163 (2011):

                    Maryland ' s Court of Special Appeals upheld that malicious or deliberate intent to harm warrants

                    heightened penalties. The court emphasized that intent to deceive or manipulate distorts judicial

                    fairness, supporting punitive sanctions as a deterrent.

                    323     Bey v. Shapiro Brown & Alt, LLP, 997 F. Supp. 2d 310 (D. Md. 2014): Reinforced that

                    intent to deceive or coerce justifies civil penalties, especially where actions reveal a pattern of


                                                                                                          Page I 09 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 109 of329                      Exhibit 108
            Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25       Page 110 of 329




                    bad-faith behavior. Maryland courts consistently find that when parties act with harmful or

                    fraudulent intent, punitive measures are appropriate.


                    4       Application to Dillon-Capps's Case
                    324     In Dillon-Capps' s case, Plaintiffs actions-supported and exacerbated by the conduct of

                    their law firm, Miles & Stockbridge-demonstrate a clear intent to harm, deceive, and evade

                    accountability. Plaintiffs representatives, including Justin Drummond and the law firm , took

                    calculated actions designed to obstruct, mislead, and intimidate Dillon-Capps. Key examples of

                    this intent include:

                            1.      Evasion of Agreement and Collective Deception: On June 7th, Drummond

                            agreed to an accord for receiving access by June I 0th and 11th but then evaded satisfying

                            this agreement. Despite claiming to await a response from Hartman Executive Advisors

                            (HEA), Drummond failed to follow through, creating grounds for a later lawsuit. When

                            Dillon-Capps raised concerns in emails to the owners, expressing the belief that

                            Hartman's actions were "deranged and dangerous," no owner or executive responded,

                            demonstrating collective intent to ignore Dillon-Capps' s concerns and support a strategy

                            of harm.

                            2.      Law Firm's Misuse of Process and Deliberate Evasion: Miles & Stockbridge

                            (M&S) exacerbated this harm by filing a no-notice TRO through Dillon-Capps 's work

                            email-an address prohibited from use under the terms of suspension- while having

                            Dillon-Capps' s personal phone and email available. This calculated decision deprived

                            Dillon-Capps of timely notice and procedural fairness. Additionally, M&S misled the

                            court by citing incorrect statutes, resulting in an expedited, two-day contempt show cause


                                                                                                       Page llO of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # I IO of329                    Exhibit 108
            Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25        Page 111 of 329




                            hearing instead of a pre-hearing conference with the required 20-day notice. This

                            strategic misuse of process reflects a pattern of bad-faith intent to coerce Dillon-Capps.

                            3.      Failure to Engage in Pre-Litigation Resolution: Seven days before the lawsuit

                            was filed, a written accord was reached, but neither Ohana nor M&S made any effort to

                            resolve the matter outside of litigation. The fact that they filed immediately rather than

                            attempting resolution indicates that both the Plaintiff and M&S had no intention of

                            addressing the issues in good faith. This is further demonstrated by attorney Holly

                            Butler's refusal to acknowledge whether M&S was representing Ohana when Dillon-

                            Capps sought clarity on the representation status for a potential resolution. This

                            intentional withholding of information, occurring just over a week before the lawsuit,

                            demonstrates M&S's awareness and intent to escalate the conflict rather than resolve it.

                            4.      Prolonged Litigation to Evade Accountability: Over the past five months,

                            Plaintiff and M&S have sustained a baseless lawsuit, filing contempt motions, making

                            perjured statements, and manipulating procedures to pressure Dillon-Capps. The timing

                            of M&S ' s voluntary dismissal, filed hours after Dillon-Capps moved to compel

                            accountability, demonstrates a calculated intent to evade judicial scrutiny. M&S ' s actions

                            are not mere mistakes but reveal an intentional strategy aimed at prolonging harm while

                            avoiding responsibility.

                    325     Plaintiffs and M&S 's collective actions-failing to acknowledge valid contact methods,

                    citing incorrect statutes to obtain expedited hearings, and manipulating procedural rules to

                    prevent resolution-demonstrate a malicious intent to harm Dillon-Capps. This aligns with the




                                                                                                          Page 111 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # I 11 of 329                     Exhibit 108
            Case 1:24-cv-03744-BAH              Document 16-10           Filed 01/03/25      Page 112 of 329




                    Maryland standards described in Montgomery County v. Micro Vote Corp., where the court

                    upheld severe penalties for deliberate misconduct.

                   326      Maryland courts recognize intent as a critical factor in assessing equitable relief and

                    sanctions, especially where actions are deliberate, calculated, and malicious. In Dillon-Capps' s

                    case, Plaintiffs conduct, supported by M&S, demonstrates a collective intent to hann, deceive,

                    and evade accountability. This malicious intent, evident in their deliberate evasion, misuse of

                    procedures, and refusal to engage in pre-litigation resolution, justifies severe penalties and

                    reciprocal relief. By addressing the collective intent of Plaintiff and M&S, the court can protect

                    Dillon-Capps from ongoing abuse, uphold judicial integrity, and reinforce Maryland' s

                    commitment to fairness and accountability.


                                                           K Malicious Purpose
                    1       Foundations of Malicious Purpose
                    327     Malicious purpose, or malice, is a foundational concept in Maryland' s common law that

                    justifies punitive relief or sanctions in cases where actions are driven by ill-will, animosity, or a

                    specific intent to harm rather than to resolve a legitimate legal dispute. Incorporated under Md.

                    Code Ann., Cts. & Jud. Proc.§§ 10-501 and 10-503, the doctrine of malice permits Maryland

                    courts to issue heightened penalties when a party' s motivations are shown to be vindictive,

                    coercive, or purely destructive. Malicious purpose goes beyond ordinary misconduct by

                    introducing an element of spite or hostility that distorts the judicial process, compromises

                    fairness, and warrants an equitable response to prevent abuse.

                    328     This principle serves as a protective measure within Maryland' s judicial system, deterring

                    parties from using the legal system as a weapon for personal vendettas or harassment. By

                                                                                                           Page 112 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 112 of329                      Exhibit 108
            Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25       Page 113 of 329




                    recognizing malice as a basis for punitive relief, Maryland courts reinforce ethical standards and

                    uphold the judicial system' s integrity.


                    2       Judicial Standards for A1mlying Malicious Pumose
                    329     Maryland courts apply the standard of malicious purpose by assessing whether:

                            I.      Actions are Motivated by Ill-Will or Animosity: Malice is established when a

                            party acts with the primary objective of harming or intimidating the opposing party rather

                            than addressing a substantive legal issue.

                            2.      Conduct is Deliberately Vindictive or Coercive: Courts assess whether actions

                            were specifically intended to impose hardship, fear, or undue pressure on the opposing

                            party, beyond what is required by a legitimate legal dispute.

                            3.      Harm is Excessive and Incompatible with Legal Resolution: Maryland courts

                            consider whether the harm imposed is disproportionate or unrelated to the goals of the

                            case, signaling an intent to injure rather than pursue justice.

                    330     When malicious purpose is evident, Maryland courts are authorized to impose severe

                    sanctions or punitive relief, both to penalize the offending party and to deter future abuse of the

                    legal system.


                    3       Mazyland Case Law
                    331     Towns v. State, 349 Md. 373, 708 A.2d 829 (1998): Maryland's highest court held that

                    malice in civil cases justifies punitive sanctions. The court emphasized that malicious intent,

                    especially when designed to harm another party without leg itimate cause, is grounds for

                    imposing punitive measures to discourage vindictive litigation practices.




                                                                                                         Page 113 of329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 11 3 of 329                   Exhibit 108
            Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25          Page 114 of 329

·-




                    332     Keys v. Chrysler Credit Corp., 303 Md. 397,494 A.2d 200 (1985): This case

                    reinforced that malice, particularly when actions are motivated by personal animosity or ill-will,

                    supports the imposition of punitive relief. The court clarified that Maryland's judicial system

                    must protect parties from the consequences of litigation driven by spite or hostility, as such

                    conduct threatens the court' s integrity and fairness.


                    4       A11plication to Dillon-Cap11s' s Case
                    333     The Plaintiffs conduct and that of their counsel, Miles & Stockbridge, clearly

                    demonstrate a malicious purpose aimed at inflicting harm on Dillon-Capps beyond any

                    reasonable pursuit of justice. Plaintiff's actions reflect an intent to coerce, intimidate, and

                    exhaust Dillon-Capps financially, mentally, and professionally, with no legitimate effort to

                    resolve the underlying issues. Key examples of Plaintiff's malice include:

                            1.      Vindictive and Coercive Litigation Tactics: Plaintiff's actions-pursuing

                            contempt motions, filing for a no-notice TRO, and seeking incarceration-go beyond

                            what is reasonable in a civil dispute. These measures indicate an intent to maximize harm

                            and instill fear in Dillon-Capps, employing litigation as a weapon rather than as a means

                            to resolve issues. This pattern aligns with Maryland' s standard for malicious purpose, as

                            seen in Towns v. State, where litigation aimed solely at harming another party justified

                            punitive measures.

                            2.      Evasion of Resolution and Intensification of Hostility: Plaintiffs and M&S' s

                            refusal to engage in any pre-litigation resolution despite a written accord signed on June

                            7th suggests an intent to escalate the conflict rather than resolve it. Even when Dillon-

                            Capps sought clarity on M&S' s representation to discuss potential resolutions, attorney


                                                                                                            Page t 14 of329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts       Page # 114 of 329                   Exhibit 108
            Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25       Page 115 of 329

·-




                            Holly Butler avoided acknowledging M&S's role. This deliberate avoidance and

                            subsequent filing of a lawsuit without attempting resolution indicate malicious intent to

                            maintain hostility and inflict hann, as opposed to addressing a genuine dispute.

                            3.      Exploitation of Procedural Loopholes to Amplify Harm: Plaintiffs and

                            M&S ' s strategic choice to use Dillon-Capps' s work email, prohibited by the suspension

                            tenns, to notify them of the no-notice TRO, while ignoring Dillon-Capps' s personal

                            contact infonnation, reveals a calculated intent to deprive them of procedural fairness.

                            Additionally, M&S's misrepresentation of statutes to obtain an expedited contempt show

                            cause hearing, rather than the standard pre-hearing conference, demonstrates a pattern of

                            procedural manipulation with malicious intent to catch Dillon-Capps unprepared and

                            impose further hardship.

                            4.      Continued Litigation Despite Knowledge of Truth: Dillon-Capps repeatedly

                            indicated that M&S would not have filed the lawsuit if they knew the truth. Despite this,

                            M&S has continued the litigation for over five months, with no acknowledgment of

                            Dillon-Capps' s statements, revealing their intent to sustain litigation solely to inflict

                            hann. The recent filing for voluntary dismissal, immediately after Dillon-Capps' s motion

                            to compel evidence, further illustrates M&S' s intent to evade accountability while

                            continuing to pressure and harm Dillon-Capps.

                    334     Plaintiffs actions, supported by M&S, reveal a deliberate, malicious purpose aimed at

                    harming Dillon-Capps, consistent with Maryland's criteria for punitive sanctions as established

                    in Towns v. State and Keys v. Chrysler Credit Corp.. By using litigation to intimidate, exhaust




                                                                                                            Page 115 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 115 of329                       Exhibit 108
            Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25       Page 116 of 329




                    resources, and create fear, Plaintiff has acted not out oflegitimate legal motives but out of spite,

                    making punitive measures and reciprocal relief appropriate.

                    335     Malicious purpose in Maryland civil litigation justifies heightened penalties and punitive

                    sanctions, particularly where actions are motivated by ill-will or intent to harm. In Dillon-

                    Capps's case, Plaintiffs conduct, supported by M&S's intentional procedural abuses,

                    demonstrates clear malice. This is evident in their strategic evasion, refusal to engage in

                    resolution, procedural manipulation, and disregard for Dillon-Capps' s rights. By addressing this

                    malicious purpose, the court can uphold Maryland's commitment to fairness, deter future abuses,

                    and protect Dillon-Capps from continued harm.


                                            L Material Statements and Supporting Evidence

                    1       Foundations of Material Statements and Supporting Evidence
                    336     Maryland law, supported by Md. Code Ann., Cts. & Jud. Proc.§§ 10-501 and 10-503,

                    upholds that all material statements in legal proceedings must be accurate, complete, and

                    substantiated by evidence. Rooted in English common law and incorporated into Maryland' s

                    judicial framework, these provisions ensure that all statements presented in court meet standards

                    of truthfulness and materiality, safeguarding the court' s role as a fair and impartial arbiter. A

                    material statement is one that could reasonably affect the court's decision or shape the

                    litigation's outcome. Misrepresentations or omissions that are material to the case 's core issues

                    constitute ethical and procedural violations, impacting the integrity of the judicial process.

                    337     Key elements of material statements in Maryland include:

                            1.      Truthfulness and Completeness: Statements must truthfully reflect all relevant

                            facts and omit nothing that could mislead.

                                                                                                           Page 116 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 116 of329                       Exhibit 108
            Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25         Page 117 of 329




                           2.        Materiality: Statements must relate to key facts with the potential to influence the

                           court's findings or a jury's understanding.

                           3.        Supportive Evidence: Material statements should be backed by admissible,

                           credible evidence that verifies their accuracy, especially if they underlie claims or

                            defenses.


                   2        Judicial Standards for Applying Material Statements and Evidence
                   338      Maryland courts, under§§ 10-501 and 10-503, apply these principles as follows:

                              l.     Accuracy and Relevance: Statements in affidavits, pleadings, or court

                              proceedings must be both truthful and relevant to the claims or defenses in questio n.

                              2.     Verification through Evidence: A ll material statements should be corroborated

                              by admissible evidence; fal se or unsupported statements with material impact can lead to

                              charges of perjury, fraud, or abuse of process.

                              3.     Potential to Influence Judicial Findings: Statements are deemed material if they

                              bear sufficient relevance to sway court decisions or impact judicial findings.


                    3         Mazyland Case Law and Statutory Basis
                    339       Shifflett v. State, 245 Md . 169, 225 A.2d 440 ( 1967): The Maryland Court of A ppeals

                    emphasized that misleading statements include both outright falsehoods and selective omissions.

                    Material statements must reflect the truth to uphold judicial integrity.

                    340       Attorney Grievance Commission v. Mixter, 44 1 Md . 4 16, 109 A .3d 1 (2015):

                    Maryland courts sanction attorneys for material misstatements intended to distort j udicial

                    outcomes, underscoring that litigants and attorneys must ensure factual integrity in all legal

                    claims.


                                                                                                           Page 117 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts     Page # I 17 of 329                  Exhibit 108
            Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25     Page 118 of 329




                    34 I    Maryland Rules 3-301 & 5-901: These evidentiary rules require that claims be

                    substantiated by reliable, admissible evidence. Material misrepresentations unsupported by

                    evidence are grounds for procedural sanctions.


                    4       A1mlication to Dillon-Capps' s Case
                    342     In Dillon-Capps's case, Ohana and M&S filed materially false statements and omitted

                    critical information to distort the court' s understanding of Dillon-Capps' s employment, FMLA

                    rights, and other central issues. Key examples include:

                            1.      Selective Omissions in Affidavits: Affidavits submitted by Ohana executives,

                            such as Richard Hartman and Justin Drummond, omitted significant facts regarding

                            Dillon-Capps' s FMLA rights and Ohana' s obligations under the June 7th written accord.

                            This selective presentation mirrors the misleading statements deemed perjury in Shifflett

                            v. State.

                            2.      Unsupported Claims of Access Refusal: Ohana falsely claimed that Dillon-

                            Capps refused access, even though Ohana had failed to complete the agreed-upon steps to

                            obtain access per the written accord. Maryland law requires material claims to be

                            substantiated by evidence, as seen in Attorney Grievance Commission v. Mixter; claims

                            without factual basis can result in sanctions for misleading the court.

                            3.      Potential Impact on Judicial Findings: These misrepresentations and omissions

                            were instrumental in the court' s early rulings on injunctive relief and show cause orders.

                            Had the court been informed of the omitted details -particularly Ohana' s failure to fulfill

                            its contractual obligations-the initial rulings may have differed significantly,

                            underscoring how material omissions affected the judicial outcome.


                                                                                                         Page 118 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 118 of329                      Exhibit 108
            Case 1:24-cv-03744-BAH              Document 16-10           Filed 01/03/25     Page 119 of 329




                    343     Maryland's commitment to integrity in judicial proceedings, supported by§§ 10-501 and

                    10-503, mandates that all material statements be accurate and evidence-supported. In Dillon-

                    Capps's case, M&S' s and Ohana's misleading affidavits and selective omissions violated these

                    principles, undermining judicial fairness and necessitating corrective sanctions. The court should

                    impose measures to correct the record, hold M&S and Ohana accountable, and reinforce

                    Maryland's standards for material truthfulness in litigation.


                                                          M Breach of Contract:

                    1       Foundations of Breach of Contract
                    344     Under Maryland law, supported by Md. Code Ann., Cts. & Jud. Proc.§§ 10-501 and

                    10-503, breach of contract occurs when one party fails to meet its obligations under a valid

                    agreement without legal justification. Maryland' s contract law principles apply to both

                    traditional contracts and accords-agreements created to resolve disputes or clarify mutual

                    obligations. When breached, such accords entitle the injured party to seek remedies under

                    contract law, reinforcing accountability and good faith between parties.

                    345     Key elements of breach of contract in Maryland include:

                            1.      Existence of a Valid Contract or Accord: A valid contract or accord requires

                            mutual assent, clear terms, and consideration.

                            2.      Material Terms: For an agreement to be enforceable, its terms must be

                            sufficiently defined and essential to the purpose of the contract.

                            3.      Failure to Perform: Breach occurs when one party fails to perform its agreed-

                            upon obligations, especially when non-performance disrupts a material term.




                                                                                                        Page 11 9 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 119 of329                      Exhibit 108
            Case 1:24-cv-03744-BAH              Document 16-10           Filed 01/03/25        Page 120 of 329




                           4.       Resulting Damages: The breach must cause harm or detriment to the non-

                            breaching party, entitling them to legal or equitable remedies.


                   2        Judicial Standards for Applying Breach of Contract
                   346      Maryland courts evaluate breach of contract claims based on:

                            1.      Existence of a Clear and Enforceable Agreement: Maryland courts assess

                            whether an agreement has valid, binding terms that clearly define each party' s

                            obligations.

                            2.      Material Breach: A breach is material when it undermines an essential element

                            of the contract, impacting the non-breaching party' s rights or interests significantly.

                            3.      Resulting Damages: Maryland law requires proof that the breach caused actual

                            harm to the non-breaching party, such as financial losses or legal disadvantages.


                    3       Maryland Case Law and Statutory Basis
                    347     Academy ofIRM v. LVI Environmental Services, Inc., 344 Md. 434, 687 A.2d 669

                    (1997): Maryland's Court of Appeals highlighted that contracts must contain clear terms and

                    mutual assent to be enforceable. The case affirms that failing to perform essential terms

                    constitutes a breach, entitling the injured party to relief.

                    348     Hrehorovich v. Harbor Hospital Center, Inc., 93 Md. App. 772, 614 A.2d I 02 1

                    (I 992): The Maryland Court of Special Appeals found that a breach of an accord-an agreement

                    resolving specific obligations-is actionable, with remedies available if the breach impacts the

                    performance of key terms.

                    349     College of Notre Dame of Maryland, Inc. v. Morabito Consultants, Inc., 132 Md.

                    App. 158, 752 A.2d 265 (2000): Maryland courts have consistently held that failure to perform a


                                                                                                           Page 120 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts     Page # 120 of 329                    Exhibit 108
            Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25       Page 121 of 329




                    contract's essential terms constitutes a material breach, warranting relief for the non-breaching

                    party.

                    350      C & B Construction, Inc. v. Dashiell, 240 Md. App. 136, 20 I A.3d I (2019):

                    Maryland's standard for awarding damages in breach of contract cases requires material harm,

                    particularly when the breach interferes with the agreement's purpose and the non-breaching

                    party's rights.


                    4        Agplication to Dillon-Capps's Case
                    351      In Dillon-Capps's case, Ohana and M&S breached the June 7th written accord, an

                    agreement establishing access and support provisions intended to facilitate Di lion-Capps' s

                    professional duties. Under the accord, Ohana was to receive access on June I 0th and 11th, as a

                    prerequisite for Dillon-Capps to fulfill work obligations. Instead of fulfilling its own obligations,

                    Ohana evaded compliance and subsequently filed an injunction lawsuit on June 13th, falsely

                    claiming that Dillon-Capps was refusing access.

                             I.       Existence of a Valid Accord: The June 7th written accord is a legally binding

                             agreement that clearly defined mutual obligations, particularly relating to Ohana' s

                             responsibility to receive access, as confirmed in Academy ofIRM v. LVI Environmental

                             Services, Inc.

                             2.       Material Breach by Ohana's Failure to Receive Access: Ohana' s failure to

                             fulfill its obligation to receive access on June I 0th and 11th represents a material breach.

                             This breach disrupted Dillon-Capps' s ability to meet professional requirements,

                             obstructing Dillon-Capps' s legal rights under the agreement.




                                                                                                           Page 121 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 121 of329                       Exhibit 108
            Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25      Page 122 of 329




                            3.      Resulting Damages to Dillon-Capps: The breach has led to significant harm to

                            Dillon-Capps, as Ohana' s evasion of its obligations under the accord hindered Dillon-

                            Capps's work, resulting in reputational damage and financial strain. This impact aligns

                            with the damages standard established in C & B Construction, Inc. v. Dashiell, as Dillon-

                            Capps suffered material harm from Ohana ' s failure to comply.

                            4.      The actions of Ohana and M&S in breaching the accord meet Maryland's criteria

                            for breach of contract, warranting compensatory relief to restore Dillon-Capps' s position

                            and address the resulting damages.

                            5.      Maryland's contract law, reinforced by Md. Code Ann., Cts. & Jud. Proc.§§

                            10-501 and 10-503, protects the enforceability of accords and agreements that establish

                            clear, mutual obligations. Ohana's failure to fulfill its obligations under the June 7th

                            written accord constitutes a material breach of contract, as defined by Maryland case law.

                            The cou11 should impose remedies consistent with Academy of/RM v. LVI Environmental

                            Services, Inc. and College ofNotre Dame v. Morabito Consultants, Inc. to hold Ohana

                            accountable and compensate Dillon-Capps for the significant harm caused by this breach.


                                                                N Attempted

                    1       Foundations of Attempted Conduct in Mar:yland Common Law and Statutor:y Law
                    352     Under Maryland common law and statutory provisions, attempted conduct refers to

                    actions taken with the intent to commit a specific offense, even if the offense remains

                    incomplete. Maryland courts incorporate the doctrine of attempt through Md. Code Ann., Cts.

                    & Jud. Proc.§§ 10-501 and 10-503, allowing them to impose consequences for actions that

                    demonstrate an intent to achieve a harmful outcome. In addition, Md. Code Ann., Crim. Law§

                                                                                                          Page 122 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 122 of329                     Exhibit 108
            Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25      Page 123 of 329




                    1-201 codifies the principle that attempts to commit a crime are punishable, reflecting the state's

                   recognition that incomplete offenses, where intent and substantial steps are present, warrant

                   judicial response.

                    353     The essential elements of attempt in both common law and statutory contexts include:

                            1.      Intent to Commit the Offense: The individual must have a clear, deliberate

                            intention to carry out the wrongful act.

                            2.      Substantial Step Toward Completion: The party must take concrete actions that

                            advance the offense, going beyond mere preparation and showing a real threat of hann.

                    354     These elements allow Maryland courts to assess attempted conduct based on both intent

                    and substantial action, thereby addressing cases where harm is intended but incomplete. By

                    recognizing attempted conduct as a punishable offense, Maryland courts can protect against

                    threats that, while not fully realized, exhibit a clear risk of hann or procedural abuse.


                    2       Judicial Standards for Applying Attempted Conduct
                    355     Maryland courts apply the doctrine of attempt by examining the following factors:

                            1.      Intent and Purpose: The accused must demonstrate a clear, purposeful aim to

                            complete the offense, as opposed to incidental or unintentional actions.

                            2.      Proximity and Substantial Actions: Actions must be sufficiently proximate to

                            the offense, representing a direct effort to complete the wrongful act.

                            3.      Risk of Harm and Abuse of Process: Courts assess whether attempted conduct

                            poses a real threat or reflects an intent to misuse legal procedures, particularly where

                            actions are used to intimidate, evade accountability, or manipulate the judicial system.




                                                                                                           Page 123 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 123 of329                       Exhibit 108
            Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25      Page 124 of 329




                    356     By addressing both common law and statutory components of attempt, Maryland courts

                    can impose penalties for conduct that poses a substantial and deliberate threat of harm.


                    3       Mazyland Case Law and Statutory Basis
                    357     Cox v. State, 311 Md. 326, 534 A.2d 1333 (1988): The Maryland Court of Appeals

                    clarified that attempt requires a "substantial step" toward completing the offense, beyond mere

                    preparation. This case established that courts must assess intent and actions that demonstrate a

                    real and proximate threat of harm, even when the offense remains incomplete.

                    358     State v. Earp, 319 Md. 156, 571 A.2d 1227 (1990): The court reaffirmed that attempt

                    requires specific intent and a substantial step toward completing the intended offense. This ruling

                    highlights that attempted conduct is actionable because it poses a legitimate threat of harm or

                    abuse of the judicial process, warranting judicial intervention.

                    359     Md. Code Ann., Crim. Law§ 1-201: This statute codifies Maryland' s treatment of

                    attempt, establishing that attempts to commit crimes are punishable. By aligning with

                    Maryland' s common law standards, this statute provides a basis for addressing actions where

                    intent and substantial steps indicate a direct effort to commit an offense, even if incomplete.


                    4     Application to Attempted False Imprisonment and Procedural Abuse in Dillon-
                    Capps' s Case
                    360     In Dillon-Capps ' s case, the Plaintiffs conduct, enabled by Miles & Stockbridge (M&S),

                    demonstrates both an attempt at false imprisonment and an ongoing abuse of procedural

                    mechanisms to evade accountability. Plaintiffs actions reveal an intent to harm Dillon-Capps

                    through coercion, intimidation, and strategic evasion once their tactics were questioned. Key

                    elements include:



                                                                                                         Page 124 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 124 of329                     Exhibit 108
            Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25      Page 125 of 329




                   361      Intent to Coerce Through Threat of Imprisonment: Plaintiffs repeated contempt

                    filings with requests for incarceration reveal a clear intent to coerce Dillon-Capps into

                   compliance through the threat of false imprisonment. This malicious intent aligns with

                    Maryland' s common law and statutory definitions of attempted conduct, as the Plaintiff's aim

                    was to create a climate of fear and intimidation, not to pursue a legitimate legal remedy.

                    362     Substantial Steps Toward False Imprisonment: By filing expedited contempt motions

                    under deceptive statutory citations, Plaintiff and M&S bypassed procedural safeguards, such as

                    the required pre-hearing conference with a 20-day notice period, and instead sought an

                    immediate two-day notice contempt hearing. This misuse of procedural rules constitutes a

                    "substantial step" under Maryland law, moving beyond mere preparation and bringing Dillon-

                    Capps dangerously close to unlawful confinement.

                    363     Subsequent Withdrawal to Evade Accountability: Following the filing of contempt

                    motions and other aggressive tactics, Plaintiff and M&S withdrew certain filings once Dillon-

                    Capps moved to compel accountability. This sequence reveals an attempt to evade responsibility

                    through procedural abuse, showing a strategy not only to inflict harm but also to avoid scrutiny.

                    The voluntary dismissal filing immediately after Dillon-Capps' s second motion to compel

                    further demonstrates an attempt to abuse procedural mechanisms to evade judicial examination

                    of their conduct.

                    364     Ongoing Procedural Manipulation: Plaintiffs recent filing of a notice of voluntary

                    dismissal represents another attempt to evade accountability. By leveraging procedural tactics to

                    file and withdraw as convenient, Plaintiff and M&S demonstrate an ongoing pattern of

                    procedural abuse. This strategy aligns with Maryland's standards for attempted conduct, where


                                                                                                         Page 125 of329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 125 of 329                      Exhibit 108
            Case 1:24-cv-03744-BAH              Document 16-10           Filed 01/03/25      Page 126 of 329




                   actions are taken with clear intent to manipulate legal processes and avoid responsibility for their

                   harmful actions.

                   365      Plaintiffs and M&S's actions meet Maryland's standards for attempted false

                    imprisonment and procedural abuse, as they exhibit clear intent and substantial steps toward

                    wrongful confinement and evasion. Through procedural manipulation and subsequent

                    withdrawals, they attempted both to imprison Dillon-Capps falsely and to evade the legal

                    consequences,justifyingjudicial intervention to prevent further harm and misuse of Maryland' s

                    legal processes.

                    366     Maryland's common law and statutory framework recognize attempted conduct as a basis

                    for judicial action, particularly where intent and substantial steps indicate a proximate threat of

                    harm or abuse. In Dillon-Capps' s case, Plaintiffs calculated actions-including contempt

                    filings, procedural manipulation, and strategic withdrawals-demonstrate a clear attempt at false

                    imprisonment and an abuse oflegal processes to evade accountability. By addressing these

                    attempted actions, Maryland courts can protect Dillon-Capps from ongoing harm, uphold the

                    integrity of the judicial system, and reinforce standards that prevent procedural abuse.


                                                           0 False Imprisonment

                    1       Foundations of Attempted False Imprisonment
                    367     Maryland law, supported by Md. Code Ann., Cts. & Jud. Proc.§§ 10-501 and 10-503,

                    incorporates common law principles prohibiting false imprisonment, which includes any

                    unlawful confinement or restriction of an individual's freedom without legal authority. Md.

                    Code Ann., Crim. Law § 3-801 and § 3-802 further define false imprisonment, criminalizing

                    the act of unlawfully confining another person with intent to cause harm or exert control over

                                                                                                          Page 126 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 126 of329                     Exhibit 108
            Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25       Page 127 of 329




                    them. Attempted false imprisonment involves actions or procedural abuses intended to achieve

                    unlawful confinement, even if the confinement is not fully realized. This doctrine is particularly

                    relevant in civil contexts where legal processes are manipulated to achieve confinement without

                   just cause.

                    368     Key elements of attempted false imprisonment in Maryland include:

                    369     Intent to Confine or Restrain: Attempted false imprisonment requires evidence of

                    intent to unlawfully restrict another person ' s freedom of movement.

                    370     Absence of Legal Justification: The confinement must be without lawful grounds or

                    authority, especially when achieved through abuse of process or misrepresentation.

                    371     Actions Toward Confinement: Actions taken to confine or restrict, even if they do not

                    fully succeed, constitute an attempt to falsely imprison if they reveal a deliberate plan to achieve

                    wrongful confinement.


                    2       Judicial Standards for A1,wlying Attempted False Imprisonment
                    372     Maryland courts evaluate attempted false imprisonment based on:

                            I.      Clear Evidence oflntent to Restrict Freedom: The defendant must demonstrate

                            an intent to confine or restrict the plaintiff without lawful authority.

                            2.      Misuse of Judicial Processes: Attempted false imprisonment often overlaps with

                            abuse of process when judicial mechanisms are misused to unlawfully restrict an

                            individual' s freedom , especially when achieved through fraudulent statements or

                            fabricated claims.




                                                                                                         Page 127 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 127 of329                    Exhibit 108
            Case 1:24-cv-03744-BAH                       Document 16-10                Filed 01/03/25            Page 128 of 329




                                 3.        Lack of Legal Justification or Authority: Courts assess whether the defendant's

                                 actions were unsupported by lawful authority, often looking at whether attempts were

                                 made to deceive or manipulate the court to authorize confinement.


                   3             Maryland Case Law and Statutory Basis
                   373           Montgomery Ward v. Wilson, 339 Md. 701 , 664 A.2d 916 (1995): The Maryland Court

                   of Appeals established that confinement without lawful authority constitutes false imprisonment,

                    including cases where actions are taken with the intent to restrict an individual's freedom.

                   Misuse of authority to achieve unlawful detention is actionable as false imprisonment.

                       374       Great Atl. & Pac. Tea Co. v. Paul, 256 Md. 643, 261 A.2d 731 (1970): Maryland' s

                       highest court affirmed that steps toward unlawful confinement- such as seeking confinement

                       through false allegations or procedural manipulation-can meet the criteria for false

                       imprisonment if intended to intimidate or harm.

                       375       Hawkins v. Rockville Garage, Inc., 241 Md. 126, 215 A.2d 767 ( 1966): Maryland

                       courts have held that actions taken with the intention to unlawfully confine or restrict, even when

                       confinement is incomplete, constitute attempted false imprisonment, particularly where the

                       intention to restrict is evident.


                       4         Cross Argument Case Law
                  I.         TuRN.JNQ.AIT.t:Mr.J]:;P..f.A.J.,.S~JMP.R.l~QN.MEN.J. lli.T.Q .f.M~~ l MJ?R..l.SQJ:-!MJ.::.tlI

                       376        Broughton v. State of New York, 37 N.Y.2d 451 , 373 N.Y.S.2d 87, 335 N.E.2d 310

                       ( 1975): The New York Court of Appeals ruled that attempted false imprisonment may be treated

                       as fal se imprisonment when the intent to confine is coupled with clear procedural abuse. The




                                                                                                                             Page 128 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts                    Page # 128 of 329                      Exhibit 108
            Case 1:24-cv-03744-BAH              Document 16-10           Filed 01/03/25     Page 129 of 329




                   case establishes that intent and procedural manipulation warrant treating attempted actions as

                   completed offenses.

                   377      State v. Lenarz, 301 Conn. 417, 22 A.3d 536 (2011): The Connecticut Supreme Court

                   held that when actions go beyond mere preparation and include a substantial step toward

                   wrongful confinement, attempted false imprisonment may be elevated to actual false

                    imprisonment if intent and harmful effects are clear.




                    378     Jones v. Jones, 46 Md. App. 460, 418 A.2d 1253 ( 1980): The Maryland Court of Special

                    Appeals recognized that fraudulent use of legal proceedings to achieve confinement constitutes

                    false imprisonment. The court ruled that false statements made to achieve confinement through

                   judicial processes warrant treating the suit as a tool for false imprisonment.

                    379     King v. Ruffin, 89 Md. App. 588, 598 A.2d 756 ( 1991 ): The court ruled that using

                    fraudulent claims or procedural manipulation to incarcerate or restrict another is actionable as

                    false imprisonment. The ruling emphasized that legal processes should not be used to achieve

                    wrongful confinement under false pretenses.


                    5       Application to Dillon-Capps' s Case
                    380     In Dillon-Capps 's case, Ohana and M&S engaged in attempted false imprisonment

                    through procedural abuse, specifically by pursuing a second show cause order to seek Dillon-

                    Capps's incarceration. This action was based on perjured statements and manipulated evidence,

                    demonstrating both intent to confine and abuse ofjudicial process:




                                                                                                        Page 129 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 129 of329                    Exhibit 108
            Case 1:24-cv-03744-BAH              Document 16-10           Filed 01/03/25      Page 130 of 329




                            1.      Intent to Confine through Procedural Abuse: Ohana and M&S' s pursuit of the

                           second show cause order, despite no legal basis for confinement, reflects a clear intent to

                           restrict Dillon-Capps' s liberty unjustly, in line with Montgomery Ward v. Wilson.

                           2.       Misrepresentation and Lack of Justification: The show cause motion relied on

                            perjured statements and unsupported claims, aligning with Great At/. & Pac. Tea Co. v.

                            Paul. This abuse of process demonstrates a lack of legal basis, constituting a deliberate

                            effort to manipulate judicial authority.

                            3.      Elevating Attempted to Actual False Imprisonment: The filing of a fraudulent

                            lawsuit seeking confinement parallels the standards in Jones v. Jones and King v. Ruffin,

                            which held that misuse of legal process to achieve confinement through deception

                            qualifies as false imprisonment. By manipulating the court through misrepresentation,

                            Ohana and M&S' s actions justify treatment as completed false imprisonment.

                    381     The coordinated actions ofOhana and M&S in seeking Dillon-Capps' s confinement

                    demonstrate attempted false imprisonment through abuse of process, aligning with Maryland' s

                    criteria for wrongful restraint and meriting sanctions.

                    382     Maryland law, supported by§§ 10-501 and 10-503, protects against wrongful

                    confinement and prohibits attempts to manipulate judicial processes to achieve it. Ohana' s and

                    M&S ' s abuse of process in pursuing incarceration under false pretenses constitutes attempted

                    false imprisonment, warranting significant sanctions. The court should impose compensatory

                    relief and penalties to address this procedural manipulation and deter similar misconduct,

                    aligning with the standards established in Jones v. Jones and Montgomery Ward v. Wilson.


                                                                 P Coercion
                                                                                                         Page 130 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 130 of329                    Exhibit 108
            Case 1:24-cv-03744-BAH               Document 16-10           Filed 01/03/25       Page 131 of 329




                   1       Foundations of Coercion
                   383     Maryland law, supported by Md. Code Ann., Cts. & Jud. Proc.§§ 10-501 and 10-503,

                   incorporates the doctrine of coercion from English common law principles, prohibiting efforts to

                   compel someone to act or refrain from acting through unlawful pressure or intimidation.

                   Coercion involves actions or threats that leave the individual with no reasonable alternative but

                   to comply. In Maryland, coercion is not limited to physical threats but also includes

                   psychological pressure, misuse of authority, and manipulation aimed at forcing compliance or

                   silence.

                   384        Key elements of coercion in Maryland include:

                              1.     Unlawful Threats or Pressure: Coercion occurs when a party employs threats,

                              intimidation, or abuse of authority to force another party into compliance.

                              2.     Intent to Influence Behavior: Coercion is marked by a clear intent to control or

                              manipulate the actions of another party.

                              3.     Absence of Legitimate Justification: Coercion lacks lawful authority and is

                              aimed at compelling actions contrary to the coerced party ' s interests or rights.


                    2         Judicial Standards for Applying Coercion
                    385       Maryland courts evaluate coercion based on:

                              I.      Nature of the Threat or Pressure: The courts examine whether the threat or

                              pressure exerted was unlawful, unjustified, or intended to force compliance.

                              2.      Intent to Manipulate or Control: Maryland law requires evidence of the

                              defendant's intent to compel certain actions, silence, or acquiescence from the plaintiff

                              through coercive measures.


                                                                                                             Page 131 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts      Page # 131 of329                       Exhibit 108
            Case 1:24-cv-03744-BAH              Document 16-10           Filed 01/03/25      Page 132 of 329




                           3.      Lack of Lawful Authority: Coercion must lack legitimate grounds, relying

                           instead on threats, retaliation, or abuse of legal or employment power.


                   3       Maryland Case Law and Statutozy Basis
                   386     Doe v. Sovereign Grace Ministries, Inc., 217 Md. App. 650, 94 A.3d 654 (2014):

                   Maryland' s Court of Special Appeals addressed coercion by ruling that an organization cannot

                   use authority to compel silence on matters of public or personal interest. Coercion occurs when a

                   party manipulates another into compliance without lawful grounds.

                   387      Warfel v. Brady, 95 Md. App. 14 I, 620 A.2d 325 (1993): The court held that coercion

                   includes psychological manipulation and misuse of authority to control behavior. This case

                   reinforced that coercive conduct does not require physical force but may include threats of

                   adverse action or abuse of authority.

                   388      Hartford Accident & lndem. Co. v. Scarlett Harbor Assocs. Ltd. P'ship, 109 Md.

                    App. 217, 674 A.2d I 06 (1996): Maryland courts have established that coercion encompasses

                    threats, intimidation, and manipulation intended to influence the actions of another, particularly

                    in the absence of legitimate authority.


                    4       Application to Dillon-Capps's Case
                    389     In Dillon-Capps's case, Ohana and M&S engaged in a pattern of coercive behavior

                    designed to silence Dillon-Capps and compel compliance. Between May 20 and June 13, Ohana

                    and M&S used threats of adverse employment action, suspension, a fraudulent lawsuit, and an

                    attempted show cause motion to incarcerate Dillon-Capps as part of an orchestrated effort to

                    prevent Dillon-Capps from reporting or challenging their misconduct.




                                                                                                         Page 132 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 132 of329                    Exhibit 108
            Case 1:24-cv-03744-BAH              Document 16-10           Filed 01/03/25      Page 133 of 329




                    390     Threats of Adverse Employment Action: Between May 24 and June 13, Ohana

                    threatened Dillon-Capps with suspension, adverse employment consequences, and termination if

                    Dillon-Capps exercised their rights under FMLA or spoke out about the company ' s misconduct.

                    These threats align with Doe v. Sovereign Grace Ministries, Inc. , where coercion was found in

                    efforts to suppress or intimidate another into silence or compliance.

                    391     Suspension and Termination to Silence Dillon-Capps: Ohana suspended Dillon-Capps

                    in retaliation for their whistleblowing actions, intending to suppress further reporting. The

                    suspension, followed by wrongful termination, reflects coercive intent as outlined in Warfel v.

                    Brady, as both actions were aimed at limiting Dillon-Capps' s ability to challenge Ohana' s

                    practices or report their conduct.

                    392     Fraudulent Lawsuit and Attempted Confinement: Ohana' s fraudulent lawsuit, based

                    on perjured statements, sought not only to gain injunctive relief but also to intimidate Dillon-

                    Capps into submission. The attempted show cause order for incarceration was designed to

                    threaten Dillon-Capps with confinement if they continued to exercise their rights. This aligns

                    with the standards in Hartford Accident & lndem. Co. v. Scarlett Harbor Assocs. , where threats

                    and abusive legal processes aimed at forcing compliance were deemed coercive.

                    393     Intention to Suppress Whistleblowing: The cumulative actions of Ohana and M&S-

                    from adverse employment actions and legal threats to fraudulent allegations- were specifically

                    aimed at deterring Dillon-Capps from reporting illegal activities within the company. The pattern

                    of intimidation illustrates a clear intent to control Dillon-Capps' s behavior, coercing silence

                    through a misuse of authority and abuse of legal processes.




                                                                                                          Page 133 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 133 of329                     Exhibit 108
            Case 1:24-cv-03744-BAH              Document 16-10            Filed 01/03/25      Page 134 of 329




                   394      The concerted efforts of Ohana and M&S demonstrate coercive tactics intended to force

                   Dillon-Capps into complacency, preventing them from exposing the company' s misconduct.

                   Maryland' s standards for coercion are met here, as Ohana and M&S used threats, manipulation,

                   and procedural abuse to unjustly influence Dillon-Capps' s actions.

                    395     Coercion, as established under Maryland law and supported by Md. Code Ann., Cts. &

                   Jud. Proc.§§ 10-501 and 10-503, encompasses actions intended to force compliance or silence

                   through threats, intimidation, and abuse of authority. In Dillon-Capps' s case, Ohana' s and

                    M&S ' s pattern of adverse employment actions, procedural manipulation, and threats of

                    incarceration collectively represent coercive actions meant to suppress Dillon-Capps' s rights.

                    The court should impose sanctions and remedies to hold Ohana and M&S accountable for their

                    coercive conduct and to deter future misuse of power.


                                                         Q Fraud Upon the Court

                    1       Foundations of Fraud Upon the Court
                    396     Fraud upon the court refers to conduct that intentionally seeks to deceive or corrupt the

                    judicial process, impacting the integrity of the proceedings and subverting the court' s ability to

                    render a fair judgment. Under Md. Code Ann., Cts. & Jud. Proc.§§ 10-501 and 10-503,

                    Maryland courts adopt principles from common law to recognize and penalize actions that

                    compromise the judicial process. This doctrine allows Maryland courts to take corrective action

                    when fraudulent conduct impacts the proceedings at a fundamental level, whether by filing

                    perjured statements, submitting falsified evidence, or engaging in any other misconduct that

                    obstructs the court's ability to adjudicate fairly.




                                                                                                          Page 134 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts     Page # 134 of329                    Exhibit 108
            Case 1:24-cv-03744-BAH              Document 16-10           Filed 01/03/25       Page 135 of 329




                   397      Fraud upon the court is considered a particularly egregious form of misconduct as it seeks

                   to undermine the very foundation of judicial integrity. When fraud upon the court is established,

                   courts may impose severe sanctions, vacate judgments, and hold the offending party accountable

                   to restore judicial trust.


                   2        Judicial Standards for Am?lying Fraud Upon the Court
                    398     Maryland courts apply the doctrine of fraud upon the court by assessing:

                            I.      Intentional Deception of the Court: Courts evaluate whether a party knowingly

                            engaged in actions designed to deceive or mislead the court, impacting the fairness of the

                            proceedings.

                            2.      Impact on Judicial Integrity: Fraud upon the court is considered where

                            misconduct subverts the judicial process, threatening the court's ability to serve justice

                            impartially.

                            3.      Materiality of Misconduct: Maryland courts examine whether the fraudulent

                            conduct directly affects the court's judgment or the essential issues in the case, as the

                            fraud must relate to core matters before the court.

                    399     These criteria allow Maryland courts to address severe abuses of process and to ensure

                    that judicial proceedings remain impartial and trustworthy. The doctrine of fraud upon the court

                    empowers Maryland courts to take corrective action, whether by sanctioning the party, vacating

                    judgments, or otherwise addressing the misconduct to uphold fairness.


                    3       Maryland Case Law
                    400     Hlubek v. Pelekakis, 201 Md. 179, 93 A.2d 847 (1953): The Maryland Court of Appeals

                    held that fraud upon the court justifies setting aside judgments obtained through deception,


                                                                                                          Page 135 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 135 of 329                    Exhibit 108
            Case 1:24-cv-03744-BAH              Document 16-10           Filed 01/03/25      Page 136 of 329




                    underscoring that intentional misrepresentations that affect the court's decision-making process

                   can nullify outcomes. The court emphasized that protecting judicial integrity is paramount when

                   addressing such fraud.

                    401     Macke Co. v. Pizza of Gaithersburg, Inc., 259 Md. 479, 270 A.2d 645 (1970): This

                    case reaffirmed that fraud upon the court undermines the foundation of judicial proceedings.

                    Maryland courts hold that such fraud requires intentional misconduct that impacts the case' s

                    material issues, justifying remedial actions to restore fairness.


                    4       A12plication to Fraud Upon the Court in Dillon-Cap12s's Case
                    402     In Dillon-Capps's case, Plaintiffs actions, enabled and supported by Miles &

                    Stockbridge (M&S), demonstrate a clear pattern of fraud upon the court, designed to manipulate

                    the judicial process, evade accountability, and harm Di lion-Capps. Plaintiffs conduct shows

                    intentional misrepresentation, material misstatements, and procedural abuses, each aimed at

                    deceiving the court. Key examples include:

                    403     Perjured Statements and Falsified Affidavits: Plaintiff submitted affidavits containing

                    material falsehoods, knowingly misrepresenting facts to mislead the cou1t. These affidavits were

                    used to support a no-notice TRO, contempt filings, and aggressive demands, each undermining

                    Dillon-Capps' s procedural rights. Such intentional misrepresentations directly impact the

                    proceedings, meeting Maryland ' s standard for fraud upon the court by materially affecting the

                    court's decisions.

                    404     Misrepresentation of Statutory Grounds: Plaintiff, through M&S, misrepresented

                    statutes to expedite a two-day notice contempt hearing rather than the 20-day pre-hearing

                    conference that is standard. By citing incorrect statutory grounds, Plaintiff misled the court into


                                                                                                         Page 136 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 136 of329                    Exhibit 108
            Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25     Page 137 of 329




                    providing an accelerated timeline that deprived Dillon-Capps of proper notice and preparation.

                    This procedural manipulation was intentional and calculated to affect the court' s handling of the

                    case, meeting the standard for fraud upon the court.

                    405     Withholding of Essential Information and Evasive Tactics: M&S ' s pattern of

                    withholding responses and refusing to acknowledge Dillon-Capps' s inquiries into representation,

                    particularly by attorney Holly Butler, underscores a strategy of deception. By evading legitimate

                    inquiries into M&S ' s role and intentions, Plaintiff and its counsel manipulated Dillon-Capps 's

                    understanding of the proceedings, misusing the court as a tool for misinformation and

                    obstruction. This evasion, coupled with later withdrawals of key filings, constitutes a concerted

                    effort to deceive the court and Dillon-Capps alike.

                    406     Voluntary Dismissal to Evade Accountability: After Dillon-Capps filed a motion to

                    compel accountability, Plaintiff and M&S filed a voluntary dismissal. This last-minute dismissal,

                    designed to avoid judicial scrutiny and prevent a ruling on Dillon-Capps' s motion, constitutes an

                    attempt to manipulate the court' s procedural options. This abuse of process aligns with

                    Maryland ' s standards for fraud upon the court, as the dismissal was used to escape the

                    consequences of their own misconduct and perpetuate harm to Dillon-Capps.

                    407     Plaintiffs actions and M&S' s support of these tactics reveal a clear and coordinated

                    intent to deceive the court, mislead Dillon-Capps, and evade judicial accountability. The

                    deliberate misrepresentations, procedural manipulations, and withholding of critical information

                    meet Maryland' s standards for fraud upon the court, as they directly interfere with the court' s

                    ability to render an impartial judgment. Under Hlubek v. Pelekakis, such fraud justifies severe




                                                                                                         Page 137 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 137 of329                      Exhibit 108
            Case 1:24-cv-03744-BAH                 Document 16-10        Filed 01/03/25       Page 138 of 329




                    sanctions, as it constitutes a profound abuse of judicial resources and threatens the integrity of

                    the judicial process itself.

                    408       Maryland's common law doctrine of fraud upon the court empowers courts to impose

                    severe penalties where actions are intended to deceive or subvert judicial proceedings. In Dillon-

                    Capps's case, Plaintiffs pattern of perjured statements, statuto1y misrepresentations, and

                    procedural abuses-facilitated by M&S--demonstrates a clear instance of fraud upon the court.

                    By addressing this misconduct, Maryland courts can uphold judicial integrity, protect Dillon-

                    Capps from further harm, and set a precedent that deters future abuses in Maryland's legal

                    system.


                                                                    R Bias

                              Foundations of Bias
                    409       Bias in judicial proceedings refers to actions or decisions that demonstrate partiality,

                    prejudice, or favoritism, potentially affecting the fairness of the case. Maryland courts

                    incorporate the principle that judicial proceedings must be free from bias under Md. Code Ann.,

                    Cts. & Jud. Proc. §§ 10-501 and 10-503, ensuring all parties have a fair and impa1tial hearing.

                    Bias undermines the integrity of judicial proceedings by skewing outcomes and compromising

                    the court's role as an impartial arbiter.

                    410       Bias can arise from personal, financial, or procedural factors and, if demonstrated,

                    justifies corrective measures, including judicial recusal, reconsideration of decisions, and in

                    extreme cases, vacating judgments. Maryland courts hold that even the appearance of bias can

                    warrant judicial intervention, as public confidence in the legal system relies on the perception of

                    impartiality.

                                                                                                           Page 138 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts     Page # 138 of329                     Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25       Page 139 of 329




                    2        Judicial Standards for Applyin~ Bias
                    411      Maryland courts assess bias by examining:

                             I.      Evidence of Partiality or Prejudice: Courts look for indicators that suggest a

                             lack of impartiality, including favoritism or adverse treatment based on factors unrelated

                            to the merits of the case.

                            2.       Procedural and Substantive Fairness: Bias is considered when actions

                            compromise the procedural fairness of the case, such as through uneven application of

                            procedural rules or discretionary decisions favoring one side.

                            3.      Appearance of Bias and Public Confidence: Maryland courts also consider

                            whether there is an appearance of bias, which could undermine public trust in the judicial

                            process even if explicit evidence of partiality is lacking.

                    412     When bias is shown or even reasonably suspected, Maryland courts are empowered to

                    address it through recusal, reopening of proceedings, or corrective measures to ensure a fair

                    outcome.


                    3       Maryland Case Law
                    413     Jefferson-El v. State, 330 Md. 99, 622 A.2d 737 (1993): The Maryland Court of

                    Appeals held that judicial bias, whether actual or perceived, can undermine the fairness of

                    proceedings. The court emphasized that even an appearance of bias may justify corrective

                    actions to ensure that parties are afforded impartial consideration.

                    414     Attorney Grievance Comm'n v. Culver, 381 Md. 241 , 849 A.2d 423 (2004): This case

                    underscored the principle that impartiality is essential to judicial integrity, holding that perceived

                    bias or favoritism can justify reconsideration or sanctions where the court' s neutrality is


                                                                                                          Page 139 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 139 of 329                    Exhibit 108
    • I
            Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25      Page 140 of 329




                    compromised. The Maryland court stressed that maintaining the appearance of fairness is crucial

                    to public trust in the legal system.


                    4       Application to Bias in Dillon-Capps' Case
                    415     In Dillon-Capps' s case, elements of bias have emerged through procedural

                    inconsistencies, selective responsiveness, and decisions that appear to disproportionately favor

                    Plaintiff and its counsel, Miles & Stockbridge. These actions have created a perception that bias

                    may be influencing the case's trajectory, impacting Dillon-Capps's access to a fair and impartial

                    hearing. Key indicators of bias include:

                    416     Inconsistent Procedural Rulings Favoring Plaintiff: Throughout the proceedings,

                    Plaintiff and M&S have received favorable procedural outcomes, including a no-notice TRO and

                    expedited contempt hearing, that deprived Dillon-Capps of adequate notice and preparation.

                    These procedural deviations suggest a possible bias favoring Plaintiffs interests, as they

                    provided Plaintiff undue procedural advantage at Dillon-Capps' s expense.

                    417     Selective Enforcement of Court Requirements: Despite Dillon-Capps's repeated

                    motions to compel accountability and address procedural abuse, Plaintiffs evasive tactics have

                    gone unchecked. M&S' s attempts to sidestep responsibilities and use last-minute withdrawals,

                    including a voluntary dismissal, to evade consequences have not met the scrutiny typical in

                    equitable proceedings, potentially signaling judicial leniency or bias toward Plaintiff.

                    418     Lack of Response to Key Evidence and Arguments: Throughout the litigation, Dillon-

                    Capps has highlighted inconsistencies in Plaintiffs filings and noted that M&S would not have

                    proceeded had they known the factual truth. However, these statements have been met with little

                    acknowledgment or consideration in the court' s rulings, creating an impression of bias by failing


                                                                                                         Page 140 of329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 140 of3 29                     Exhibit 108
            Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25     Page 141 of 329




                    to address significant issues raised by Dillon-Capps, which are directly relevant to the case's

                    fairness.

                    419     Appearance of Favoritism Toward M&S: The court's acceptance ofM&S ' s procedural

                    maneuvers, including misleading citations and evasive withdrawals, without applying corrective

                    measures, has fostered an appearance of favoritism. This perception is further reinforced by the

                    court' s failure to scrutinize M&S's use of restricted contact information to obtain the TRO,

                    which disadvantaged Dillon-Capps and appeared to tilt procedural outcomes in Plaintiffs favor.

                    420     Maryland's standards, as set forth in Jefferson-El v. State and Attorney Grievance

                    Comm 'n v. Culver, stress the importance of addressing bias to preserve fairness and public

                    confidence. In this case, the procedural discrepancies and lack of responsive oversight create a

                    perception of bias, threatening Dillon-Capps' s right to a fair hearing and compromising the

                    integrity of the proceedings.

                    421     Bias, whether actual or perceived, undermines the fairness of judicial proceedings and

                    justifies corrective action under Maryland law. In Dillon-Capps's case, indicators of potential

                    bias-such as favorable procedural rulings for Plaintiff, selective enforcement, and a lack of

                    consideration for key arguments- undermine the court' s neutrality. By addressing these signs of

                    bias, Maryland courts can protect Dillon-Capps's right to a fair and impartial hearing, uphold

                    judicial integrity, and reinforce public trust in the legal system.


                                                              S Discrimination

                    1       Foundations of Discrimination
                    422     Discrimination in judicial proceedings refers to actions, comments, or rulings that

                    unfairly target a party based on personal characteristics, trauma responses, or disabilities,

                                                                                                          Page 141 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 141 of329                      Exhibit 108
            Case 1:24-cv-03744-BAH              Document 16-10           Filed 01/03/25        Page 142 of 329




                   detracting from an objective evaluation of the case' s merits. Maryland' s principles of fairness,

                   grounded in Md. Code Ann., Cts. & Jud. Proc. §§ 10-501 and 10-503, mandate that judicial

                    proceedings remain impartial, free from any form of bias or prejudice. When discrimination is

                    present, it compromises the litigant' s access to justice, undermines the court' s integrity, and

                    fosters a hostile judicial environment that perpetuates trauma and bias.

                    423     Discriminatory conduct, particularly in the context of judicial rulings, is especially

                    harmful when it diminishes substantive claims based on procedural or stylistic critiques that

                    target a litigant' s disability-related traits. Maryland courts are empowered to address and correct

                    instances of discrimination to restore fairness and uphold judicial integrity.


                    2       Judicial Standards for Addressing Discrimination
                    424     Maryland courts evaluate discrimination by examining:

                            1.      Evidence of Targeted Language or Rulings: Courts assess whether comments

                            or rulings unfairly critique a party' s disability or trauma response, particularly where

                            such critiques detract from substantive issues.

                            2.      Impact on Procedural and Substantive Fairness: Discriminatory comments or

                            rulings that trivialize disability-related characteristics impair a party' s right to an

                            impartial hearing and equitable consideration of their case.

                            3.      Public Confidence in Judicial Impartiality: Discriminatory conduct, especially

                            when reflected in official rulings, undermines public trust and creates an appearance of

                            bias, requiring judicial redress to restore confidence in the court' s commitment to

                            fairness.




                                                                                                              Page 142 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts     Page# 142 of 329                        Exhibit 108
            Case 1:24-cv-03744-BAH              Document 16-10           Filed 01/03/25      Page 143 of 329




                   425      Discrimination in judicial proceedings justifies remedial action, including vacating biased

                   rulings, reconsidering decisions, and ensuring that future considerations are free from prejudice.


                   3        Mazyland Case Law
                    426     Surratt v. Prince George's County, 320 Md. 439, 578 A.2d 745 (1990): The Maryland

                   Court of Appeals held that discriminatory actions within legal proceedings compromise fairness

                   and must be addressed to ensure impartiality. The court underscored that judicial decisions must

                    be free from personal biases against a party's characteristics or disabilities.

                    427     Attorney Grievance Comm'n v. Kimmel, 405 Md. 647, 955 A.2d 269 (2008): This case

                    established that derogatory remarks or dismissive language regarding a party's characteristics,

                    especially in official judicial settings, can constitute discrimination. The Maryland court

                    emphasized that judicial impartiality is compromised by any form of bias that detracts from fair

                    treatment.

                    4       Application to Discrimination in Dillon-Capps' Case
                    428     In Dillon-Capps' s case, both the court, represented by Judge Michael Barranco, and

                    Plaintiffs counsel, Miles & Stockbridge (M&S), engaged in discriminatory conduct that targeted

                    Dillon-Capps's disability-related trauma response. Their comments and rulings sought to

                    discredit substantive arguments by focusing on Dillon-Capps's over-explanation, a symptom of

                    their PTSD, rather than addressing the legal merits. The discrimination Dillon-Capps faced

                    parallels the hostile environment they endured at Ohana, where similar critiques were used to

                    dismiss their work. Key aspects of this discriminatory conduct include:

                            1.      Judge Barranco's Dismissive Language in Official Rulings: In a ruling related

                            to Dillon-Capps's filings, which included claims of FMLA, ADA, and due process rights


                                                                                                         Page I 43 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 143 of329                     Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25       Page 144 of 329




                             violations, Judge Barranco labeled Dillon-Capps' s submissions as " incoherent" and

                             "unintelligible." These comments, issued in connection to a ruling that imposed a $2,500

                             daily fine and specified procedural restrictions, did not address the substantive claims

                             presented but instead diminished Dillon-Capps' s arguments based on style. By

                            dismissing substantive issues under the guise of procedural critique, Judge Barranco' s

                             language targeted Dillon-Capps's disability response, perpetuating the discrimination

                            they experienced in the workplace.

                            2.       Personal Attacks by M&S Counsel in Defensive Filings: Robert Brennen of

                            M&S repeatedly used language such as "lengthy" and " rambling" to describe Dillon-

                            Capps' s filings, framing them as unnecessarily complex. This language, however, did not

                            relate to the defense of Plaintiffs interests but appeared aimed at defending M&S' s own

                            interests and the court' s prior rulings, including those by Judge Barranco. Brennen' s

                            comments mimic the hostile workplace tactics Dillon-Capps faced at Ohana, where

                            personal critiques were weaponized to discredit substantive work. Such remarks reflect a

                            pattern of discrimination focused on Dillon-Capps's trauma response, detracting from the

                            actual legal issues at hand.

                            3.      Failure to Address Core Claims of Disability Discrimination and Rights

                            Violations: Both Judge Barranco and M&S's comments ignore Dillon-Capps's FMLA

                            and ADA claims, which highlight discrimination related to their PTSD and resulting

                            trauma responses. Rather than engaging with the substance of Dillon-Capps' s disability-

                            related claims, the court and counsel dismissed these filings on the basis of style, ignoring

                            the core rights violations asserted. This dismissal mirrors the workplace discrimination


                                                                                                         Page 144 of329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 144 of 329                   Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25      Page 145 of 329




                            Dillon-Capps experienced, where focus on style was used to avoid addressing the actual

                            substance of their work, creating a hostile judicial environment.

                            4.      Support for a Broader Pattern of Bias and Evasion: The dismissive remarks by

                            Judge Barranco and M&S not only reflect bias but also support a broader environment of

                            evasion and accountability avoidance. This pattern suggests a deliberate attempt to

                            discredit Dillon-Capps and evade accountability for procedural and substantive missteps,

                            aligning with elements of conspiracy to shield Plaintiff and counsel from consequences.

                    429     Judge Barranco's comments in official rulings, coupled with M&S' s continued personal

                    attacks, reflect an institutional bias that discredits Dillon-Capps's disability-related responses. By

                    ignoring substantive claims and focusing on presentation style, the court and counsel both

                    contributed to a discriminatory environment, affecting Dillon-Capps's right to a fair hearing.

                    Maryland's standards, as set forth in Surratt v. Prince George's County and Attorney Grievance

                    Comm 'n v. Kimmel, mandate corrective actions to prevent discrimination from influencing

                    judicial outcomes.

                    430     Discrimination in judicial proceedings, particularly when exhibited in official rulings and

                    filings, undermines fairness and harms the affected party. In Dillon-Capps's case, Judge

                    Barranco' s and M&S's discriminatory comments reveal a bias against their PTSD-related

                    communication style, dismissing substantive issues in favor of personal critique. Addressing this

                    discrimination is essential to restore fairness, uphold judicial integrity, and ensure that Dillon-

                    Capps's rights are protected from bias within Maryland' s legal system.


                                                                T Conspiracy


                                                                                                          Page 145 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 145 of329                      Exhibit 108
            Case 1:24-cv-03744-BAH                Document 16-10          Filed 01/03/25         Page 146 of 329




                    1          Foundations of Conspiracy
                    43 I       Conspiracy in Maryland is a recognized basis for civil and criminal liability, involving

                    an agreement between two or more parties to engage in unlawful acts or use unlawful means to

                    achieve any objective. Maryland courts incorporate conspiracy principles under Md. Code Ann.,

                    Cts. & Jud. Proc.§§ 10-501 and 10-503, allowing them to apply common law doctrines to

                    cases involving conspiracy. Additionally, Maryland' s Criminal Law Article§ 1-202 defines

                    conspiracy as an agreement to commit a crime or pursue a wrongful purpose. This statute

                    reinforces that conspiratorial acts, even where the intended outcome is not fully realized, warrant

                    judicial intervention and potential liability.

                    432        To establish conspiracy, Maryland courts typically require:

                           •   Agreement Among Parties: An understanding, express or implied, exists among two or

                               more parties to achieve a specific objective.

                           •   Unlawful Objective or Means: The purpose of the agreement is to commit an unlawful

                               act or use wrongful methods, even if the objective itself is not inherently illegal.

                           •   Overt Act in Furtherance of the Conspiracy: At least one party must perform an act

                               that advances the conspiracy, such as submitting false statements, engaging in

                               misrepresentation, or coordinating actions to obstruct justice.

                    433        These elements allow Maryland courts to hold parties accountable for coordinated

                    misconduct that undermines judicial fairness and causes harm to third parties.


                    2          Judicial Standards for Applying Conspiracy
                    434        Maryland courts assess conspiracy by examining:




                                                                                                             Page 146 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts         Page# 146 of329                        Exhibit 108
            Case 1:24-cv-03744-BAH                Document 16-10         Filed 01/03/25        Page 147 of 329




                          •   Existence of an Agreement: Courts determine whether there was an express or implied

                              agreement to work together for an improper or illegal purpose.

                          •   Unlawful Intent or Means: Courts look for intent to pursue an unlawful objective or to

                              use unlawful methods, including deceit, coercion, or manipulation of judicial processes.

                          •   Concrete Acts in Furtherance of the Conspiracy: Courts require evidence of at least

                              one overt act that advances the conspiracy, impacting the fairness or integrity of judicial

                              proceedings.

                    435       These criteria empower Maryland courts to take corrective action in cases where

                    conspiratorial conduct disrupts judicial impartiality and harms litigants.


                    3         Maryland Case Law and Statutory Basis
                          •   Hoffman v. Stamper, 385 Md. I, 867 A.2d 276 (2005): The Maryland Court of Appeals

                              confirmed that civil conspiracy requires both an agreement and an overt act to achieve a

                              wrongful purpose. The court held that conspirators are liable for actions taken in

                              furtherance of the conspiracy, particularly where those actions harm a third party or

                              obstruct justice.

                          •   Alleco Inc. v. Harry & Jeanette Weinberg Foundation, Inc., 340 Md. 176, 665 A.2d

                              1038 ( I 995): This case established that conspiracy requires a meeting of the minds to

                              commit wrongful acts. The court emphasized that conspiratorial actions that compromise

                              fairness or mislead the court warrant significant remedial action.

                          •   Md. Code Ann., Crim. Law§ 1-202: This statute codifies conspiracy in Maryland,

                              defining it as an agreement to commit a crime or engage in wrongful acts. Although




                                                                                                           Page 147 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts     Page # 147 of3 29                    Exhibit 108
            Case 1:24-cv-03744-BAH                Document 16-10          Filed 01/03/25         Page 148 of 329




                              primarily criminal, the principles extend to civil actions where collusion among parties

                              affects judicial fairness or defrauds a third party.


                    4         Application to Conspiracy in Dillon-Capps Case
                    436       In Dillon-Capps's case, Plaintiff, represented by Ohana Growth Partners, LLC, and its

                    counsel, Miles & Stockbridge (M&S), exhibit a coordinated pattern of conduct that aligns with

                    the elements of conspiracy. Judge Michael Barranco's rulings, which align with M&S' s

                    procedural abuses, indicate an appearance of judicial bias that may support this collusion, tying

                    Plaintiff, M&S, and potentially Judge Barranco in furthering a shared objective. Additionally,

                    Ohana' s connection to its third-party vendor, implicated in fraudulent activities, identity theft,

                    wire fraud, and suspicious real estate practices, suggests broader potential misconduct that

                    warrants judicial scrutiny. Key examples include:

                          •   Coordinated Efforts to Manipulate Procedural Outcomes: Plaintiff and M&S

                              strategically manipulated procedural rules to secure a no-notice TRO and an expedited

                              contempt hearing. These actions deprived Dillon-Capps of due process and procedural

                              safeguards, demonstrating an agreement to use improper means. The alignment of Judge

                              Barranco ' s rulings with M&S's filings indicates a concerning appearance of judicial bias,

                              as rulings repeatedly favored procedural advantages for Plaintiff without regard for

                              Dillon-Capps' s rights, supporting a shared objective of coercion and intimidation.

                          •   Collusion to Protect Plaintifrs Vendor and Avoid Accountability: Evidence suggests

                              that Ohana' s third-party vendor engaged in fraudulent activities, including identity theft,

                              wire fraud, and financial manipulation tied to accounting irregularities. Written evidence

                              of the vendor's fraudulent actions and internal documentation confirm these allegations.


                                                                                                            Page 148 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts       Page # 148 of 329                   Exhibit 108
            Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25      Page 149 of 329




                             Ohana' s failure to address or investigate these issues, coupled with M&S' s dismissal of

                             Dillon-Capps' s related arguments, suggests a collective intent to evade accountability and

                            protect the vendor's and Plaintiffs interests, prioritizing their defense.over legal

                            compliance.

                        •   Pattern of Evasion and Defensive Rulings: M&S' s filings and arguments consistently

                            focused on defending Judge Barranco' s rulings, particularly those made in the June 26th

                            and 27th hearings. These rulings imposed punitive fines on Dillon-Capps and

                            incorporated language critical of Dillon-Capps' s filings. M&S's defensive stance,

                            directed more toward defending its own and Judge Barranco's actions rather than

                            addressing Plaintiffs claims, reinforces the inference of collusion to prevent scrutiny of

                            procedural misconduct.

                        •   Substantial Evidence of Fraudulent and Suspicious Activity: Allegations surrounding

                            Ohana' s third-party vendor include suspicious real estate sales, questionable company

                            legitimacy, and circumstantial evidence of fraudulent practices. The vendor' s association

                            with Ohana connects Plaintiff to potential legal violations, which M&S has

                            systematically ignored or dismissed in court filings. By aligning with Plaintiff to shield

                            these activities from judicial review, M&S and Ohanajointly contributed to an effort to

                            prevent judicial scrutiny, forming an implied agreement to obstruct justice.

                        •   Evasive Conduct and Misrepresentations in Court Filings: Plaintiff and M&S

                            repeatedly submitted affidavits containing false statements to support coercive filings,

                            including contempt motions seeking incarceration for Dillon-Capps. These affidavits

                            contained material misrepresentations that distorted facts, intentionally deceiving the


                                                                                                           Page 149 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 149 of329                     Exhibit 108
            Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25       Page 150 of 329




                            court to secure punitive actions. This coordinated effort to mislead and intimidate Dillon-

                            Capps fulfills the requirements for conspiracy, as both Plaintiff and M&S worked

                            together to misrepresent facts, evade accountability, and use the legal system to harass

                            Dillon-Capps.

                    437     The coordinated actions of Ohana, M&S, and potentially Judge Barranco reflect a

                    conspiratorial intent to harm Dillon-Capps, evade judicial scrutiny, and protect Ohana' s interests,

                    even where linked to fraudulent and illegal activities by a third-party vendor. The appearance of

                    conspiracy is supported by the alignment of procedural advantages, evasive filings, and

                    protective measures favoring Plaintiff and M&S. This collusion supports Dillon-Capps' s claim

                    of conspiracy, satisfying Mary land' s standards as set forth in Hoffman v. Stamper and Alieco Inc.

                    v. Harry & Jeanette Weinberg Foundation, Inc..

                    438     Conspiracy in judicial proceedings undermines fairness and erodes public trust in the

                    legal system. In Dillon-Capps' s case, the coordinated actions of Plaintiff, M&S, and the

                    appearance of alignment with Judge Barranco's rulings establish a basis for conspiracy,

                    reinforced by connections to fraudulent activities and evasive conduct. By addressing this

                    conspiracy, Maryland courts can restore judicial integrity, protect Dillon-Capps' s rights, and

                    prevent similar collusion from compromising fairness in future cases.


                                                               U Stare Decisis

                    439     The principle of stare decisis mandates that lower courts in Maryland adhere to

                    precedents established by higher courts within the same jurisdiction. In Maryland, this principle

                    requires that circuit courts, including the Baltimore County Circuit Court, follow the decisions of

                    the Maryland Court of Appeals and the Court of Special Appeals on doctrines, legal

                                                                                                        Page 150 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 150 of 329                   Exhibit 108
            Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25      Page 151 of 329




                    standards, and principles such as unclean hands, equitable estoppel, and tort doctrines. Through

                    Md. Code Ann., Cts. & Jud. Proc.§§ 10-501, 10-503, and 1-201(a), Maryland's statutory

                    framework further reinforces this binding authority, underscoring the obligation of lower courts

                    to apply doctrines and principles in alignment with appellate interpretations.


                    1       Foundations of Stare Decisis
                    440     Maryland ' s judicial system is structured to uphold appellate rulings as binding on lower

                    courts, ensuring uniformity and consistency in the application of legal doctrines and principles.

                    Md. Code Ann., Cts. & Jud. Proc.§ 1-201(a) provides that Maryland law, including statutory

                    and common law interpretations by the Court of Appeals, governs all civil and criminal matters.

                    This statutory provision confirms that circuit courts must adhere to the binding authority of the

                    state's highest courts, maintaining consistency in Maryland' s jurisprudence.

                    441     Sections 10-501 and 10-503 further authorize the incorporation of English common law

                    principles and doctrines, allowing Maryland courts to reference and apply doctrines such as

                    fraud, abuse of process, and unclean hands. However, these doctrines must be applied as

                    interpreted by Maryland ' s appellate courts, whose decisions serve as the authoritative guide for

                    lower courts.


                    2       Judicial Standards for Applying Stare Decisis in Maryland
                    442     Under stare decisis, Maryland circuit courts are required to apply doctrines and defenses

                    as interpreted by the Court of Appeals and the Court of Special Appeals. Maryland appellate

                    courts establish binding standards for interpreting and enforcing doctrines, and circuit courts

                    must follow these interpretations precisely:




                                                                                                        Page 15 1 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 151 of 329                   Exhibit 108
            Case 1:24-cv-03744-BAH              Document 16-10           Filed 01/03/25     Page 152 of 329




                            1.      Mandatory Adherence to Appellate Interpretations: Maryland circuit courts

                           are required to follow the Court of Appeals' interpretations of state doctrines and statutes.

                           The authority of the Court of Appeals, as the state' s highest court, ensures consistent

                            application of doctrines across Maryland' s judiciary. The Court of Special Appeals, as

                            Maryland' s intermediate appellate court, also provides precedents that circuit courts must

                            adhere to when addressing equitable and tort doctrines.

                            2.      Uniform Application of Equitable and Tort Doctrines: Maryland appellate

                            decisions direct circuit courts to apply doctrines such as unclean hands, equitable

                            estoppel, and tort principles consistently, maintaining judicial integrity and ensuring

                            fairness. Appellate interpretations set specific standards for doctrines, mandating that

                            lower courts deny relief to parties acting in bad faith or employing unethical tactics.


                    3       Ma:r:yland Case Law on Stare Decisis and Binding Authority
                    443     Maryland' s appellate courts have emphasized the binding authority of their decisions on

                    lower courts, reinforcing the obligation of circuit courts to apply doctrines and principles as

                    interpreted by the Court of Appeals and Court of Special Appeals:

                            1.      Piper Rudnick LLP v. Hartz, 386 Md. 20 1, 872 A.2d 58 (2005): The Maryland

                            Court of Appeals held that lower courts are bound by precedential decisions from the

                            Court of Appeals, underscoring that circuit courts must fo llow appellate rulings as

                            binding precedent. This case affirms that circuit courts must apply equitable doctrines

                            and tort principles in alignment with appellate guidance.

                            2.      Pittman v. Atlantic Realty Co., 359 Md. 513, 754 A.2d 1030 (2000): In this

                            case, Judge Wilner confirmed that decisions from both the Court of Appeals and the


                                                                                                          Page 152 of329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 152 of329                      Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10           Filed 01/03/25     Page 153 of 329




                            Court of Special Appeals are binding on circuit courts. The Court of Appeals emphasized

                            that lower courts are required to interpret state doctrines consistently with the standards

                            set forth by Maryland' s appellate courts.

                            3.      Baltimore City Detention Ctr. v. Foy, 461 Md. 627, 198 A.3d 1187 (2018): This

                            case reiterated that Maryland appellate interpretations of legal doctrines carry binding

                            authority over all trial courts, including circuit courts. The Court of Appeals confirmed

                            that doctrines such as equitable estoppel and tort principles must be enforced consistently

                            across all levels of Maryland' s judiciary.


                    4       A12plication in Dillon-Ca12ps' Case
                    444     In Dillon-Capps's case, Maryland's principle of stare decisis mandates that the Baltimore

                    County Circuit Court follow established appellate interpretations of equitable and tort doctrines.

                    Circuit courts must apply Maryland's appellate standards to ensure a consistent and fair

                    application of doctrines, particularly where allegations of unclean hands, fraud, and abuse of

                    process are at issue:

                            I.      Mandatory Adherence to Equitable Doctrine Standards: Maryland appellate

                            rulings on equitable doctrines, such as unclean hands and equitable estoppel, provide

                            binding guidance for circuit courts. In Dillon-Capps's case, the circuit court is required to

                            apply these doctrines as defined by appellate precedents, which direct that parties acting

                            in bad faith or with unethical motives are ineligible for judicial relief. Under Piper

                            Rudnick and Pittman, the Baltimore County Circuit Court must follow these established

                            standards, applying the unclean hands doctrine to bar relief for Ohana's claims if they

                            lack ethical or factual integrity.


                                                                                                          Page 153 of329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts     Page# 153 of329                     Exhibit 108
             Case 1:24-cv-03744-BAH                Document 16-10        Filed 01/03/25       Page 154 of 329




                            2.       Consistent Application of Tort Doctrines as Directed by Appellate

                            Precedents: Maryland' s appellate decisions on tort doctrines, including fraud and abuse

                            of process, bind the circuit court to apply these principles in cases of alleged wrongful

                            conduct. The Baltimore County Circuit Court is required to apply the standards outlined

                             in Baltimore City Detention Ctr. v. Foy, ensuring that Ohana' s actions, which appear to

                            involve manipulative tactics and misuse of legal processes, are evaluated under the

                            authoritative guidance of Maryland's appellate courts.

                            3.      Requirement to Uphold Judicial Integrity in Following Appellate Directives:

                            The principle of stare decisis, reinforced by§§ 1-201(a), 10-501, and 10-503, mandates

                            that circuit courts adhere to established appellate doctrines. In Dillon-Capps' s case, the

                            Baltimore County Circuit Court is obligated to follow appellate interpretations

                            consistently, applying doctrines such as unclean hands and equitable estoppel to ensure a

                            fair, just, and procedurally sound outcome, as mandated by Pittman and Standard Fire

                            Ins. Co. v. Berrett.

                    445     Maryland' s appellate court decisions create a binding framework for lower courts,

                    mandating that circuit courts apply doctrines and principles consistently as interpreted by the

                    state' s highest courts. Md. Code Ann., Cts. & Jud. Proc.§§ 10-501, 10-503, and 1-201(a)

                    reinforce the authority of appellate court rulings over all Maryland courts, codifying the principle

                    of stare decisis as a fundamental requirement. Through established cases such as Pittman v.

                    Atlantic Realty Co. and Standard Fire Ins. Co. v. Berrett, Maryland 's judiciary ensures that

                    equitable doctrines, tort principles, and other legal standards are applied uniformly, promoting

                    fairness and judicial integrity across the state' s legal system. In Dillon-Capps' s case, the


                                                                                                           Page 154 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 154 of 329                      Exhibit 108
            Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25     Page 155 of 329




                    Baltimore County Circuit Court is required to apply these doctrines and uphold Maryland ' s

                    appellate standards to achieve a just and equitable resolution.


                                                      V Limits of Judicial Discretion

                    1       Foundations of Judicial Discretion and Limits
                    446     Judicial discretion refers to a judge' s authority to make decisions within a range of

                    acceptable legal standards, tailored to the specific circumstances of a case. However, Maryland' s

                    common law, alongside Md. Code Ann., Cts. & Jud. Proc.§§ 10-501 and 10-503, establishes

                    that judicial discretion has defined limits, requiring adherence to statutory guidelines, procedural

                    rules, and principles of fairness and due process. Maryland courts hold that discretion is

                    exceeded when judicial actions deviate from established legal standards, compromise due

                    process, or result in decisions that unjustly favor one party.

                    447     Judicial discretion is exceeded when:

                             1.     Decisions Extend Beyond Legal Authority: Rulings that ignore or violate

                            statutory mandates or procedural requirements fall outside judicial discretion.

                            2.      Rulings Lack Rational Basis: Judicial discretion must be exercised with reason

                            and legal justification; decisions made arbitrarily or capriciously exceed acceptable

                            bounds.

                            3.      Actions Impair Due Process or Fairness: Where decisions deny parties fair

                            hearing, limit legitimate procedural rights, or create undue burdens, they exceed judicial

                            discretion.

                    448     Exceeding judicial discretion undennines the integrity of judicial proceedings, justifying

                    appellate review, corrective measures, or vacating of orders to restore fairness.

                                                                                                         Page 155 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 155 of329                     Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25       Page 156 of 329
.      ,




                    2       Judicial Standards for Determining Excessive Discretion
                    449     Maryland courts evaluate excessive judicial discretion by assessing:

                             1.      Compliance with Statutory and Procedural Standards: Rulings must align

                            with Maryland's statutory requirements and established procedural rules, ensuring that

                            judicial authority is exercised within lawful boundaries.

                            2.       Objective Basis for Decision-Making: Courts consider whether a ruling is

                            supported by reasoned analysis, as arbitrary decisions or favoritism compromise judicial

                             integrity.

                            3.       Impact on Due Process and Party Rights: Decisions that deny procedural

                            protections, limit party rights to fair hearings, or result in disparate treatment signal

                            excessive judicial discretion.

                    450     These standards maintain judicial accountability, ensuring that decisions are within the

                    scope of legally pennissible action and support fairness for all parties involved.

                    3       Mazyland Case Law
                    451     In re Adoption/Guardianship No. 10941, 335 Md. 99, 642 A.2d 201 (1994): The

                    Maryland Court of Appeals held that judicial discretion must be bounded by reason and legal

                    standards, and arbitrary use of discretion can be challenged. The court emphasized that judicial

                    decisions must respect statutory requirements and procedural fairness.

                    452     Schlossberg v. Schlossberg, 341 Md. 650, 672 A.2d 625 ( 1996): This case underscored

                    that judicial discretion is limited by procedural and statutory rules. Excessive discretion that

                    impairs a party' s rights justifies correction or reversal, ensuring that judicial actions adhere to

                    legal mandates.


                                                                                                            Page 156 of329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 156 of 329                      Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25       Page 157 of 329




                    4       Ai;1plication to Exceedin~ Judicial Discretion in Dillon-Capps' Case
                    453     In Dillon-Capps's case, multiple rulings by Judge Michael Barranco and other judges

                    demonstrate an overreach of judicial discretion, collectively impacting due process, ignoring

                    substantive claims, and compromising fairness. The recurring theme of denying Dillon-Capps

                    fair opportunity to present arguments, disregard of statutory and procedural protections, and

                    rulings favoring Plaintiff without proper legal basis reveal a pattern of exceeding judicial

                    discretion. Notable examples include:

                    454     Premature Default Entry Without Testimony: In a significant procedural violation, a

                    judge entered a premature default against Dillon-Capps without taking testimony to substantiate

                    it. This ruling disregarded Maryland procedural standards that require factual support for default

                    judgments, especially in contested matters. The entry of default without a hearing demonstrates

                    excessive discretion, as it unfairly penalized Dillon-Capps without due consideration of

                    evidence-a decision later vacated as improper.

                    455     Ignoring Federal Supremacy, FMLA, and ADA Arguments: During a June 26th- 27th

                    hearing, Judge Barranco dismissed key arguments raised by Dillon-Capps regarding FMLA and

                    ADA rights, federal supremacy, and jurisdictional issues, even as Plaintiffs counsel openly

                    admitted that Ohana violated Dillon-Capps's FMLA leave rights. Barranco deemed these rights

                    violations immaterial to the case, despite their centrality to Dillon-Capps' s claims for injunctive

                    relief and ADA accommodations. This decision undermines federal protections, exceeding

                    discretion by disregarding substantive rights guaranteed under federal law.

                    456     Disregard of Medical Evidence and Testimony on Disability: Judge Barranco refused

                    to consider medical evidence regarding Dillon-Capps' s ADA accommodations and health


                                                                                                          Page 157 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 157 of 329                    Exhibit 108
            Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25      Page 158 of 329




                    conditions, which included healthcare provider documentation confirming eligibility for

                    accommodations, testimony from Dillon-Capps' s licensed therapist spouse, and Dillon-Capps' s

                    own testimony regarding severe memory loss and catatonia. Judge Barranco dismissed these

                    accounts, stating that he "did not find Dillon-Capps credible" and implying capability despite

                    evident cognitive impainnents. Such disregard of critical evidence demonstrates excessive

                    discretion that compromises ADA protections and Dillon-Capps's procedural rights.

                    457     Interference with Cross-Examination: Judge Barranco prevented Dillon-Capps from

                    cross-examining Plaintiffs expert, interrupting questions aimed at the expert' s contradictory

                    statements and document review process. This prevented Dillon-Capps from challenging

                    misleading expert conclusions. By limiting cross-examination and instead directing Dillon-Capps

                    back to self-directed questioning, Judge Barranco denied Dillon-Capps the right to a fair

                    examination of the expert' s credibility, reflecting excessive judicial intervention favoring

                    Plaintiff.

                    458     Ruling Denials on Key Procedural Motions: In multiple instances, judges prematurely

                    ruled on key motions, including motions for reconsideration before errata were fully submitted

                    and motions to strike procedural errors, such as improper hyperlinking. By issuing denials

                    without due review, the court demonstrated a pattern of ruling without complete evidence or

                    procedural adherence, reflecting excessive discretion that disadvantaged Dillon-Capps.

                    459     Repeated "Moot" Rulings to Evade Accountability: Several issues raised by Dillon-

                    Capps were repeatedly ruled moot, despite ongoing and unresolved argum ents directly impacting

                    the case' s fairness. Judge Barranco ruled " moot" on the very opinion containing discriminatory

                    remarks about Dillon-Capps' s filings as " incoherent" and " unintelligible." Additionally, another


                                                                                                         Page 158 of329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 158 of 329                     Exhibit 108
             Case 1:24-cv-03744-BAH               Document 16-10         Filed 01/03/25     Page 159 of 329




                    judge ruled a hearing moot despite significant counterclaims and motions to strike based on

                    abuse of process. Such evasive rulings demonstrate an excessive use of judicial discretion to

                    sidestep critical issues, preventing full adjudication.

                    460     Misuse of Judicial Authority in Denying Extension Requests: A ruling denying

                    Dillon-Capps' s request for extension only partially addressed the arguments raised, and it

                    inaccurately represented the basis for the attorney-client relationship ending after TRO and

                    complaint filings. By ignoring half the arguments and relying on misleading information, the

                    denial reflects excessive judicial discretion and lack of thorough review, unfairly limiting Dillon-

                    Capps' s procedural rights.

                    461     Judge Barranco' s and other judges' rulings, as outlined above, exhibit a pattern of

                    exceeding judicial discretion by consistently dismissing Dillon-Capps' s procedural rights,

                    disregarding substantive legal protections, and issuing arbitrary denials that disproportionately

                    favored Plaintiff. Maryland' s standards, as set forth in In re Adoption/Guardianship No. 10941

                    and Schlossberg v. Schlossberg, require judicial discretion to align with statutory and procedural

                    requirements to maintain fairness and impartiality. The rulings in Dillon-Capps' s case

                    demonstrate an erosion of these principles, warranting correction to restore judicial integrity.

                    462     Exceeding judicial discretion undermines fairness, due process, and confidence in judicial

                    impartiality. In Dillon-Capps' s case, Judge Barranco's and other judges' actions demonstrate a

                    pattern of discretionary overreach, including procedural deviations, unjustified denials, and the

                    selective dismissal of substantive claims. These actions exceed the acceptable bounds of judicial

                    discretion, justifying appellate review, corrective measures, and restoration of Dillon-Capps' s




                                                                                                         Page 159 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 159 of329                     Exhibit 108
                 Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25       Page 160 of 329
•          i




                        rights to fair treatment. Maryland courts, by addressing these actions, can reinforce the limits of

                        judicial discretion and ensure equitable treatment for all parties.


                                                   W Accessory and Accessory After the Fact

                        1       Foundations of Accessory and Accessory After the Fact
                        463     An accessory is a person or entity that assists or enables another party to commit an

                        unlawful act, either by facilitating the conduct or, in the case of an accessory after the fact, by

                        helping to conceal the act or protect the principal from accountability. Under Md. Code Ann.,

                        Cts. & Jud. Proc.§§ 10-501 and 10-503, Maryland incorporates principles from common law

                        to recognize liability for both accessories and accessories after the fact. Maryland courts also

                        apply Md. Code Ann., Crim. Law§ 1-301, which extends criminal liability to individuals who

                        aid, abet, or assist in the commission or concealment of unlawful acts.

                        464     To establish accessory liability, Maryland courts generally require:

                        465     Knowledge of the Primary Unlawful Act: The accessory must have knowledge of the

                        crime or unlawful act being committed.

                        466     Intent to Assist or Facilitate: The accessory intentionally provides assistance or support

                        to the principal party, either during or after the offense.

                        467     Concrete Actions in Support of the Principal's Conduct: An accessory, whether

                        during or after the fact, takes deliberate steps to aid the primary offender or to prevent the

                        discovery and accountability of the crime.

                        468     Accessory and accessory after the fact liability ensure that those who contribute to or

                        attempt to conceal wrongful conduct are held accountable, even if they did not directly commit

                        the act themselves.

                                                                                                               Page 160 of 329



    Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 160 of329                      Exhibit 108
            Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25       Page 161 of 329

•



                    2       Judicial Standards for AQplyin~ Accessory and Accessory After the Fact
                    469     Maryland courts assess accessory liability by evaluating:

                    470     Awareness and Knowledge of Wrongful Conduct: Courts consider whether the

                    accessory had sufficient knowledge of the primary offense or wrongful conduct.

                    471     Intent to Aid, Abet, or Conceal: An accessory must demonstrate intent to either

                    facilitate the offense or protect the principal party from legal consequences.

                    472     Active Participation or Concealment: For accessory after the fact, Maryland courts

                    examine whether the party took concrete steps to cover up, legitimize, or protect the principal

                    from accountability.

                    473     These standards allow Maryland courts to hold accessories liable, addressing those who

                    knowingly engage in or conceal wrongful actions that harm third parties and compromise the

                    legal system.


                    3       Maryland Case Law and Statutory Basis
                    474     State v. Hawkins, 326 Md. 270, 604 A.2d 489 (1992): The Maryland Court of Appeals

                    confirmed that accessories after the fact bear liability if they knowingly assist in concealing or

                    aiding the principal in evading justice. The court emphasized that concrete actions taken to

                    support the primary actor, even after the offense, meet the threshold for accessory liability.

                    475     Watson v. State, 208 Md. App. 496, 56 A.3d 801 (2012): Maryland' s appellate court

                    reinforced that accessories, both during and after the fact, are liable if they act with intent to aid

                    or protect the principal. Maryland courts recognize that deliberate attempts to shield the principal

                    from accountability or support the wrongful acts justify accessory liability.




                                                                                                            Page 161 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 161 of 329                      Exhibit 108
            Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25       Page 162 of 329




                    476     Md. Code Ann., Crim. Law§ 1-301: This statute defines accessories and extends

                    liability to those who knowingly aid or conceal the commission of an offense. Under Maryland

                    law, those who act as accessories, whether before, during, or after the offense, are held liable for

                    their participation in advancing or concealing the primary act.


                    4       A12plication to Accessoa and Accessoa After the Fact in Dillon-Ca1212s' Case
                    477     In Dillon-Capps 's case, the actions of Plaintiff, Ohana Growth Partners, LLC; its counsel,

                    Miles & Stockbridge (M&S); Judge Michael Barranco; and a third-party vendor collectively

                    reflect conduct that aligns with accessory liability, both during and after the fact. Each party' s

                    actions- whether in supporting Ohana' s deceptive practices, concealing fraudulent activities, or

                    furthering procedural abuses- demonstrate a coordinated effort to protect themselves and others

                    from accountability. Key aspects include:

                    478     Ohana's Concealment and Legitimation of Vendor's Fraudulent Activities: Despite

                    knowledge of the vendor' s involvement in fraud, identity theft, and accounting irregularities,

                    Ohana not only continued its relationship with the vendor but increased the scope of its work,

                    making efforts to improve the vendor' s appearance of legitimacy. Ohana's deliberate actions to

                    protect the vendor and avoid accountability constitute accessory conduct, as they knowingly

                    supported and legitimized actions that directly contributed to the fraud. These steps, taken to

                    cover up the vendor's conduct, meet Maryland's standard for accessory after the fact, as they

                    furthered both the vendor' s and their own evasion of responsibility.

                    479     Miles & Stockbridge's Failure to Investigate and Defense of Ohana's Misconduct:

                    M&S' s role as counsel includes a fiduciary duty to assess and report ethical concerns,

                    particularly when clients are implicated in fraudulent activities. Instead, M&S focused on


                                                                                                           Page 162 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 162 of 329                     Exhibit 108
            Case 1:24-cv-03744-BAH              Document 16-10           Filed 01/03/25      Page 163 of 329




                   defending Judge Barranco's rulings, engaging in procedural abuses that ignored Ohana' s

                   documented violations. This defensive strategy, which aligns with M&S' s own interests, shows

                   that M&S acted as an accessory after the fact by shielding both itself and its client from scrutiny.

                   The choice to omit investigation into fraud allegations and support punitive actions against

                   Dillon-Capps aligns M&S with Ohana' s goal of deflecting accountability, meeting the criteria

                   for accessory liability.

                   480      Judge Barranco's Rulings that Reinforced M&S and Ohana's Actions: Judge

                    Barranco's alignment with M&S 's tactics-including issuing rulings that dismissed Dillon-

                    Capps' s filings as "incoherent" and "unintelligible"-reinforced the discriminatory and coercive

                    practices directed at Dillon-Capps. These rulings directly supported M&S 's and Ohana's

                    objectives by dismissing substantive issues in favor of procedural criticisms, effectively enabling

                    further discrimination and discrediting Dillon-Capps. Barranco ' s rulings, especially those

                    imposing daily fines and restrictive orders based on misleading representations, reflect accessory

                    conduct that advanced M&S' s and Ohana' s shared purpose of evading accountability.

                    481     Vendor's Participation in Fraud and Continued Support from Ohana and M&S:

                    The third-party vendor's actions, which included identity theft, wire fraud, and contributing to

                    accounting irregularities, were documented in evidence but ignored by Ohana and M&S. By

                    rehiring this vendor, expanding its role, and failing to address its fraudulent activities, Ohana and

                    M&S acted as accessories after the fact, prioritizing their own interests over ethical

                    accountability. The choice to legitimize the vendor rather than investigate or disclose its

                    misconduct reflects a deliberate effort to conceal the fraudulent activities, furthering their

                    evasion of scrutiny and liability.


                                                                                                          Page 163 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 163 of329                     Exhibit 108
                 Case 1:24-cv-03744-BAH              Document 16-10           Filed 01/03/25       Page 164 of 329
J,         ,L




                        482      Pattern of Procedural Abuse and Misrepresentation to Discredit Dillon-Capps: The

                         lawsuit and related procedural actions, including the no-notice TRO and contempt motions, were

                        designed to discredit Dillon-Capps and distract from the core issues of fraud, discrimination, and

                        hostile workplace conditions. These tactics were used to undermine Dillon-Capps's credibility

                         and shield Ohana and M&S from accountability. By engaging in abusive litigation to obscure

                        their own misconduct, M&S and Ohana demonstrated accessory behavior, as these actions were

                         not aimed at legitimate dispute resolution but at protecting themselves from repercussions.

                         483     The coordinated actions of Ohana, M&S, Judge Barranco, and the vendor reveal a

                         collective intent to avoid accountability and protect each other's interests at Dillon-Capps' s

                         expense. Maryland' s standards for accessory and accessory after the fact liability, as set forth in

                         State v. Hawkins and Watson v. State, apply to each party's role in advancing or concealing

                         fraudulent activities and abusive practices. Their continued engagement in procedural abuses,

                         discriminatory rulings, and concealment of critical information directly supports accessory

                         liability, as their actions collectively aimed to protect one another and obscure the truth.

                         484     Accessory and accessory after the fact liability ensure that those who aid, abet, or conceal

                         wrongful conduct are held accountable. In Dillon-Capps's case, the actions of Ohana, M&S,

                         Judge Barranco, and the vendor reflect accessory conduct intended to shield each other from

                         accountability. By recognizing this conduct as accessory liability, Maryland courts can restore

                         fairness, uphold judicial integrity, and prevent similar abuse of legal processes in future cases.


                                                                    X Due Process




                                                                                                               Page 164 of 329



     Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 164 of 329                    Exhibit 108
            Case 1:24-cv-03744-BAH              Document 16-10           Filed 01/03/25       Page 165 of 329




                    1      Foundations of Due Process
                    485     Maryland law, as supported by Md. Code Ann., Cts. & Jud. Proc.§§ 10-501 and 10-

                   503 and the Fourteenth Amendment to the U.S. Constitution, provides that individuals are

                   entitled to fair and impartial treatment in legal proceedings. Due process rights include both

                    procedural and substantive protections, requiring that courts operate transparently, fairly, and

                    without bias. Maryland's adoption of these principles aligns with common law and constitutional

                    standards to ensure that any deprivation of an individual' s rights occurs only through lawful and

                   just procedures.

                    486     Key elements of due process in Maryland include:

                            l.      Right to Notice: Due process mandates that individuals receive proper, timely

                            notice of legal actions affecting their rights, as enshrined in both state and federal

                            standards.

                            2.      Opportunity to Be Heard: The due process right to be heard encompasses both

                            the ability to present evidence and to cross-examine opposing witnesses, ensuring that no

                            one is deprived of their rights without full participation.

                            3.      Impartial Decision-Making: Due process necessitates an unbiased and fair

                            adjudicator to ensure objectivity, requiring judges to refrain from conduct that

                            demonstrates or suggests bias.


                    2       Judicial Standards for Applying Due Process

                    487     Under Maryland law and constitutional standards, courts must provide:
                            1.    Adequate Notice and Hearing: Courts must provide parties with adequate time

                            and information to prepare for and engage in proceedings, as guaranteed by the

                            Fourteenth Amendment's Due Process Clause and Md. Rule 2-311.
                                                                                                           Page 165 of329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 165 of 329                     Exhibit 108
                Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25     Page 166 of 329
J        _._




                                2.      Right to Present and Challenge Evidence: The right to be heard requires a

                                meaningful opportunity to present one's case fully, including the ability to submit

                                evidence and conduct cross-examinations of opposing witnesses. Maryland courts uphold

                                this standard as foundational to ensuring fair trials.

                                3.      Unbiased Adjudication: Judges must remain impartial and avoid any conduct

                                suggesting bias or prejudice. In line with Md. Rules 18-101.2 and 18-102.2, impartiality

                                is necessary to maintain public confidence in the judiciary and ensure that rulings are

                                based solely on law and facts.


                        3       Mazyland Case Law and Statutozy Basis
                        488     Banegura v. Taylor, 312 Md. 609,541 A.2d 969 (1988): Maryland's Court of Appeals

                        underscored that due process includes the right to notice and an opportunity to be heard. Courts

                        must ensure individuals have a fair opportunity to defend their rights before issuing decisions

                        that may affect them.

                        489     Attorney Grievance Commission v. Mooney, 359 Md. 56, 753 A.2d 17 (2000): The

                        court emphasized judicial impartiality as essential to due process. Judges are required to avoid

                        any behavior suggesting bias, as it undennines public confidence and the fairness of judicial

                        proceedings.

                        490     Shaw v. Glickman, 45 Md. App. 718, 415 A.2d 625 ( 1980): Maryland courts have

                        reinforced that due process includes a reasonable opportunity to present evidence and cross-

                        examine witnesses, as these rights protect the integrity of the proceedings and ensure substantive

                        fairness.




                                                                                                             Page 166 of 329




    Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 166 of329                    Exhibit 108
            Case 1:24-cv-03744-BAH              Document 16-10           Filed 01/03/25       Page 167 of 329




                   4        Constitutional and Federal Basis
                   491      Fourteenth Amendment, U.S. Constitution: The Due Process Clause of the Fourteenth

                   Amendment prohibits states from depriving individuals of " life, liberty, or property, without due

                    process of law." This clause provides a federal foundation for Maryland' s due process

                    requirements, mandating fair legal procedures.

                   492      Goldberg v. Kelly, 397 U.S. 254 (1970): The U.S. Supreme Court held that due process

                    requires notice and an opportunity to be heard in a meaningful manner, reinforcing that

                    individuals should have a fair chance to present their case when government actions may affect

                    their rights.


                    5       Atmlication to Dillon-Capps' s Case
                    493     In Dillon-Capps' s case, Ohana, M&S, and Judge Barranco collectively violated due

                    process protections, depriving Dillon-Capps of a fair and impartial hearing through actions

                    including inadequate notice, biased rulings, and restrictions on evidence:

                            1.      Lack of Adequate Notice: The court issued a no-notice Temporary Restraining

                            Order (TRO) and later a two-day notice show cause order, depriving Dillon-Capps of

                            sufficient time to prepare a defense. These actions contravene Banegura v. Taylor and the

                            Fourteenth Amendment, as they prevented Dillon-Capps from meaningfully

                            participating in their defense.

                            2.      Restricted Right to Present and Challenge Evidence: Judge Barranco

                            prevented Dillon-Capps from cross-examining key witnesses and presenting evidence on

                            FMLA and ADA violations, issues directly relevant to the case. This restriction mirrors




                                                                                                        Page 167 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 167 of 329                   Exhibit 108
            Case 1:24-cv-03744-BAH              Document 16-10           Filed 01/03/25       Page 168 of 329
      ..



                            due process violations cited in Shaw v. Glickman, as Dillon-Capps was denied the

                            opportunity to address and challenge material claims.

                            3.        Bias and Lack of Judicial Impartiality: Judge Barranco made derogatory

                            comments about Dillon-Capps's filings, referring to them as "incoherent" and

                            "unintelligible," while ignoring Dillon-Capps's evidence and ADA accommodations.

                            Such statements suggest judicial bias, violating the standards for impartiality upheld in

                            Attorney Grievance Commission v. Mooney. This bias compromised Dillon-Capps's right

                            to a fair and impartial hearing.

                            4.        Failure to Address Procedural and Substantive Claims: The court dismissed

                            Dillon-Capps' s substantive claims regarding FMLA, ADA, and due process violations

                            without meaningful consideration. This denial of procedural fairness created a cumulative

                            deprivation of due process, impacting Dillon-Capps' s ability to defend against baseless

                            claims.

                    494     Ohana' s, M&S' s, and Judge Barranco's collective actions denied Dillon-Capps their due

                    process rights, violating Maryland's standards for notice, impartiality, and the right to be heard.

                    These due process failings were cumulative, compounding Dillon-Capps' s disadvantage and

                    damaging the fairness of the proceedings.

                    495     Due process is an essential protection under Maryland law and the Fourteenth

                    Amendment, supported by Md. Code Ann., Cts. & Jud. Proc.§§ 10-501 and 10-503. In

                    Dillon-Capps's case, due process was compromised through inadequate notice, restrictions on

                    evidence, and judicial bias. The court should impose sanctions to address these violations,




                                                                                                         Page 168 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 168 of 329                   Exhibit 108
            Case 1:24-cv-03744-BAH              Document 16-10           Filed 01/03/25         Page 169 of 329
      .<




                   correct the judicial record, and reinforce due process protections in Maryland, aligning with

                    principles established in Banegura v. Taylor, Mooney, and Shaw v. Glickman.


                                                               Y Harassment

                    1       Foundations of Harassment
                    496     Under Maryland law, supported by Md. Code Ann., Cts. & Jud. Proc.§§ 10-501 and

                    10-503, harassment is recognized as repeated and intentional conduct designed to intimidate,

                    distress, or pressure an individual. Harassment is prohibited under both civil and criminal law,

                    with Maryland statutes and common law principles affirming that harassment includes any

                    sustained behavior aimed at causing undue stress or discomfort. Maryland courts and statutes

                    address harassment as conduct lacking legitimate purpose and intended to interfere with an

                    individual' s rights or peace of mind.

                    497     Key elements of harassment in Maryland include:

                            1.      Intent to Disturb or Intimidate: Harassment requires a showing of intent to

                            harm, annoy, or pressure another party.

                            2.      Lack of Legitimate Purpose: The conduct must lack a lawful or legitimate

                            justification, serving only to distress or intimidate the target.

                            3.      Repeated and Unwanted Behavior: Harassment is marked by repetitive conduct

                            that targets an individual over time, creating a cumulative adverse effect.


                    2       Judicial Standards for Applyin~ Harassment
                    498     Maryland courts define harassment by examining:




                                                                                                          Page 169 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts     Page # 169 of 329                  Exhibit 108
            Case 1:24-cv-03744-BAH              Document 16-10           Filed 01/03/25      Page 170 of 329




                            1.      Pattern of Behavior: Courts assess whether the conduct in question represents a

                            sustained pattern, as isolated incidents generally do not constitute harassment without

                            repeated actions.

                            2.      Intent to Disturb, Harm, or Pressure: Harassment requires a clear intent to

                            cause distress or compel compliance, often evaluated through the totality of the

                            circumstances.

                            3.      Lack of Legitimate Justification: Conduct qualifies as harassment if it serves no

                            legitimate purpose and is solely intended to harass, intimidate, or disrupt the target.


                    3       Maryland Case Law and Statutory Basis
                    499     Md. Code Ann., Crim. Law§ 3-803: Defines harassment as repeated, unwanted

                    behavior intended to harass, alarm, or annoy another person, reinforcing that intentional acts

                    without legitimate purpose meet the legal definition of harassment.

                    500     Rowe v. Baltimore Colts, 33 Md. App. 344, 364 A.2d 131 (1976): The Maryland Court

                    of Special Appeals held that behavior qualifies as harassment if it is both deliberate and intended

                    to distress the target. In civil contexts, harassment encompasses sustained actions that interfere

                    with the plaintiffs personal or professional life.

                    501     R.M. v. State, 234 Md. App. 632, 172 A.3d I I 99 (2017): Maryland's courts recognize

                    that harassment need not involve physical harm but may include repeated acts or

                    communications that disturb or alarm the target. The court emphasized that harassment often

                    includes actions intended to pressure, intimidate, or control the individual.




                                                                                                          Page 170 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 170 of 329                      Exhibit 108
            Case 1:24-cv-03744-BAH              Document 16-10           Filed 01/03/25      Page 171 of 329




                   4       Application to Dillon-Capps' s Case
                   502      In Dillon-Capps's case, Ohana and M&S engaged in a pattern of harassment designed to

                    intimidate and distress Dillon-Capps. This pattern included continuous threats of adverse

                   employment action, baseless legal actions, and a cumulative pattern of coercive tactics.

                    503     Intent to Disturb and Intimidate through Employment Threats: From May 20 to

                   June 13, Ohana repeatedly threatened Dillon-Capps with adverse employment consequences,

                    including suspension and termination, in response to Dillon-Capps' s exercise of FMLA rights

                    and reporting of misconduct. These threats align with the standards established in Rowe v.

                    Baltimore Colts, demonstrating deliberate actions intended to intimidate and control.

                    504     Lack of Legitimate Justification: The threats of suspension and termination, the

                    fraudulent lawsuit, and the attempts to incarcerate Dillon-Capps all lacked legitimate purpose, as ·

                    they were based on perjured statements, false claims, and procedural abuse. Such conduct

                    reflects Maryland' s standards for harassment as defined in R.M v. State, where repeated acts

                    lacking lawful basis are categorized as harassment.

                    505     Sustained Pattern of Coercive Behavior: Ohana and M&S's actions, including the

                    unlawful termination, suspension, and threats of incarceration, show a cumulative pattern of

                    harassment. This ongoing pressure reflects an intent to interfere with Dillon-Capps' s rights,

                    pressuring them into silence and compliance in violation of Maryland ' s standards under§ 3-803.

                    506     Ohana and M&S' s harassment aimed to intimidate and control Dillon-Capps, preventing

                    them from reporting misconduct or asserting their legal rights. The cumulative impact of this

                    behavior constitutes harassment under Maryland law, as it was intended solely to distress and

                    deter Dillon-Capps.


                                                                                                        Page 171 of329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 171 of329                    Exhibit 108
            Case 1:24-cv-03744-BAH              Document 16-10           Filed 01/03/25        Page 172 of 329
     _..




                   507      Harassment, as defined under Maryland law and supported by Md. Code Ann., Cts. &

                   Jud. Proc. §§ 10-501 and 10-503, includes repeated conduct lacking legitimate purpose and

                    intended to disturb, intimidate, or distress. In Dillon-Capps' s case, the pattern of adverse actions,

                    including baseless threats, wrongful termination, and coerced compliance, qualifies as

                    harassment. The court should impose sanctions to prevent further harassment and address the

                    harm inflicted, aligning with the principles in Rowe v. Baltimore Colts and R.M. v. State.


                                                         Z Spoliation of Evidence

                    1       Foundation of Spoliation of Evidence
                    508     Foundation: Spoliation of evidence encompasses the destruction, alteration, or

                    concealment of information relevant to ongoing or anticipated litigation. Under Maryland

                    common law, spoliation is addressed through sanctions or adverse inferences, especially when

                    actions are taken to manipulate, delete, or obscure critical evidence that is central to a party ' s

                    claim. Md. Code Ann., Cts. & Jud. Proc.§§ 10-501 and 10-503 empower Maryland courts to

                    integrate spoliation principles from common law and apply them to safeguard evidence integrity.

                    When spoliation includes digital manipulation, such as altering roles, modifying database entries,

                    or delaying access to secure data, the harm to judicial fairness is heightened, as it often impacts

                    the very basis of a party' s ability to substantiate their claims.


                    2       Judicial Standards for Applyin~ Spoliation of Evidence
                    509     Maryland courts apply spoliation standards when certain criteria are met, especially in

                    cases of digital or systemic evidence manipulation:




                                                                                                             Page 172 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts     Page # 172 of 329                      Exhibit 108
            Case 1:24-cv-03744-BAH              Document 16-10           Filed 01/03/25       Page 173 of 329




                            1.      Duty to Preserve Electronic Records: Parties aware of ongoing or foreseeable

                            litigation have an obligation to secure and preserve all relevant records, including digital

                            databases, user roles, and system backups.

                            2.      Intentional or Negligent Alteration or Deletion: Spoliation occurs when a

                            party, directly or through agents, intentionally modifies, removes, or otherwise obscures

                            information, especially when done to undermine evidence.

                            3.      Resulting Prejudice to the Opposing Party: Spoliation is evident if the altered

                            or deleted data hinders the opposing party' s case by limiting their access to complete and

                            authentic information.

                            4.      Adverse Inference or Sanctions as Remedy: When evidence spoliation is

                            shown, courts can impose an adverse inference against the party responsible, presuming

                            that the altered or destroyed evidence would have been unfavorable to them.

                    510     Purpose of the Spoliation Doctrine:

                            1.      Prevent Data Manipulation as a Litigation Tactic: Digital evidence tampering

                            unfairly skews litigation, undermining judicial impartiality.

                            2.      Ensure Fairness and Preserve Evidence Integrity: Courts safeguard data

                            integrity by penalizing or sanctioning parties that manipulate digital records.

                            3.      Deter Evasive Conduct: Sanctions for digital spoliation discourage tactics such

                            as database edits, unauthorized role adjustments, and immunity delays to affect record

                            retention.




                                                                                                          Page 173 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 173 of 329                    Exhibit 108
            Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25       Page 174 of 329




                    3       Maryland Case Law and Statutory Basis
                    511     Anderson v. Litzenberg, 115 Md. App. 549, 694 A.2d 150 (1997): This case supports

                    the use of adverse inferences when evidence is altered or withheld, applicable to cases involving

                    deliberate data deletion or modification.

                    512     Kluptv. Krongard, 126 Md. App. 179, 728 A.2d 727 (1999): Maryland courts imposed

                    sanctions for document tampering, extending the spoliation doctrine to cases involving altered

                    data and records.

                    513     Cost v. State, 417 Md. 360, l O A.3d 184 (20 l 0): This case established that evidence

                    destruction or alteration justifies remedial sanctions to protect judicial proceedings and address

                    any prejudice suffered by the opposing party.

                    514     Statutory Basis:

                            I.      Md. Code Ann., Cts. & Jud. Proc.§§ 10-501 and 10-503: These statutes

                            authorize Maryland courts to incorporate common law doctrines and equitable principles

                            like spoliation, applying corrective measures when evidence is manipulated, deleted, or

                            obscured.


                    4       Application to Dillon-Capps's Case
                    515     In Dillon-Capps' s case, the following alleged actions by Ohana and M&S constitute

                    spoliation, focused on database and system-level manipulations:

                            I.      Duty to Preserve Digital and Systemic Evidence: Ohana was required to retain

                            accurate, unaltered records relevant to Dillon-Capps's employment, billing, and

                            ADA/FMLA requests. This duty extends to all digital systems, databases, and user roles,




                                                                                                         Page 174 of329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 174 of 329                   Exhibit 108
            Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25      Page 175 of 329




                           particularly those affecting evidence related to workplace roles and oversight

                            responsibilities.

                            2.      Intentional Alteration of Database Records and User Roles: Allegations that

                            Ohana removed Leann Hartman' s "Billing Administrator" role and delayed the backup

                            immunity expiration suggest deliberate efforts to obscure evidence. These modifications

                            appear intended to affect records tied to key areas of Dillon-Capps' s claims, including

                            alleged workplace misconduct and accountability.

                            3.      Delays to Allow for Evidence Tampering: Allegations that Ohana waited until

                            backup immunity expired to delete or modify records further suggest intentional

                            spoliation. This delay strategy hinders Dillon-Capps' s ability to access complete records

                            and evidence, obstructing the potential to present a full and accurate case. Maryland

                            courts, as seen in Klupt v. Krongard, would likely interpret such actions as spoliation due

                            to the calculated nature of the delay.

                            4.      Prejudice Against Dillon-Capps: The alleged tampering directly impedes

                            Dillon-Capps' s case by depriving them of access to critical data regarding ADA

                            accommodations, FMLA entitlements, and employer records of adverse actions. This

                            aligns with Anderson v. Litzenberg, where adverse inferences were granted due to

                            prejudicial actions in tampering with records.

                            5.      Adverse Inference as Remedy: Given the severity and deliberate nature of the

                            alleged spoliation, the court should impose an adverse inference, presuming that any

                            altered or deleted data would support Dillon-Capps' s case. The court may also consider




                                                                                                         Page 175 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 175 of329                    Exhibit 108
            Case 1:24-cv-03744-BAH              Document 16-10           Filed 01/03/25       Page 176 of 329




                           further sanctions due to the calculated delay in accessing unaltered data, consistent with

                            Cost v. State, to prevent Ohana from benefiting from its own actions.


                    516     Ohana and M&S ' s alleged spoliation activities, including user role alterations, database

                   tampering, and delay tactics to circumvent backup protections, meet the criteria for spoliation

                    under Maryland common law and Md. Code Ano., Cts. & Jud. Proc.§§ 10-501 and 10-503.

                    These actions justify sanctions, including adverse inferences and possible additional corrective

                    measures, to counter the prejudice suffered by Dillon-Capps. Maryland case law supports

                    imposing such sanctions to reinforce data integrity and ensure judicial proceedings remain fair

                    and unbiased. The court should impose adverse inferences and any additional appropriate

                    sanctions against Ohana and M&S in line with Anderson v. Litzenberg, Klupt v. Krongard, and

                    Cost v. State.


                                                              AA Defamation

                    1       Foundation of Defamation
                    517     Foundation: Defamation under Maryland common law encompasses both libel (written

                    defamation) and slander (spoken defamation), whereby a false statement injures a party' s

                    reputation. Maryland recognizes that defamatory statements, if false and harmful to one's

                    professional or personal reputation, may give rise to a claim of defamation. Maryland statutes

                    also address defamation, with specific provisions for libel and slander under Md. Code Ann.,

                    Cts. & Jud. Proc. § 3-503. Additionally, if defamatory statements are included in litigation,

                    courts may consider them as part of a broader scheme of reputational harm, especially if the

                    litigation itself appears to be a vehicle for damaging an individual ' s standing or credibility.


                                                                                                            Page 176 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 176 of329                       Exhibit 108
            Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25      Page 177 of 329




                    2       Judicial Standards for A:tmlyin~ Defamation
                    518     Maryland courts require the following elements to establish a claim for defamation :

                            I.      False and Defamatory Statement: A statement that is both false and injurious to

                            an individual ' s reputation, exposing them to public contempt or ridicule.

                            2.      Publication to a Third Party: The statement must be communicated or

                            "published" to a third party, making the false information accessible to others.

                            3.      Fault on the Part of the Defendant: The defendant must be at fault, either

                            through negligence or intent, in making or spreading the false statement.

                            4.      Harm to the Plaintifrs Reputation: The false statement must result in harm to

                            the plaintiffs reputation, including potential financial, professional, or personal losses.

                            5.      Purpose of Defamation Doctrine:

                            6.      Protect Individual Reputations: Defamation law safeguards individuals from

                            reputational harm caused by false and damaging statements.

                            7.      Prevent Misuse of Litigation for Reputation Attacks: Courts prevent parties

                            from using litigation as a pretext for defamation, particularly when claims are baseless or

                            designed to malign the opposing party.

                            8.      Provide Remedies for Reputational Damage: Defamation allows individuals to

                            recover damages or seek corrective measures when false statements cause harm.


                    3       Mazyland Case Law and Statutmy Basis
                    519     Jacron Sales Co. v. Sindorf, 276 Md. 580, 350 A.2d 688 (1976): The Maryland Court of

                    Appeals defined defamation standards, holding that any false statement damaging another' s

                    reputation can be actionable if it meets criteria such as fault and harm to reputation.


                                                                                                           Page 177 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 177 of 329                      Exhibit 108
            Case 1:24-cv-03744-BAH              Document 16-10           Filed 01/03/25      Page 178 of 329




                   520     Samuels v. Tschechtelin, 135 Md. App. 483, 763 A.2d 209 (2000): The court held that

                   false statements made with knowledge of their falsity or reckless disregard for the truth

                   constitute defamation, affirming that plaintiffs may seek damages when reputation is harmed by

                    false claims.

                    521     Smith v. Danielczyk, 400 Md. 98, 928 A.2d 795 (2007): The Maryland Court of Appeals

                   emphasized that even implied defamatory meanings can be actionable, underscoring the court' s

                    role in safeguarding individuals from reputation damage caused by misleading or false

                    statements.

                    522     Md. Code Ann., Cts. & Jud. Proc.§ 3-503: Addresses liability for defamatory

                    statements, specifically those impacting one' s profession, credibility, or standing within the

                    community.


                    4       Application to Dillon-Capps' s Case
                    523     In Dillon-Capps's case, the following statements and litigation actions by Ohana and

                    M&S contribute to defamation based on Maryland standards:

                            1.      False and Defamatory Statements in Affidavits and Filings: False assertions in

                            affidavits and court documents, such as claims that Dillon-Capps refused access or failed

                            to meet performance standards, are demonstrably untrue and intended to harm Dillon-

                            Capps' s reputation . These statements align with the elements of defamation outlined in

                            Jacron Sales Co. v. Sindorf

                            2.      Publication to a Third Party via Litigation: By including defamatory

                            statements within court filings, Ohana and M&S "published" false statements to the court

                            and to Dillon-Capps' s professional network. Legal filings, accessible to parties outside


                                                                                                          Page 178 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 178 of329                     Exhibit 108
            Case 1:24-cv-03744-BAH              Document 16-10           Filed 01/03/25       Page 179 of 329




                           the immediate litigation, serve as a mechanism of public defamation, as discussed in

                           Smith v. Danielczyk.

                           3.       Intent to Damage Reputation: The pattern of baseless claims and misleading

                            statements suggests intent to damage Dillon-Capps' s reputation by framing them as

                            unprofessional or dishonest. Similar to Samuels v. Tschechtelin, the falsehoods appear

                            designed to harm Dillon-Capps's standing and credibility as a professional.

                            4.      Harm to Dillon-Capps's Professional Reputation: The defamatory statements

                            have damaged Dillon-Capps' s professional relationships, financial stability, and personal

                            standing. The litigation's misuse as a vehicle for defamatory statements supports the

                            argument for reputational harm, directly harming Dillon-Capps ' s ability to work and

                            meet professional obligations.

                    524     Ohana and M&S's actions meet the criteria for defamation under Maryland common law

                    and Md. Code Ann., Cts. & Jud. Proc.§ 3-503. False and misleading statements made within

                    affidavits, coupled with baseless litigation aimed at discrediting Dillon-Capps, constitute

                    defamatory actions designed to harm Dillon-Capps' s reputation. Maryland case law, including

                    Jacron Sales Co. v. Sindorf, Samuels v. Tschechtelin, and Smith v. Danielczyk, supports imposing

                    sanctions and awarding damages for defamation, particularly when litigation itself serves as a

                    means to disseminate false claims. The court should recognize Ohana and M&S ' s statements as

                    defamatory and consider sanctions to mitigate the reputational harm suffered by Dillon-Capps.


                                        BB Intentional Infliction of Emotional Distress OIED)




                                                                                                          Page 179 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 179 of 329                   Exhibit 108
                 Case 1:24-cv-03744-BAH              Document 16-10           Filed 01/03/25       Page 180 of 329
..



                         1        Foundation oflntentional Infliction of Emotional Distress (IIED)
                        525       Foundation: Intentional Infliction of Emotional Distress (IIED) is a common law tort

                        recognized under Maryland law, applicable when a party's conduct is so extreme and outrageous

                        that it causes severe emotional distress to another. The Restatement (Second) of Torts § 46

                        provides the basis for IIED claims, which have been incorporated into Maryland law. To meet

                        the threshold for IIED, the conduct in question must surpass mere negligence or even intentional

                        wrongdoing; it must be "atrocious, and utterly intolerable in a civilized society." When

                         combined with employment actions and aggressive litigation intended to intimidate or harass,

                         such conduct may meet the standard for IIED if it causes severe emotional harm to the affected

                         party.


                         2        Judicial Standards for A,iwlying TIED
                         526      Maryland courts generally require four elements to establish IIED, each demanding a

                         high threshold of evidence due to the severe nature of the claim:

                                  1.     Extreme and Outrageous Conduct: The defendant' s actions must be outrageous

                                  to the extent that they "exceed all bounds of decency," reflecting behavior that is

                                  intentionally harmful, oppressive, or in reckless disregard of the plaintiffs rights.

                                  2.     Intent or Reckless Disregard: The defendant must have acted with the intent to

                                  cause emotional distress or with reckless disregard of the likelihood that their actions

                                  would result in severe emotional harm.

                                  3.     Severe Emotional Distress: The plaintiff must demonstrate that the conduct

                                  caused severe emotional distress, not merely annoyance or frustration. This often

                                  includes medical or psychological evidence of the distress suffered.


                                                                                                                Page 180 of 329



     Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 180 of 329                     Exhibit 108
            Case 1:24-cv-03744-BAH                Document 16-10         Filed 01/03/25       Page 181 of 329




                           4.       Causal Connection: There must be a direct causal link between the extreme and

                           outrageous conduct and the severe emotional distress experienced by the plaintiff.

                   527     Purpose of IIED Doctrine:

                            1.      Protect Individuals from Extreme Abuse: IIED shields individuals from

                            conduct intended to terrorize, oppress, or intimidate.

                            2.      Deter Outrageous Conduct in Legal and Employment Contexts: The doctrine

                            of IIED prevents parties from using litigation or employment authority as tools for

                            personal vendettas.

                            3.      Remedy for Mental and Emotional Harm: Courts provide relief for individuals

                            who suffer genuine, severe emotional trauma from egregious conduct.


                    3       Maryland Case Law and Common Law Basis
                    528     Harris v. Jones, 281 Md. 560, 380 A.2d 611 (1977): The Maryland Court of Appeals set

                    a high bar for IIED, requiring conduct to be truly outrageous and severe emotional distress to be

                    clearly demonstrated through evidence.

                    529     Batson v. Shiflett, 325 Md. 684, 602 A.2d I 191 (1992): The court reaffirmed that IIED

                    requires extreme, egregious conduct intended to hann the plaintiff emotionally. Simple

                    annoyance or insensitivity falls short of this threshold.

                    530     Lasater v. Guttmann, 194 Md. App. 431 , 5 A.3d 79 (20 I 0): The court clarified that

                    TIED claims necessitate objective evidence of severe emotional distress caused by the

                    defendant' s outrageous conduct.




                                                                                                        Page 181 of329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 181 of 329                  Exhibit 108
            Case 1:24-cv-03744-BAH              Document 16-10           Filed 01/03/25       Page 182 of 329




                   4       Auplication to Dillon-Cauus's Case
                   531     In Dillon-Capps' s case, Ohana and M&S's conduct meets the criteria for IIED based on

                   the following factors:

                            I.     Extreme and Outrageous Conduct: Ohana and M&S engaged in behavior that

                           exceeds typical adversarial conduct, including:

                                    1.1     Filing a retaliatory lawsuit filled with knowingly false statements,

                                    escalating the situation to intimidate Dillon-Capps.

                                    1.2     Seeking an ex parte Temporary Restraining Order (TRO) and a no-notice

                                    contempt show cause, leveraging judicial mechanisms as tools of harassment.

                                    1.3     Perpetuating a hostile work environment through employment-related

                                    retaliatory tactics, including Dillon-Capps' s suspension and subsequent

                                    termination during ongoing litigation.

                                    1.4     Attempts to misrepresent Dillon-Capps' s requests for ADA and FMLA

                                    accommodations, thereby undennining legally protected rights in a way that could

                                    foreseeably cause extreme distress.

                            2.      Intent or Reckless Disregard: The facts indicate that Ohana and M&S acted

                            with intent or at least reckless disregard, aiming to use litigation to harass Dillon-Capps,

                            obstruct rights, and intimidate them into submission. These actions show clear disregard

                            for Dillon-Capps's mental well-being, as the escalating litigation pressures and

                            employment actions were likely to cause severe distress.

                            3.      Severe Emotional Distress: Dillon-Capps has experienced significant emotional

                            hann, evidenced by severe memory issues, catatonic episodes, and exacerbation of


                                                                                                          Page 182 of329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 182 of 329                    Exhibit 108
            Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25       Page 183 of 329




                           PTSD. The cumulative effects of employment-related harassment and litigation-induced

                           stress reflect the depth of emotional trauma inflicted, meeting the severe distress

                           requirement as seen in Lasater v. Guttmann.

                           4.       Causal Connection: The actions by Ohana and M&S- beginning with the

                           employment-related harassment and culminating in a protracted, malicious lawsuit-

                           directly caused Dillon-Capps's emotional and psychological suffering. The escalation of

                           harassment and retaliatory actions underscores a causal link, aligning with standards in

                           Batson v. Shiflett.

                   532      Ohana and M&S' s conduct in Dillon-Capps' s case demonstrates a pattern of extreme and

                   outrageous behavior that justifies a claim for IIED under Maryland law. Through retaliatory

                    litigation, hostile employment actions, and the misuse of legal processes to intimidate Dillon-

                   Capps, Ohana and M&S inflicted severe emotional harm in a manner consistent with Harris v.

                    Jones and Batson v. Shiflett. The court should recognize these actions as intentional infliction of

                    emotional distress, warranting sanctions and remedial measures to address the harm Dillon-

                    Capps has suffered.


                                                               CC Negligence

                    1       Foundations of Negligence and Individual Liability
                    533     Under Maryland law, negligence involves the failure to exercise a reasonable standard of

                    care that results in harm to another party. To establish liability in this context, Maryland law

                    holds individuals and entities responsible for the negligent actions that breach their duty of care

                    and cause foreseeable harm. Maryland' s statutes and common law incorporate liability principles

                    that hold corporate owners, agents, and even government actors accountable for negligence.

                                                                                                          Page 183 of329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # I 83 of329                      Exhibit 108
            Case 1:24-cv-03744-BAH                  Document 16-10       Filed 01/03/25        Page 184 of 329




                   534         The four primary elements required to establish negligence are:

                                I.     Duty of Care: The legal obligation to act in a manner that prevents foreseeable

                               harm to others.

                               2.      Breach of Duty: A failure to uphold this duty, whether through action or

                               omission.

                               3.      Causation: A direct link between the breach of duty and the harm caused.

                               4.      Damages: Demonstrable harm or loss suffered by the plaintiff.


                       2        General Ne~li~ence and Comorate Liability
                III.         DUTYOF CARE AND CORPORATE.ENTITIES

                       535     Maryland's case law and statutory framework recognize that corporate entities, such as

                       Ohana and M&S, owe a duty of care not only to their clients but also to others who may be

                       foreseeably affected by their actions. This duty extends to protecting employees, clients, and, in

                       cases of legal firms, ensuring compliance with ethical standards that safeguard the judicial

                       system ' s integrity.




                       536      Md. Code, Cts. & Jud. Proc.§ 5-522: Limits liability protections for government actors

                       when actions fall outside their official capacity or involve gross negligence, applying similarly to

                       corporate actors in situations of abuse or extreme neglect.

                       537      Md. Code, Corp. & Ass'ns § 4A-302: Defines liability for members of an LLC,

                       allowing for individual responsibility for members who act negligently or outside the scope of

                       their professional duties.



                                                                                                            Page 184 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts     Page # 184 of 329                     Exhibit 108
            Case 1:24-cv-03744-BAH                        Document 16-10             Filed 01/03/25       Page 185 of 329




                   538          Section 4A-301.1: Establishes liability for members who provide professional services,

                   including legal and advisory services, with gross negligence or bad faith. This includes M&S' s

                   obligations to act in good faith while protecting the court's integrity.


                    3           Application of Duty and Breach to Ohana and M&S
                    539         Both Ohana and M&S owed Dillon-Capps a duty of care, given the employment

                    relationship with Ohana and M&S's involvement in legal proceedings. By engaging in

                      intentional acts to harm Dillon-Capps's reputation, rights, and financial security, both entities

                    breached this duty:

                                 1.        Ohana breached its duty by ignoring FMLA rights, creating a hostile work

                                 environment, and engaging in a lawsuit based on perjured statements and unsupported

                                 claims.

                                 2.        M&S breached its duty by failing to exercise reasonable care in filing motions

                                 and affidavits, presenting perjured testimony, and pursuing injunctive relief without

                                 legitimate grounds.

                      540        These breaches directly impacted Dillon-Capps' s financial, emotional, and physical well-

                      being, establishing causation and resulting damages.


                      4          Professional Negligence and Judicial Accountability
                 V.         .0.J.JJ:Y..O.f.(;AJlli.f.QR.J.V.P.J~.¼J,,..Qf.f.l~IAL~


                      541        Maryland law recognizes that judicial officers, while generally immune from liability,

                      may face liability for actions performed with gross negligence or outside the bounds of judicial

                      discretion. Judge Barranco's actions, if found to be reckless or negligent, could expose the

                      Maryland judiciary to liability for failing to protect the due process rights of Dillon-Capps.

                                                                                                                    Page 185 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts                Page # 185 of 329                 Exhibit 108
            Case 1:24-cv-03744-BAH                         Document 16-10                  Filed 01/03/25        Page 186 of 329




                Vl.         R.!;l~):AJ':l.T..S.T.~I\JJ:f.S..I:Q.~J.WP.J.c.lAf..AC.c.mm.Tt.\P.!!-t!IX.:.

                      542        Md. Code, Cts. & Jud. Proc.§ 5-507: Establishes that government employees are

                      immune from liability unless their actions involve malice, gross negligence, or are outside the

                      scope of their employment.

                      543        Md. Code, Cts. & Jud. Proc.§ 5-522(b): Clarifies that government employees are not

                      shielded from liability in cases of gross negligence, highlighting situations where judges or other

                      officials violate fundamental rights or act outside judicial bounds.




                      544        Judge Barranco's repeated dismissals of critical evidence, including FMLA and ADA

                      documentation, and refusal to hear relevant motions despite Dillon-Capps 's documented health

                      conditions, constitute reckless disregard for judicial responsibilities. By acting in a biased,

                      dismissive, or discriminatory manner, Judge Barranco breached the duty of care owed to Dillon-

                      Capps and exacerbated the harm caused by Ohana and M&S:

                                  I.        The judge's refusal to hear or acknowledge FMLA claims and attempts to

                                  invalidate due process arguments deprived Dillon-Capps of a fair hearing, contravening

                                 the duty to uphold justice impartially.

                                 2.         Judge Barranco' s dismissive and potentially biased statements damaged Dillon-

                                  Capps's credibility, reinforcing the baseless claims advanced by Ohana and M&S.

                      545         These actions, if shown to exceed judicial discretion, justify holding both Judge Barranco

                      and the Maryland government accountable for negligence under§ 5-507 and§ 5-522(b).




                                                                                                                           Page 186 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts                       Page # 186 of 329                 Exhibit 108
            Case 1:24-cv-03744-BAH                Document 16-10           Filed 01/03/25        Page 187 of 329




                       5       Individual Liability of Coworate Members and Associates
                  I.       .INDIVIDUAL.ACCOUNTABILITY FOR MEMBERS OF OHANA.AND M&S


                       546     Maryland law allows for the personal liability of LLC members and associates of

                       professional corporations in cases of gross negligence, fraud, or when actions exceed the scope

                       of their professional duties. Each member who played a role in filing fraudulent affidavits or

                       supporting perjured claims may be individually liable for the resulting harm.




                       547     Md. Code, Corp. & Ass'ns § 4A-303: Establishes liability for LLC members who

                       engage in negligent or unlawful acts, allowing injured parties to seek damages directly from

                       responsible individuals.

                       548     Section 4A-301.1: Imposes a duty on members providing professional services, holding

                       them accountable for actions taken with negligence or bad faith, particularly where such actions

                       harm others.

                III.         APPUCATION TO INDIVIDUAL MEMBERS OF OHANA_AND M&S


                       549      Each associate or principal within M&S and each member of Ohana who actively

                       participated in filing baseless claims, presenting fraudulent evidence, or dismissing Dillon-

                       Capps' s statutory rights may face individual liability:

                                1.     Ohana Executives and Agents: By supporting the baseless lawsuit and ignoring

                                Dillon-Capps's legal protections, individual members acted negligently and recklessly,

                                directly harming Dillon-Capps.




                                                                                                           Page 187 of329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts       Page # 187 of 329                  Exhibit 108
            Case 1:24-cv-03744-BAH              Document 16-10           Filed 01/03/25      Page 188 of 329




                           2.       M&S Attorneys: Attorneys from M&S who knowingly submitted false

                           affidavits, perjured statements, or omitted material facts engaged in negligent and

                            possibly malicious conduct, exposing themselves to individual liability.

                            3.      Each member and associate's involvement establishes grounds for individual

                            liability and reciprocity-based relief against Ohana and M&S members.


                    CONCLUSION OF NEGLIGENCE
                    550     Maryland law, under Md. Code Ann., Cts. & Jud. Proc.§§ 10-501 and 10-503 and

                    other statutes, supports a comprehensive liability framework for negligence against Ohana,

                    M&S, and the Maryland judiciary. The cumulative failures of these parties to exercise reasonable

                    care led to substantial and foreseeable harm to Dillon-Capps. Additionally, individual liability

                    applies to each principal and associate who participated in these negligent and reckless actions,

                    particularly those at Ohana and M&S who enabled this conduct. The court should impose

                    reciprocal relief, compensatory damages, and sanctions to deter future negligence and to hold

                    each responsible party accountable.


                                                       DD Reckless Endangerment

                    1       Foundations of Reckless Endangerment
                    551     Maryland law, supported by Md. Code Ann., Cts. & Jud. Proc.§§ 10-501 and 10-503,

                    incorporates the doctrine of reckless endangerment from English common law principles.

                    Reckless endangerment is defined as actions that create a substantial risk of harm to another's

                    health or safety, even if harm does not actually occur. Under Md. Code Ann., Crim. Law§ 3-

                    204, reckless endangerment encompasses actions taken with wanton disregard for the safety or

                    well-being of others, often without considering the potential consequences. In a civil context,

                                                                                                        Page 188 of329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 188 of329                   Exhibit 108
            Case 1:24-cv-03744-BAH              Document 16-10           Filed 01/03/25       Page 189 of 329




                   reckless endangerment may justify claims for damages or equitable relief when one party' s

                   conduct poses a serious and foreseeable risk to another' s health, safety, or livelihood.

                   552     Key elements of reckless endangerment in Maryland include:

                            1.      Substantial Risk of Harm: The actions must create a significant risk of harm or

                            injury to another party.

                           2.       Recklessness or Wanton Disregard: Reckless endangerment requires conduct

                           that shows a conscious disregard for the potential harm that may result.

                            3.      Foreseeability of Harm: The risk posed by the conduct must be reasonably

                            foreseeable, such that a reasonable person would recognize the likelihood of harm .


                   2        Judicial Standards for Applying Reckless Endangerment
                    553     Maryland courts evaluate reckless endangerment based on:

                            1.      Existence of Substantial Risk: The court assesses whether the conduct created a

                            substantial likelihood of harm to the affected party.

                            2.      Conscious Disregard of Harm: Reckless endangerment involves a clear

                            awareness of the risk and a decision to proceed regardless, showing wanton disregard for

                            others' safety or well-being.

                            3.      Foreseeable Consequences: Courts consider whether the harm resulting from the

                            conduct was foreseeable, given the nature of the actions and their impact on the targeted

                            individual.

                    3       Maryland Case Law and Statutory Basis
                    554     Md. Code Ann., Crim. Law§ 3-204: Defines reckless endangennent as actions that

                    create a substantial risk of death or serious physical injury to another person. While primarily a


                                                                                                          Page 189 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 189 of 329                    Exhibit 108
            Case 1:24-cv-03744-BAH              Document 16-10           Filed 01/03/25      Page 190 of 329




                   criminal statute, this definition provides guidance for evaluating reckless endangerment in civil

                   cases, particularly when actions create substantial non-physical risks to an individual ' s well-

                   being.

                   555      Williams v. State, 100 Md. App. 468, 641 A.2d 990 (1994): The Maryland Court of

                   Special Appeals affirmed that reckless endangerment includes conduct that shows a gross

                   disregard for safety. The court held that actions posing a foreseeable risk to others meet the

                    standard for reckless endangerment, whether physical or psychological harm is involved.

                    556     Minor v. State, 326 Md. 436, 605 A.2d 138 (1992): Maryland' s highest court

                   emphasized that reckless endangerment involves a wanton disregard for the likelihood of harm,

                    stating that individuals are responsible for foreseeable consequences of their reckless actions,

                    even if actual harm does not occur.


                    4       Application to Dillon-Capps's Case
                    557     In Dillon-Capps' s case, Ohana and M&S engaged in reckless endangerment by creating a

                    foreseeable risk of harm to Dillon-Capps's health, safety, and well-being. Their collective

                    actions, including psychological coercion, threats of adverse employment action, and unfounded

                    legal actions, show a clear disregard for Dillon-Capps' s safety and mental health:

                            l.      Substantial Risk of Harm through Adverse Actions: The threats, suspension,

                            and subsequent termination created a substantial risk of harm to Dillon-Capps' s financial

                            and mental well-being. The escalating legal actions and repeated attempts to intimidate

                            further contributed to this risk, aligning with Williams v. State.

                            2.      Wanton Disregard for Dillon-Capps's Health and Safety: Ohana and M&S' s

                            actions showed a clear disregard for the consequences of their behavior, particularly with


                                                                                                          Page 190 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 190 of329                     Exhibit 108
            Case 1:24-cv-03744-BAH              Document 16-10           Filed 01/03/25       Page 191 of 329
     .
     _




                           regard to Dillon-Capps' s documented mental health conditions and protected leave under

                           FMLA. The repeated adverse actions, including the pursuit of incarceration through the

                           show cause order, demonstrate reckless endangerment by showing a disregard for Dillon-

                           Capps' s health and security, as defined in Minor v. State.

                            3.      Foreseeable Harm to Dillon-Capps's Mental and Physical Health: The

                            cumulative impact of the threats, coercion, and unfounded legal actions had foreseeable

                            consequences on Dillon-Capps's health, exacerbating their PTSD and causing physical

                            manifestations such as catatonia. Given Dillon-Capps' s known health conditions, the

                            risks were foreseeable and ignored by Ohana and M&S, meeting Maryland' s standard for

                            reckless endangerment.

                    558     Ohana and M&S' s conduct demonstrates reckless endangerment by creating substantial

                    and foreseeable harm to Dillon-Capps' s health and livelihood. The intentional disregard for the

                    consequences of their actions, particularly in light of Dillon-Capps' s documented health

                    conditions, warrants remedies under Maryland law to prevent further harm and protect Dillon-

                    Capps' s rights.

                    559     Maryland law, supported by Md. Code Ann., Cts. & Jud. Proc.§§ 10-501 and 10-503

                    and Md. Code Ann., Crim. Law§ 3-204, prohibits reckless endangerment, including conduct

                    that poses a substantial and foreseeable risk to another' s safety and well-being. In Dillon-Capps' s

                    case, the pattern of threats, coercion, and abusive litigation represents reckless endangerment, as

                    Ohana and M&S disregarded foreseeable harm to Dillon-Capps's mental and physical health.

                    The court should impose sanctions to deter future reckless conduct and provide equitable relief to




                                                                                                         Page 191 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 191 of 329                   Exhibit 108
            Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25       Page 192 of 329




                   address the hann caused, consistent with the standards established in Williams v. State and Minor

                   v. State.


                                                           EE Judicial Economy

                    1      Foundations of Judicial Economy
                   560     Judicial economy is a principle guiding courts to resolve disputes efficiently, conserve

                   resources, and reduce unnecessary litigation burdens. Under Md. Code Ann., Cts. & Jud. Proc.

                   §§ 10-501 and 10-503, Maryland courts incorporate doctrines from common law that emphasize

                   the importance of expediting proceedings to minimize risk, prevent ongoing hann, and address

                    serious legal violations promptly. Judicial economy not only protects litigants from undue hann

                    but also preserves public confidence in the court's ability to deliver timely and effective justice.

                    561     Judicial economy is achieved by:

                    562     Expediting Matters with Significant Risk or Harm: When cases involve urgent issues,

                    such as fraud or violations of protected rights, prompt judicial action minimizes hann to parties

                    and safeguards their interests.

                    563        Avoiding Redundant or Prolonged Proceedings: Courts streamline processes to

                    prevent duplicative efforts, conserve resources, and avoid unnecessary delays that prolong risk or

                    uncertainty for litigants.

                    564        Addressing Core Issues Directly: Judicial economy prioritizes addressing material

                    issues and resolving disputes at the earliest opportunity to prevent extended or repetitive

                    litigation that burdens both the court and the parties involved.




                                                                                                          Page 192 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 192 of 329                    Exhibit 108
            Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25       Page 193 of 329




                   565        Maryland Jaw thus aligns with the principle of judicial economy to facilitate efficient

                   case management, reduce judicial workload, and ensure that significant issues are promptly

                    resolved.


                   2          Judicial Standards for A1mlying Judicial Economy
                   566        Maryland courts advance judicial economy by:

                    567       Prioritizing Cases Involving Urgent or Ongoing Harm: Judicial resources are directed

                    toward cases where timely intervention is essential to prevent irreparable harm or secure

                    protected rights.

                    568       Consolidating and Expediting Proceedings: Courts employ expedited hearings,

                    consolidated rulings, and streamlined procedures to eliminate redundant filings and procedural

                    delays.

                    569       Minimizing Procedural Barriers to Address Core Issues: Courts reduce procedural

                    obstacles to reach substantive matters directly, thus avoiding delays that may impede justice.

                    570       These standards allow Maryland courts to uphold judicial economy in cases where quick

                    and effective resolution is essential, particularly when parties face ongoing harm or legal rights

                    are at risk.


                    3         Maryland Case Law
                    571       Board of License Commissioners for Prince George's County v. Toye, 354 Md. I 16,

                    729 A.2d 407 (1999): The Maryland Court of Appeals highlighted the importance of judicial

                    economy, noting that cases involving immediate harm or public interest require expedited

                    handling to prevent extended legal uncertainty. The court emphasized that prompt judicial

                    intervention protects both parties and court resources.


                                                                                                           Page 193 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts     Page# I 93 of329                     Exhibit 108
            Case 1:24-cv-03744-BAH              Document 16-10           Filed 01/03/25     Page 194 of 329




                   572     County Commissioners of Carroll County v. Carroll Craft Retail, Inc., 384 Md. 23,

                   862 A.2d 404 (2004): This case underscored that judicial economy favors resolving cases

                   without unnecessary delays, especially when postponement risks further harm or imposes undue

                   burdens on the parties and the judiciary.

                   4       A11plication to Judicial Economy in Dillon-Ca1ws' Case
                    573     In Dillon-Capps' s case, the principles of judicial economy directly support an expedited

                    resolution to prevent ongoing harm, address fraud, and protect rights that are at risk. The pattern

                    of procedural abuses, fraud allegations, and substantive rights violations emphasize the urgency

                    of judicial intervention, as delayed resolution compounds harm to Dillon-Capps. Key instances

                    of judicial economy include:

                    574     Expedited Hearings to Minimize Ongoing Harm and Fraud Risks: In previous

                    rulings, Dillon-Capps has consistently argued that urgent hearings are needed to prevent further

                    harm and address fraud, ADA, and FMLA violations. Despite Plaintiffs procedural tactics to

                    delay accountability, judicial economy calls for a prompt resolution that addresses the serious

                    risks and repeated procedural abuses Dillon-Capps has endured. By prioritizing these issues, the

                    court not only protects Dillon-Capps but also limits unnecessary prolongation of a baseless

                    lawsuit.

                    575     Consolidated Rulings to Prevent Redundant Proceedings: Given the significant

                    overlap in Dillon-Capps's motions-addressing fraud, rights violations, and procedural abuses-

                    judicial economy supports consolidating these matters for a unified hearing and ruling.

                    Addressing the fraud claims, federal protections under ADA and FMLA, and procedural abuses




                                                                                                         Page 194 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 194 of329                     Exhibit 108
            Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25       Page 195 of 329




                   together would streamline the case, providing a single, comprehensive resolution that respects

                    Dillon-Capps' s rights and reduces procedural redundancies.

                    576     Addressing Core Issues to Protect Judicial Resources and Avoid Delays: Judicial

                    economy demands that core issues be addressed swiftly to prevent undue harm and conserve

                    resources. In this case, the court's ability to directly address fraud, collusion, and rights

                    violations mitigates ongoing risk to Dillon-Capps, while judicially economizing by resolving all

                    connected claims simultaneously. This approach avoids piecemeal litigation that prolongs

                    Dillon-Capps's harm and adds unnecessary complexity to the court' s docket.

                    577     Minimizing Delays Caused by Plaintifrs Procedural Abuses: Plaintiff and M&S have

                    repeatedly employed tactics that evade accountability, including a voluntary dismissal filed to

                    avoid scrutiny of procedural abuses and a no-notice TRO obtained without due process. Judicial

                    economy dictates that such tactics be promptly addressed to prevent further waste of judicial

                    resources and protect Dillon-Capps from undue harm. A decisive ruling on these issues would

                    prevent additional delays and safeguard Dillon-Capps' s rights from further procedural

                    exploitation.

                    578     By addressing these issues in line with judicial economy principles, the court can protect

                    Dillon-Capps from ongoing harm, prevent resource strain, and efficiently address the central

                    matters that have prolonged this case.

                    579     Judicial economy supports prompt and effective resolution of disputes, especially in cases

                    where procedural abuses, rights violations, and serious harm are at stake. In Dillon-Capps's case,

                    the principles of judicial economy demand a swift resolution that consolidates issues, addresses

                    core matters, and limits procedural delays caused by Plaintiffs and M&S' s tactics. By upholding


                                                                                                            Page 195 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 195 of 329                          Exhibit 108
             Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25      Page 196 of 329




                    judicial economy, Maryland courts can ensure that Dillon-Capps 's rights are protected, judicial

                    resources are preserved, and the integrity of judicial proceedings is maintained.


                              FF Rules of Evidence, Adjudication of Fact, and Conflicting Statements

                     1       Foundations of Evidence, Trier of Fact, and Conflicting Statements
                    580      In Maryland, the rules of evidence and principles of adjudication of fact are essential in

                    preserving the integrity of judicial findings. Maryland ' s common law, under Md. Code Ann.,

                    Cts. & Jud. Proc. §§ 10-501 and 10-503, alongside Md. Code Ann., Cts. & Jud. Proc. § 5-

                    401 (admissibility of evidence) and Md. Code Ann., Cts. & Jud. Proc. § 10-101 (authenticity

                    requirements), establishes that once a fact is adjudicated, it stands unless rebutted by clear,

                    credible evidence. The trier of fact is responsible for evaluating the credibility, consistency, and

                    reliability of submissions, and once a fact is adjudicated, it is presumed accurate unless a party

                    presents superior evidence.

                    581      When a party engages in dishonest conduct or pursues an illegitimate lawsuit by

                    submitting self-contradictory evidence or false statements, Maryland courts generally:

                             1.      View Conflicting Statements as Indicative of Dishonesty: Internal

                             contradictions in a party' s own evidence are presumed to lack credibility, and deliberate

                             inconsistencies are particularly damaging, suggesting an intent to mislead.

                             2.      Strengthen Opposing Claims in Light of Dishonest Conduct: When a party' s

                             contradictions expose attempts to manipulate judicial findings, the opposing party' s

                             claims are often viewed as bolstered by comparison, gaining credibility from the

                             contrasting reliability.




                                                                                                           Page l 96 of 329




Memorandum of Law in Support of Mandatory Hearing of Adj udicated Facts   Page # 196 of 329                     Exhibit 108
             Case 1:24-cv-03744-BAH               Document 16-10         Filed 01/03/25       Page 197 of 329




                              3.        Impose Sanctions for Abuse of Process and Malicious Prosecution: In cases

                              where a party knowingly pursues unsupported claims or contradicts material facts,

                              Maryland courts may sanction such conduct to prevent abuse of judicial resources and

                              deter future dishonest litigation.

                    582       Maryland law holds that factual findings are binding unless substantively challenged,

                    ensuring accountability for dishonesty and strengthening the credibility of the opposing party' s

                    claims.


                    2    Judicial Standards for Evaluating Evidence, Conflicting Statements, and Dishonest
                    Conduct
                    583       Maryland courts maintain standards to ensure that:

                              1.        Evidence is Credible, Consistent, and Substantiated: Submissions must avoid

                              internal contradictions, especially where dishonesty or manipulation appears to be the

                              intent.

                              2.        Conflicting Statements or Material Misrepresentations Are Penalized:

                              Maryland courts uphold the integrity of judicial findings by imposing sanctions when

                              evidence or statements indicate an intentional effort to mislead.

                              3.        Adjudicated Facts Favor the Opposing Party in Cases of Manipulation:

                              Where one party relies on dishonest conduct or procedural abuses, Maryland law

                              supports viewing the opposing party's claims as strengthened by the contrast in

                              reliability.

                    584       These standards safeguard judicial integrity and uphold the principles of fairness and

                    honesty within Maryland's legal system.



                                                                                                          Page 197 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 197 of 329                     Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25      Page 198 of 329




                    3       Mazyland Case Law
                            1.      Owens-Illinois, Inc. v. Armstrong, 326 Md. I 07, 604 A.2d 47 (1992): The

                            Maryland Court of Appeals reinforced that conclusions reached by the trier of fact are

                            presumed valid unless directly challenged by superior evidence. This case established

                            that contradictions or dishonest submissions reflect unreliability and may favor the

                            opposing party' s claims.

                            2.      Meyers v. Montgomery County Police Department, 96 Md. App. 668, 626

                            A.2d 1010 (1993): This case confinned that internal inconsistencies weaken credibility,

                            especially when they suggest dishonest conduct. Maryland courts may discount such

                            evidence or view the contradictions as strengthening the reliability of the opposing

                            party's case.

                            3.      Bradshaw v. Prince George's County, 284 Md. 294, 396 A.2d 255 (1979): The

                            Maryland Court of Appeals held that substantial contradictions within a party' s evidence

                            signal unreliability, and courts may impose consequences, including sanctions, for

                            dishonest submissions intended to mislead the court.


                    4       Cross-Argument Supporting Case Law
                    585     Klinck v. H & B Marine, Inc., 395 Md. 649, 91 I A.2d 500 (2006): This case held that

                    evidence must be consistent and credible to support factual findings. The Maryland Court of

                    Appeals stated that inconsistencies within a party's submissions compromise the integrity of their

                    claims, as conflicting evidence suggests unreliability. Courts have discretion to disregard

                    unreliable evidence, especially when contradictions appear deliberate.




                                                                                                        Page 198 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts   Page # 198 of 329                   Exhibit 108
            Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25      Page 199 of 329




                    586     Garrity v. Maryland State Board of Plumbing, 447 Md. 359, 135 A.3d 452 (2016):

                    The Maryland Court of Appeals emphasized that factual determinations by the trier of fact

                    should remain unchallenged unless contradicted by more persuasive evidence. The court also

                    recognized that persistent procedural irregularities by a party undermine judicial efficiency and

                    may constitute abuse of process, supporting sanctions if the conduct is intended to obstruct or

                    delay justice.

                    587     Hall v. State, 225 Md. App. 72, 123 A.3d 1004 (2015): This case confirmed that

                    contradictory or false statements submitted to the court can be grounds for sanctions and other

                    corrective actions. Maryland's Court of Special Appeals held that deliberate inconsistencies can

                    be considered attempts to mislead the court and are grounds for strengthening the opposing

                    party' s position, as courts rely on consistent, truthful submissions for accurate adjudication.

                    588     First Union National Bank v. Steele Software Systems Corp., 154 Md. App. 97, 838

                    A.2d 404 (2003): The Maryland Court of Special Appeals held that knowingly pursuing baseless

                    claims or making false statements can amount to ma! icious prosecution and abuse of process.

                    The court recognized that litigants who abuse procedural mechanisms for purposes unrelated to

                    legitimate legal claims are subject to sanctions, as such actions compromise the fairness and

                    efficiency of judicial proceedings.

                    589     KJupt v. Krongard, 126 Md. App. 179, 728 A.2d 727 (1999): This case established that

                    inconsistent or self-contradictory testimony submitted by a party weakens its claims, as

                    Maryland courts prioritize evidence that is consistent and reliable. The court ruled that parties

                    cannot expect favorable judgments when they attempt to manipulate the factual record with

                    conflicting statements, as such behavior constitutes abuse of the judicial process.


                                                                                                          Page 199 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 199 of329                     Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25      Page 200 of 329




                    590     Beery v. Maryland Medical Laboratory, Inc., 89 Md. App. 81,597 A.2d 516 (1991):

                    The Maryland Court of Special Appeals emphasized that false or misleading statements used to

                    justify procedural advantages, especially to delay or evade accountability, can justify the

                    imposition of sanctions and strengthen the opposing party's claims. The court held that such

                    conduct undermines the judicial system and imposes unnecessary burdens on the court,

                    warranting sanctions and, in some cases, dismissal.

                    591     Needle v. White, 81 Md. App. 463, 568 A.2d 856 (1990): This case confirmed that

                    engaging in a lawsuit without legitimate purpose or presenting conflicting statements to prolong

                    litigation constitutes malicious prosecution. The court ruled that sanctions, including

                    disqualification, may be imposed to protect judicial resources and deter parties from abusing the

                    judicial process.

                    592     Imperial v. Drapeau, 351 Md. 38, 716 A.2d 244 (1998): The Maryland Court of

                    Appeals held that any inconsistency in a party' s submissions that suggests dishonesty or intent to

                    deceive the court warrants careful scrutiny. Such conduct, when intentional, not only undermines

                    the offending party' s claims but also may strengthen the opposing party's position, as Maryland

                    law favors credible and straightforward litigation practices to ensure fairness.


                    5      Application to Rules of Evidence, Conflicting Statements, and Judicial Discretion
                    in Dillon-Capps' Case
                    593     In Dillon-Capps' s case, the Plaintiffs reliance on conflicting evidence, combined with

                    procedural tactics that conceal or contradict material facts, reveals a pattern of dishonesty and

                    abuse of judicial resources. Plaintiffs actions, supported by Judge Barranco' s rulings that

                    dismissed key evidence and prevented cross-examination, demonstrate a calculated attempt to



                                                                                                         Page 200 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 200 of329                    Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25        Page 201 of 329




                     subvert factual findings, support an illegitimate lawsuit, and evade accountability. Key instances

                     include:

                             1.      Admissions of FMLA Violations Contradicted by Denials: Plaintiffs counsel

                             admitted in open court that Plaintiff violated Dillon-Capps' s FMLA rights. Despite this

                             admission, subsequent filings by Plaintiff denied liability under FMLA, revealing a direct

                             contradiction. Maryland' s standards require such conflicts to be reconciled or dismissed,

                             as they indicate an intent to mislead the court and shield Plaintiff from liability. These

                             contradictions enhance Dillon-Capps's FMLA claims, supporting allegations of abuse of

                             process and malicious prosecution.

                            2.       False Statements on Procedural and Substantive Compliance: Plaintiff and

                             M&S submitted affidavits alleging Dillon-Capps' s procedural non-compliance, while

                            records show Plaintiff delayed responses and failed to adhere to procedural obligations.

                            This internal contradiction undermines Plaintiffs credibility, suggesting that Plaintiffs

                            and M&S 's reliance on these statements was intended to obstruct justice and portray

                            Dillon-Capps negatively. Maryland courts recognize that such conduct supports

                            allegations of sanctionable abuse of process, disqualification, and malicious prosecution,

                            further validating Dillon-Capps' s arguments.

                            3.      Judicial Discretion Exceeded to Support Plaintifrs Misrepresentations: Judge

                            Barranco' s refusal to consider ADA and FMLA evidence, despite Plaintiffs admission of

                            violating FMLA, reflects a misuse of discretion that favors Plaintiffs procedural abuses.

                            Such discretionary overreach, when combined with Plaintiffs conflicting statements,

                            suggests judicial bias or manipulation, aligning with Dillon-Capps' s claims that Plaintiff


                                                                                                           Page 201 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 20 I of 329                    Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25       Page 202 of 329




                            and M&S manipulated judicial processes to evade accountability. These actions

                            cumulatively support Dillon-Capps's claims of malicious prosecution, as they indicate a

                            pattern of conduct that misused judicial authority for improper purposes.

                            4.      Strengthening of Defendant's Claims Through Plaintifrs Misconduct:

                            Plaintiffs reliance on favorable but procedurally flawed rulings to defend against Dillon-

                            Capps's counterclaims further supports allegations of sanctionable conduct. Judge

                            Barranco' s "moot" ruling after issuing discriminatory comments against Dillon-Capps

                            reinforces the impression of bias. Maryland law supports the conclusion that Plaintiffs

                            reliance on procedurally improper rulings to justify their claims strengthens Dillon-

                            Capps' s assertions of abuse of process and warrants sanctions.

                            5.      Procedural Evasions as Evidence of Malicious Prosecution: Plaintiffs

                            tactics-including misuse of hyperlinks to non-court records, reliance on a no-notice

                            TRO, and false statements to secure contempt orders- demonstrate procedural evasion

                            that conflicts with Maryland's evidentiary standards. Md. Code Ann., Cts. & Jud. Proc.

                            § 5-401 prohibits such practices, especially where hyperlinks are used to reference

                            external, inadmissible evidence. Plaintiffs procedural tactics align with Dillon-Capps' s

                            claims of malicious prosecution, as they demonstrate a calculated abuse of process

                            intended to mislead the court.

                            6.      Rulings Supporting Plaintifrs Conflicting Evidence and Evasive Tactics:

                            Plaintiff's reliance on Judge Barranco's discriminatory remarks and subsequent " moot"

                            ruling reflects an ongoing misuse of judicial discretion to delay substantive findings.

                            Maryland's standards view reliance on flawed rulings to justify an otherwise illegitimate


                                                                                                         Page 202 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts   Page# 202 of329                      Exhibit 108
               Case 1:24-cv-03744-BAH            Document 16-10          Filed 01/03/25        Page 203 of 329

  r_      I-




                              case as evidence of abuse of process, supporting disqualification and sanctions against

                              Plaintiff and M&S for pursuing unsupported claims with dishonest intent.

                    594       Maryland ' s evidentiary standards, when applied to Dillon-Capps's case, reveal Plaintiffs

                    reliance on contradictory evidence, procedural misrepresentations, and rulings that exceeded

                    judicial discretion. The pattern of dishonest submissions directly supports Dillon-Capps' s claims

                    of malicious prosecution, abuse of process, and sanctionable conduct by Plaintiff and M&S. The

                    cumulative impact of these contradictions and evasions strengthens Dillon-Capps' s position, as

                    Maryland courts require parties to present credible, consistent evidence to sustain legitimate

                    claims.

                    595       Maryland ' s rules of evidence and principles of factual adjudication uphold that once a

                    fact is adjudicated, it stands unless convincingly rebutted with consistent, credible evidence. In

                    Dillon-Capps' s case, Plaintiffs reliance on contradictory admissions, evasive procedural tactics,

                    and rulings exceeding judicial discretion reflect a calculated effort to pursue an illegitimate

                    lawsuit. These actions violate Maryland ' s evidentiary standards, support Dillon-Capps 's claims

                    of malicious prosecution and abuse of process, and warrant sanctions and disqualification to

                    restore judicial integrity and prevent further abuse.


                                        GG Judicial Referral for Criminal and Ethical Violations

                    I         Foundations of Judicial Referral for Criminal and Ethical Violations
                    596       Maryland law empowers courts to uphold the ethical standards of the legal profession and

                    to refer instances of misconduct that undermine judicial integrity. The Maryland statutes under

                    Md. Code Ann., Business Occupations & Professions§ 10-306 and Maryland Rules 19-

                    303.3 and 19-308.3 establish that attorneys have a duty to the court, opposing parties, and the

                                                                                                          Page 203 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts      Page # 203 of329                   Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25        Page 204 of 329




                    public to uphold honesty and candor in all proceedings. These statutes align with the principles

                    embedded in Md. Code Ann., Cts. & Jud. Proc.§§ 10-501 and 10-503, which authorize

                    Maryland courts to incorporate equitable doctrines from common law, including the inherent

                    power to report and address violations that compromise justice.

                    597     The foundation of judicial referral includes:

                             1.     Duty to Report Ethical Violations: Maryland attorneys are required to report

                            significant violations of the rules of professional conduct under Rule 19-308.3, ensuring

                            that breaches of integrity do not go unchecked.

                            2.      Court's Inherent Power to Protect Integrity: Maryland courts have an inherent

                            power to safeguard the integrity of the judicial system, which includes referring matters

                            involving deceit, perjury, or fraud for criminal or ethical investigation.

                            3.      Prohibition of Misrepresentation and Deceit: Attorneys are strictly prohibited

                            from making false representations or misleading the court under§ 10-306 and Rule 19-

                            303.3, which mandates candor toward the tribunal.

                    598     This foundation ensures that Maryland courts can respond decisively to protect judicial

                    integrity, deter abuse, and uphold public trust in the judicial process.


                    2       Judicial Standards for Referral and Addressing Ethical Violations
                    599     Maryland courts assess criminal and ethical referral requirements by examining:

                            1.      Materiality of the Misconduct: Courts refer violations where the conduct has

                            materially impacted judicial fairness or credibility.

                            2.      Intent and Repetition of Violations: Referral is appropriate where misconduct

                            demonstrates intentional deceit, especially if it constitutes a pattern of unethical behavior.


                                                                                                          Page 204 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 204 of329                      Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25       Page 205 of 329




                            3.      Effect on Judicial Proceedings and Public Trust: Courts consider whether the

                            misconduct has undermined public confidence or judicial efficiency, making referral

                            necessary to restore integrity.

                    600     These standards help Maryland courts determine when to refer violations to uphold

                    fairness, honesty, and accountability in legal proceedings.


                    3       Mazyland Case Law
                            1.      Attorney Grievance Commission of Maryland v. Blair, 440 Md. 387, I 02 A.3d

                            786 (2014): The Maryland Court of Appeals held that attorneys are obligated to uphold

                            candor toward the tribunal, and significant breaches of this duty warrant disciplinary

                            actions, including referral for ethical violations. The court emphasized that

                            misrepresentations are grounds for referral to maintain judicial integrity.

                            2.      Attorney Grievance Commission of Maryland v. Harris, 403 Md. 142, 939

                            A.2d 732 (2008): The court reaffirmed that attorneys who intentionally mislead or

                            deceive the court undermine the legal process and are subject to referral for disciplinary

                            action. The court underscored the responsibility of the judiciary to protect public trust by

                            addressing ethical violations.

                            3.      In re Application of Kimmer, 392 Md. 251 , 896 A.2d I 006 (2006): The

                            Maryland Court of Appeals confirmed the court' s inherent authority to refer matters

                            involving professional misconduct to the appropriate bodies, establishing that courts have

                            both statutory and inherent powers to uphold the integrity of the legal profession.




                                                                                                            Page 205 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 205 of 329                     Exhibit 108
            Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25      Page 206 of 329




                    4       Application to Judicial Referral in Dillon-Capps' s Case
                    601     In Dillon-Capps's case, the actions of Plaintiffs counsel, Miles & Stockbridge (M&S),

                    involve repeated instances of misrepresentation, procedural abuse, and behavior intended to

                    mislead the court, all of which meet Maryland' s standards for ethical referral. The cumulative

                    effect of these actions has harmed judicial proceedings and undermined the fairness of the

                    litigation, making judicial referral not only justified but necessary to protect public confidence.

                    Key examples supporting referral include:

                            I.      Intentional Misrepresentation and Misleading Statements: M&S submitted

                            contradictory affidavits and procedural filings that contradict Plaintiffs admissions

                            regarding FMLA violations. These misrepresentations, compounded by M&S' s

                            submission of misleading affidavits and procedural statements, demonstrate a repeated

                            pattern of unethical behavior that Maryland law views as referral-worthy. Rule 19-303.3

                            requires attorneys to be candid with the court, and M&S' s actions have clearly breached

                            this duty, warranting referral to protect judicial integrity.

                            2.      Pattern of Procedural Abuse with Intent to Mislead: M&S secured a no-notice

                            TRO and a contempt hearing on a two-day notice, circumventing normal procedural

                            protections and denying Dillon-Capps due process. Md. Rules, Rule 19-308.3 mandates

                            reporting of ethical violations, and the court's reliance on M&S' s misrepresentations

                            directly impacted the fairness of the proceedings. The abuse of procedural rules to secure

                            undue advantage underscores the necessity of referral, as it exemplifies bad faith and

                            obstruction of justice.




                                                                                                          Page 206 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts     Page# 206 of329                     Exhibit 108
              Case 1:24-cv-03744-BAH             Document 16-10          Filed 01/03/25       Page 207 of 329

  t,      I




                            3.      Failure to Address or Correct Misrepresentations and False Statements:

                            Despite Dillon-Capps' s repeated objections, M&S failed to correct misleading

                            statements, such as hyperlinking to external, non-record materials and filing affidavits

                            that contradict Plaintiffs known actions. The refusal to address contradictions is itself an

                            ethical breach, and the consistent misrepresentations show that referral is essential to hold

                            M&S accountable and to ensure such abuses are not repeated.

                            4.      Impact on Judicial Integrity and Public Trust: The ongoing effect of M&S's

                            actions on judicial integrity and public trust is profound. The law firm ' s procedural

                            abuses, coupled with misleading statements and uncorrected misrepresentations, indicate

                            an intent to evade judicial accountability and mislead the court. Referral in this context is

                            vital to prevent further harm, restore confidence, and demonstrate that the judiciary will

                            not condone unethical practices.

                    602     The cumulative conduct by M&S, including procedural evasions, misrepresentations, and

                    refusal to correct known falsehoods, aligns with Maryland' s standards for ethical and criminal

                    referral. Such referral not only upholds the integrity of the judiciary but also acts as a deterrent to

                    prevent similar misconduct in future cases.

                    603     Maryland' s statutes and ethical rules require attorneys to maintain honesty and

                    transparency, with violations warranting referral to uphold judicial integrity. In Dillon-Capps' s

                    case, M&S' s repeated misrepresentations, procedural abuses, and failures to correct material

                    falsehoods directly undermine the principles of fairness, honesty, and accountability central to

                    Maryland' s legal system. Judicial referral of M&S' s conduct is necessary to address ethical and




                                                                                                           Page 207 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 207 of 329                     Exhibit 108
            Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25      Page 208 of 329




                    potentially criminal violations, protect public confidence, and deter further abuse of the legal

                    process.


                                        HH Preservation of Claims for Separate Adjudication

                    1       Foundations of Judicial Referral for Criminal and Ethical Violations
                    604     Maryland law empowers courts to uphold the ethical standards of the legal profession and

                    to refer instances of misconduct that undermine judicial integrity. The Maryland statutes under

                    Md. Code Ann., Business Occupations & Professions§ 10-306 and Maryland Rules 19-

                    303.3 and 19-308.3 establish that attorneys have a duty to the court, opposing parties, and the

                    public to uphold honesty and candor in all proceedings. These statutes align with the principles

                    embedded in Md. Code Ann., Cts. & Jud. Proc.§§ 10-501 and 10-503, which authorize

                    Maryland courts to incorporate equitable doctrines from common law, including the inherent

                    power to report and address violations that compromise justice.

                    605     The foundation of judicial referral includes:

                            1.      Duty to Report Ethical Violations: Maryland attorneys are required to report

                            significant violations of the rules of professional conduct under Rule 19-308.3, ensuring

                            that breaches of integrity do not go unchecked.

                            2.      Court's Inherent Power to Protect Integrity: Maryland courts have an inherent

                            power to safeguard the integrity of the judicial system, which includes referring matters

                            involving deceit, perjury, or fraud for criminal or ethical investigation.

                            3.      Prohibition of Misrepresentation and Deceit: Attorneys are strictly prohibited

                            from making false representations or misleading the court under§ 10-306 and Rule 19-

                            303.3, which mandates candor toward the tribunal.

                                                                                                         Page 208 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 208 of 329                    Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25        Page 209 of 329




                    606     This foundation ensures that Maryland courts can respond decisively to protect judicial

                    integrity, deter abuse, and uphold public trust in the judicial process.


                    2       Judicial Standards for Referral and Addressing Ethical Violations
                    607     Maryland courts assess criminal and ethical referral requirements by examining:

                             1.      Materiality of the Misconduct: Courts refer violations where the conduct has

                            materially impacted judicial fairness or credibility.

                            2.       Intent and Repetition of Violations: Referral is appropriate where misconduct

                            demonstrates intentional deceit, especially if it constitutes a pattern of unethical behavior.

                            3.       Effect on Judicial Proceedings and Public Trust: Courts consider whether the

                            misconduct has undermined public confidence or judicial efficiency, making referral

                            necessary to restore integrity.

                    608     These standards help Maryland courts determine when to refer violations to uphold

                    fairness, honesty, and accountability in legal proceedings.

                    3       Maryland Case Law
                    609     Attorney Grievance Commission of Maryland v. Blair, 440 Md. 387, 102 A.3d 786

                    (2014): The Maryland Court of Appeals held that attorneys are obligated to uphold candor

                    toward the tribunal, and significant breaches of this duty warrant disciplinary actions, including

                    referral for ethical violations. The court emphasized that misrepresentations are grounds for

                    referral to maintain judicial integrity.

                    610     Attorney Grievance Commission of Maryland v. Harris, 403 Md. 142, 939 A.2d 732

                    (2008): The court reaffirmed that attorneys who intentionally mislead or deceive the court

                    undermine the legal process and are subject to referral for disciplinary action. The court


                                                                                                          Page 209 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts   Page # 209 of329                      Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25      Page 210 of 329




                    underscored the responsibility of the judiciary to protect public trust by addressing ethical

                    violations.

                    611     In re Application of Kimmer, 392 Md. 251 , 896 A.2d 1006 (2006): The Maryland

                    Court of Appeals confirmed the court' s inherent authority to refer matters involving professional

                    misconduct to the appropriate bodies, establishing that courts have both statutory and inherent

                    powers to uphold the integrity of the legal profession.


                    4       Application to Judicial Referral in Dillon-Capps's Case
                    612     In Dillon-Capps' s case, the actions of Plaintiffs counsel, Miles & Stockbridge (M&S),

                    involve repeated instances of misrepresentation, procedural abuse, and behavior intended to

                    mislead the court, all of which meet Maryland' s standards for ethical referral. The cumulative

                    effect of these actions has harmed judicial proceedings and undermined the fairness of the

                    litigation, making judicial referral not only justified but necessary to protect public confidence.

                    Key examples supporting referral include:

                             I.     Intentional Misrepresentation and Misleading Statements: M&S submitted

                            contradictory affidavits and procedural filings that contradict Plaintiffs admissions

                            regarding FMLA violations. These misrepresentations, compounded by M&S' s

                            submission of misleading affidavits and procedural statements, demonstrate a repeated

                            pattern of unethical behavior that Maryland law views as referral-worthy. Rule 19-303.3

                            requires attorneys to be candid with the court, and M&S's actions have clearly breached

                            this duty, warranting referral to protect judicial integrity.

                            2.      Pattern of Procedural Abuse with Intent to Mislead: M&S secured a no-notice

                            TRO and a contempt hearing on a two-day notice, circumventing normal procedural


                                                                                                          Page 2 IO of329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 210 of329                    Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25       Page 211 of 329




                            protections and denying Dillon-Capps due process. Md. Rules, Rule 19-308.3 mandates

                            reporting of ethical violations, and the court's reliance on M&S ' s misrepresentations

                            directly impacted the fairness of the proceedings. The abuse of procedural rules to secure

                            undue advantage underscores the necessity ofreferral, as it exemplifies bad faith and

                            obstruction of justice.

                            3.       Failure to Address or Correct Misrepresentations and False Statements:

                            Despite Dillon-Capps' s repeated objections, M&S failed to correct mi sleading

                            statements, such as hyperlinking to external, non-record materials and filing affidavits

                            that contradict Plaintiffs known actions. The refusal to address contradictions is itself an

                            ethical breach, and the consistent misrepresentations show that referral is essential to hold

                            M&S accountable and to ensure such abuses are not repeated.

                            4.      Impact on Judicial Integrity and Public Trust: The ongoing effect of M&S ' s

                            actions on judicial integrity and public trust is profound. The law finn ' s procedural

                            abuses, coupled with misleading statements and uncorrected misrepresentations, indicate

                            an intent to evade judicial accountability and mislead the court. Referral in this context is

                            vital to prevent further hann, restore confidence, and demonstrate that the judiciary will

                            not condone unethical practices.

                    613     The cumulative conduct by M&S, including procedural evasions, misrepresentations, and

                    refusal to correct known falsehoods, aligns with Maryland' s standards for ethical and criminal

                    referral. Such referral not only upholds the integrity of the judiciary but also acts as a deterrent to

                    prevent similar misconduct in future cases.




                                                                                                           Page 211 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 2 11 of 329                     Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25          Page 212 of 329




                    614     Maryland's statutes and ethical rules require attorneys to maintain honesty and

                    transparency, with violations warranting referral to uphold judicial integrity. In Dillon-Capps's

                    case, M&S' s repeated misrepresentations, procedural abuses, and failures to correct material

                    falsehoods directly undermine the principles of fairness, honesty, and accountability central to

                    Maryland' s legal system. Judicial referral of M&S 's conduct is necessary to address ethical and

                    potentially criminal violations, protect public confidence, and deter further abuse of the legal

                    process.


                                     II Expedited Rulings and Hearings to Prevent Further Harm

                    1       Foundations of Expedited Rulings and Hearings
                    615     Maryland law provides for expedited rulings and hearings to protect parties from ongoing

                    harm, particularly when a delay risks worsening harm, fraud, or procedural abuses. Md. Code

                    Ann., Cts. & Jud. Proc.§§ 10-501 and 10-503 empower Maryland courts to apply common law

                    principles, including equitable doctrines that prioritize efficient case management in urgent

                    matters. This aligns with the principle of judicial economy, where courts expedite proceedings to

                    minimize risk and ensure prompt relief.

                    616     Key statutes and rules supporting expedited rulings include:

                            1.      Md. Code Ann., Cts. & Jud. Proc. § 3-409(1): Grants courts discretion to

                            prioritize declaratory judgments in cases where delays could result in substantial harm or

                            unresolved issues that affect parties' rights.

                            2.      Md. Rules, Rule 2-532.1 (Emergency Relief): Allows Maryland courts to

                            expedite the consideration of motions where prompt judicial intervention is necessary to

                            prevent harm or address urgent matters.

                                                                                                          Page 212 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts       Page # 212 of 329                Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25     Page 213 of 329




                             3.      Common Law Principles of Judicial Economy and Equitable Relief:

                             Maryland courts adopt principles from English common law emphasizing that expediting

                             proceedings is appropriate when immediate intervention is necessary to prevent harm,

                            protect rights, and conserve judicial resources.

                    6 I7    These foundations underscore Maryland courts' commitment to preventing further harm,

                    particularly in cases involving fraud, illegitimate claims, or procedural abuses that risk ongoing

                    damage.


                    2       Judicial Standards for Expedited Hearings and Emergency Rulings
                    618     Maryland courts determine the need for expedited hearings by evaluating:

                             I.      Urgency of Preventing Harm: Courts consider if delays could lead to irreparable

                            harm, particularly in cases where harm is ongoing or worsening.

                            2.      Likelihood of Procedural or Substantive Abuses: Expedited hearings are

                            warranted when delays could allow parties to exploit procedural loopholes or evade

                            accountability, particularly in fraudulent cases.

                            3.      Necessity for Immediate Relief to Protect Rights: Courts assess whether

                            prompt action is essential to uphold the rights of one party, preventing an undue

                            advantage to the opposing party.

                    6 I9    These standards ensure that Maryland courts prioritize cases involving urgent issues,

                    protecting litigants from prolonged harm and reducing risks associated with procedural delays.

                    3       Maryland Case Law
                    620     E. L. Gardner, Inc. v. First State Bank, 245 Md. 538, 226 A.2d 723 (1967): The

                    Maryland Court of Appeals affirmed that courts should expedite hearings in cases involving the


                                                                                                        Page 213 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts   Page# 213 of329                     Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25      Page 214 of 329




                     potential for irreparable harm. This case established that swift judicial intervention is necessary

                    to prevent undue harm to parties when harm would worsen without immediate action.

                    621     King v. Bankerd, 303 Md. 98, 492 A.2d 608 (1985): Maryland's highest court held that

                    expedited rulings are justified where procedural or substantive abuses risk harm to a party's

                    rights. The court emphasized that prompt relief preserves fairness and prevents one party from

                    gaining an undue advantage through procedural delays.

                    622     Harbor Island Marina, Inc. v. Calvert County, 286 Md. 303, 407 A.2d 738 (1979):

                    The court ruled that judicial efficiency requires expedited proceedings in cases where delays risk

                    further harm or where prompt rulings would prevent unnecessary litigation. Maryland courts

                    recognize that judicial economy supports expediting hearings to address urgent or ongoing harm.


                    4       Application to Expedited Rulings and Hearings in Dillon-Capps' s Case
                    623     In Dillon-Capps' s case, expedited rulings and hearings are essential to mitigate the

                    ongoing harm and procedural abuses initiated by Plaintiff and counsel, Miles & Stockbridge

                    (M&S). Maryland's standards strongly support expedited resolution in cases involving

                    illegitimate claims and procedural abuses, as delay only intensifies the harm Dillon-Capps faces.

                    Specific points include:

                            I.      Ongoing Financial, Reputational, and Physical Harm: The Plaintiff's

                            persistent procedural abuses, including contradictory statements and illegitimate claims,

                            have inflicted ongoing financial and reputational harm on Dillon-Capps. Maryland ' s

                            standards in E. L. Gardner, Inc. v. First State Bank support expedited relief to prevent

                            further harm, especially where fraudulent or malicious actions compound existing

                            damage.


                                                                                                          Page 214 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts   Page # 214 of329                      Exh ibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25    Page 215 of 329




                            2.       Risk of Procedural Manipulation by Plaintiff: .Plaintiff and M&S have

                            repeatedly exploited procedural delays to avoid accountability and prolong harm,

                            including filing a voluntary dismissal notice to evade a hearing and avoiding timely

                            responses to counterclaims. This pattern aligns with Maryland' s standards in King v.

                            Bankerd, where expedited hearings were deemed necessary to prevent procedural abuses

                            and uphold fairness. Expedited hearings would prevent Plaintiff from further delaying

                            justice and would ensure a prompt review of the abuses.

                            3.      Immediate Relief Required to Protect Federal and State Rights: Dillon-

                            Capps's ADA, FMLA, and due process rights have been directly threatened by Plaintiffs

                            actions and by procedural rulings that dismissed these claims as " immaterial." Harbor

                            Island Marina, Inc. v. Calvert County affirms that expedited hearings are warranted

                            where delays compromise fundamental rights. In this case, prompt intervention is

                            necessary to safeguard Dillon-Capps's rights, ensure that ADA and FMLA protections

                            are respected, and prevent further harm from the Plaintiffs procedural tactics.

                            4.      Judicial Economy in Resolving Ongoing Issues Efficiently: Given the

                            extensive pattern of procedural abuses by Plaintiff and M&S, judicial economy supports

                            expedited hearings to streamline proceedings and prevent unnecessary litigation.

                            Maryland 's common law principles on judicial economy, as supported by Harbor Island

                            Marina, dictate that courts prioritize cases involving ongoing harm to reduce judicial

                            workload and provide prompt resolution. Expedited rulings would efficiently address all

                            unresolved issues, including those related to fraud, misrepresentation, and abuse of

                            process.


                                                                                                        Page 215 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts   Page# 215 of329                      Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25     Page 216 of 329




                    624     Maryland' s statutory and case law support expedited rulings in Dillon-Capps' s case to

                    prevent ongoing harm, procedural manipulation, and the violation of Dillon-Capps' s federal and

                    state rights. Expedited hearings would serve the interests of justice, protect Dillon-Capps from

                    continued abuse, and restore fairness to the proceedings.

                    625     Maryland law, rooted in statutory and common law principles, provides a strong

                    foundation for expedited rulings and hearings to prevent further harm, particularly in cases

                    involving fraud or procedural abuses. In Dillon-Capps's case, expedited hearings are essential to

                    prevent ongoing harm, procedural manipulation, and threats to Dillon-Capps' s rights.

                    Maryland ' s judicial standards support prompt intervention to protect fairness, preserve judicial

                    efficiency, and ensure that Dillon-Capps' s legitimate claims receive timely and comprehensive

                    consideration.


                                               JJ Judicial Correction of the Court Record

                    1       Foundations of Judicial Correction of the Court Record
                    626     Maryland law establishes the authority of courts to correct or revise the judicial record,

                    particularly when errors, procedural violations, or evidence of fraud undermine prior rulings.

                    Statutory provisions under Md. Code Ann., Cts. & Jud. Proc.§§ 10-501 and 10-503

                    incorporate principles from English common law, granting Maryland courts the authority to

                    protect the accuracy and integrity of the court record. Additionally, Md. Rules, Rule 2-535 and

                    Md. Code Ann., Cts. & Jud. Proc.§ 6-408 enable courts to revise, vacate, or correct prior

                    judgments to address mistakes or fraud.

                    627     Key statutes and common law principles supporting judicial correction include:




                                                                                                         Page 216 of329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts   Page # 216 of329                     Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25       Page 217 of 329




                             1.      Md. Rules, Rule 2-535 (Revisory Power): Allows courts to revise judgments to

                             correct errors, address fraud, or prevent injustice.

                             2.      Md. Code Ann., Cts. & Jud. Proc. § 6-408: Grants courts authority to modify

                             the record to reflect accurate findings, especially if a prior ruling was influenced by

                             procedural missteps or fraudulent conduct.

                             3.      Common Law Duty to Preserve Judicial Integrity: English common law,

                             incorporated by Maryland, supports a court's inherent power to amend records tainted by

                             fraud, error, or abuse to prevent judicial misuse and maintain an accurate account of

                            proceedings.

                    628     These foundations empower Maryland courts to revise prior judgments, ensuring that the

                    court record reflects truth and fairness without erasing evidence of procedural or ethical

                    violations that may inform future litigation.


                    2       Judicial Standards for Correctin~ the Court Record

                            I.      Maryland courts correct the judicial record by evaluating:
                            2.      Materiality of Errors or Fraud: Courts consider whether errors or fraud

                            materially affected prior rulings, warranting correction to prevent further injustice.

                            3.      Impact on Rights and Due Process: Corrections are prioritized when errors have

                            compromised a party' s procedural or substantive rights, particularly if these errors

                            resulted from misrepresentations or procedural abuse.

                            4.      Balance of Judicial Integrity and Transparency: Courts ensure that records

                            corrected for accuracy do not omit or obscure evidence of misconduct, preserving




                                                                                                           Page 217 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 217 of329                       Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25        Page 218 of 329




                            documentation of any wrongdoing for accountability purposes in related or future

                            1itigation.

                    629     These standards guide Maryland courts in revising records without compromising

                    transparency, safeguarding both accuracy and accountability within the judicial process.


                    3       Mazyland Case Law
                    630     Platt v. Platt, 302 Md. 9, 485 A.2d 250 (1984): The Maryland Court of Appeals held that

                    courts have inherent authority to correct their own records when errors or omissions affect the

                    validity of prior rulings. This case established that judicial revision protects parties' rights to fair

                    treatment and ensures the record' s accuracy.

                    631     Tandra S. v. Tyrone W., 336 Md. 303, 648 A.2d 439 (1994): The Maryland Court of

                    Appeals ruled that courts may vacate or correct judgments when material errors or procedural

                    violations have undermined the fairness of prior decisions. The court emphasized that correction

                    is essential to uphold the integrity ofjudicial proceedings.

                    632     Sieck v. Sieck, 66 Md. App. 37, 502 A.2d 528 (1986) : The court confirmed that revisory

                    power under Rule 2-535 allows Maryland courts to correct records tainted by fraud or

                    misrepresentation. Judicial integrity mandates that errors affecting substantive outcomes be

                    corrected, even if those corrections highlight prior procedural abuse or ethical violations.


                    4       A1,1plication to Judicial Correction of the Court Record in Dillon-Ca:tms' s Case
                    633     In Dillon-Capps' s case, judicial correction of the court record is crucial to address the

                    harm caused by Plaintiffs procedural abuses, misrepresentations, and rulings exceeding judicial

                    discretion. Maryland' s standards support revising prior rulings to correct errors, vacate unjust




                                                                                                            Page 218 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 218 of329                       Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25      Page 219 of 329




                    orders, and retain evidence of procedural abuses that inform Dillon-Capps' s defense and related

                    claims. Key aspects include:

                             I.      Revisory Power to Address Errors from Misleading and Contradictory

                            Statements: Plaintiffs and M&S' s submissions included numerous contradictions,

                            procedural abuses, and misrepresentations that tainted the integrity of the court' s prior

                            rulings, such as the no-notice TRO and contempt orders. Under Platt v. Platt and Rule 2-

                            535, the court has the authority to vacate these rulings to protect Dillon-Capps from

                            ongoing harm caused by errors influenced by fraudulent or unethical conduct.

                            2.      Correction of Rulings Exceeding Judicial Discretion and Misrepresentations:

                            Judge Barranco's rulings, including those issuing $2,500 per day fines and conflicting

                            contempt orders, disregarded Dillon-Capps's ADA and FMLA rights despite Plaintiffs

                            own admissions of FMLA violations. Maryland's Tandra S. v. Tyrone W. precedent

                            supports correction to ensure due process and remove unjust orders that penalize Dillon-

                            Capps unfairly. Correction of these rulings would rectify previous overreaches and

                            prevent further injustice.

                            3.      Transparency and Accountability in Preserving Evidence of Misconduct:

                            Correcting the record should retain evidence of prior procedural and ethical violations by

                            Plaintiff and M&S, as this documentation is integral to Dillon-Capps's claims of abuse of

                            process, malicious prosecution, and fraud upon the court. Under Sieck v. Sieck, Maryland

                            courts recognize that revising judgments for accuracy does not equate to omitting

                            evidence of misconduct. Correcting prior rulings without erasing instances of procedural

                            abuse preserves the integrity of the record for related claims and future proceedings.


                                                                                                          Page 219 of329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts   Page# 219 of329                       Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25       Page 220 of 329




                            4.       Protecting Dillon-Capps's Rights and Due Process: The cumulative procedural

                            abuses and misrepresentations in this case have compromised Dillon-Capps' s right to a

                             fair defense and due process. Judicial correction, consistent with Maryland ' s revisory

                            power under Rule 2-535, allows the court to correct rulings that were influenced by

                            procedural errors or deceptive practices. Ensuring an accurate record upholds Dillon-

                            Capps' s rights, reduces harm, and affirms the court's commitment to maintaining fair

                            proceedings.

                    634     Maryland's revisory power and judicial precedents support correcting the record in

                    Dillon-Capps's case to address rulings influenced by misrepresentation, procedural abuse, and

                    rulings that exceeded judicial discretion. These corrections would restore fairness to the

                    proceedings, prevent further harm to Dillon-Capps, and preserve evidence of misconduct critical

                    to related and future claims.

                    635     Maryland law, grounded in statutory and common law authority, provides a clear

                    foundation for judicial correction of the court record when errors, procedural abuses, or

                    fraudulent conduct have tainted prior rulings. In Dillon-Capps' s case, the court' s revisory power

                    is essential to correct errors, vacate unjust orders, and ensure that the record accurately reflects

                    the substance of procedural violations without omitting evidence of prior misconduct. Correcting

                    the record in this context upholds judicial integrity, protects Dillon-Capps' s rights, and maintains

                    accountability within the judicial process.


                                      KK. Ruling in Favor or the Partx with a Legitimate Claim




                                                                                                           Page 220 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts   Page# 220 of 329                       Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25        Page 221 of 329




                    1       Foundations for Ruling in Favor of the Legitimate Claim in Maryland Law
                    636     Maryland law emphasizes the court' s obligation to rule in favor of parties presenting

                    credible and legitimate claims, particularly where one party' s conduct demonstrates bad faith ,

                    abuse of process, or failure to substantiate their assertions. Md. Code Ann., Cts. & Jud. Proc.

                    §§ 10-501 and 10-503 incorporate principles of common law equity, mandating fairness and

                    integrity in adjudication. The common law doctrine of unclean hands prevents a party from

                    obtaining relief if they have engaged in unethical behavior that undermines the justice process,

                    reinforcing the principle that courts should favor legitimate claims over procedurally or

                    substantively abusive conduct.

                    637     Key statutes and doctrines supporting rulings favoring legitimate claims include:

                            1.      Md. Code Ann., Cts. & Jud. Proc.§ 3-409(e): Pennits courts to declare rights

                            and resolve claims in favor of the party with a substantiated and legitimate position,

                            particularly in cases involving declaratory or equitable relief.

                            2.      Common Law Principle of "Clean Hands": Maryland courts consistently apply

                            the doctrine of unclean hands, denying relief to parties acting unethically or deceitfully.

                            This principle supports rulings favoring the legitimate claims of the party who has acted

                            in good faith.

                            3.      Md. Rules, Rule 1-201 (Construction of Rules): Requires that court rules be

                            interpreted to secure fairness, enabling courts to prioritize legitimate claims over those

                            brought in bad faith or without factual or legal basis.

                    638     These foundations guide Maryland courts to favor parties with legitimate, credible

                    claims, particularly when one party has demonstrated procedural abuses or fraudulent intent.


                                                                                                          Page 221 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 221 of 329                    Exhibit 108
            Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25       Page 222 of 329




                    2       Judicial Standards for Ruling in Favor of a Legitimate Claim
                    639     Maryland courts evaluate the legitimacy of claims by assessing:

                            I.      Credibility and Good Faith of the Claimant: Courts favor claims where the

                            claimant demonstrates integrity, consistency, and adherence to legal standards.

                            2.      Absence of Procedural or Substantive Abuse: Courts are inclined to favor the

                            legitimate claims of parties who have not engaged in tactics that obstruct or manipulate

                            the judicial process.

                            3.      Reliability and Sufficiency of Evidence: Maryland courts favor claims that are

                            supported by credible, consistent, and substantial evidence, aligning with principles of

                            fairness and efficiency in adjudication.

                    640     These standards help Maryland courts identify and rule in favor of legitimate claims,

                    protecting parties from unfounded or abusive litigation tactics that lack substantive justification.


                    3       Mazyland Case Law
                    641     Stuart Kitchens, Inc. v. Stevens, 248 Md. 71 , 234 A.2d 749 (1967): The Maryland

                    Court of Appeals held that courts should favor claims based on reliable evidence and consistent

                    testimony, particularly where the opposing party's conduct suggests unethical behavior or

                    procedural abuse. The court emphasized that judgments must reflect fairness and truthfulness in

                    submissions.

                    642     Manown v. Adams, 328 Md. 463, 615 A.2d 611 (I 992): Maryland' s highest court

                    confirmed that the doctrine of unclean hands bars relief for parties who act in bad faith or engage

                    in dishonest tactics. This doctrine reinforces the preference for ruling in favor of the party whose

                    claim is presented with integrity and credibility.


                                                                                                          Page 222 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 222 of 329                   Exhibit 108
            Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25       Page 223 of 329




                    643     Ashcraft & Gerel v. Shaw, 126 Md. App. 325, 728 A.2d 798 (1999): The court

                    emphasized that courts should not reward litigants who use judicial processes improperly. The

                    ruling reinforced that Maryland courts favor claims of parties acting in good faith, particularly

                    when the opposing party' s tactics are aimed at obstructing justice.


                    4       A11plication to Ruling in Favor of Dillon-Cap11s's Legitimate Claims
                    644     In Dillon-Capps' s case, Maryland' s standards strongly favor ruling in favor of Dillon-

                    Capps' s legitimate claims, as the Plaintiff and M&S have demonstrated repeated procedural

                    abuses, misrepresentations, and bad faith conduct. Mary land's doctrine of unclean hands and

                    principles for favoring legitimate claims support Dillon-Capps' s case, as Plaintiffs actions

                    consistently indicate an attempt to mislead the court and evade accountability. Key factors

                    include:

                            1.      Evidence of Good Faith and Consistent Claims by Dillon-Capps: Dillon-

                            Capps has presented credible evidence, including healthcare documentation, FMLA

                            records, and ADA testimony, which collectively support Dillon-Capps' s legitimate

                            claims for relief. Maryland' s standards in Stuart Kitchens, Inc. v. Stevens favor rulings

                            based on reliable, consistent evidence. Dillon-Capps' s submissions reflect integrity,

                            substantiating a clear, credible basis for their claims, unlike the contradictory and evasive

                            submissions from Plaintiff.

                            2.      Pattern of Procedural Abuses and Contradictory Statements by Plaintiff:

                            Plaintiff and M&S have engaged in multiple procedural abuses, including obtaining a no-

                            notice TRO, filing contradictory affidavits, and submitting misleading statements

                            regarding Dillon-Capps' s FMLA entitlements. Manown v. Adams supports denying relief


                                                                                                          Page 223 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 223 of 329                    Exhibit 108
            Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25       Page 224 of 329




                            to parties engaging in bad faith, as Plaintiffs procedural misconduct exemplifies

                            unethical tactics intended to delay and manipulate the judicial process. Ruling in favor of

                            Dillon-Capps aligns with Maryland' s standards, as Plaintiffs conduct lacks credibility

                            and ethical foundation.

                            3.      Failure of Plaintiff's Claims Due to Lack of Factual or Legal Basis: Plaintiff's

                            continued reliance on unsupported claims and misleading procedural tactics, particularly

                            in light of Dillon-Capps' s legitimate counterclaims, justifies a ruling in Dillon-Capps' s

                            favor. Maryland' s standard in Ashcraft & Gere! v. Shaw indicates that courts should favor

                            parties whose claims are grounded in good faith and reliable evidence, especially when

                            the opposing party seeks advantage through procedural manipulation. Dillon-Capps 's

                            evidence meets Maryland's credibility standards, supporting an equitable resolution that

                            favors legitimate claims over baseless accusations.

                            4.      Unclean Hands Doctrine as a Bar to Plaintiff's Relief: Maryland ' s unclean

                            hands doctrine supports ruling against Plaintiffs claims entirely, as their conduct

                            demonstrates repeated instances of procedural abuse, deceit, and evasion of

                            accountability. The doctrine bars parties from benefiting from dishonest tactics, and

                            Plaintiffs reliance on these tactics to advance their case directly supports Dillon-Capps' s

                            claims of malicious prosecution and abuse of process. Applying the unclean hands

                            doctrine justifies dismissing Plaintiffs claims and ruling in Dillon-Capps's favor,

                            consistent with Maryland' s principles of fairness and judicial integrity.

                    645     Maryland' s legal standards, rooted in both statutory and case law, clearly favor ruling in

                    Dillon-Capps's favor. The Plaintiffs and M&S 's abuse of process, procedural manipulation, and


                                                                                                          Page 224 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 224 of 329                    Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25       Page 225 of 329




                    unethical conduct strengthen Dillon-Capps' s claims under Maryland ' s preference for credible,

                    good faith claimants and the application of the unclean hands doctrine.

                    646     Maryland law, grounded in both statutory and common law principles, provides a clear

                    foundation for courts to rule in favor of the party presenting a legitimate claim. In Dillon-

                    Capps's case, Plaintiffs bad faith conduct, procedural abuses, and misrepresentations undermine

                    the validity of their claims, supporting a ruling in favor of Dillon-Capps under Maryland's

                    standards for legitimate claims. Applying these standards ensures that Maryland courts uphold

                    the principles of fairness, accountability, and justice by protecting the rights of credible parties

                    and disfavoring claims advanced through deceitful or unethical tactics.


                                LL 6. Circuit Court Authority to Set Precedent of Reciprocal Relief

                    1     Foundations for Circuit Court Authority to Set Precedent of Reciprocal Relief in
                    Maryland Law
                    647     Maryland law provides circuit courts with broad authority to establish equitable remedies,

                    including reciprocal relief, to address malicious litigation practices, prevent unjust enrichment,

                    and uphold public policy. The statutory provisions under Md. Code Ann., Cts. & Jud. Proc. §§

                    10-501 and 10-503 authorize Maryland courts to adopt and expand on common law principles,

                    enabling them to address new issues that require equitable remedies. The doctrine of unjust

                    enrichment, along with Maryland' s public policy favoring fairness, justice, and deterrence

                    against procedural abuse, reinforces the court' s authority to craft remedies that address specific

                    harms resulting from bad-faith litigation.

                    648     Key statutes and doctrines supporting reciprocal relief as an equitable remedy include:




                                                                                                           Page 225 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 225 of 329                     Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25      Page 226 of 329




                             1.       Md. Code Ann., Cts. & Jud. Proc.§ 1-201: Empowers Maryland courts to apply

                            common law principles, which include doctrines such as unjust enrichment and

                            restitution, particularly when one party has unfairly benefited at the expense of another.

                            2.        Maryland Doctrine of Unjust Enrichment and Restitution: This doctrine

                            allows courts to order equitable remedies when one party gains at the expense of another

                            through wrongful or fraudulent conduct. Unjust enrichment supports reciprocal relief as a

                            way to restore equity by denying the offending party any benefit derived from unethical

                            or malicious actions.

                            3.      Public Policy Supporting Deterrence and Protection Against Abuse:

                            Maryland ' s public policy endorses deterrence of malicious litigation and procedural

                            abuses that harm parties and burden judicial resources. Circuit courts have the authority

                            to establish remedies that discourage misconduct and protect the integrity of the legal

                            system.

                    649     These foundations affirm Maryland circuit courts' ability to create reciprocal relief as a

                    precedent-setting remedy in cases involving procedural abuse, unethical litigation practices, and

                    unjust enrichment.


                    2       Judicial Standards for Establishing Precedent for Reciprocal Relief
                    650     Maryland courts use specific standards to justify the establishment of reciprocal relief:

                            1.      Preventing Unjust Enrichment: Courts examine whether a party has benefited at

                            another's expense through misconduct. In cases where one party' s actions result in unjust

                            gains, reciprocal relief is warranted to prevent the offender from profiting from their

                            wrongful conduct.


                                                                                                         Page 226 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts   Page # 226 of 329                    Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25      Page 227 of 329




                            2.        Deterrence as a Public Policy Objective: Courts consider if reciprocal relief is

                            necessary to deter similar abuses, safeguarding judicial resources and protecting future

                            litigants from malicious practices.

                            3.        Alignment with Public Policy for Fair and Ethical Litigation: Maryland courts

                            weigh public policy considerations, including maintaining judicial integrity and

                            upholding ethical litigation practices, in determining the appropriateness of reciprocal

                            relief.

                    651     These standards ensure that reciprocal relief is not only an effective remedy for

                    addressing harm but also aligns with Maryland' s goals of preventing unjust enrichment,

                    promoting fairness, and deterring procedural abuses.


                    3       Mazyland Case Law
                    652     Hammond v. Marketing Management, Inc., 445 Md. 310, 126 A.3d 1137 (2015): The

                    Maryland Court of Appeals recognized that equitable remedies may evolve to address unique

                    harms that threaten fairness and public policy. The court emphasized the importance of equitable

                    relief in protecting against unjust enrichment and discouraging conduct that undermines judicial

                    integrity.

                    653     Wooldridge v. Price, 184 Md . 443, 41 A.2d 61 (1945): This case affirmed that Maryland

                    courts hold authority to address unjust enrichment through equitable remedies. The court held

                    that parties should not benefit from wrongful actions at the expense of others, reinforcing that

                    reciprocal relief is appropriate to prevent unjust enrichment.

                    654     Standard Fire Ins. Co. v. Berrett, 395 Md . 439, 910 A.2d 1072 (2006): The court ruled

                    that circuit courts have discretion to provide equitable relief to prevent harm and deter


                                                                                                         Page 227 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts   Page # 227 of 329                      Exhibit 108
             Case 1:24-cv-03744-BAH               Document 16-10         Filed 01/03/25      Page 228 of 329




                     misconduct. The decision supports reciprocal relief as a way to protect against future harm and

                    uphold judicial efficiency.


                    4        Cross-Argument Supporting Case Law
                    655      Everhart v. Miles, 47 Md. App. 131 , 422 A.2d 28 (1980): This case reinforced that

                    Maryland courts may order restitution or reciprocal relief to prevent unjust enrichment and

                    safeguard against abuse of judicial processes. The court held that equity requires remedial

                    measures when one party has suffered due to another' s wrongful actions.

                    656     Attorney Grievance Comm'n v. Byrd, 408 Md. 449, 970 A.2d 870 (2009): The

                    Maryland Court of Appeals emphasized public policy considerations in determining sanctions,

                    noting that deterrence is a valid and necessary judicial goal to prevent unethical practices.

                    Reciprocal relief can serve as a similar deterrent against procedural misconduct in civil cases.

                    657     Beery v. Maryland Medical Laboratory, Inc., 89 Md. App. 81,597 A.2d 516 (1991):

                    This case held that courts may impose corrective measures to address abuses of the judicial

                    process, affirming that Maryland courts have broad discretion to craft remedies that protect

                    against abusive litigation and uphold the public interest.


                    5       A1u;,lication to Reciprocal Relief in Dillon-Capps' s Case
                    658     In Dillon-Capps 's case, establishing reciprocal relief serves a dual purpose: preventing

                    unjust enrichment by denying Plaintiff the benefits of their bad-faith conduct, and deterring

                    future procedural abuses. Maryland' s doctrine of unjust enrichment and public policy goals

                    strongly support reciprocal relief, as Plaintiff's conduct has been harmful, unfairly advantageous,

                    and against Maryland ' s judicial principles. Key points include:




                                                                                                         Page 228 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts   Page # 228 of 329                    Exhibit 108
               Case 1:24-cv-03744-BAH            Document 16-10          Filed 01/03/25      Page 229 of 329
          .,




                            1.      Preventing Plaintifrs Unjust Enrichment Through Malicious Litigation:

                            Plaintiff and M&S have used procedural abuses to obtain undue advantage, including

                            securing a no-notice TRO, evading counterclaims, and avoiding accountability through a

                            voluntary dismissal. These actions indicate that Plaintiff' s intention was to gain through

                            deceit and procedural manipulation. Under Wooldridge v. Price and Everhart v. Miles,

                            Maryland courts are justified in applying reciprocal relief to deny Plaintiff any benefit

                            from these tactics and to restore equity to Dillon-Capps.

                            2.      Deterring Future Abuse and Protecting Judicial Integrity: Plaintiff s and

                            M&S ' s persistent bad-faith litigation practices suggest a need for deterrent measures to

                            prevent similar conduct in future cases. Under Attorney Grievance Comm 'n v. By rd,

                            Maryland courts recognize deterrence as a fundamental public policy objective. By

                            setting a precedent for reciprocal relief, the court sends a clear message that procedural

                            abuse and malicious litigation tactics will not go unpunished, deterring other litigants

                            from attempting similar conduct.

                            3.      Alignment with Public Policy Favoring Fair and Ethical Litigation:

                            Maryland's legal framework prioritizes fairness and public trust in judicial processes. The

                            Plaintiff's actions-contradictory statements, procedural evasions, and exploitation of

                            judicial rulings-undermine these values. Reciprocal relief, as supported by Standard

                            Fire Ins. Co. v. Berrell and Beery v. Maryland Medical Laboratory, Inc. , aligns with

                            Maryland 's public policy goals by holding parties accountable for actions that

                            compromise the fairness of proceedings. This remedy ensures that Dillon-Capps' s rights

                            are protected and that public confidence in the court is restored.


                                                                                                         Page 229 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 229 of329                     Exhibit 108
               Case 1:24-cv-03744-BAH            Document 16-10          Filed 01/03/25       Page 230 of 329
          .,



                            4.      Equitable Remedy to Address Harm and Promote Justice: The Plaintiffs

                            procedural abuses have inflicted ongoing harm to Dillon-Capps, including reputational,

                            financial, and emotional damage. Under Hammond v. Marketing Management, Inc.,

                            Maryland courts are empowered to provide equitable relief that directly addresses the

                            harm endured by litigants facing malicious actions. Reciprocal relief would allow the

                            court to remedy these injuries effectively, restoring balance to the proceedings and

                            protecting Dillon-Capps from further harm.

                    659     Establishing reciprocal relief as a precedent in this case upholds Maryland' s commitment

                    to preventing unjust enrichment, deterring malicious litigation, and promoting public trust. The

                    cumulative effect of Plaintiffs procedural abuses, combined with the need to protect future

                    litigants, strongly supports reciprocal relief as a remedy that aligns with Maryland's equitable

                    principles and public policy.

                    660     Maryland law, grounded in statutory authority, common law principles, and public policy

                    considerations, provides a robust foundation for circuit courts to establish reciprocal relief as a

                    precedent-setting remedy. In Dillon-Capps' s case, the Plaintiffs persistent procedural abuses,

                    bad-faith conduct, and unjust enrichment justify reciprocal relief. This remedy not only

                    compensates Dillon-Capps for the harm suffered but also deters similar conduct and promotes

                    fairness, transparency, and ethical standards within Maryland ' s judiciary. By setting this

                    precedent, the court reinforces Maryland's commitment to justice, ensuring that bad-faith

                    litigants are held accountable and that Maryland' s legal system remains a protector against abuse

                    and exploitation.


                                                            VIII SANCTIONS

                                                                                                          Page 230 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 230 of 329                    Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25       Page 231 of 329




                                                                A Introduction
                    661     The case against Dillon-Capps rests on unfounded allegations that fail to establish a

                    legitimate claim for relief, grounded instead in conduct that violates Dillon-Capps's rights under

                    the Family and Medical Leave Act (FMLA) and Americans with Disabilities Act (ADA),

                    compounded by retaliatory actions, breach of a prior written accord, perjury, and procedural

                    misconduct. Ohana and its counsel, Miles & Stockbridge, have engaged in a pattern of

                    misconduct that invalidates any claim for relief, supporting sanctions under Maryland law.

                    662     Maryland ' s statutory and common law framework provides clear grounds for the court to

                    assess the legitimacy of claims and impose sanctions for abuses, particularly where claims are

                    retaliatory, rooted in bad faith, or brought without substantial justification. Specifically:

                            I.      Violation of Protected Rights: The Plaintiff has engaged in actions that directly

                            infringe on Dillon-Capps's rights under the FMLA and ADA, as confirmed in court

                            filings and statements. These violations invalidate any legal basis for injunctive relief and

                            constitute a fundamental breach of Dillon-Capps' s protected rights.

                            2.      Estoppel and Breach of Accord: Ohana and its counsel violated the terms of a

                            June 7th accord agreed upon to resolve ongoing issues, creating an estoppel that bars

                            them from bringing claims that contradict or breach the accord' s terms. This includes

                            Ohana's evasion of compliance on June I 0th and 11th, coupled with its subsequent filing

                            of misleading affidavits.

                            3.      Fraudulent and Retaliatory Conduct: The Plaintiffs actions reflect not only a

                            disregard for established legal rights but also malicious intent to harm and retaliate

                            against Dillon-Capps. These actions support claims of malicious prosecution and abuse of


                                                                                                           Page 231 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 231 of 329                     Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25      Page 232 of 329
  . .,

                             process, warranting sanctions for unjustified and frivolous litigation under Md. Rules,

                             Rule 1-341.

                             4.      Perjury and False Claims: The affidavits filed by Ohana executives, including

                             Richard Hartman and Justin Drummond, and expert Randall Romes contain statements

                             that are misleading or directly false, violating Maryland' s Md. Code Ann., Crim. Law§

                             9-101 against perjury and underminingjudicial integrity.

                    663      Maryland courts hold that a party engaging in litigation without substantial justification,

                     in bad faith, or for improper purposes must face consequences to deter future abuse and uphold

                    judicial integrity. Under Rule 1-341 and related common law doctrines on abuse of process and

                    malicious prosecution, Ohana and its counsel should bear full accountability for the baseless and

                    coercive litigation that they have pursued against Dillon-Capps.

                    664     To address the cumulative misconduct by Ohana and its counsel, the court is urged to

                    impose sanctions that include compensatory relief, dismissal of the Plaintiffs claims, and a

                    referral for ethical investigation under the Maryland Attorneys ' Rules of Professional Conduct,

                    Rules 3.3(a), 4.1, and 8.4(c). These sanctions align with Maryland's objective of deterring

                    frivolous and unethical litigation practices, preserving judicial resources, and protecting Dillon-

                    Capps' s rights from further harm.


                                               B General Sanctions under Md. Rule 1-341
                    665     Foundation for Sanctions under Md. Rule 1-341

                    666     Maryland Rule 1-341 provides that a court may impose sanctions, including attorneys'

                    fees and costs, on any party or attorney who initiates or maintains proceedings in bad faith,

                    without substantial justification, or for improper purposes. This rule deters misuse of judicial

                                                                                                          Page 232 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts   Page # 232 of329                      Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25        Page 233 of 329




                    resources and protects parties from groundless claims, harassment, and undue harm. Rule 1-341

                    embodies Maryland' s commitment to maintaining judicial integrity by addressing and penalizing

                    malicious, frivolous, or vexatious litigation practices, including spoliation, witness tampering,

                    wrongful termination, and defamation.


                    1        Judicial Standards, Pm:pose, and Criteria for Imposing Sanctions under Md. Rule
                    l.:lil
                    667      Sanctions under Rule 1-341 serve several essential purposes:

                             I.     Deterrence oflmproper Litigation Practices: Prevents parties from filing

                             claims or motions solely to harass, delay, coerce, or impose undue burden on the

                             opposing party.

                             2.     Preservation of Judicial Integrity: Ensures the court system remains a forum for

                             legitimate disputes, not a tool for vindictive or baseless actions.

                             3.     Promotion of Accountability: Holds parties and attorneys responsible for

                             engaging in litigation without proper basis or with malicious intent.

                             4.     Protection of Defendants' Rights: Shields individuals from enduring financial

                             and emotional harm caused by frivolous or unfounded claims, particularly when actions

                             are maintained purely for harassment.


                    2        Criteria for Imposing Sanctions:
                    668      Lack of Substantial Justification: Claims are clearly without merit or legal grounds,

                    indicating they were filed without reasonable belief in their success.

                    669      Improper Purpose: Filings were intended to harass, coerce, delay, or cause harm rather

                    than resolve a legitimate legal dispute.



                                                                                                         Page 233 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts     Page# 233 of 329                   Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25       Page 234 of 329




                    670     Bad Faith: Litigants acted with malicious intent or a reckless disregard for the truth,

                    often indicated by perjured statements, abuse of process, or manipulation of court procedures.


                    3       Mazyland Case Law
                    671     Inlet Assocs. v. Assateague House Condo. Ass'n, 313 Md . 413, 545 A.2d 1296 (1988):

                    The Maryland Court of Appeals held that sanctions under Rule 1-341 are appropriate when a

                    party's actions lack substantial justification and demonstrate improper motive. This case

                    established that bad-faith litigation warrants sanctions to deter future misuse of the judicial

                    system.

                    672     Majority Properties, Inc. v. Town of Hancock, 333 Md. 3, 633 A.2d 392 ( 1993): This

                    case clarified that sanctions are warranted when actions are taken without substantial justification

                    or are filed to delay or harass. Sanctions were imposed to uphold judicial integrity and ensure

                    accountability in cases involving improper use of litigation.

                    673     Needle v. White, 81 Md. App. 463, 568 A.2d 856 (I 990): The Maryland Court of

                    Special Appeals affirmed that frivolous claims lacking legal or factual basis warrant sanctions,

                    especially when they reveal a pattern of abuse or intent to harm the opposing party.


                    4       Su1worting Case Law Beyond Maryland
                    674     Christianburg Garment Co. v. EEOC, 434 U.S. 412 (1978): The U.S. Supreme Court

                    upheld sanctions for frivolous litigation, finding that suits filed without legal merit justify

                    financial penalties, which serve to deter abuse of judicial resources.

                    675     Roadway Express, Inc. v. Piper, 447 U.S. 752 (1980): This case confirmed the

                    authority of federal courts to impose sanctions for baseless claims pursued with improper intent,

                    underscoring the judiciary's power to penalize frivolous conduct.


                                                                                                           Page 234 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 234 of329                      Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25     Page 235 of 329




                    5       Cross Argument Case Law
                    676     Chambers v. NASCO, Inc., 501 U.S. 32 (1991): The U.S. Supreme Court reinforced the

                    inherent power of courts to sanction litigants for vexatious or abusive conduct, highlighting the

                    judiciary's duty to maintain fair proceedings free from harassment and bad-faith tactics.

                    677     Miller v. Bittner, 50 Md. App. 302, 437 A.2d 8 I (1981 ): The Maryland Court of Special

                    Appeals emphasized that courts may impose sanctions to prevent the abuse of legal processes,

                    protecting the judicial system from baseless claims intended solely to harass or intimidate.


                    6       A12plication to Dillon-Ca12ps's Case
                    678     In Dillon-Capps' s case, the conduct of Ohan a and M&S meets the criteria for sanctions

                    under Rule 1-341 based on the following framework elements:

                             I.     Abuse of Process: Ohana and M&S repeatedly misused procedural mechanisms,

                            including show cause orders and coercive filings, to compel Dillon-Capps' s compliance

                            and intimidate them. This aligns with Inlet Assocs. v. Assateague House Condo. Ass 'n,

                            which imposed sanctions for procedural abuse lacking substantial justification.

                            2.      Perjury and Material Misstatements: Numerous affidavits and filings from

                            Ohana and M&S contained false or misleading information, which aimed to mislead the

                            court and substantiate baseless claims. Majority Properties, Inc. v. Town ofHancock

                            emphasized that sanctions should be imposed when submissions misrepresent facts and

                            lack credibility.

                            3.      Spoliation of Evidence: The refusal to provide key documents, including the

                            June 26th hearing transcript needed for Dillon-Capps's defense, constitutes spoliation.




                                                                                                        Page 235 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts   Page # 235 of329                     Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25      Page 236 of 329




                            This obstruction hindered fair proceedings, fitting the criteria for sanctions in Klupt v.

                            Krongard, where destruction or withholding of evidence was sanctionable.

                            4.       Witness Tampering: Any actions by Ohana or M&S to influence or restrict

                            witness statements-whether directly or indirectly-are sanctionable under Rule I -341.

                            Witness tampering impairs the truth-finding function of litigation, and sanctions prevent

                            interference with the judicial process, as in United States v. Fields.

                            5.      Wrongful Termination: Ohana's retaliatory suspension and tennination of

                            Dillon-Capps during protected FMLA leave reflect an abuse of legal process for improper

                            motives. Adler v. Am. Standard Corp. recognized wrongful tennination as actionable,

                            warranting sanctions when driven by retaliatory intent.

                            6.      Defamation and Damage to Reputation: Ohana and M&S's defamatory

                            statements throughout litigation filings were designed to harm Dillon-Capps' s reputation,

                            demonstrating malicious intent. Sanctions are appropriate under Rule 1-341 for

                            defamation as part of abuse of process, as supported in Samuels v. Tschechtelin.

                            7.      Obstruction of Evidence: The refusal to provide the transcript Dillon-Capps

                            required for defense reflects deliberate evidence obstruction, further compounding the

                            lack of substantial justification in pursuing this case. This aligns with Chambers v.

                            NASCO, Inc., where obstruction and bad-faith litigation justified severe sanctions.

                            8.      Malicious Prosecution and Vexatious Litigation: Ohana and M&S ' s conduct,

                            including initiating litigation without legitimate purpose and continuing filings intended

                            to harass, fits Maryland's standard for imposing sanctions under Rule 1-341 for vexatious




                                                                                                          Page 236 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts   Page# 236 of329                       Exhibit 108
               Case 1:24-cv-03744-BAH             Document 16-10         Filed 01/03/25     Page 237 of 329

          ·-




                             litigation. This misconduct aligns with Needle v. White, where repeated baseless claims

                            warranted penalties to deter future abuse.

                            9.       Intentional Harassment: The entire pattern of conduct by Ohana and M&S was

                            aimed at imposing emotional, financial, and professional strain on Dillon-Capps,

                            demonstrating a clear lack of justification and improper intent. This case parallels

                            Christianburg Garment Co. v. EEOC, where sanctions were used to counter harassing

                            litigation tactics.


                    7       Conclusion

                    679     Under Md. Rule 1-341, the conduct of Ohana and M&S in pursuing baseless claims and
                    improper tactics against Dillon-Capps warrants sanctions to preserve judicial resources, deter
                    abuse, and protect defendants from malicious litigation. Supported by Maryland and national
                    precedents, the court should impose severe penalties to uphold judicial integrity and deter future
                    misuse of the judicial system, as established in Inlet Assocs. v. Assateague House Condo. Ass 'n,
                    Majority Properties, Inc. v. Town ofHancock, and other cases.

                                             C Voluntary Dismissal under Md_ Rule 2-506

                    1       Foundation for Sanctions under Md. Rule 2-506
                    680     Maryland Rule 2-506 governs voluntary dismissals in civil cases. While it generally

                    allows plaintiffs to withdraw their claims without prejudice, Rule 2-506(b) provides that the

                    court may impose conditions on such dismissals, particularly when there is evidence the

                    dismissal is used to avoid accountability, evade a counterclaim, or manipulate the judicial

                    process. Improperly using voluntary dismissal to escape sanctions or prevent judicial scrutiny

                    undermines the integrity of the judicial process and warrants sanctions.


                    2     Judicial Standards, Pml)ose, and Criteria for Imposing Sanctions under Md. Rule
                    2-506

                    681     Sanctions under Rule 2-506 are imposed to:

                                                                                                         Page 237 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts   Page# 237 of329                     Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10           Filed 01/03/25        Page 238 of 329




                             1.      Prevent Abuse of Voluntary Dismissal: Sanctions deter parties from using

                             dismissal as a tactical tool to avoid liability, accountability, or adverse rulings.

                             2.      Preserve the Integrity of the Judicial Process: By penalizing misuse of

                             voluntary dismissal, courts ensure that litigation serves its intended purpose-to resolve

                            disputes based on the merits, not avoid them.

                             3.      Ensure Fair Adjudication of Counterclaims: Courts sanction dismissals that

                             interfere with an opposing party's legitimate right to pursue counterclaims or defenses.

                            4.       Prevent Procedural Manipulation and Delay: Sanctions discourage plaintiffs

                            from dismissing cases simply to delay proceedings or harass the defendant.


                    3       Criteria for Imposing Sanctions under Rule 2-506:
                    682     Improper Purpose: The dismissal is filed not to resolve a dispute but to evade judicial

                    scrutiny, avoid sanctions, or manipulate procedural timing.

                    683     Prejudice to the Opposing Party: The opposing party faces undue harm or procedural

                    disadvantage because of the dismissal, particularly if they have counterclaims or defenses that

                    remain unresolved.

                    684     Bad Faith or Evasion of Accountability: The plaintiff seeks to dismiss with the intent to

                    avoid repercussions from baseless or malicious claims.


                    4       Maryland Case Law
                    685     Hossainkhail v. Gebrehiwot, 143 Md. App. 716, 795 A.2d 816 (2002): The Maryland

                    Court of Special Appeals held that voluntary dismissal under Rule 2-506 may be conditioned on

                    payment of costs or fees when the dismissal prejudices the defendant or aims to evade liability.




                                                                                                             Page 238 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts     Page # 238 of329                         Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25    Page 239 of 329




                    The court emphasized that voluntary dismissal should not serve as a means to escape

                    accountability .

                    686      Merritt v. Mendelson, 94 Md. App. 144,6 16 A.2d 1023 (1992): The court held that

                    plaintiffs could not use voluntary dismissal as a tactical maneuver to avoid pending

                    counterclaims. When dismissals disrupt the equitable resolution of all claims, sanctions or

                    conditions are warranted.

                    687      Janusz v. Gilliam, 404 Md. 524, 947 A.2d 560 (2008): The Maryland Court of Appeals

                    confirmed that voluntary dismissal must not prejudice the opposing party's right to pursue

                    legitimate claims. If a dismissal unfairly disadvantages the opposing party, sanctions or other

                    conditions are justified.


                    5        Supporting Case Law B~yond Mazyland
                    688      Brockton Sav. Bank v. Peat, Marwick, Mitchell & Co., 771 F.2d 5 (1st Cir. 1985): The

                    First Circuit held that courts may condition voluntary dismissals to prevent prejudice to the

                    defendant, especially when there is evidence that dismissal was filed in bad faith to avoid

                    liability.

                    689     Oblander v. Larson, 114 F.3d 1531 (10th Cir. 1997): The Tenth Circuit ruled that courts

                    may impose sanctions when a plaintiff dismisses a case to avoid an adverse ruling or sanctions,

                    particularly if the dismissal prejudices the defendant.


                    6       Cross Argument Case Law
                    690     Chambers v. NASCO, Inc., 501 U.S. 32 (1991): The U.S. Supreme Court upheld

                    sanctions against a party who attempted to manipulate procedural rules, emphasizing that courts

                    have inherent authority to penalize parties who misuse procedural tools to avoid accountability.


                                                                                                        Page 239 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts   Page# 239 of329                     Exhibit 108
             Case 1:24-cv-03744-BAH               Document 16-10         Filed 01/03/25       Page 240 of 329




                     691     Roadway Express, Inc. v. Piper, 447 U.S. 752 (1980): The Court underscored that

                    judicial authority extends to imposing sanctions for actions intended to disrupt or evade the fair

                     administration of justice, reinforcing the deterrence of tactical dismissals.


                     7       A1212lication to Dillon-Capps's Case
                    692      In Dillon-Capps' s case, Ohana and M&S's voluntary dismissal reflects an improper

                    attempt to evade accountability and avoid judicial scrutiny of counterclaims:

                             1.      Improper Purpose to Evade Accountability: Ohana and M&S 's voluntary

                            dismissal was filed after Dillon-Capps presented counterclaims and requested a hearing

                             to address the plaintiffs misconduct, indicating that the dismissal was not intended to

                             resolve the dispute but to avoid an adverse ruling. This aligns with Hossainkhail v.

                            Gebrehiwot, where sanctions were imposed to deter evasive dismissal tactics.

                            2.       Prejudice to the Defendant's Counterclaims: By dismissing the case, Ohana

                            and M&S sought to deprive Dillon-Capps of the opportunity to litigate counterclaims,

                            undermining their right to pursue legal redress. This tactic parallels Merritt v. Mendelson,

                            where courts rejected dismissals that disrupted fair adjudication of both parties' claims.

                            3.      Bad Faith Evasion of Sanctions: The timing of the voluntary dismissal, filed

                            shortly before proceedings that would scrutinize Ohana and M&S 's conduct, indicates an

                            attempt to avoid sanctions. This behavior fits the criteria set in Janusz v. Gilliam, where

                            dismissals filed to evade scrutiny were penalized to preserve judicial integrity.

                            4.      Intentional Manipulation of Court Procedures: The filing of a voluntary

                            dismissal as a last-minute tactic to evade ongoing proceedings constitutes procedural




                                                                                                         Page 240 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 240 of 329                     Exhibit 108
             Case 1:24-cv-03744-BAH               Document 16-10         Filed 01/03/25        Page 241 of 329




                              manipulation, as discussed in Brockton Sav. Bank v. Peat, Marwick, Mitchell & Co. ,

                              supporting sanctions for this abuse of judicial resources.


                     8        Conclusion
                    693       Ohana and M&S's use of voluntary dismissal to evade accountability and hinder Dillon-

                    Capps's counterclaims constitutes an abuse of Md. Rule 2-506. Maryland case law and broader

                     legal precedents support imposing sanctions to deter misuse of voluntary dismissals, protect

                    defendants' rights, and ensure that dismissals are not filed in bad faith to evade repercussions.

                    The court should condition this dismissal by imposing sanctions on Ohana and M&S, consistent

                    with the principles established in Hossainkhail v. Gebrehiwot, Merritt v. Mendelson, and Janusz

                    v. Gilliam.


                                           D Rule 4.1 - Truthfulness in Statements to Others

                     1        Foundational Principles and Pm:pose of Rule 4.1
                    694       Rule 4.1 of the Maryland Attorneys' Rules of Professional Conduct mandates that

                    attorneys remain truthful in all statements related to litigation, including pre-trial

                    communications with opposing parties, witnesses, and other involved parties. Rule 4.1 prohibits

                    attorneys from knowingly concealing or distorting material facts to gain an advantage, ensuring

                    that fair dealing is upheld throughout all stages of litigation. This rule extends beyond direct

                    statements to cover intentional omissions or manipulations of material facts that would mislead

                    others.

                    695       Key components of Rule 4.1 include:




                                                                                                             Page 241 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 241 of 329                      Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25       Page 242 of 329




                             1.      Duty of Honesty and Integrity in All Interactions: Attorneys are obligated to

                            provide truthful information and refrain from deceptive tactics, ensuring the accuracy and

                            reliability of information shared with others.

                            2.      Prohibition of Concealment: Rule 4.1 bars attorneys from omitting material

                            facts with the intent to deceive, preserving fairness in all statements related to the case.

                            3.      Promotion of Fair Dealing and Transparency: The rule protects the integrity of

                            the legal process by ensuring that opposing parties and witnesses are not misled by

                            misinformation or concealed facts.


                    2       Judicial Standards and Purpose from Mazyland Precedent
                    696     Maryland courts uphold Rule 4.1 to ensure that:

                            1.      Pre-Trial Integrity is Preserved: Attorneys are held to a standard of truthfulness

                            that extends to pre-trial interactions, preventing unethical tactics that could mislead or

                            prejudice the opposing party.

                            2.      Accountability for Deceptive Practices: Sanctions for breaches of Rule 4.1

                            reinforce that attorneys must engage in honest dealings, creating a fair and equitable pre-

                            trial environment.

                            3.      Deterrence of Dishonest Tactics: Sanctions serve as a deterrent against the use

                            of misleading statements or concealment of facts that could distort case proceedings or

                            disadvantage the opposing party.


                    3       Criteria for Establishing a Breach of Rule 4.1
                    697     Maryland courts impose sanctions for breaches of Rule 4.1 when the following criteria

                    are met:


                                                                                                           Page 242 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 242 of329                       Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25       Page 243 of 329




                             1.      Intentional Concealment or Misrepresentation: The attorney must have

                             knowingly concealed or distorted material facts, either by direct misrepresentation or by

                            omission, with the intent to mislead others involved in the case.

                            2.       Materiality of the Information: The concealed or distorted facts must be

                            material, meaning they could reasonably affect the decisions or actions of the opposing

                            party, witnesses, or the tribunal.

                            3.       Intent to Mislead: The attorney's actions must demonstrate an intent to mislead,

                            either through false statements or by withholding information that is necessary for fair

                            dealing and transparency.


                    4       Mar:yland Case Law on Rule 4.1
                    698     Attorney Grievance Commission v. Hodes, 441 Md. 136, 105 A.3d 533 (2014): The

                    Maryland Court of Appeals sanctioned an attorney for intentional deception, ruling that the

                    concealment or misrepresentation of material facts in pre-trial interactions violates Rule 4.1. The

                    court held that pre-trial integrity requires full disclosure of material facts and that deceptive

                    tactics are subject to sanctions.

                    699     Klupt v. Krongard, 126 Md. App. 179, 728 A.2d 727 ( 1999): The Maryland Court of

                    Special Appeals found that intentionally misrepresenting facts to gain a litigation advantage

                    constitutes a violation of both ethical and procedural standards, underscoring that Rule 4.1

                    prohibits attorneys from concealing information necessary to prevent deception.

                    5       Supporting Case Law Beyond Maryland
                    700     In re Sealed Case, 890 F .2d 451 (D.C. Cir. 1989): The D.C. Circuit ruled that attorneys

                    must act honestly in all statements related to litigation, prohibiting omissions or


                                                                                                           Page 243 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 243 of329                       Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25      Page 244 of 329




                    misrepresentations of material facts. The case reinforces the standard that pre-trial integrity

                    requires full disclosure and sanctions for any deceptive practices.

                    701      United States v. Shaffer Equipment Co., 11 F.3d 450 (4th Cir. 1993): The Fourth

                    Circuit held that attorneys' duty of candor and transparency extends to all aspects of litigation,

                    including pre-trial statements. The case supports sanctions where attorneys knowingly mislead

                    opposing parties or the court through omissions.


                    6       Cross-Ar~ument Case Law: Rule 4.1 and Misconduct
                    702     Attorney Grievance Commission v. Agbaje, 438 Md. 695, 93 A.3d 262 (2014): The

                    Maryland Court of Appeals found that intentionally misleading statements during litigation

                    violate Rule 4.1, supporting sanctions to uphold integrity in both pre-trial and trial interactions.

                    703     Attorney Grievance Commission v. Vanderlinde, 364 Md. 376, 773 A.2d 463 (2001):

                    The court reinforced that misrepresentation or deceit in statements made to others constitutes a

                    serious breach of professional ethics, warranting sanctions under Rule 4.1 to deter dishonest

                    practices.


                    7       A12plication to Dillon-Capps' s Case
                    704     In Dillon-Capps's case, Miles & Stockbridge (M&S) breached Rule 4.1 by manipulating

                    material facts and omitting key information in affidavits and pre-trial statements, intending to

                    distort the court's understanding of Dillon-Capps' s employment, FMLA rights, and interactions

                    with HEA. These breaches directly impacted Dillon-Capps' s ability to respond accurately and

                    defend against the claims.

                            1.      Intentional Misrepresentation of Material Facts: M&S presented affidavits that

                            selectively omitted key facts regarding Dillon-Capps' s FMLA rights and the events on


                                                                                                          Page 244 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts   Page# 244 of329                       Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25       Page 245 of 329




                            June 13th. The exclusion ofrelevant details about HEA ' s involvement and the pre-trial

                            written accord on June 7th reflects a deliberate attempt to mislead. This conduct aligns

                            with Attorney Grievance Commission v. Hodes, where intentional concealment warranted

                            sanctions for violating Rule 4.1.

                            2.       Materiality of the Omitted Information: The withheld information, particularly

                            regarding the June 7th accord and Dillon-Capps's communications about FMLA leave,

                            significantly influenced the court' s perception of the facts. The material omissions meet

                            the criteria established in Klupt v. Krongard, demonstrating that M&S's omissions were

                            relevant to Dillon-Capps's defense.

                            3.      Intent to Mislead and Conceal: M&S' s actions indicate an intent to mislead

                            Dillon-Capps and the court by selectively presenting only facts that supported Ohana' s

                            narrative while omitting evidence that would undermine their claims. This pattern of

                            concealment and distortion reflects a deliberate strategy to obstruct a fair and complete

                            understanding of the case, warranting sanctions under Rule 4.1.

                    705     M&S' s actions meet the Maryland criteria for a breach of Rule 4.1 , as their selective

                    omissions and distortions misrepresented key aspects of Dillon-Capps' s case. The concealment

                    of critical facts in pre-trial statements and affidavits violates Maryland' s ethical standards,

                    justifying sanctions to protect fairness and transparency in judicial proceedings.


                    8       Conclusion
                    706     Maryland law treats violations of Rule 4.1 as serious breaches of professional ethics that

                    compromise pre-trial integrity and obstruct fair litigation. In Dillon-Capps 's case, M&S ' s

                    intentional concealment of material facts demonstrates a clear violation of Rule 4.1 , warranting


                                                                                                           Page 245 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 245 of 329                     Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25          Page 246 of 329




                    sanctions to hold M&S accountable, restore pre-trial fairness, and prevent similar misconduct.

                    The court should impose compensatory relief, fines, and a referral for disciplinary review to

                    reinforce Maryland's standards of honesty and fair dealing in legal practice.


                           E Rule 8.4(c) - Misconduct (Dishonesty, Fraud, Deceit, or Misrepresentation)

                     1      Foundational Principles and Purpose of Rule 8.4(c)
                    707     Rule 8.4(c) of the Maryland Attorneys' Rules of Professional Conduct prohibits attorneys

                    from engaging in dishonesty, fraud, deceit, or misrepresentation, categorizing such actions as

                    professional misconduct. This mle underscores the ethical duty of attorneys to maintain honesty,

                    not only in their direct dealings with the court but also in interactions with opposing parties,

                    witnesses, and other individuals involved in litigation. By classifying deceit and

                    misrepresentation as serious ethical violations, Rule 8.4(c) reinforces the integrity and fairness

                    central to Maryland's judicial system.

                    708     Key elements of Rule 8.4(c) include:

                             I.     Commitment to Honesty and Transparency: Attorneys are required to avoid all

                            forms of dishonesty, including selective omission, misrepresentation, and outright

                            falsehoods.

                            2.      Protection of Judicial Integrity: Rule 8.4(c) safeguards the administration of

                            justice by holding attorneys to the highest standards of honesty and transparency,

                            ensuring that all participants in a case are acting in good faith.

                            3.      Prohibition of Manipulative Tactics: Rule 8.4(c) addresses any conduct

                            intended to deceive or gain an unfair advantage, ensuring that litigation remains fair and

                            equitable.

                                                                                                          Page 246 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 246 of329                     Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25        Page 247 of 329




                    2       Judicial Standards and Pumose from Maryland Precedent
                    709     Maryland courts uphold Rule 8.4(c) to ensure that:

                            l.      Fair Administration of Justice is Preserved: By enforcing sanctions for

                            dishonesty and deceit, courts protect the integrity ofjudicial proceedings from

                            manipulation.

                            2.      Accountability for Unethical Conduct: Maryland courts rely on Rule 8.4(c) to

                            deter attorneys from engaging in unethical behavior, holding them accountable for any

                            dishonest tactics or misrepresentations.

                            3.      Deterrence of Misconduct in Litigation: Sanctions under Rule 8.4(c) are

                            intended to discourage deceptive conduct that could compromise fair adjudication and

                            undermine public confidence in the legal profession.


                    3       Criteria for Establishing a Breach of Rule 8.4(c)
                    710     Sanctions for violations of Rule 8.4(c) are typically warranted when the following criteria

                    are met:

                            l.      Intentional Dishonesty, Fraud, or Misrepresentation: The attorney 's conduct

                            must involve intentional dishonesty, fraudulent actions, or misrepresentation, with the

                            intent to deceive or manipulate.

                            2.      Materiality of the Misconduct: The dishonest actions must be material to the

                            proceedings, meaning they could reasonably affect the court' s findings or the opposing

                            party' s ability to defend against the claims.




                                                                                                        Page 247 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts       Page# 247 of329                  Exhibit 108
             Case 1:24-cv-03744-BAH               Document 16-10         Filed 01/03/25      Page 248 of 329




                            3.       Purpose of Gaining Unfair Advantage: The attorney's conduct must show a

                            motive to gain an unfair advantage in the litigation, rather than to address legitimate legal

                            claims or defenses.


                    4       Maryland Case Law on Rule 8.4(c)
                    711     Attorney Grievance Commission v. Agbaje, 438 Md. 695, 93 A.3d 262 (2014): The

                    Maryland Court of Appeals imposed sanctions on an attorney for repeated dishonesty in legal

                    matters, affirming that violations of Rule 8.4(c) undermine the legal profession' s integrity. The

                    court ruled that repeated deceit warrants severe sanctions to deter similar conduct.

                    712     Attorney Grievance Commission v. Vanderlinde, 364 Md. 376, 773 A.2d 463 (2001):

                    The court imposed strict sanctions for egregious dishonesty, holding that intentional deception

                    and fraud in litigation are severe violations of ethical duties, necessitating punitive measures to

                    uphold the fairness of judicial proceedings.


                    5       Supporting Case Law Beyond Maryland
                    713     In re Sealed Case, 890 F.2d 451 (D.C. Cir. 1989): The D.C. Circuit emphasized the

                    necessity for transparency and truthfulness in all legal dealings, imposing sanctions for deceit

                    and misrepresentation that compromised the fairness of the proceedings.

                    714     United States v. Shaffer Equipment Co., 11 F.3d 450 (4th Cir. 1993): The Fourth

                    Circuit reinforced that all participants in litigation must uphold honesty and candor, imposing

                    sanctions on attorneys whose dishonest tactics distorted the judicial process.


                    6       Cross-Argument Case Law: Rule 8.4(c) and Professional Misconduct
                    715     Attorney Grievance Commission v. Mixter, 441 Md. 416, 109 A.3d 1 (20 15): The

                    Maryland Court of Appeals sanctioned an attorney for dishonesty and manipulation of


                                                                                                           Page 248 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts   Page # 248 of329                      Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25      Page 249 of 329




                    procedural rules, finding that conduct intended to mislead or obstruct justice warrants severe

                    sanctions under Rule 8.4(c).

                    716     Attorney Grievance Commission v. Hodes, 441 Md. 136, 105 A.3d 533 (2014) :

                    Maryland 's highest court held that intentional misrepresentation during litigation violates Rule

                    8.4(c), underscoring that dishonesty in any form constitutes serious ethical misconduct deserving

                    of punitive measures.


                    7       A1,wlication to Dillon-Capps' s Case
                    717     In Dillon-Capps 's case, Miles & Stockbridge (M&S) committed multiple breaches of

                    Rule 8.4(c) through repeated misrepresentations, selective omissions, and deceitful portrayals of

                    key facts. These actions were intended to gain an unfair advantage by distorting the court's

                    understanding of Dillon-Capps's FMLA rights, employment status, and other relevant matters,

                    materially affecting Dillon-Capps's defense.

                            1.      Intentional Misrepresentation and Dishonesty: M&S' s affidavits and

                            statements selectively omitted crucial details about the June 7th accord, Dillon-Capps's

                            protected FMLA rights, and their interactions with HEA. These omissions and distortions

                            constitute intentional misrepresentation, as they were calculated to mislead the court and

                            impair Dillon-Capps's defense, consistent with the conduct sanctioned in Attorney

                            Grievance Commission v. Agbaje.

                            2.      Materiality of the Misrepresentations: The facts misrepresented by M&S were

                            directly relevant to Dillon-Capps' s defenses and to the court' s perception of the case.

                            This conduct meets the standard outlined in Attorney Grievance Commission v.




                                                                                                          Page 249 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts   Page # 249 of329                      Exhibit 108
                Case 1:24-cv-03744-BAH           Document 16-10          Filed 01/03/25        Page 250 of 329
           ..



                             Vanderlinde, as the omissions had significant implications for the court' s findings and

                             materially prejudiced Dillon-Capps' s ability to respond.

                             3.      Intent to Gain an Unfair Advantage: M&S' s actions reflect a strategy to gain an

                            advantage by concealing critical information, which would have clarified Dillon-Capps' s

                            position. The selective presentation of facts shows a motive to mislead, constituting an

                            abuse of Rule 8.4(c) and violating ethical obligations. This dishonest conduct is in

                            alignment with the findings in Mixter and Hodes, where intent to gain an unfair

                            advantage was held as a basis for strict sanctions.

                    718     M&S's repeated misrepresentations and intentional omissions demonstrate clear breaches

                    of Rule 8.4( c), justifying significant sanctions to protect the fairness and integrity of the judicial

                    process.


                    8       Conclusion
                    719     Violations of Rule 8.4(c) are serious breaches that threaten the fair administration of

                    justice, as they compromise the honesty and transparency essential to judicial proceedings. In

                    Dillon-Capps's case, M&S 's deceptive conduct demonstrates a consistent pattern of unethical

                    behavior, warranting sanctions to correct the court record, deter future misconduct, and uphold

                    Maryland ' s standards of ethical legal practice. Recommended sanctions include compensatory

                    relief, fines, and a referral for disciplinary review to reinforce Maryland' s commitment to

                    honesty and integrity in the legal profession.




                                               F Maryland Criminal Law § 9-101: Perjury


                                                                                                            Page 250 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 250 of 329                      Exhibit 108
               Case 1:24-cv-03744-BAH            Document 16-10          Filed 01/03/25        Page 251 of 329
          .,




                     1      Foundational Principles and Pml)ose of§ 9-101
                    720     Maryland Criminal Law§ 9-101 criminalizes perjury as any willfully false or

                    misleading statement made under oath in a judicial proceeding. This statute is central to

                    Maryland' s commitment to judicial integrity, ensuring that all statements under oath are truthful

                    and complete, as even partial truths or omissions can undermine the fairness of the proceedings.

                    Perjury applies not only to outright falsehoods but also to statements crafted to mislead the court,

                    especially when intended to alter judicial findings or interfere with a fair trial.

                    721     Key elements of Maryland's perjury statute include:

                             1.     Commitment to Honesty Under Oath: Maryland law mandates that all

                            statements under oath are not only factually accurate but also presented with full

                            transparency, free from intent to mislead or distort.

                            2.      Protection of Judicial Integrity: § 9-10 I upholds the court' s role as a venue for

                            fair and unbiased adjudication, prohibiting statements that would impair its truth-seeking

                            function.

                            3.      Prevention of Manipulative Tactics: The statute deters litigants and witnesses

                            from using deceptive statements to gain an unfair advantage or influence judicial

                            outcomes.


                    2       Judicial Standards and Pumose from Maryland Precedent
                    722     Maryland courts enforce § 9-101 rigorously to:

                            1.      Uphold the Sanctity of Oath: Courts impose penalties for perjury to emphasize

                            the importance of truthful testimony and the serious commitment entailed in taking an

                            oath.


                                                                                                          Page 251 of329



Memorandum of Law in Support of Mandatory Hearing of Adjudicat~d Facts    Page # 251 of 329                   Exhibit 108
              Case 1:24-cv-03744-BAH             Document 16-10          Filed 01/03/25      Page 252 of 329
          C




                            2.      Ensure Accurate Judicial Findings: By penalizing perjury, Maryland courts

                            protect against distortions of the record, ensuring that judicial findings are based on

                            reliable, truthful information.

                            3.      Deterrence of Deceptive Practices: Sanctions for perjury serve as a deterrent

                            against willful deception in judicial proceedings, reinforcing that honesty is non-

                            negotiable.


                    3       Criteria for Establishing Perjuzy under § 9-101
                    723     Maryland law requires the following criteria for a perjury charge under§ 9-10 l :

                            I.      Knowingly False Statement: The statement must be knowingly false or

                            misleading, made with the awareness that it misrepresents the facts.

                            2.      Intent to Deceive: The person making the statement must intend to deceive or

                            mislead the court, deliberately omitting or distorting material facts to affect the outcome.

                            3.      Material Relevance to Proceedings: The falsehood must relate to a material fact

                            relevant to the court' s findings or the proceedings' outcome, with the potential to alter the

                            court's understanding or judgment.


                    4       Maryland Case Law on Perjury
                    724     Shifflett v. State, 245 Md. 169, 225 A.2d 440 (1967): The Maryland Court of Appeals

                    held that perjury encompasses both outright falsehoods and selective omissions intended to

                    mislead. The court reinforced that perjury includes not only factual inaccuracies but also

                    omissions designed to distort judicial findings.

                    725     Smith v. State, 7 Md. App. 384,256 A.2d 357 (1969): Maryland's Court of Special

                    Appeals clarified that perjury must relate to material facts, meaning facts central to the court's


                                                                                                          Page 252 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts   Page # 252 of 329                     Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25      Page 253 of 329




                    findings. This case emphasizes that falsehoods affecting essential aspects of the case distort

                   judicial outcomes and are grounds for sanctions.


                    5       Supporting Case Law Beyond Maryland
                    726     United States v. Dunnigan, 507 U.S. 87 (1993): The U.S. Supreme Court affinned that

                    perjury includes both direct falsehoods and misleading statements intended to deceive, aligning

                    with Maryland's view that perjury disrupts the court' s truth-seeking mission.

                    727     Bronston v. United States, 409 U.S. 352 (1973): The Supreme Court held that even

                    technically truthful statements may constitute perjury if crafted to mislead, supporting

                    Maryland's interpretation that perjury includes selective omissions and half-truths.


                    6      Cross-Argument Case Law: Perjury, Material Misrepresentation, and Procedural
                    Fairness
                    728     Attorney Grievance Commission v. Mixter, 441 Md. 416, 109 A.3d l (2015): The

                    Maryland Court of Appeals found that deceptive statements intended to influence court

                    proceedings constitute grounds for sanctions. The case supports the notion that perjury impacts

                    procedural fairness and must be penalized to preserve judicial integrity.

                    729     Attorney Grievance Commission v. Vanderlinde, 364 Md. 376, 773 A.2d 463 (2001):

                    This case highlighted that dishonest conduct in court proceedings is a serious ethical violation,

                    warranting penalties to uphold truthfulness and prevent manipulative tactics in litigation.


                    7       A12plication to Dillon-Cap12s' s Case
                    730     In Dillon-Capps' s case, perjury under§ 9-10 I is evident in the affidavits submitted by

                    Ohana executives, including Richard Hartman, Justin Drummond, and Randall Romes. These

                    affidavits contained false or misleading statements crafted to distort the court' s understanding of

                    Dillon-Capps's employment, FMLA rights, and events leading up to the litigation. The
                                                                                                           Page 253 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts   Page # 253 of 329                     Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25        Page 254 of 329




                   perjurious statements have obstructed Dillon-Capps' s defense and damaged the court' s capacity

                   for fair adjudication.

                            l.       Knowingly False Statements: The affidavits contain knowingly false statements

                            and omissions, particularly regarding Dillon-Capps' s June 7th accord, communications

                            about FMLA leave, and employment obligations. These statements mirror the conduct

                            described in Shifflett v. State, as they selectively omitted critical facts to mislead the

                            court.

                            2.       Intent to Deceive: The evidence indicates a clear intent to deceive, as M&S' s

                            presentation of facts was designed to favor Ohana' s position, obscuring evidence that

                            would support Dillon-Capps' s defense. This intent aligns with Maryland' s perjury

                            standard as seen in Smith v. State, warranting sanctions for perjury and other deceptive

                            practices.

                            3.       Material Relevance to the Case: The misstatements directly impacted Dillon-

                            Capps' s defenses, affecting the court' s perception of core elements in the case. The

                            perjurious statements are materially relevant, affecting not only Dillon-Capps' s rights

                            under FMLA but also the legitimacy of Ohana' s claims.

                    731     M&S' s facilitation of perjury through misleading affidavits materially altered the

                    proceedings, creating an unfair disadvantage for Dillon-Capps and obstructing the fair

                    administration of justice. Sanctions are warranted under§ 9-10 I to penalize this misconduct,

                    deter similar future behavior, and preserve the integrity of the judicial process.




                                                                                                            Page 254 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts     Page # 254 of329                       Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25       Page 255 of 329




                    8       Conclusion
                    732     Violations of Maryland's perjury statute,§ 9-101 , undermine the fundamental

                    requirement of honesty in judicial proceedings and compromise the court's truth-seeking role. In

                    Dillon-Capps's case, the intentional misrepresentations and omissions in M&S's affidavits

                    constitute perjury, directly impacting Dillon-Capps' s defense and warranting substantial

                    sanctions. The court should impose fines, compensatory relief, and a referral for criminal and

                    ethical investigation to address the serious breach of judicial integrity and deter further

                    misconduct.


                                                             G Abuse of Process

                    1       Foundational Principles and Pm:pose of Abuse of Process
                    733     The doctrine of abuse of process in Maryland prohibits the misuse of legal proceedings

                    for purposes other than the fair resolution of legitimate claims. Rooted in common law, abuse of

                    process protects litigants from retaliatory and coercive litigation, ensuring that judicial resources

                    are not weaponized. Under Md. Code Ann., Cts. & Jud. Proc.§§ 10-501 and 10-503,

                    Maryland courts apply this equitable doctrine to prevent litigants from leveraging court

                    procedures for improper purposes, underscoring that litigation must serve a genuine legal

                    purpose.

                    734     Key elements of Maryland's abuse of process doctrine include:

                            1.      Protecting Procedural Integrity: Abuse of process addresses litigation

                            conducted with a hidden agenda, prioritizing fairness and the court's role as a venue for

                            legitimate dispute resolution.




                                                                                                          Page 255 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 255 of329                         Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25      Page 256 of 329
  ..,_




                            2.      Deterring Retaliation and Coercion: Maryland courts have made clear that legal

                            proceedings are not tools for retaliating against, intimidating, or punishing an opposing

                            party but must be used to pursue bona fide legal claims.

                            3.      Judicial Standards and Purpose from Maryland Precedent

                            4.      Maryland courts have emphasized that abuse of process disrupts the fair

                            administration of justice and thus warrants sanctions to:

                            5.      Deter Misuse of Court Processes: Sanctions for abuse of process prevent

                            litigants from exploiting legal proceedings for ulterior motives.

                            6.      Protect Against Procedural Manipulation: Maryland' s courts hold that

                            procedural integrity must be safeguarded, with sanctions ensuring that litigation is

                            pursued in good faith.

                            7.      Uphold Fairness and Equitable Relief: Abuse of process sanctions restore

                            balance in litigation and protect defendants from being harmed by groundless or

                            malicious claims.


                    2       Judicial Standards and Pm:vose from Precedent for Abuse of Process
                    735     Maryland courts recognize that abuse of process occurs when judicial procedures are

                    manipulated to achieve goals unrelated to the legitimate resolution of claims. Imposing sanctions

                    for abuse of process serves essential functions:

                            1.      Deterring Improper Litigation Tactics: Sanctions prevent parties from misusing

                            court procedures for illegitimate aims, such as harassment, coercion, or pressure tactics,

                            which distort the justice system and waste judicial resources.




                                                                                                         Page 256 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts   Page # 256 of 329                    Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25     Page 257 of 329




                            2.      Upholding Judicial Integrity: Sanctions reinforce the principle that the judicial

                            process must be used solely for the resolution of legitimate claims. Courts are committed

                            to maintaining a forum where rights are adjudicated based on truth and law, free from

                            procedural abuse.

                            3.      Protecting Parties from Harassment and Coercion: Sanctions provide relief

                            and protection for parties harmed by abuse of process, addressing financial, reputational,

                            or psychological harm caused by malicious or frivolous claims.

                            4.      Accountability for Legal Misconduct: Sanctions ensure that litigants who

                            engage in abuse of process are held accountable, reinforcing the notion that judicial

                            processes are not tools for harassment or intimidation.


                    3       Criteria for Imposing Sanctions for Abuse of Process
                    736     To impose sanctions for abuse of process in litigation, Maryland courts typically require

                    these elements:

                            I.      Ulterior Purpose or Improper Intent: There must be evidence that the party' s

                            use of court procedures was driven by an ulterior motive, such as harassment, coercion,

                            or to exert undue pressure on the opposing party, rather than a genuine effort to resolve

                            the dispute.

                            2.      Improper Manipulation of Judicial Procedure: The process must be used in an

                            improper or distorted way, demonstrating a misuse of the court's mechanisms to achieve

                            outcomes beyond the legitimate scope of litigation, such as filing baseless motions to

                            delay or intimidate.




                                                                                                        Page 257 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 257 of329                    Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25     Page 258 of 329




                            3.      Prejudice or Harm to the Opposing Party: The abuse must result in harm to the

                            opposing party, either by impairing their ability to present a defense or by causing

                            unnecessary financial, reputational, or emotional damage.

                    737     By establishing these criteria, Maryland courts can impose sanctions to deter abuse of

                    process, protect the integrity of judicial proceedings, and provide recourse for parties harmed by

                    procedural misconduct.

                    4       MaQ:'.land Case Law on Abuse of Process
                    738     One Thousand Fleet Ltd. Partnership v. Guerriero, 346 Md. 29, 694 A.2d 952 ( 1997):

                    The Maryland Court of Appeals held that abuse of process arises when judicial procedures are

                    used to achieve an improper objective. The court stressed that judicial proceedings should not be

                    exploited as tools of harassment or retaliation.

                    739     Walker v. American Ass'n of Professional Eye Care Specialists, Inc., 145 Md. App.

                    397,805 A.2d 1127 (2002): Maryland' s Court of Special Appeals found that using judicial

                    proceedings for coercive purposes, such as pressuring or intimidating the opposing party,

                    constitutes abuse of process. Sanctions are warranted when legal procedures are inappropriately

                    leveraged.


                    5       Supporting Case Law Beyond Mruyland
                    740     Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007): The U.S. Supreme Court ruled

                    that legal claims must have a legitimate basis rather than be used as a strategy for achieving an

                    unrelated or collateral purpose, aligning with Maryland 's prohibition against abuse of process.




                                                                                                         Page 258 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts   Page # 258 of329                     Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25     Page 259 of 329




                    741     Younger v. Harris, 401 U.S. 37 (1971): The Supreme Court emphasized the duty of

                    courts to prevent abuse of judicial processes, underscoring that litigation should not be

                    weaponized to harm or unduly burden opposing parties.


                    6       Cross-Argument Case Law: Abuse of Process and Retaliation
                    742     Attorney Grievance Commission v. Mixter, 441 Md. 416, 109 A.3d 1 (2015): The

                    Maryland Court of Appeals held that abuse of process is a form of procedural misconduct that

                    harms judicial integrity and requires sanctions. The court found that intentional procedural

                    manipulation disrupts justice and must be addressed to prevent similar abuses.

                    743     Klupt v. Krongard, 126 Md. App. 179, 728 A.2d 727 (1999): Maryland' s Court of

                    Special Appeals recognized abuse of process as an avenue for sanctioning parties who misuse

                    court resources for improper purposes, reinforcing that courts must safeguard against such

                    misconduct.


                    7       A1wlication to Dillon-Capps' s Case
                    744     In Dillon-Capps' s case, Ohana and M&S coordinated an abuse of process by leveraging

                    the court system to harass and coerce, rather than pursuing legitimate claims. From the no-notice

                    TRO to the unwarranted contempt orders and misleading affidavits, the Plaintiff and its counsel

                    engaged in procedural manipulation that harmed Dillon-Capps both financially and

                    reputationally.

                    745     Improper Purpose and Ulterior Motives: Ohana' s actions reflect a pattern of

                    harassment and retaliation rather than a genuine attempt to resolve legal claims. The no-notice

                    TRO and subsequent contempt orders were part of a coordinated effort to pressure Dillon-Capps,




                                                                                                         Page 259 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts   Page # 259 of329                       Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25      Page 260 of 329
  .,_




                   with M&S filing affidavits that selectively omitted material facts central to Dillon-Capps's

                    defense.

                    746     Manipulation of Court Mechanisms: M&S's filings contain material omissions and

                    selective presentations intended to mislead the court, in direct alignment with One Thousand

                    Fleet Ltd. Partnership v. Guerriero' s standard for abuse of process. Rather than pursuing an

                    honest dispute, these actions leveraged judicial resources to retaliate against Dillon-Capps.

                    747     Resulting Prejudice and Harm to Dillon-Capps: The abusive litigation tactics

                    employed by Ohana and M&S have caused Dillon-Capps substantial harm, from reputational

                    damage to financial strain. These tactics meet the Maryland criteria for abuse of process, as they

                    exploited court procedures to further an agenda outside the legal claims, justifying significant

                    sanctions.

                    748     M&S and Ohana' s conduct satisfies Maryland' s standards for abuse of process,

                    demonstrating that their motives and tactics were intended to coerce rather than resolve

                    legitimate claims. Sanctions are warranted to protect the court' s integrity, prevent similar

                    misconduct, and uphold Maryland' s standards for fair and ethical litigation.

                    749     Abuse of process in Maryland is treated as a serious offense, requiring sanctions to deter

                    future misuse and protect procedural fairness . Ohana and M&S ' s misuse of judicial mechanisms

                    to retaliate and harm Dillon-Capps underscores the need for compensatory relief, monetary fines,

                    and judicial oversight to prevent future litigation abuse. Sanctions will reinforce Maryland' s

                    commitment to ethical and just litigation, preserving the court's role as a fair arbiter of legitimate

                    disputes.




                                                                                                          Page 260 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 260 of329                     Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25       Page 261 of 329




                    8       Conclusion

                    750     Maryland's ethical standards and statutory obligations regarding perjury and truthfulness
                   create a comprehensive framework that prohibits dishonesty in all forms, especially when it
                    materially impacts judicial findings. The breaches of Rules 3.3(a), 4.1, and 8.4(c), along with
                    perjury under Md. Code Ann., Crim. Law§ 9-101 , demonstrate that both M&S and Ohana
                    have engaged in unethical and unlawful conduct by submitting misleading affidavits and
                    manipulating material facts to disadvantage Dillon-Capps.
                    751     Sanctions are necessary to restore judicial integrity, deter similar conduct, and reinforce
                    Maryland's commitment to honesty and accountability in legal proceedings. Recommended
                    sanctions include compensatory relief, monetary fines, and a referral to the Maryland Attorney
                    Grievance Commission to address professional misconduct. These sanctions will affirm the
                    court's role in upholding ethical standards and ensuring fair and just outcomes.


                                                    H Attempted/False Imprisonment

                    I       Foundations for Attempted/False Imprisonment in Sanctions
                    752     In Maryland, false imprisonment encompasses any unlawful restraint of a person 's liberty

                    without legal justification. Under Md. Code Ann., Cts. & Jud. Proc.§§ 10-501 and 10-503,

                    Maryland law allows courts to impose sanctions on litigants who misuse legal processes to

                    attempt confinement through false imprisonment. Attempted false imprisonment is achieved

                    when one party seeks to use legal procedures to confine or coerce another, even if full

                    confinement does not occur. This conduct is actionable and sanctionable when executed without

                    legitimate purpose and with malicious intent to harm or intimidate, particularly in cases where

                    judicial processes are weaponized to achieve wrongful confinement. Sanctions serve as a

                    deterrent against litigants who attempt to misuse judicial authority to restrain another' s liberty

                    for an improper purpose.



                                                                                                           Page 261 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 261 of 329                     Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25       Page 262 of 329




                   2        Judicial Standards and Purpose from Precedent
                   753      Maryland courts and broader case law recognize that attempted or false imprisonment,

                   especially when achieved through judicial abuse, is fundamentally sanctionable. Sanctions in

                   these cases serve several critical purposes:

                            I.      Deterrence of Malicious Litigation Tactics: Sanctions discourage the misuse of

                           judicial processes as tools for intimidation, harassment, or coercion, protecting court

                            resources from being expended on baseless actions.

                            2.      Preservation of Judicial Integrity: Courts use sanctions to ensure that legal

                            mechanisms are not manipulated to control or silence others without just cause. By

                            holding litigants accountable for procedural abuse, sanctions reinforce the judiciary's

                            commitment to fairness.

                            3.      Protection oflndividual Liberty: Sanctions uphold individuals' rights to be free

                            from unwarranted restraint. Judicial processes weaponized for confinement or coercion

                            undermine liberty, and sanctions prevent such misuse.

                            4.      Accountability for Misuse of Authority: Sanctions ensure that individuals and

                            entities seeking to manipulate legal procedures for wrongful confinement are held

                            accountable. This approach safeguards individual rights and protects against judicial

                            overreach.


                    3       Criteria for Imposing Sanctions for Attempted/False Imprisonment
                    754     To impose sanctions for attempted or false imprisonment in the context of litigation,

                    Maryland courts generally require:




                                                                                                         Page 262 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 262 of 329                   Exhibit 108
            Case 1:24-cv-03744-BAH                 Document 16-10        Filed 01/03/25      Page 263 of 329




                            1.      Intent to Confine or Restrain Without Just Cause: The party's actions show a

                            deliberate effort to unlawfully confine or control another, often through procedural

                            manipulation or abuse of judicial authority.

                            2.      Absence of Legitimate Purpose: The actions must lack any lawful or legitimate

                           justification and instead focus on using judicial processes solely to harass or exert control

                            over the individual.

                            3.      Malicious Intent or Recklessness: The conduct must reflect malicious intent or a

                            reckless disregard for the rights of the other party, often involving perjury, fabricated

                            claims, or procedural manipulations designed to harm or intimidate.

                            4.      Use of Judicial Process to Coerce: The party abuses legal mechanisms- such as

                            baseless show cause orders or contempt motions-to coerce compliance or achieve

                            wrongful confinement of the opposing party.

                    755     By aligning these elements, Maryland courts ensure that sanctions are applied

                    consistently to protect individuals from improper confinement and to uphold judicial integrity.


                    4       Maryland Case Law
                    756     Montgomery Ward v. Wilson, 339 Md. 701 , 664 A.2d 916 (1995): Maryland' s Court of

                    Appeals held that confinement without legal grounds constitutes false imprisonment. The court

                    established that confining or attempting to confine through procedural abuse, without a

                    legitimate basis, is actionable and warrants sanctions.

                    757     Jones v. Jones, 46 Md. App. 460, 418 A.2d 1253 ( 1980): The Maryland Court of Special

                    Appeals ruled that fraudulent use of judicial processes to achieve confinement is tantamount to




                                                                                                          Page 263 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts     Page# 263 of329                      Exhibit 108
            Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25      Page 264 of 329




                   false imprisonment. This case clarified that malicious pursuit of confinement under false

                   pretenses is sanctionable conduct.

                    758     King v. Ruffin, 89 Md. App. 588, 598 A.2d 756 (1991 ): The court held that legal

                    proceedings cannot be misused to achieve confinement under fraudulent or malicious

                    circumstances. This precedent supports imposing sanctions for attempted confinement based on

                    deceptive practices or abuse of legal mechanisms.


                    5       Supporting Case Law B~yond Mazyland
                    759     Broughton v. State of New York, 37 N.Y.2d 451 , 373 N.Y .S.2d 87,335 N.E.2d 310

                    ( 1975): The New York Court of Appeals ruled that attempted false imprisonment, when done

                    with intent to confine through legal mechanisms, may qualify as false imprisonment. The

                    decision set precedent that procedural abuses intending to restrict another' s freedom warrant

                    severe penalties.

                    760     Lenarz v. State, 30 I Conn. 417, 22 A.3d 536 (2011 ): The Connecticut Supreme Court

                    ruled that actions taken toward wrongful confinement through legal manipulations could be

                    sanctioned, especially when motivated by malice or intent to control another's actions.


                    6       Cross Argument Case Law
                    761     Pierson v. Ray, 386 U.S. 547 (1967): In the context of abuse of legal mechanisms, the

                    U.S. Supreme Court held that judicial immunity does not protect individuals who misuse legal

                    processes to confine or harm others. This case supports the broader argument that judicial

                    mechanisms cannot be used to achieve wrongful confinement.

                    762     Pulliam v. Allen, 466 U.S. 522 (1984): This case highlighted that injunctive relief and

                    attorney's fees are available under§ 1983 when judicial actions result in wrongful confinement.


                                                                                                        Page 264 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 264 of329                    Exhibit 108
            Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25       Page 265 of 329
 ,.




                    It emphasizes that abuse of authority in attempts to confine is actionable and can be met with

                    financial and procedural sanctions.


                    7       A1mlication to Dillon-Ca1ws' s Case
                    763     In Dillon-Capps' s case, Ohana and M&S attempted to confine Dillon-Capps unlawfully

                    through procedural abuse, filing baseless motions with the intent to restrain Dillon-Capps's

                    freedom unjustly:

                    764     Intent to Confine Without Just Cause: Ohana and M&S pursued a second show cause

                    motion seeking Dillon-Capps' s incarceration based on perjured statements and misleading

                    claims. The motion was designed to wrongfully restrict Dillon-Capps' s liberty under false

                    pretenses, which aligns with the criteria established in Montgomery Ward v. Wilson for false

                    imprisonment and warrants sanctions.

                    765     Lack of Legitimate Purpose: The repeated filings lacked legitimate purpose, as they

                    were intended to intimidate and compel compliance from Dillon-Capps through coercion rather

                    than achieve a fair resolution. This abusive use of judicial processes, as in Jones v. Jones,

                    constituted sanctionable conduct due to the lack of just cause or lawful purpose.

                    766     Malicious Intent and Reck.less Disregard: Ohana and M&S ' s conduct showed reckless

                    disregard for Dillon-Capps's rights, as evidenced by continued procedural manipulations

                    intended to coerce, intimidate, and restrain. This aligns with the findings in King v. Ruffin, where

                    deceptive practices to achieve confinement were met with sanctions.

                    8       Conclusion
                    767     Under Md. Code Ann., Cts. & Jud. Proc. §§ 10-501 and 10-503, Maryland law

                    supports sanctions against litigants who attempt to achieve false imprisonment through abuse of


                                                                                                          Page 265 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 265 of 329                    Exhibit 108
            Case 1:24-cv-03744-BAH              Document 16-10           Filed 01/03/25       Page 266 of 329
 ,.




                   judicial processes. Ohana and M&S 's actions, including filing motions aimed at wrongful

                   confinement based on false claims and perjured statements, meet the criteria for attempted false

                   imprisonment. The court should impose severe sanctions to deter such misconduct, uphold

                   judicial integrity, and protect Dillon-Capps' s rights, consistent with Maryland and national

                   precedent.


                                                          I Malicious Prosecution

                    1       Foundations for Malicious Prosecution in Sanctions
                   768      Malicious prosecution involves initiating legal action with improper motives, intending to

                    harm the defendant rather than to resolve a legitimate dispute. Under Maryland law, Md. Code

                    Ann., Cts. & Jud. Proc. §§ 10-501 and 10-503 support the imposition of sanctions for

                    malicious prosecution, especially when cases are filed without a legitimate basis and driven by

                    ulterior motives, such as harassment or intimidation. Malicious prosecution is a misuse of the

                    court system, leading to financial, emotional, and reputational harm to the opposing party.


                    2       Judicial Standards and Pm:pose from Precedent for Malicious Prosecution
                    769     Maryland courts impose sanctions for malicious prosecution to achieve these core

                    purposes:

                    770     Deterrence of Frivolous and Vexatious Litigation: Sanctions discourage litigants from

                    filing cases with malicious intent or without substantive justification, thereby protecting judicial

                    resources and promoting fair use of the court system.

                    771     Protection oflndividual Rights: Sanctions safeguard individuals from the harm caused

                    by baseless lawsuits, including damage to reputation, unnecessary legal expenses, and emotional

                    distress.

                                                                                                          Page 266 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 266 of 329                    Exhibit 108
            Case 1:24-cv-03744-BAH              Document 16-10           Filed 01/03/25       Page 267 of 329




                   772     Maintaining Judicial Integrity: Sanctions reinforce the judiciary' s role as an impartial

                   forum for legitimate disputes, ensuring that courts are not misused to pursue personal vendettas

                   or improper objectives.

                   773     Accountability for Deceptive or Fraudulent Actions: Courts use sanctions to hold

                   parties accountable when they attempt to deceive the court or mislead the judicial process

                   through fraudulent or malicious filings, fostering a system that values honesty and integrity.


                   3        Criteria for lmposin~ Sanctions for Malicious Prosecution
                   774      To impose sanctions for malicious prosecution, Maryland courts generally require:

                   775      Absence of Probable Cause or Legitimate Basis: The underlying claim or lawsuit must

                    lack a legitimate foundation or probable cause, indicating that the plaintiffs case is baseless and

                   was filed without reasonable grounds.

                    776     Malicious Intent or Improper Purpose: The party filing the lawsuit must have acted

                    with malicious intent or an ulterior motive, such as harassment, retaliation, or coercion, rather

                    than a genuine desire for legal resolution.

                    777     Intentional Misrepresentation or Fraud upon the Court: The case often involves

                    deceptive practices, such as perjury, material misstatements, or intentional omissions, intended to

                    manipulate the court or harm the opposing party.

                    778     Actual Harm to the Defendant: The baseless litigation must result in real harm to the

                    defendant, including financial loss, reputational damage, or significant emotional distress.


                    4       Maryland Case Law
                    779     One Thousand Fleet Ltd. Partnership v. Guerriero, 346 Md. 29, 694 A.2d 952 (1997):

                    The Maryland Court of Appeals found that initiating a lawsuit with malicious intent and without


                                                                                                         Page 267 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 267 of 329                   Exhibit 108
            Case 1:24-cv-03744-BAH              Document 16-10           Filed 01/03/25     Page 268 of 329




                   probable cause is actionable as malicious prosecution, establishing the grounds for sanctions

                   when litigation is pursued for improper purposes.

                   780     Keys v. Chrysler Credit Corp., 303 Md. 397, 494 A.2d 200 (1985): The court

                   confirmed that a lack of probable cause combined with malice in filing a lawsuit supports

                   sanctions for malicious prosecution. This decision underscores the importance of legitimate

                    purpose and factual basis in initiating legal proceedings.

                   781      Herring v. Citizens Bank & Trust Co., 21 Md. App. 517, 321 A.2d 182 (1974):

                    Maryland courts held that lawsuits filed with the intent to harass or cause reputational harm,

                    rather than resolve a valid legal claim, warrant sanctions for malicious prosecution.


                    5       Supporting Case Law Beyond Maryland
                    782     Wilson v. Parker, Covert & Chidester, 28 Cal. 4th 811, 123 Cal. Rptr. 2d 19, 50 P.3d

                    733 (2002): The California Supreme Court upheld sanctions for malicious prosecution,

                    emphasizing that lawsuits filed with improper motives and without probable cause compromise

                   judicial integrity and justify sanctions.

                    783     Swick v. Liautaud, 169 Ill. 2d 504,662 N.E.2d 1238 (1996): The Illinois Supreme Court

                    found that malicious prosecution requires a lack of probable cause and an ulterior motive, such

                    as using litigation to intimidate or coerce the opposing pa1ty, aligning with the grounds for

                    sanctions.


                    6       Cross Argument Case Law
                    784     Pierson v. Ray, 386 U.S. 547 (1967): The U.S. Supreme Court clarified that judicial

                    immunity does not extend to actions that misuse court authority for malicious purposes, laying a

                    foundation for holding parties accountable when they misuse the judiciary to harm others.


                                                                                                        Page 268 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 268 of329                    Exhibit 108
            Case 1:24-cv-03744-BAH              Document 16-10           Filed 01/03/25       Page 269 of 329




                   785     Pulliam v. Allen, 466 U.S. 522 (1984): The Court found that injunctive relief and

                   attorney' s fees may be awarded under § 1983 when judicial actions involve malicious intent,

                   supporting the imposition of sanctions to prevent abuse of judicial mechanisms.


                   7       A1;mlication to Dillon-Capps' s Case
                   786      In Dillon-Capps's case, Ohana and M&S engaged in malicious prosecution by pursuing

                   litigation based on perjured affidavits, baseless claims, and improper motives:

                   787      Absence of Probable Cause or Legitimate Basis: Ohana' s lawsuit lacked a legitimate

                    basis, relying on misrepresentations and unsupported claims rather than any reasonable legal

                   grounds. This meets the standard in One Thousand Fleet Ltd. Partnership v. Guerriero for

                    malicious prosecution.

                    788     Malicious Intent or Improper Purpose: The filings and procedural tactics reveal an

                    intent to harm Dillon-Capps financially and reputationally, as opposed to resolving a valid legal

                    issue. This aligns with Keys v. Chrysler Credit Corp. , where sanctions were imposed for

                    pursuing litigation with malice and without legitimate purpose.

                    789     Intentional Misrepresentation and Fraud upon the Court: The use of perjured

                    affidavits and misleading statements demonstrate that Ohana and M&S sought to deceive the

                    court, fitting the criteria outlined in Herring v. Citizens Bank & Trust Co. for sanctionable

                    malicious prosecution.

                    790     Significant Harm to Dillon-Capps: The litigation has caused financial strain,

                    reputational harm, and emotional distress for Dillon-Capps. The intent to harm is evident,

                    making sanctions appropriate under Maryland' s standards for malicious prosecution.




                                                                                                         Page 269 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 269 of 329                   Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25       Page 270 of 329




                    8       Conclusion
                    791     Malicious prosecution, when pursued through litigation, undennines judicial integrity and

                    imposes undue harm on the opposing party. Supported by Md. Code Ann., Cts. & Jud. Proc.

                    §§ 10-501 and 10-503 and Maryland case law, Ohana and M&S' s conduct in Dillon-Capps's

                    case reflects malicious prosecution. The court should impose severe sanctions to deter future

                    misconduct, uphold fairness, and protect Dillon-Capps' s rights, in line with principles

                    established in One Thousand Fleet Ltd. Partnership v. Guerriero, Keys v. Chrysler Credit Corp. ,

                    and other relevant precedents.


                                                            J Vexing Litigations

                    1       Foundations for Vexatious Liti~ation in Sanctions
                    792     Vexatious litigation involves initiating or perpetuating legal proceedings without

                    substantial justification, often to harass, intimidate, or exhaust the resources of the opposing

                    party. Under Maryland law, Md. Code Ann., Cts. & Jud. Proc.§§ 10-501 and 10-503 provide

                    a basis for sanctioning vexatious litigants, especially when the litigation lacks legitimate purpose

                    or is driven by improper motives. Vexatious litigation is particularly harmful because it clogs the

                    judicial system with meritless claims, infringes on the defendant' s right to a fair process, and

                    causes financial and emotional strain.


                    2       Judicial Standards and Puwose from Precedent for Vexatious Litigation
                    793     Sanctions for vexatious litigation are imposed by Maryland courts to fulfill several

                    critical purposes:




                                                                                                          Page 270 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 270 of 329                    Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25      Page 271 of 329




                    794     Deterrence of Frivolous and Abusive Filings: Sanctions discourage litigants from filing

                    meritless claims or continuing litigation solely to harass or delay, conserving judicial resources

                    for legitimate cases.

                    795     Protection of Defendants' Rights: Sanctions serve to protect defendants from undue

                    hardship caused by continuous or unnecessary litigation, which imposes financial, reputational,

                    and emotional harm.

                    796     Maintenance of Judicial Integrity: Sanctions uphold the court' s role as a forum for

                    legitimate disputes and prevent misuse ofjudicial processes by parties acting in bad faith.

                    797     Accountability for Harassing Conduct: Courts impose sanctions to hold parties

                    accountable for attempting to harm the opposing party through the legal system, ensuring that the

                    judiciary is not used as a weapon for harassment or intimidation.


                    3       Criteria for Imposing Sanctions for Vexatious Litigation
                    798     To impose sanctions for vexatious litigation, Maryland courts typically require:

                    799     Pattern of Frivolous or Meritless Filings: The litigant must demonstrate a pattern of

                    filings that lack legal or factual support, suggesting an intent to harass or delay rather than pursue

                    legitimate claims.

                    800     Absence of Substantial Justification: The actions in question must lack a valid legal

                    basis or justification, with no reasonable grounds to believe the claims could succeed.

                    801     Intent to Harass, Intimidate, or Exhaust Resources: There must be evidence that the

                    litigation was pursued with the intent to harm the opposing party, either by depleting their

                    resources or subjecting them to undue stress.




                                                                                                          Page 271 of329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 271 of329                      Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25      Page 272 of 329




                    802     Significant Burden or Harm to the Opposing Party: Vexatious litigation must impose

                    a significant burden on the defendant, such as financial strain, emotional distress, or reputational

                    harm.


                    4       Maryland Case Law
                    803     DeLeon Enterprises, Inc. v. Zaino, 92 Md. App. 399, 608 A.2d 828 (1992): The Court

                    of Special Appeals held that litigants who pursue claims with no substantial justification can be

                    sanctioned for vexatious litigation, particularly when the litigation lacks merit and is driven by

                    an ulterior motive.

                    804     Unger v. Berger, 214 Md. 20, 133 A.2d 771 (1957): Maryland' s Court of Appeals found

                    that continuous baseless filings, designed to harass the opposing party, justify sanctions. This

                    case affirmed that vexatious litigation burdens the judicial system and unfairly disadvantages the

                    defendant.

                    805     Klotz v. Klotz, 97 Md. App. 532, 631 A.2d 321 (1993): The court emphasized that

                    sanctions are appropriate in cases of vexatious litigation where a pattern of meritless claims

                    imposes unnecessary hardship on the defendant, establishing grounds for relief.


                    5       Supporting Case Law Beyond Maryland
                    806     In re Marriage of Flaherty, 31 Cal. 3d 637, 646 P.2d 179 (1982): The California

                    Supreme Court ruled that litigants who engage in frivolous filings or repetitive motions without

                    basis can be sanctioned to prevent harassment and abuse of the court system.

                    807     In re TCI Ltd., 769 F.2d 441 (7th Cir. 1985): The Seventh Circuit held that sanctions for

                    vexatious litigation are justified when filings serve only to harass the opposing party or delay

                    proceedings, highlighting the need for courts to protect defendants from abusive litigation.


                                                                                                         Page 272 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 272 of329                    Exhibit 108
            Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25     Page 273 of 329




                    6       Cross Argument Case Law
                    808     Chambers v. NASCO, Inc., 501 U.S. 32 (1991): The U.S. Supreme Court affirmed the

                    authority of courts to impose sanctions for vexatious litigation as part of their inherent powers to

                    control abusive conduct within their proceedings, even outside statutory guidelines.

                    809     Roadway Express, Inc. v. Piper, 447 U.S. 752 (1980): The Court held that federal

                    courts have inherent authority to sanction litigants for abusive conduct, emphasizing the

                    importance of sanctions to deter vexatious behavior that disrupts judicial functions.


                    7       Application to Dillon-Ca12ps' s Case
                    810     In Dillon-Capps's case, Ohana and M&S engaged in vexatious litigation by pursuing

                    baseless claims, filing unnecessary motions, and perpetuating litigation with the intent to harm

                    Dillon-Capps financially and emotionally:

                    8I1     Pattern of Frivolous Filings and Baseless Claims: The lawsuit and subsequent filings

                    show a repeated pattern of motions and claims with no substantial justification, intending to

                    harass Dillon-Capps rather than resolve any legitimate legal dispute. This meets the criteria

                    outlined in Deleon Enterprises, Inc. v. Zaino.

                    812     Absence of Substantial Justification: Ohana' s and M&S's claims lacked a valid legal

                    foundation, with procedural filings often based on perjured statements and unsupported

                    assertions. The case aligns with Unger v. Berger, where sanctions were imposed for litigation

                    pursued without a legitimate basis.

                    813     Intent to Harass and Exhaust Resources: The filings demonstrate an intent to harm

                    Dillon-Capps' s financial stability and emotional well-being by prolonging the litigation




                                                                                                         Page 273 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 273 of329                     Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25     Page 274 of 329




                    unnecessarily. This behavior fits the standard in Klotz v. Klotz, where meritless claims were filed

                    to burden the defendant.

                    814     Significant Burden on Dillon-Capps: The prolonged litigation has imposed

                    considerable financial, reputational, and emotional harm on Dillon-Capps, justifying sanctions

                    under Maryland's standards for vexatious litigation.


                    8       Conclusion
                    815     Vexatious litigation, pursued without legitimate purpose or factual support, burdens both

                    the opposing party and the judicial system. Under Md. Code Ann., Cts. & Jud. Proc.§§ 10-501

                    and 10-503 and Maryland precedent, Ohana and M&S's conduct in Dillon-Capps's case

                    constitutes vexatious litigation. The court should impose severe sanctions to deter future abuse,

                    protect Dillon-Capps's rights, and uphold judicial integrity, consistent with principles established

                    in Deleon Enterprises, Inc. v. Zaino, Unger v. Berger, and other relevant precedents.


                                            K Frivolous Litigation as Sanctionable Conduct

                    1       Foundations for Frivolous Litigation in Sanctions
                    816     Frivolous litigation involves pursuing claims that lack legal merit or factual support,

                    often filed without substantial justification. Maryland law, supported by Md. Code Ann., Cts. &

                    Jud. Proc. §§ 10-501 and 10-503, authorizes sanctions for frivolous litigation to preserve

                    judicial resources and prevent misuse of court processes. Frivolous litigation wastes time,

                    burdens defendants, and abuses the judicial system, particularly when parties knowingly bring

                    baseless claims or continue litigation without a legitimate purpose.




                                                                                                         Page 274 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 274 of329                     Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25      Page 275 of 329




                    2       Judicial Standards and Pumose from Precedent for Frivolous Litigation
                    817     Maryland courts impose sanctions for frivolous litigation to achieve several critical

                    purposes:

                    818     Preservation of Judicial Resources: Sanctions deter parties from engaging in baseless

                    claims that consume court resources, ensuring that courts remain available for genuine disputes.

                    819     Deterrence of Abuse and Harassment: Sanctions prevent parties from using litigation

                    to harass or intimidate others, especially when cases are pursued without legal or factual support.

                    820     Protection of Defendants' Rights: Sanctions protect defendants from undue financial

                    and emotional harm caused by defending against meritless claims.

                    821     Promotion of Judicial Integrity: Sanctions reinforce that courts are forums for

                    legitimate legal matters and prevent misuse of the judicial process for improper purposes.


                    3       Criteria for Imposing Sanctions for Frivolous Litigation
                    822     To impose sanctions for frivolous litigation, Maryland courts typically consider these

                    elements:

                            1.        Lack of Legal or Factual Basis: The claims must be clearly without legal or

                            factual merit, such that a reasonable attorney would recognize them as baseless.

                            2.        Absence of Substantial Justification: The filings lack a genuine legal basis, with

                            no reasonable grounds to believe they could succeed, indicating an improper purpose for

                            filing.

                            3.        Improper Intent to Harass or Burden: Evidence that the litigation was pursued

                            with the intent to harass, delay, or burden the opposing party, rather than resolve any

                            actual dispute.


                                                                                                         Page 275 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 275 of329                     Exhibit 108
            Case 1:24-cv-03744-BAH              Document 16-10           Filed 01/03/25       Page 276 of 329




                           4.       Financial and Emotional Harm to the Defendant: The baseless claims cause

                            unnecessary hann to the defendant, including costs, reputational damage, and stress

                            associated with defending against frivolous litigation.


                   4        Mazyland Case Law
                   823      Inlet Assocs. v. Assateague House Condo. Ass'n, 313 Md. 41 3, 545 A.2d 1296 ( 1988):

                   The Maryland Court of Appeals held that sanctions are warranted when a party initiates frivolous

                   claims with no substantial justification, particularly when the intent is to harass or burden the

                   opposing party.

                    824     Majority Properties, Inc. v. Town of Hancock, 333 Md. 3, 633 A.2d 392 (1993): This

                    case established that sanctions are appropriate when legal action lacks any substantial

                   justification or is filed to delay, harass, or coerce, setting a clear standard for frivolous litigation.

                    825     Needle v. White, 81 Md. App. 463, 568 A.2d 856 (1 990): The Maryland Court of

                    Special Appeals affinned sanctions against litigants who pursued claims with no factual or legal

                    merit, emphasizing the role of sanctions in deterring frivolous claims and protecting defendants

                    from undue hardship.


                    5       Supporting Case Law Beyond Maryland
                    826     Christianburg Garment Co. v. EEOC, 434 U.S. 41 2 (1 978): The U.S. Supreme Court

                    upheld sanctions for frivolous litigation, finding that lawsuits without legal merit or filed with

                    improper intent justify financial penalties to deter abuse of the judicial system.

                    827     Roadway Express, Inc. v. Piper, 447 U.S. 752 (1 980): The Supreme Court established

                    that federal courts may impose sanctions for frivolous litigation, particularly when such cases are

                    filed with the intent to harass or waste judicial resources.


                                                                                                             Page 276 of329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts     Page # 276 of329                       Exhibit 108
            Case 1:24-cv-03744-BAH              Document 16-10           Filed 01/03/25      Page 277 of 329




                   6        Cross Argument Case Law
                   828      Chambers v. NASCO, Inc., 501 U.S. 32 (1991): The U.S. Supreme Court reinforced

                   that courts have inherent authority to sanction parties engaging in frivolous litigation,

                    underscoring the judiciary's role in maintaining integrity and deterring abuse.

                   829      Miller v. Bittner, 50 Md. App. 302,437 A.2d 81 (1981): The Maryland Court of Special

                   Appeals emphasized that sanctions are necessary to prevent abuse of legal processes through

                    baseless or frivolous filings, furthering the judicial standard for sanctions in Maryland.


                    7       Application to Dillon-Ca12ps's Case
                    830     In Dillon-Capps's case, Ohana and M&S engaged in frivolous litigation by pursuing

                    unsupported claims, submitting baseless motions, and advancing litigation without merit:

                    831     Lack of Legal and Factual Basis: Ohana and M&S's claims lacked any substantial legal

                    foundation, relying on perjured affidavits and unsupported allegations. This fits the criteria for

                    frivolous litigation as outlined in Inlet Assocs. v. Assateague House Condo. Ass 'n.

                    832     Absence of Substantial Justification: The filings and procedural motions served no

                    legitimate purpose and had no likelihood of success. As in Majority Properties, Inc. v. Town of

                    Hancock, the claims were clearly unjustified and designed to harass.

                    833     Improper Intent to Harass and Burden Dillon-Capps: The litigation reveals a clear

                    intent to exhaust Dillon-Capps' s financial and emotional resources, causing undue hardship and

                    distraction from meaningful pursuits. This aligns with the standards set in Needle v. White.

                    834     Significant Harm to Dillon-Capps: The baseless claims and prolonged litigation have

                    inflicted financial, reputational, and emotional harm on Dillon-Capps, meeting Maryland ' s

                    criteria for imposing sanctions for frivolous litigation.


                                                                                                           Page 277 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 277 of 329                       Exhibit 108
            Case 1:24-cv-03744-BAH              Document 16-10           Filed 01/03/25       Page 278 of 329




                    8       Conclusion
                    835     Frivolous litigation undermines judicial efficiency, burdens defendants with baseless

                    claims, and compromises the integrity of the judicial process. Supported by Md. Code Ann.,

                    Cts. & Jud. Proc.§§ 10-501 and 10-503 and Maryland precedent, Ohana and M&S' s conduct

                    in Dillon-Capps' s case constitutes frivolous litigation. The court should impose severe sanctions

                    to deter future abuses, uphold judicial integrity, and protect Dillon-Capps' s rights, as established

                    in Inlet Assocs. v. Assateague House Condo. Ass 'n, Majority Properties, Inc. v. Town of

                    Hancock, and other relevant cases.


                                                        L Obstruction of Evidence

                    1       Foundation for Obstruction of Evidence
                    836     The obstruction of evidence undermines the judicial process, hindering the court' s ability

                    to ascertain the truth and impacting the fairness of the proceedings. Under English common law

                    principles adopted into Maryland law via Md. Code Ann., Cts. & Jud. Proc.§§ 10-501 and 10-

                    503, obstruction encompasses actions that interfere with the accessibility, preservation, or

                    integrity of relevant evidence. Common law underscores the obligation of all parties to act in

                    good faith by preserving and presenting material evidence accurately, prohibiting actions that

                    intentionally mislead or delay judicial proceedings.

                    837     The core principles underlying obstruction include:

                            1.      Duty to Present and Preserve Evidence: Parties in litigation are required to

                            maintain and produce evidence relevant to the issues before the court, preventing

                            concealment, alteration, or withholding of material information.




                                                                                                          Page 278 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 278 of 329                    Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10           Filed 01/03/25       Page 279 of 329




                             2.      Judicial Integrity and Truth-Seeking: Courts have an inherent duty to sanction

                             obstructive behavior to protect the judicial process, ensure fair access to evidence, and

                             uphold truth-finding within the proceedings.


                    2        Judicial Standards and Pm::pose from Precedent
                    838      Maryland' s approach to sanctions for obstruction is guided by the purpose of deterring

                    misconduct, preventing unfair advantages, and maintaining procedural integrity. Maryland case

                     law emphasizes that sanctions for obstruction serve to:

                    839      Deter Misconduct: Sanctions are imposed to discourage parties from engaging in

                    obstructive behavior that impedes the court' s ability to administer justice.

                    840      Preserve Judicial Integrity: Courts sanction obstruction to maintain the legitimacy of

                    judicial proceedings, ensuring that no party can manipulate the outcome through procedural

                    abuse.

                    841      Provide Equitable Relief to the Aggrieved Party: Maryland courts support equitable

                    remedies that prevent one party from suffering undue disadvantage due to another party' s

                    misconduct, aligning with principles of fair dealing and integrity.


                    3        Criteria for Imposing Sanctions for Obstruction of Evidence
                    842      Maryland courts generally require that the following criteria be met to justify sanctions

                    for obstruction of evidence:

                             I.      Material Relevance of the Obstructed Evidence: The obstructed evidence must

                             be relevant and central to the issues being litigated, potentially affecting the case' s

                             outcome.




                                                                                                             Page 279 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts     Page# 279 of329                        Exhibit 108
             Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25      Page 280 of 329




                             2.      Intent to Obstruct: The obstructive conduct must be intentional, with knowledge

                             of the evidence' s relevance and a deliberate effort to interfere with its presentation or

                             accessibility.

                             3.      Prejudice to the Opposing Party: The obstruction must have resulted in material

                             harm or prejudice, hindering the opposing party' s ability to present a complete case.

                     843     These elements ensure that sanctions are reserved for serious misconduct that

                     significantly impacts the judicial process and the rights of the opposing party.


                    4        Mar:yland Case Law
                     844     Attorney Grievance Commission v. Ficker, 319 Md. 305, 572 A.2d 50 I ( 1990): The

                    Maryland Court of Appeals upheld sanctions for intentional interference with evidence,

                    emphasizing that obstruction compromises the truth-seeking process and warrants strong

                    penalties. The court' s ruling reinforced that obstruction is incompatible with fair dealing and

                    requires accountability.

                    845      Klupt v. Krongard, 126 Md. App. 179, 728 A.2d 727 (1999): Maryland ' s Court of

                    Special Appeals held that concealment or withholding of evidence constitutes obstruction,

                    especially when done to mislead the court. This case established that Maryland courts are

                    justified in imposing sanctions when a party' s actions materially prejudice the opposing side.

                    846      Bartholomee v. Casey, 103 Md. App. 34, 651 A.2d 908 (1994): The court confirmed

                    Maryland's authority to impose sanctions, including dismissal, for obstruction of evidence when

                    it impacts the fair resolution of a case. This case emphasizes the role of sanctions in preventing

                    obstruction from skewing outcomes unfairly.




                                                                                                            Page 280 of 329



Memorandum of Law in Support of Mandatory Hearing of Adj udicated Facts    Page # 280 of329                      Exhibit 108
            Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25        Page 281 of 329




                    5       Sutworting Case Law Beyond Maryland
                    847     Chambers v. NASCO, Inc., 501 U.S. 32 (1991): The U.S. Supreme Court ruled that

                    courts have inherent authority to impose sanctions for misconduct that obstructs justice,

                    reinforcing that such actions undermine judicial integrity and necessitate punitive measures to

                    prevent similar conduct.

                    848     Silvestri v. General Motors Corp., 271 F.3d 583 (4th Cir. 2001): The Fourth Circuit

                    held that the intentional withholding of material evidence warrants severe sanctions, including

                    dismissal, as a necessary deterrent to abuse of the judicial process.

                    849     These cases reinforce the judiciary's authority to impose sanctions as an inherent power,

                    ensuring that obstruction is penalized consistently across jurisdictions.


                    6       Cross Argument Case Law
                    850     Attorney Grievance Commission v. Mixter, 441 Md. 416, 109 A.3d I (2015): This case

                    dealt with intentional discovery abuses, underscoring that obstructive conduct during discovery

                    warrants sanctions to protect judicial resources and prevent material harm. The court highlighted

                    the need for sanctions as a deterrent against manipulation of the process.

                    851     Meyers v. Montgomery County Police Department, 96 Md. App. 668,626 A.2d 1010

                    (1993): The court emphasized that discovery obstruction, whether direct or indirect, undermines

                    fair dealing. Sanctions were deemed necessary to protect the opposing party' s rights, reinforcing

                    that obstruction justifies a judicial response to preserve equitable relief.

                    852     These cases support sanctions for obstruction as an essential tool for maintaining

                    procedural fairness and serve to deter unethical practices.




                                                                                                        Page 281 of329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 28 1 of 329                 Exhi bit 108
            Case 1:24-cv-03744-BAH              Document 16-10           Filed 01/03/25       Page 282 of 329




                    7       Application to Dillon-Capps' s Case
                    853     In Dillon-Capps's case, Plaintiffs counsel, Robert Brennen of Miles & Stockbridge,

                    engaged in obstruction by conditioning access to essential evidence-including the transcript

                    from the June 26th hearing-on Dillon-Capps complying with unrelated demands. The withheld

                    transcript is critical to Dillon-Capps' s defense, particularly due to memory-related impairments

                    and the need for an accurate account of the hearing where significant procedural violations

                    allegedly occurred. The transcript's relevance and the obstructive tactics employed meet

                    Maryland ' s standards for imposing sanctions based on obstruction of evidence.

                            I.      Material Relevance of the June 26th Transcript: The transcript of the June

                            26th hearing is essential for Dillon-Capps to address significant procedural violations

                            involving Judge Barranco, as well as to recall specific events that Dillon-Capps' s severe

                            memory impairments hinder them from retaining. The transcript is vital for preparing an

                            adequate defense, supporting motions, and substantiating claims of judicial errors that are

                            central to the case' s outcome. As in Bartholomee v. Casey, withholding access to this

                            transcript prejudiced Dillon-Capps by limiting their ability to accurately present and

                            verify evidence.

                            2.      Intentional Obstruction: Brennen' s July 2, 2024 message, in which he

                            conditioned the release of the transcript upon Dillon-Capps' s compliance with extraneous

                            demands, shows an intentional attempt to interfere with Dillon-Capps's access to material

                            evidence. This aligns with the standards set in Klupt v. Krongard, where Maryland courts

                            upheld sanctions for intentional obstruction that disrupts the opposing party' s access to

                            essential evidence.


                                                                                                         Page 282 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 282 of3 29                   Exhibit 108
            Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25       Page 283 of 329




                             3.        Severe Prejudice and Harm to Dillon-Capps's Defense: The obstructive

                             conduct has severely impaired Dillon-Capps' s ability to prepare a comprehensive

                             defense, particularly due to Dillon-Capps' s memory issues, which necessitate reliance on

                             accurate transcripts. This obstruction has prevented Dillon-Capps from addressing key

                             procedural violations, making it impossible to fully substantiate their defense and support

                             motions. Maryland' s standards, as demonstrated in Bartholomee v. Casey, support

                             sanctions when obstruction materially prejudices a party, affecting their ability to mount

                            an effective defense.

                    854     Brennen's actions, which deprived Dillon-Capps of access to crucial evidence necessary

                    to defend against ongoing harm, satisfy Maryland ' s criteria for sanctions. Sanctions in this case

                    are warranted to restore fairness and protect Dillon-Capps ' s right to a complete defense.


                    CONCLUSION
                    855     Maryland law, supported by both statutory provisions and common law principles,

                    provides a firm foundation for imposing sanctions for obstruction of evidence. In Dillon-Capps' s

                    case, the deliberate withholding of evidence by Plaintiff's counsel caused significant prejudice,

                    justifying equitable sanctions to restore fairness and deter future abuses. Sanctions in this context

                    would reinforce Maryland' s commitment to judicial integrity, accountability, and the equitable

                    treatment of all


                                         M Bl. Rule 19-303.3(a) - Candor Toward the Tribunal

                    1       Foundation for Sanctions under MRPC Rule 19-303.3(a)
                    856     MRPC 19-303.3(a)of the Maryland Attorneys ' Rules of Professional Conduct requires

                    attorneys to uphold truthfulness and accuracy in all representations to the court. This rule

                                                                                                         Page 283 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 283 of 329                   Exhibit 108
            Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25      Page 284 of 329




                    mandates that attorneys neither make nor support false statements, disclose all material facts, and

                    correct any previously submitted inaccuracies. MRPC 19-303.3(a )is grounded in the principle

                    that judicial integrity relies on attorneys' honesty, ensuring that courts have accurate information

                    to make fair decisions.

                    857     Key elements of MRPC l 9-303.3(a)include:

                             1.     Duty of Candor and Truthfulness: Attorneys must ensure that all statements to

                            the court are accurate, complete, and free of intentional misrepresentations.

                            2.      Obligation to Correct Misleading Statements: MRPC I 9-303.3(a) obligates

                            attorneys to rectify any previous statements shown to be inaccurate or misleading to

                            maintain fairness in the proceedings.

                            3.      Prevention of Judicial Manipulation: The rule prevents attorneys from

                            selectively presenting facts or omitting information in ways that would mislead or

                            influence the court unfairly.


                    2       Judicial Standards and Purpose from Mai:yland Precedent
                    858     Maryland courts enforce MRPC l 9-303.3(a)to ensure that:

                            I.      Judicial Integrity is Maintained: Sanctions for violating MRPC I 9-303.3(a)

                            reinforce the court's reliance on attorneys to present accurate information, free from

                            manipulation or distortion.

                            2.      Accountability for Misrepresentation: MRPC l 9-303.3(a) holds attorneys

                            accountable for any intentional misrepresentations, ensuring that all parties have a fair

                            and honest foundation for presenting their cases.




                                                                                                         Page 284 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 284 of329                    Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25       Page 285 of 329




                             3.       Deterrence of Procedural Abuses: Sanctions imposed for breaches of MRPC

                               l 9-303.3(a) prevent future attempts to deceive or manipulate judicial processes,

                             maintaining the court' s credibility.


                    3        Criteria for Establishing a Breach of MRPC I 9-303.3(a)
                    859      To impose sanctions for violations of MRPC l 9-303.3(a), Maryland courts typically

                    require:

                               l.     Knowingly False or Misleading Statement: The attorney must have knowingly

                            presented, supported, or failed to correct a materially false or misleading statement made

                            to the court.

                            2.        Materiality of the Misrepresentation: The misrepresentation must be relevant to

                            the proceedings, with the potential to affect judicial findings or influence the court' s

                            perception of the case.

                            3.        Intent to Mislead the Tribunal: The attorney's actions must demonstrate an

                            intent to deceive the court, either through direct falsehoods, selective omissions, or

                            refusal to correct inaccuracies once they are known.


                    4       Mazyland Case Law on Rule 3.3(a)
                    860     Attorney Grievance Commission v. Mixter, 441 Md. 416, 109 A.3d I (2015): The

                    Maryland Court of Appeals sanctioned an attorney for multiple breaches ofMRPC l9-303.3(a),

                    highlighting that knowingly misrepresenting facts or failing to correct inaccuracies undennines

                    judicial integrity. The court ruled that repeated violations of MRPC l 9-303.3(a) warrant

                    sanctions to protect the court' s reliance on truthful representations.




                                                                                                           Page 285 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 285 of329                       Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25        Page 286 of 329




                    861      Attorney Grievance Commission v. Vanderlinde, 364 Md. 376, 773 A.2d 463 (2001):

                    This case reinforced that attorneys have a fundamental duty to maintain honesty and candor. The

                    court imposed severe sanctions for an attorney's intentional misrepresentations, underscoring

                    that candor toward the tribunal is foundational to the legal profession.


                    5       Su1worting Case Law Beyond Mazyland
                    862      United States v. Shaffer Equipment Co., 11 F.3d 450 (4th Cir. 1993): The Fourth

                    Circuit held that attorneys' duty of candor is essential to maintaining trust in judicial

                    proceedings, with sanctions necessary when attorneys knowingly provide false or misleading

                    infonnation to the court.

                    863     In re Sealed Case, 890 F.2d 451 (D.C. Cir. 1989): The D.C. Circuit emphasized that

                    attorneys must act honestly in all representations to the court, highlighting that misrepresentation

                    or omission of material facts warrants sanctions to preserve judicial fairness.


                    6       Cross-Argument Case Law: Rule 3.3(a) and Ethical Misconduct
                    864     Attorney Grievance Commission v. Hodes, 441 Md. 136, 105 A.3d 533 (2014): The

                    Maryland Court of Appeals upheld sanctions for an attorney who misrepresented material facts

                    in court, affinning that breaches of MRPC 19-303.3(a)require accountability to maintain the

                    integrity of judicial proceedings.

                    865     Attorney Grievance Commission v. Agbaje, 438 Md. 695, 93 A.3d 262 (2014): The

                    court found that knowingly misleading the court violates the attorney ' s duty to uphold fairness

                    and truthfulness, supporting sanctions for breaches of MRPC l 9-303.3(a) to reinforce ethical

                    standards.




                                                                                                          Page 286 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 286 of 329                     Exhibit 108
            Case 1:24-cv-03744-BAH              Document 16-10           Filed 01/03/25      Page 287 of 329




                   7       A£lplication to Dillon-Capps' s Case
                   866     In Dillon-Capps's case, Miles & Stockbridge (M&S) repeatedly breached MRPC l 9-

                   303.3(a) through the submission of affidavits and representations containing materially false

                   statements, selective omissions, and deceptive presentations of facts. These breaches were

                   designed to distort the court' s understanding of the case and to prejudice Dillon-Capps' s defense.

                            I.      Knowingly False Statements: M&S submitted affidavits that knowingly omitted

                            material facts about Dillon-Capps's employment status, FMLA rights, and the events

                            surrounding the June 7th written accord, falsely implying that Dillon-Capps had refused

                            reasonable requests. This conduct aligns with the breaches addressed in Attorney

                            Grievance Commission v. Mixter, where knowingly misleading the court was deemed a

                            significant ethical violation.

                            2.      Materiality of the Misrepresentations: The omissions and selective facts

                            presented by M&S pertain directly to Dillon-Capps' s defense, including misleading

                            statements about key dates and actions that impacted the court' s perception. The

                            materiality of these misrepresentations meets the standard outlined in Attorney Grievance

                            Commission v. Vanderlinde, as they obstruct Dillon-Capps's ability to present a truthful

                            and complete defense.

                            3.      Intent to Mislead: M&S 's actions show an intent to distort material facts and

                            sway the court' s judgment in Ohana' s favor. The selective omissions and false

                            representations demonstrate a deliberate attempt to mislead the court, warranting

                            sanctions under MRPC I 9-303.3(a)to preserve judicial fairness.




                                                                                                        Page 287 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 287 of329                    Exhibit 108
            Case 1:24-cv-03744-BAH              Document 16-10           Filed 01/03/25     Page 288 of 329




                    867     The conduct of M&S in misrepresenting and omitting key facts aligns with the criteria for

                   a breach of MRPC I 9-303.3(a), necessitating sanctions to uphold judicial integrity, deter future

                    misconduct, and protect Dillon-Capps' s right to an honest and impartial legal process.


                    8       Conclusion
                    868     Violations of MRPC 19-303.3(a)are taken seriously under Maryland law, as they

                    compromise the court' s ability to make fair and infonned decisions. In Dillon-Capps' s case,

                    M&S' s intentional misrepresentations and omissions demonstrate a significant breach of MRPC

                    19-303.3(a), justifying sanctions to correct the judicial record, hold M&S accountable, and deter

                    similar misconduct. Recommended sanctions include compensatory relief, fines, and referral for

                    disciplinary review to maintain Maryland' s commitment to truthfulness and transparency in

                    judicial proceedings.


                                   N Rule 19-303.5 (Improper Influence and Contact with Court)

                    1       Foundation for Sanctions under MRPC Rule 19-303.5
                    869     MRPC Rule 19-303.5 prohibits attorneys from attempting to influence or improperly

                    communicate with a tribunal or court personnel, including any attempt to engage in ex parte

                    communications or gain advantage by circumventing procedural norms. The rule ensures fair and

                    impartial proceedings by prohibiting attorneys from undermining judicial integrity through

                    informal access to judges or staff, or by applying undue influence.


                    2     Judicial Standards. Pumose, and Criteria for Imposing Sanctions under MRPC
                    Rule 19-303.5
                    870     Sanctions under Rule I 9-303.5 are imposed to:




                                                                                                        Page 288 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 288 of329                     Exhibit 108
            Case 1:24-cv-03744-BAH              Document 16-10           Filed 01/03/25     Page 289 of 329




                            I.      Uphold Judicial Impartiality: Prevents attorneys from leveraging personal

                            access or informal communication to improperly influence the court' s decisions or

                            behavior.

                            2.      Ensure Procedural Integrity: Reinforces that judicial proceedings must follow

                            standard procedural channels without attempts to expedite or alter proceedings through

                            informal means.

                            3.      Deter Ex Parte Communications: Discourages any communication with judges

                            or court staff outside the presence or knowledge of opposing counsel, ensuring a balanced

                            presentation of all arguments.

                            4.      Protect Opposing Parties' Rights: Guarantees that all parties are treated equally

                            and have fair access to court processes without being disadvantaged by opposing

                            counsel ' s undue influence or improper communications.


                    3       Criteria for Imposing Sanctions under Rule 19-303.5:
                    871     Improper Contact with Court Staff or Judges: Attorneys must not engage in ex parte

                    communications with judges or court staff about substantive matters of the case.

                    872     Attempts to Influence Judicial Decisions: Any effort to improperly sway a judge or

                    staff member' s perception of a case or party.

                    873     Circumventing Procedural Norms: Actions taken by an attorney to manipulate or

                    expedite court processes outside regular procedural channels.


                    4       Mazyland Case Law
                    874     Attorney Grievance Commission v. Ficker, 349 Md. 13, 706 A.2d 1045 (1998): The

                    Maryland Court of Appeals found an attorney' s repeated ex parte communications with a judge


                                                                                                       Page 289 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 289 of329                   Exhibit 108
            Case 1:24-cv-03744-BAH              Document 16-10           Filed 01/03/25      Page 290 of 329




                   constituted a serious ethical violation under Rule 19-303.5. The court imposed sanctions,

                   emphasizing the need to prevent undue influence and ensure impartial judicial processes.

                   875     Attorney Grievance Commission v. Kimmel, 405 Md. 647, 955 A.2d 269 (2008): The

                   court imposed sanctions on an attorney who attempted to improperly influence the court's

                   scheduling and hearing decisions. This case established that efforts to interfere with court

                   procedures or decisions constitute a breach of Rule 19-303.5.

                    876     Attorney Grievance Commission v. Ross, 428 Md. 50, 50A.3d1166 (2012): In this

                    case, an attorney's attempts to informally expedite case handling through repeated contact with

                    court personnel led to sanctions under Rule 19-303.5. The Maryland Court of Appeals reinforced

                    that communications regarding scheduling or case outcomes should follow proper procedural

                    channels.


                    5       Su12porting Case Law Beyond Mazyland
                    877     In re Eisenstein, 485 F.3d 1198 (9th Cir. 2007): The Ninth Circuit upheld sanctions for

                    an attorney 's repeated ex parte communications with the court to influence scheduling, finding

                    this conduct disruptive to fair proceedings.

                    878     In re Snyder, 472 U.S. 634 (1985): The U.S. Supreme Court held that attorneys who

                    attempt to influence the court improperly can be subject to sanctions for unprofessional conduct,

                    underscoring the importance of maintaining impartiality and procedural fairness.

                    6       Cross Argument Case Law
                    879     Chambers v. NASCO, Inc., 501 U.S. 32 (I 991): The U.S. Supreme Court highlighted

                    the inherent authority of courts to sanction attorneys who attempt to influence proceedings

                    improperly, ensuring that justice is administered equitably without favoritism or manipulation.


                                                                                                        Page 290 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 290 of329                   Exhibit 108
            Case 1:24-cv-03744-BAH              Document 16-10           Filed 01/03/25     Page 291 of 329




                    880     United States v. McCorkle, 321 F .3d 1291 (11th Cir. 2003): The Eleventh Circuit held

                    that ex parte or informal communications aimed at influencing court personnel or judges are

                    improper, supporting the imposition of sanctions for any interference with judicial impartiality.


                    7       Application to Dillon-Capps's Case
                    881     In Dillon-Capps' s case, M&S' s communications with the court reflect violations of Rule

                    19-303.5 based on the following actions:

                            1.      Improper Contact with Court Staff: M&S frequently engaged in

                            communications with Judge Barranco' s chambers to discuss procedural matters, outside

                            the knowledge or presence of Dillon-Capps. This conduct aligns with the actions in

                            Attorney Grievance Commission v. Ficker, where ex parte communication was

                            sanctionable as an attempt to gain an unfair advantage.

                            2.      Attempts to Influence Judicial Process: The content and timing of M&S ' s

                            emails appear calculated to influence scheduling or the court's procedural decisions,

                            demonstrating an intent to manipulate the court' s perception of the case. This behavior

                            mirrors Attorney Grievance Commission v. Kimmel, where attempts to influence court

                            decisions through informal communication warranted sanctions.

                            3.      Circumventing Procedural Norms: M&S repeatedly sought to expedite or

                            influence court processes outside standard procedural channels. In Attorney Grievance

                            Commission v. Ross, such behavior was deemed a clear breach of Rule 19-303.5,

                            establishing that attempts to manipulate procedures without adherence to formal

                            protocols are sanctionable.




                                                                                                        Page 291 of329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 291 of329                     Exhibit 108
            Case 1:24-cv-03744-BAH              Document 16-10           Filed 01/03/25       Page 292 of 329




                            4.      Ex Parte Communications regarding Substantive Matters: In addition to

                            procedural matters, M&S ' s communications occasionally touched on substantive aspects

                            of the case, which, under Rule 19-303.5, requires strict sanctions. This aligns with the

                            Ninth Circuit' s findings in In re Eisenstein, which underscored that any ex parte

                            communications affecting case substance are improper.


                    8       Conclusion

                    882    M&S's improper contacts and attempts to influence court procedures in Dillon-Capps' s
                    case constitute serious breaches of MRPC Rule 19-303.5. Maryland case law and broader legal
                    precedent support imposing sanctions to deter such misconduct, preserve judicial impartiality,
                    and protect Dillon-Capps' s rights. Sanctions under Rule 19-303.5 are essential to uphold
                    procedural integrity and to prevent attorneys from gaining an unfair advantage through improper
                    influence, as established in Attorney Grievance Commission v. Ficker, Attorney Grievance
                    Commission v. Kimmel, and other relevant cases.
                    883


                                         0 Rules 19-301.7 to 19-301.1 1 (Conflicts oflnterest)

                    1       Foundation for Sanctions under MRPC Rules 19-301.7 to 19-301.11
                    884     The Maryland Rules of Professional Conduct (MRPC) Rules 19-301.7 through 19-

                    301.11 govern conflicts of interest. These rules prohibit attorneys from representing clients in

                    situations where conflicts may compromise their loyalty, objectivity, or independence of

                    judgment. Attorneys must avoid conflicts that risk client harm, violate ethical obligations, or

                    undermine the administration of justice. When attorneys disregard these rules, courts may

                    impose sanctions to prevent exploitation of conflicting interests and to maintain the integrity of

                    legal proceedings.


                    2     Judicial Standards, Pumose, and Criteria for Imposing Sanctions under MRPC
                    Rules 19-301.7 to 19-301.11
                    885     Sanctions under these conflict-of-interest rules are imposed to:
                                                                                                         Page 292 of329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 292 of 329                      Exhibit 108
            Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25       Page 293 of 329




                            l.      Ensure Loyalty and Objectivity in Representation: Sanctions protect clients'

                            right to unbiased representation, ensuring that attorneys act solely in their clients' best

                            interests.

                            2.      Preserve Ethical Standards in Litigation: Sanctions deter attorneys from

                            engaging in conflicting relationships that may compromise fairness or objectivity in legal

                            representation.

                            3.      Promote Judicial Integrity and Public Confidence: Sanctions discourage

                            attorneys from compromising ethical obligations, thereby reinforcing public confidence

                            in the judicial system.

                            4.      Prevent Prejudice and Protect Client Interests: Courts impose sanctions to

                            prevent hann to clients arising from divided loyalties or dual representation that may

                            prejudice their legal outcomes.


                    3       Criteria for Imposing Sanctions under Rules 19-301.7 to 19-301.11:
                    886     Existence of a Conflict of Interest: The attorney must have engaged in representation

                    despite a known or discoverable conflict that affects their ability to serve the client impartially.

                    887     Failure to Obtain Informed Consent: Attorneys are obligated to obtain infonned

                    consent, confirmed in writing, if representing clients with potentially conflicting interests.

                    888     Improperly Acting Against a Former Client: Attorneys cannot represent new clients in

                    matters substantially related to those of former clients if it involves using the former client' s

                    information.




                                                                                                           Page 293 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 293 of329                      Exhibit 108
            Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25        Page 294 of 329




                    889     Concurrent Representation of Conflicting Interests: Concurrent representation in

                    which the interests of clients are directly adverse, or where representation may be materially

                    limited, is prohibited without written informed consent.


                    4       Maryland Case Law
                    890     Attorney Grievance Commission v. Kent, 447 Md. 555, 136 A.3d 1126 (2016): The

                    Maryland Court of Appeals held that failure to avoid conflicts of interest and lack of informed

                    consent constitutes a severe ethical breach, warranting sanctions. The court emphasized that

                    conflicts jeopardize objectivity and may cause client harm.

                    891     Attorney Grievance Commission v. Mixter, 441 Md. 416, 109 A.3d I (2015): The

                    court sanctioned an attorney for neglecting conflict-of-interest rules, highlighting the importance

                    of ensuring undivided loyalty to clients and preventing prejudice arising from competing

                    interests.

                    892     Attorney Grievance Commission v. Dyer, 453 Md. 585, 162 A.3d 966 (2017): This

                    case established that representing conflicting interests, especially without informed consent,

                    constitutes professional misconduct and warrants disciplinary measures to uphold the integrity of

                    legal proceedings.


                    5       Su:gporting Case Law Beyond Maryland
                    893     In re Silver, 553 F.3d 455 (6th Cir. 2009): The Sixth Circuit sanctioned an attorney for

                    representing conflicting interests without informed consent, emphasizing that conflicts can

                    severely impact the attorney-client relationship and judicial integrity.




                                                                                                         Page 294 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 294 of 329                   Exhibit 108
            Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25      Page 295 of 329




                    894     Fiandaca v. Cunningham, 827 F.2d 825 (1st Cir. I 987): The First Circuit ruled that

                    attorneys must avoid conflicts of interest that may prejudice their clients, sanctioning counsel for

                    representing opposing interests in related litigation, thereby violating conflict-of-interest rules.


                    6       Cross Argument Case Law
                    895     Wood v. Georgia, 450 U.S. 261 (1981): The U.S. Supreme Court held that conflicts of

                    interest undermine the fair administration of justice, particularly when attorneys prioritize other

                    interests over client loyalty, warranting sanctions or corrective measures.

                    896     Armstrong v. McAlpin, 625 F.2d 433 (2d Cir. 1980): The Second Circuit imposed

                    sanctions on an attorney whose conflicting relationships compromised the client' s representation,

                    emphasizing the judiciary' s duty to maintain ethical standards in client advocacy.


                    7       Application to Dillon-Capps's Case
                    897     In Dillon-Capps's case, M&S 's actions reveal violations of Rules 19-301.7 through 19-

                    301.11 based on the following conflicts:

                            I.      Conflicting Representation and Undisclosed Interests: M&S ' s representation

                            of Ohana while potentially maintaining interests that conflicted with Dillon-Capps' s

                            FMLA and ADA rights represents a direct ethical breach. This conduct aligns with

                            Attorney Grievance Commission v. Kent, where failure to resolve conflicts warranted

                            sanctions.

                            2.      Failure to Obtain Informed Consent: At no point did M&S seek informed

                            consent or disclose potential conflicts regarding Dillon-Capps' s rights under the ADA

                            and FMLA. The omission of informed consent mirrors Attorney Grievance Commission

                            v. Mixter, establishing grounds for sanctions due to the ethical violation.


                                                                                                           Page 295 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 295 of329                      Exhibit 108
            Case 1:24-cv-03744-BAH              Document 16-10           Filed 01/03/25       Page 296 of 329




                            3.      Prejudice Resulting from Conflicting Representation: M&S's representation

                            adversely impacted Dillon-Capps by perpetuating litigation without addressing essential

                            legal protections and misrepresenting Dillon-Capps' s employment rights. This aligns

                            with Attorney Grievance Commission v. Dyer, which confirmed that undisclosed conflicts

                            and resulting client harm are sanctionable.

                            4.      Concurrent Representation with Adverse Interests: The dual interests in

                            aggressively litigating against Dillon-Capps while disregarding federal protections

                            (FMLA and ADA) created a materially limited and adverse position, warranting

                            sanctions. This misconduct parallels In re Silver, where sanctions were imposed for

                            failing to prevent prejudice caused by conflicting representation.


                    8       Conclusion
                    898     M&S's conflicting representation of Ohana, combined with their failure to disclose

                    conflicts or obtain informed consent, constitutes a severe breach of MRPC Rules 19-301.7

                    through 19-301.11. Maryland case law and broader legal precedent support imposing sanctions

                    to deter future ethical violations, protect client rights, and uphold the integrity of the legal

                    profession. The court should impose sanctions to address M&S ' s conflicting representation and

                    disregard for client protections, as established in Attorney Grievance Commission v. Kent,

                    Attorney Grievance Commission v. Dyer, and other relevant cases.


                                         P Rule 19-308.4(0 <Failure to Respond to Requests)

                    1       Foundation for Sanctions under MRPC Rules 19-301.7 to 19-301. 11
                    899     The Maryland Rules of Professional Conduct (MRPC) Rules 19-301.7 through 19-

                    301.11 govern conflicts of interest. These rules prohibit attorneys from representing clients in

                                                                                                            Page 296 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 296 of 329                      Exhibit 108
                Case 1:24-cv-03744-BAH          Document 16-10           Filed 01/03/25       Page 297 of 329
   ,   <   "I




                     situations where conflicts may compromise their loyalty, objectivity, or independence of

                     judgment. Attorneys must avoid conflicts that risk client harm, violate ethical obligations, or

                     undennine the administration of justice. When attorneys disregard these rules, courts may

                     impose sanctions to prevent exploitation of conflicting interests and to maintain the integrity of

                     legal proceedings.


                     2     Judicial Standards, Pumose, and Criteria for Imposing Sanctions under MRPC
                     Rules 19-301.7 to 19-301.11
                     900    Sanctions under these conflict-of-interest rules are imposed to:

                             1.     Ensure Loyalty and Objectivity in Representation: Sanctions protect clients'

                             right to unbiased representation, ensuring that attorneys act solely in their clients' best

                            interests.

                            2.      Preserve Ethical Standards in Litigation: Sanctions deter attorneys from

                            engaging in conflicting relationships that may compromise fairness or objectivity in legal

                             representation.

                            3.      Promote Judicial Integrity and Public Confidence: Sanctions discourage

                            attorneys from compromising ethical obligations, thereby reinforcing public confidence

                             in the judicial system.

                            4.      Prevent Prejudice and Protect Client Interests: Courts impose sanctions to

                             prevent hann to clients arising from divided loyalties or dual representation that may

                             prejudice their legal outcomes.


                     3      Criteria for Imposing Sanctions under Rules 19-301 .7 to 19-301 .11:
                     901    Existence of a Conflict of Interest: The attorney must have engaged in representation

                     despite a known or discoverable conflict that affects their ability to serve the client impartially.
                                                                                                            Page 297 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts     Page # 297 of329                      Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25      Page 298 of 329




                    902     Failure to Obtain Informed Consent: Attorneys are obligated to obtain informed

                    consent, confirmed in writing, ifrepresenting clients with potentially conflicting interests.

                    903     Improperly Acting Against a Former Client: Attorneys cannot represent new clients in

                    matters substantially related to those of former clients if it involves using the former client's

                    information.

                    904     Concurrent Representation of Conflicting Interests: Concurrent representation in

                    which the interests of clients are directly adverse, or where representation may be materially

                    limited, is prohibited without written informed consent.


                    4       Mazyland Case Law
                    905     Attorney Grievance Commission v. Kent, 447 Md. 555, 136 A.3d 1126 (2016): The

                    Maryland Court of Appeals held that failure to avoid conflicts of interest and lack of infonned

                    consent constitutes a severe ethical breach, warranting sanctions. The court emphasized that

                    conflicts jeopardize objectivity and may cause client harm.

                    906     Attorney Grievance Commission v. Mixter, 441 Md. 416, 109 A.3d I (2015): The

                    court sanctioned an attorney for neglecting conflict-of-interest rules, highlighting the importance

                    of ensuring undivided loyalty to clients and preventing prejudice arising from competing

                    interests.

                    907     Attorney Grievance Commission v. Dyer, 453 Md. 585, 162 A.3d 966 (2017): This

                    case established that representing conflicting interests, especially without informed consent,

                    constitutes professional misconduct and warrants disciplinary measures to uphold the integrity of

                    legal proceedings.




                                                                                                          Page 298 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 298 of329                      Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25        Page 299 of 329




                    5       Su1morting Case Law Beyond Mazyland
                    908     In re Silver, 553 F.3d 455 (6th Cir. 2009): The Sixth Circuit sanctioned an attorney for

                    representing conflicting interests without informed consent, emphasizing that conflicts can

                    severely impact the attorney-client relationship and judicial integrity.

                    909     Fiandaca v. Cunningham, 827 F.2d 825 (1st Cir. 1987): The First Circuit ruled that

                    attorneys must avoid conflicts of interest that may prejudice their clients, sanctioning counsel for

                    representing opposing interests in related litigation, thereby violating conflict-of-interest rules.


                    6       Cross Argument Case Law
                    910     Wood v. Georgia, 450 U.S. 261 (1981): The U.S. Supreme Court held that conflicts of

                    interest undermine the fair administration of justice, particularly when attorneys prioritize other

                    interests over client loyalty, warranting sanctions or corrective measures.

                    911     Armstrong v. McAlpin, 625 F.2d 433 (2d Cir. I 980): The Second Circuit imposed

                    sanctions on an attorney whose conflicting relationships compromised the client's representation,

                    emphasizing thejudiciary ' s duty to maintain ethical standards in client advocacy.


                    7       Aiwlication to Dillon-Capps' s Case
                    912     In Dillon-Capps' s case, M&S's actions reveal violations of Rules I 9-301.7 through 19-

                    301.11 based on the following conflicts:

                    913     Conflicting Representation and Undisclosed Interests: M&S' s representation of

                    Ohana while potentially maintaining interests that conflicted with Dillon-Capps ' s FMLA and

                    ADA rights represents a direct ethical breach. This conduct aligns with Attorney Grievance

                    Commission v. Kent, where failure to resolve conflicts warranted sanctions.




                                                                                                           Page 299 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 299 of 329                     Exhibit 108
            Case 1:24-cv-03744-BAH              Document 16-10           Filed 01/03/25       Page 300 of 329




                   914     Failure to Obtain Informed Consent: At no point did M&S seek informed consent or

                   disclose potential conflicts regarding Dillon-Capps' s rights under the ADA and FMLA. The

                   omission of informed consent mirrors Attorney Grievance Commission v. Mixter, establishing

                   grounds for sanctions due to the ethical violation.

                   915     Prejudice Resulting from Conflicting Representation: M&S ' s representation

                   adversely impacted Dillon-Capps by perpetuating litigation without addressing essential legal

                   protections and misrepresenting Dillon-Capps's employment rights. This aligns with Attorney

                   Grievance Commission v. Dyer, which confirmed that undisclosed conflicts and resulting client

                   harm are sanctionable.

                   916      Concurrent Representation with Adverse Interests: The dual interests in aggressively

                   litigating against Dillon-Capps while disregarding federal protections (FMLA and ADA) created

                   a materially limited and adverse position, warranting sanctions. This misconduct parallels In re

                   Silver, where sanctions were imposed for failing to prevent prejudice caused by conflicting

                    representation.


                    8       Conclusion
                    917     M&S' s conflicting representation of Ohana, combined with their failure to disclose

                    conflicts or obtain informed consent, constitutes a severe breach of MRPC Rules 19-301.7

                    through 19-301.11. Maryland case law and broader legal precedent support imposing sanctions

                    to deter future ethical violations, protect client rights, and uphold the integrity of the legal

                    profession. The court should impose sanctions to address M&S' s conflicting representation and

                    disregard for client protections, as established in Attorney Grievance Commission v. Kent,

                    Attorney Grievance Commission v. Dyer, and other relevant cases.


                                                                                                            Page 300 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 300 of 329                      Exhibit 108
            Case 1:24-cv-03744-BAH              Document 16-10           Filed 01/03/25      Page 301 of 329




                                         Q Rules 19-308.4(a) through (d) (Broad Misconduct)

                    1       Foundation for Sanctions under MR.PC Rule 19-308.4(a) through (d)
                    918     MRPC Rule 19-308.4(a) through (d) defines professional misconduct broadly,

                    prohibiting attorneys from violating the Maryland Rules of Professional Conduct or engaging in

                    actions that involve dishonesty, fraud, deceit, or misrepresentation (19-308.4(c)), conduct

                    prejudicial to the administration of justice (l 9-308.4(d)), and criminal acts that reflect

                    adversely on the lawyer's honesty or trustworthiness ( l 9-308.4(b)). Additionally, 19-308.4(a)

                    establishes that it is professional misconduct for attorneys to violate any MRPC provision. These

                    rules collectively seek to uphold ethical standards, ensure honesty and fairness in representation,

                    and maintain the integrity of the judicial system.


                    2     Judicial Standards, Pml)Ose, and Criteria for Imposing Sanctions under MRPC
                    Rule 19-308.4(a) through (d)
                            1.      Sanctions under Rule I 9-308.4(a)-(d) are imposed to:

                            2.      Preserve Honesty and Integrity in Legal Practice: Sanctions for violating this

                            rule ensure that attorneys uphold their duty to provide honest and truthful representation.

                            3.      Deter Deceitful and Fraudulent Practices: By penalizing dishonest or

                            fraudulent behavior, sanctions deter attorneys from misleading courts, opposing counsel,

                            or the public.

                            4.      Protect the Administration of Justice: Sanctions are essential to prevent

                            conduct that prejudices the judicial process or diminishes the fairness of proceedings.

                            5.      Hold Attorneys Accountable for Professional Misconduct: Imposing sanctions

                            on misconduct ensures that attorneys comply with ethical standards, reinforcing public

                            trust in the legal system.

                                                                                                        Page 301 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 301 of 329                   Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25       Page 302 of 329




                    3       Criteria for Imposing Sanctions under Rules 19-308.4(a) through (d):
                    919      Intentional Violations of Professional Standards: Evidence that the attorney

                    knowingly or intentionally violated MRPC rules.

                    920      Dishonesty, Fraud, Deceit, or Misrepresentation: Conduct involving deception,

                    whether in statements, filings, or omissions.

                    921     Conduct Prejudicial to the Administration of Justice: Actions that obstruct justice,

                    create unfair advantage, or subvert the judicial process.

                    922     Criminal or Unethical Acts Reflecting Poor Character: Any actions demonstrating

                    lack of integrity, including criminal acts or conduct that compromises honesty or trustworthiness.


                    4       Maryland Case Law
                    923     Attorney Grievance Commission v. Vanderlinde, 364 Md. 376, 773 A.2d 463 (2001):

                    The Maryland Court of Appeals held that intentional dishonesty and deceit are serious ethical

                    violations warranting severe sanctions. The court emphasized that honesty is paramount in the

                    legal profession, and violations reflect directly on a lawyer's fitness to practice.

                    924     Attorney Grievance Commission v. Mixter, 441 Md. 416, 109 A.3d I (2015): The

                    court imposed sanctions for multiple rule violations, including prejudicial conduct and

                    misrepresentations, underscoring that violations of Rules I 9-308.4(a) through (d) compromise

                    the administration of justice.

                    925     Attorney Grievance Commission v. Agbaje, 438 Md. 695, 93 A.3d 262 (2014): The

                    court sanctioned an attorney for dishonest conduct and fraudulent misrepresentation, reinforcing

                    that intentional deceit warrants serious penalties under MRPC Rule 19-308.4(c) and (d).




                                                                                                           Page 302 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 302 of329                     Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25      Page 303 of 329




                     5       Su1worting Case Law Beyond Mazyland
                     926     In re Murray, 316 P.3d 1118 (Kan. 2013): The Kansas Supreme Court sanctioned an

                     attorney for fraud and deceit that interfered with the administration ofjustice, reinforcing that

                     such conduct warrants severe disciplinary measures.

                     927     Office of Disciplinary Counsel v. Koresko, 636 Pa. 627, 146 A.3d 1145 (2016): The

                     Pennsylvania Supreme Court upheld sanctions on an attorney who engaged in deceitful conduct

                     to manipulate judicial outcomes, emphasizing that fraud and misrepresentation constitute grave

                     professional misconduct.


                    6        Cross Argument Case Law
                    928      Chambers v. NASCO, Inc., 501 U.S. 32 (1991): The U.S. Supreme Court highlighted

                    that courts possess inherent authority to sanction conduct that subverts justice, such as fraud and

                    deceit, emphasizing the judiciary' s responsibility to maintain the integrity of legal proceedings.

                    929     Roadway Express, Inc. v. Piper, 447 U.S. 752 (1980): This case established that courts

                    have the authority to sanction attorneys for engaging in dishonest or fraudulent conduct that

                    undermines the judicial process.


                    7       Application to Dillon-Capps's Case
                    930     In Dillon-Capps' s case, M&S's conduct meets the criteria for sanctions under MRPC

                    Rule 19-308.4(a) through (ct) based on the following actions:

                             1.     Intentional Violations of Professional Standards: M&S repeatedly engaged in

                            conduct violating MRPC provisions, including submitting perjured affidavits and

                            omitting material facts. This pattern of intentional misconduct aligns with Attorney




                                                                                                          Page 303 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts   Page # 303 of 329                     Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25       Page 304 of 329




                             Grievance Commission v. Vanderlinde, where the court sanctioned an attorney for

                             intentional dishonesty.

                             2.      Dishonesty, Fraud, and Misrepresentation: M&S knowingly submitted

                             affidavits and statements containing false and misleading information regarding Dillon-

                             Capps's employment status, ADA accommodations, and FMLA rights. This conduct

                             mirrors Attorney Grievance Commission v. Agbaje, where intentional deceit was met with

                             sanctions due to its impact on the administration of justice.

                             3.      Prejudicial Conduct Affecting the Administration of Justice: M&S 's filing of

                             frivolous motions, improper voluntary dismissal, and failure to respond to requests for

                             representational status prejudiced Dillon-Capps' s ability to fairly litigate counterclaims.

                            This pattern of prejudicial conduct is sanctionable, as illustrated in Attorney Grievance

                            Commission v. Mixter, where actions undermining fair legal process warranted penalties.

                            4.       Conduct Reflecting Poor Character and Dishonesty: By engaging in deceit,

                            procedural manipulation, and evasion ofjudicial scrutiny, M&S demonstrated a lack of

                            integrity, as described in In re Murray. These actions violate Rule l 9-308.4(b) and (c),

                            reflecting poorly on M&S' s trustworthiness and ethical character.


                    8       Conclusion
                    931     M&S's conduct in Dillon-Capps's case constitutes serious breaches of MRPC Rule 19-

                    308.4(a) through (d), warranting sanctions to address dishonesty, prejudicial actions, and

                    manipulation of the legal process. Maryland and national precedents support imposing sanctions

                    to deter future unethical conduct, uphold the integrity of the judicial process, and protect Dillon-

                    Capps's rights. The court should impose sanctions in line with Attorney Grievance Commission


                                                                                                           Page 304 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 304 of329                      Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25       Page 305 of 329




                    v. Vanderlinde, Attorney Grievance Commission v. Agbaje, and other relevant cases to preserve

                    the fairness and integrity of legal proceedings.


                                                          R 18-102.1 (Impartiality)

                     1      Foundation for Sanctions under Maryland Judicial Code Rule 18-102.1
                    932     Maryland Judicial Code Rule 18-102.1 mandates that judges uphold and comply with

                    the law and perform all judicial duties in a manner that promotes public confidence in the

                    independence, integrity, and impartiality of the judiciary. This rule is fundamental in maintaining

                    the public's trust in the judicial system. A judge' s failure to adhere to this rule undermines the

                    administration ofjustice and warrants corrective actions, including sanctions, to reinforce

                    accountability and uphold the integrity of the judiciary.


                    2      Judicial Standards, Pumose, and Criteria for Imposing Sanctions under Maryland
                    Judicial Code Rule 18-102.1
                    933     Sanctions under Rule 18- 102.1 serve several critical purposes:

                             1.     Upholding Judicial Integrity: Ensures that judges maintain the highest ethical

                            standards by complying with legal and ethical obligations.

                            2.      Reinforcing Impartiality and Fairness: Promotes a fair judicial process by

                            deterring judges from actions that could create bias or favoritism.

                            3.      Preserving Public Confidence in the Judiciary: Protects public trust by

                            ensuringjudges adhere to ethical standards, thereby reinforcing thejudiciary' s role as an

                            impartial arbiter.




                                                                                                          Page 305 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 305 of 329                    Exhibit 108
             Case 1:24-cv-03744-BAH               Document 16-10         Filed 01/03/25      Page 306 of 329




                             4.      Deterring Judicial Misconduct: Establishes accountability for judges who fail to

                             comply with the rule's requirements, preventing future breaches and safeguarding

                            judicial integrity.


                     3       Criteria for Imposing Sanctions under Rule 18-102.1 :
                     934     Failure to Uphold Legal Standards: The judge must comply with all applicable legal

                     standards, including Maryland law and procedural rules.

                     935     Actions Undermining Public Confidence: Judicial actions or decisions must not give

                     rise to doubts regarding impartiality, integrity, or independence.

                    936      Intentional or Reckless Misconduct: Sanctions may apply when a judge knowingly

                    disregards legal requirements or exercises recklessness in their conduct, thereby affecting public

                    perception.


                    4       Mruyland Case Law
                    937     In re Lamdin, 404 Md. 631 , 948 A.2d 54 (2008): The Maryland Court of Appeals held

                    that a judge' s failure to uphold legal standards and engage in impartial behavior violated Rule

                     18-102.1. Sanctions were imposed to preserve public confidence and reinforce judicial integrity.

                    938     Attorney Grievance Commission v. Blum, 373 Md. 275, 818 A.2d 219 (2003): This

                    case underscored the judiciary' s duty to maintain impartiality and fairness. The court ruled that a

                    judge' s actions that create the appearance of bias or partiality violate ethical standards and erode

                    public trust.

                    939     In re White, 391 Md. 626, 894 A.2d 314 (2006): The Maryland Court of Appeals

                    emphasized that judges must avoid conduct that compromises the perception of impartiality and

                    independence. Sanctions were imposed to protect public confidence in the judiciary.


                                                                                                          Page 306 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts   Page # 306 of 329                     Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25       Page 307 of 329




                    5       Supporting Case Law Beyond Maryland
                    940     In re Glover, 759 So.2d 546 (Fla. 2000): The Florida Supreme Court imposed sanctions

                    on a judge whose conduct undermined public trust and confidence in the judicial process,

                    emphasizing that compliance with ethical standards is essential to uphold judicial integrity.

                    941     In re Adams, 283 Kan. 365, 153 P.3d 512 (2007): The Kansas Supreme Court ruled that

                    a judge' s actions affecting impartiality and public confidence warranted sanctions, as these

                    actions compromise the judiciary' s role as a fair and independent institution.


                    6       Cross Argument Case Law
                    942     Chambers v. NASCO, Inc., 501 U.S. 32 (1991): The U.S. Supreme Court recognized

                    the judiciary' s inherent authority to impose sanctions on judges or attorneys whose conduct

                    undermines the integrity ofjudicial proceedings, emphasizing the importance of upholding

                    public confidence.

                    943     Caperton v. A.T. Massey Coal Co., 556 U.S. 868 (2009): The U.S. Supreme Court held

                    that the appearance of bias or lack of impartiality in judicial proceedings can compromise public

                    confidence, underscoring the need for judicial conduct that promotes fairness and integrity.

                    7       A1mlication to Dillon-Capps's Case
                    944     In Dillon-Capps' s case, Judge Barranco' s actions demonstrate violations of Rule 18-

                    102.1 based on the following:

                            1.      Failure to Uphold Legal Standards: Judge Barranco' s rulings disregarded

                            evidence of ADA and FMLA violations, refused to address Dillon-Capps's due process

                            rights, and ignored clear procedural standards. This conduct is similar to In re Lamdin,




                                                                                                        Page 307 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 307 of3 29                  Exhibit 108
            Case 1:24-cv-03744-BAH                Document 16-10         Filed 01/03/25      Page 308 of 329




                            where failure to apply legal standards and procedural rules justified sanctions to protect

                            judicial integrity.

                            2.      Actions Undermining Public Confidence: Judge Barranco' s comments,

                            including disparaging remarks about Dillon-Capps' s filings and testimony, created an

                            appearance of bias. The public perception of judicial impartiality was further

                            compromised by rulings that appeared selectively adverse. This behavior parallels

                            Attorney Grievance Commission v. Blum, where conduct creating the appearance of

                            partiality was sanctioned.

                            3.      Intentional or Reckless Disregard for Judicial Standards: Judge Barranco' s

                            procedural rulings, including limitations on cross-examination and disregard for ADA-

                            related evidence, suggest a pattern of recklessness, if not intentional disregard, for Dillon-

                            Capps's rights. Such conduct mirrors In re White, where a lack ofjudicial impartiality

                            and independence warranted sanctions to preserve public confidence.

                            4.      Impartiality in Judicial Conduct: The judge' s failure to objectively evaluate

                            evidence supporting Dillon-Capps' s ADA accommodations and FMLA rights, combined

                            with procedural biases, reflects judicial misconduct. The need for sanctions in cases

                            where a judge' s impartiality is compromised is underscored by Caperton v. A.T. Massey

                            Coal Co., emphasizing that any appearance of bias demands corrective measures.


                    8       Conclusion
                    945     Judge Barranco' s actions in Dillon-Capps' s case violate Maryland Judicial Code Rule

                    18-102.1, warranting sanctions to address compromised integrity, bias, and procedural

                    misconduct. Maryland and national precedents support imposing sanctions to uphold public


                                                                                                          Page 308 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 308 of329                      Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25        Page 309 of 329




                    confidence in the judiciary, maintain impartiality, and ensure adherence to legal standards. The

                    court should impose sanctions consistent with In re Lamdin, Attorney Grievance Commission v.

                    Blum, and other cases, preserving judicial integrity and reinforcing public trust.


                                                      S 18-102.2 (Public Confidence)

                    1       Foundation for Sanctions under Mazyland Judicial Code Rule 18-102.2
                    946     Maryland Judicial Code Rule 18-102.2 requires judges to act in ways that promote

                    public confidence in the independence, integrity, and impartiality of the judiciary. This rule

                    mandates that judges avoid actions or statements that could undermine public trust in the judicial

                    process, requiringjudges to maintain objectivity and fairness in all interactions. Rule 18-102.2 is

                    essential for fostering public trust, as judicial actions that suggest bias, favoritism, or improper

                    influence directly erode confidence in the justice system. Violations of this rule call for sanctions

                    to preserve the court's integrity and ensure impartiality.


                    2      Judicial Standards, Purpose, and Criteria for Imposing Sanctions under Mazyland
                    Judicial Code Rule 18-102.2
                    947     Sanctions under Rule 18-102.2 are imposed to:

                             I.     Maintain Judicial Impartiality and Integrity: Ensures that judges uphold

                            ethical standards, fostering trust in their impartiality and objectivity.

                            2.      Protect Public Confidence in the Judicial System: Reinforces the public 's trust

                            in the judicial system by addressing actions that may suggest bias or impropriety.

                            3.      Deter Conduct that Undermines Fairness: Prevents judges from making

                            statements or rulings that compromise the appearance of impartiality or integrity in the

                            judiciary.



                                                                                                           Page 309 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 309 of 329                     Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25      Page 310 of 329




                            4.       Enforce Accountability for Judicial Bias: Sanctions deter judicial actions that

                            may appear influenced by personal bias, favoritism, or external pressure.


                    3       Criteria for Imposing Sanctions under Rule 18-102.2:
                    948     Appearance of Bias or Lack oflmpartiality: Judicial actions or statements must not

                    create an appearance of favoritism or prejudice.

                    949     Failure to Promote Public Confidence: Conduct that undermines trust in judicial

                    integrity, independence, or fairness.

                    950     Intentional or Reckless Disregard for Judicial Standards: Sanctions may apply if a

                    judge knowingly or recklessly disregards ethical obligations to uphold impartiality and public

                    confidence.


                    4       Maryland Case Law
                    951     In re Lamdin, 404 Md. 631 , 948 A.2d 54 (2008): The Maryland Court of Appeals held

                    that a judge' s conduct, which created an appearance of bias and compromised public confidence,

                    warranted sanctions. The court emphasized that impartiality and public trust are essential to the

                    judiciary' s role.

                    952     Attorney Grievance Commission v. Blum, 373 Md. 275, 818 A.2d 219 (2003): The

                    court sanctioned a judge for conduct that created a perception of favoritism, noting that even the

                    appearance of bias undermines public confidence in judicial fairness and integrity.

                    953     In re White, 391 Md. 626, 894 A.2d 314 (2006): The Maryland Court of Appeals

                    reinforced that judges must avoid actions that erode the public' s perception of impartiality,

                    holding that judicial behavior affecting trust in the judiciary is sanctionable.




                                                                                                          Page 310 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 310 of329                    Exhibit 108
            Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25        Page 311 of 329




                    5       Su1,1porting Case Law Beyond Maryland
                    954     In re Glover, 759 So.2d 546 (Fla. 2000): The Florida Supreme Court sanctioned a judge

                    whose actions compromised public trust, emphasizing that judicial impartiality is critical to the

                    integrity of the judicial system.

                    955     In re Adams, 283 Kan. 365, 153 P.3d 512 (2007): The Kansas Supreme Court held that

                    judicial actions reflecting bias or a lack of impartiality warrant sanctions to preserve the public' s

                    confidence in the judiciary.


                    6       Cross An~ument Case Law
                    956     Caperton v. A.T. Massey Coal Co., 556 U.S. 868 (2009): The U.S. Supreme Court held

                    that the appearance of bias can be grounds for judicial recusal and sanctions, stress ing that public

                    confidence in the judiciary requires judges to act impartially and avoid even the appearance of

                    partiality.

                    957     Chambers v. NASCO, Inc., 501 U.S. 32 (1991): The Court reinforced that judges are

                    obligated to avoid any actions that could erode public trust, holding that conduct undermining

                    judicial impartiality is sanctionable.


                    7       Application to Dillon-Cavps' s Case
                    958     In Dillon-Capps' s case, Judge Barranco's conduct reflects violations of Rule 18- 102.2

                    based on the following:

                            1.      Appearance of Bias and Lack oflmpartiality: Judge Barranco' s dismissive

                            comments and restrictive rulings on Dillon-Capps' s motions, including limiting cross-

                            examination, created a perception of judicial bias. This conduct aligns with In re Lamdin,




                                                                                                           Page 3 11 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 3 I I of 329                    Exhibit 108
            Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25     Page 312 of 329




                            where a judge' s behavior compromising impartiality warranted sanctions to uphold

                            public confidence.

                            2.      Failure to Promote Public Confidence: By dismissing Dillon-Capps' s ADA and

                            FMLA concerns without consideration and issuing rulings adverse to Dillon-Capps

                            without clear legal basis, Judge Barranco failed to uphold standards of impartiality. This

                            conduct parallels Attorney Grievance Commission v. Blum, where sanctions were

                            imposed for actions that created an appearance of favoritism.

                            3.      Intentional or Reck.Jess Disregard for Judicial Standards: Judge Barranco' s

                            repeated disregard for Dillon-Capps' s evidence and procedural rights reflects a reckless

                            approach that undermines public trust in judicial impartiality. This pattern mirrors In re

                            White, where judicial conduct compromising fairness and impartiality was sanctioned to

                            maintain public trust.

                            4.      Public Perception of Bias and Prejudice: The cumulative effect of Judge

                            Barranco' s rulings and comments creates an appearance of prejudice against Dillon-

                            Capps, undermining the perception of a fair and impartial judiciary. The Caperton v. A. T.

                            Massey Coal Co. decision underscores the need for sanctions in cases where public

                            confidence is at risk due to perceived judicial bias.


                    8       Conclusion
                    959     Judge Barranco' s actions in Dillon-Capps' s case violate Maryland Judicial Code Rule

                    18-102.2, as his conduct undermines public confidence in judicial impartiality and independence.

                    Maryland case law and national precedents support imposing sanctions to reinforce judicial

                    standards, preserve public trust, and ensure fairness in judicial conduct. The court should impose


                                                                                                         Page 312 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 312 of329                     Exhibit 108
            Case 1:24-cv-03744-BAH              Document 16-10           Filed 01/03/25      Page 313 of 329




                    sanctions in line with In re Lamdin, Attorney Grievance Commission v. Blum, and other relevant

                    cases to uphold the integrity of the judiciary and protect public confidence in the justice system.


                                                T 18-102.5 (Competence and Diligence)

                    1       Foundation for Sanctions under Mazyland Judicial Code Rule 18-102.5
                    960     Maryland Judicial Code Rule 18-102.5 mandates that judges perform their judicial

                    duties competently, diligently, and without bias or favoritism. This rule ensures that judges fully

                    understand the legal and factual issues before them, apply the law correctly, and avoid actions or

                    comments that may suggest bias or partiality. Violations of Rule 18-102.5 warrant sanctions to

                    uphold the credibility and integrity of judicial proceedings, particularly when a judge' s actions or

                    inactions undermine fair and impartial adjudication.


                    2      Judicial Standards, Pumose, and Criteria for Imposing Sanctions under Mazyland
                    Judicial Code Rule 18-102.5
                    961     Sanctions under Rule 18-102.5 serve to:

                            1.      Ensure Judicial Competence and Diligence: This rule holds judges accountable

                            for demonstrating adequate knowledge and diligence in managing legal matters.

                            2.      Uphold Impartiality and Fairness: Ensures that judges exercise their authority

                            without bias or favoritism, protecting the integrity of the judicial process.

                            3.      Promote Public Confidence in Judicial Expertise: Sanctions discourage judicial

                            negligence or unpreparedness, reinforcing the public's trust in the judiciary' s ability to

                            resolve cases competently.




                                                                                                            Page 313 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 313 of 329                      Exhibit 108
            Case 1:24-cv-03744-BAH              Document 16-10           Filed 01/03/25     Page 314 of 329




                            4.      Prevent Prejudice or Bias in Judicial Proceedings: Sanctions address conduct

                            suggesting that judicial rulings are influenced by personal bias rather than legal

                            standards.


                    3       Criteria for Imposing Sanctions under Rule 18-102.5:
                            5.      Failure to Perform Judicial Duties Competently: Judges must demonstrate

                            sufficient understanding of legal and factual issues.

                            6.      Neglect or Lack of Diligence: Sanctions are warranted if a judge exhibits

                            disregard for the legal and factual complexities of a case.

                            7.      Evidence of Bias or Favoritism: Any appearance of prejudice or preferential

                            treatment may justify sanctions.

                            8.      Impeding the Fair Administration of Justice: Judges who fail to exercise

                            impartiality or make legally sound rulings impair the fairness of proceedings.


                    4       Mru:yland Case Law
                    962     In re Lamdin, 404 Md. 631 , 948 A.2d 54 (2008): The Maryland Court of Appeals held

                    that a judge's lack of diligence and competence, especially when coupled with bias, warranted

                    sanctions. This case established that judges must be thorough, fair, and objective in their rulings.

                    963     Attorney Grievance Commission v. White, 354 Md. 346, 731 A.2d 44 7 ( 1999): The

                    Maryland Court of Appeals sanctioned a judge for failing to diligently review case details and

                    properly interpret applicable law, emphasizing that competence and impartiality are crucial

                    judicial obligations.

                    964     Attorney Grievance Commission v. Mixter, 441 Md. 416, 109 A.3d I (2015): The

                    court found that judges must avoid biases and prejudices that interfere with the fair


                                                                                                          Page 314 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 314 of329                        Exhibit 108
            Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25       Page 315 of 329




                    administration of justice, stressing that judicial conduct should exemplify diligence and

                    impartiality.


                    5       Supporting Case Law Beyond Mazyland
                    965     In re Adams, 283 Kan. 365, 153 P.3d 512 (2007): The Kansas Supreme Court

                    sanctioned a judge for incompetence and partiality, affinning that diligence and unbiased

                    decision-making are fundamental judicial responsibilities.

                    966     In re Glover, 759 So.2d 546 (Fla. 2000): The Florida Supreme Court imposed sanctions

                    on a judge whose lack of diligence and biased comments compromised the integrity of the

                    judicial process.


                    6       Cross Argument Case Law
                    967     Caperton v. A.T. Massey Coal Co., 556 U.S. 868 (2009): The U.S. Supreme Court held

                    that judges must avoid both actual bias and the appearance of bias to protect public confidence in

                    judicial impartiality, emphasizing that impartiality is essential to fair adjudication.

                    968     Liteky v. United States, 510 U.S. 540 (1994): The U.S. Supreme Court underscored that

                    judicial actions revealing favoritism or bias undennine public trust and justify corrective

                    measures to ensure judicial impartiality and competence.


                    7       Application to Dillon-Capps' s Case
                    969     In Dillon-Capps' s case, Judge Barranco' s actions demonstrate violations of Rule 18-

                    102.5 based on the following:

                            1.      Failure to Perform Judicial Duties Competently: Judge Barranco' s disregard

                            for FMLA and ADA protections, combined with selective attention to procedural issues,

                            suggests a lack of diligence in understanding and applying relevant laws. This aligns with


                                                                                                              Page 31 5 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 315 of329                          Exhibit 108
            Case 1:24-cv-03744-BAH              Document 16-10           Filed 01/03/25      Page 316 of 329




                            In re Lamdin, where sanctions were imposed due to insufficient judicial competence and

                            diligence.

                            2.      Neglect or Lack of Diligence in Reviewing Case Evidence: Judge Barranco

                            ignored Dillon-Capps's supporting evidence and testimony, particularly regarding

                            disability and leave rights, thereby neglecting factual complexities central to the case.

                            This conduct mirrors Attorney Grievance Commission v. White, where failure to

                            thoroughly review case materials was sanctionable.

                            3.      Evidence of Bias or Favoritism: Judge Barranco' s dismissive comments

                            regarding Dillon-Capps' s filings, coupled with repeated adverse rulings, created an

                            appearance of bias. Such conduct is akin to In re Glover, where a judge' s bias and

                            partiality in rulings justified sanctions to uphold public confidence.

                            4.      Impeding the Fair Administration of Justice: By disregarding ADA and FMLA

                            evidence and failing to consider Dillon-Capps's motions fairly, Judge Barranco

                            compromised the impartiality required in judicial proceedings. This aligns with Caperton

                            v. A.T Massey Coal Co., which established that judicial bias undermines public trust and

                            requires corrective action.


                    8       Conclusion
                    970     Judge Barranco's actions in Dillon-Capps's case violate Maryland Judicial Code Rule

                    18-102.5. His lack of diligence, disregard for relevant evidence, and apparent bias compromise

                    judicial impartiality and the fair administration of justice. Maryland case law and broader legal

                    precedents support imposing sanctions to reinforce judicial competence, uphold public

                    confidence, and ensure that judicial duties are performed without prejudice. The court should


                                                                                                          Page 316 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 316 of329                     Exhibit 108
            Case 1:24-cv-03744-BAH              Document 16-10           Filed 01/03/25      Page 317 of 329




                    impose sanctions in line with In re Lamdin, Attorney Grievance Commission v. White, and other

                    relevant cases to preserve judicial integrity and reinforce fairness in adjudication.

                    971


                                                U 18-102.9 (Ex Parte Communications)

                    1       Foundation for Sanctions under Maryland Judicial Code Rule 18-102.5
                    972     Maryland Judicial Code Rule 18-102.5 mandates that judges perform their judicial

                    duties competently, diligently, and without bias or favoritism . This rule ensures that judges fully

                    understand the legal and factual issues before them, apply the law correctly, and avoid actions or

                    comments that may suggest bias or partiality. Violations of Rule 18- 102.5 warrant sanctions to

                    uphold the credibility and integrity of judicial proceedings, particularly when a judge' s actions or

                    inactions undermine fair and impartial adjudication.


                    2      Judicial Standards, Purpose, and Criteria for Imposing Sanctions under Maryland
                    Judicial Code Rule 18-102.5
                    973     Sanctions under Rule 18-102.5 serve to:

                            1.      Ensure Judicial Competence and Diligence: This rule holds judges accountable

                            for demonstrating adequate knowledge and diligence in managing legal matters.

                            2.      Uphold Impartiality and Fairness: Ensures that judges exercise their authority

                            without bias or favoritism, protecting the integrity of the judicial process.

                            3.      Promote Public Confidence in Judicial Expertise: Sanctions discourage judicial

                            negligence or unpreparedness, reinforcing the public' s trust in the judiciary' s ability to

                            resolve cases competently.




                                                                                                            Page 317 of329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page#3 17of329                         Exhibit 108
            Case 1:24-cv-03744-BAH              Document 16-10           Filed 01/03/25      Page 318 of 329




                            4.      Prevent Prejudice or Bias in Judicial Proceedings: Sanctions address conduct

                            suggesting that judicial rulings are influenced by personal bias rather than legal

                            standards.


                    3       Criteria for Imposing Sanctions under Rule 18-102.5:
                            5.      Failure to Perform Judicial Duties Competently: Judges must demonstrate

                            sufficient understanding of legal and factual issues.

                            6.      Neglect or Lack of Diligence: Sanctions are warranted if a judge exhibits

                            disregard for the legal and factual complexities of a case.

                            7.      Evidence of Bias or Favoritism: Any appearance of prejudice or preferential

                            treatment may justify sanctions.

                            8.      Impeding the Fair Administration of Justice: Judges who fail to exercise

                            impartiality or make legally sound rulings impair the fairness of proceedings.


                    4       Mar:yland Case Law
                    974     In re Lamdin, 404 Md. 631 , 948 A.2d 54 (2008): The Maryland Court of Appeals held

                    that a judge's lack of diligence and competence, especially when coupled with bias, warranted

                    sanctions. This case established that judges must be thorough, fair, and objective in their rulings.

                    975     Attorney Grievance Commission v. White, 354 Md. 346, 731 A.2d 447 (1999): The

                    Maryland Court of Appeals sanctioned a judge for failing to diligently review case details and

                    properly interpret applicable law, emphasizing that competence and impartiality are crucial

                    judicial obligations.

                    976     Attorney Grievance Commission v. Mixter, 441 Md. 416, 109 A.3d I (20 15): The

                    court found that judges must avoid biases and prejudices that interfere with the fair


                                                                                                          Page 318 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 3 18 of329                       Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25       Page 319 of 329




                    administration of justice, stressing that judicial conduct should exemplify diligence and

                    impartiality.


                    5       Supporting Case Law Beyond Maryland
                    977     In re Adams, 283 Kan. 365, 153 P.3d 512 (2007): The Kansas Supreme Court

                    sanctioned a judge for incompetence and partiality, affinning that diligence and unbiased

                    decision-making are fundamental judicial responsibilities.

                    978     In re Glover, 759 So.2d 546 (Fla. 2000): The Florida Supreme Court imposed sanctions

                    on a judge whose lack of diligence and biased comments compromised the integrity of the

                    judicial process.


                    6       Cross Argument Case Law
                    979     Caperton v. A.T. Massey Coal Co., 556 U.S. 868 (2009): The U.S. Supreme Court held

                    that judges must avoid both actual bias and the appearance of bias to protect public confidence in

                    judicial impartiality, emphasizing that impartiality is essential to fair adjudication.

                    980     Liteky v. United States, 510 U.S. 540 (1994): The U.S. Supreme Court underscored that

                    judicial actions revealing favoritism or bias undermine public trust and justify corrective

                    measures to ensure judicial impartiality and competence.


                    7       Application to Dillon-Capps' s Case
                    981     In Dillon-Capps's case, Judge Barranco' s actions demonstrate violations of Rule 18-

                    102.5 based on the following:

                    982     Failure to Perform Judicial Duties Competently: Judge Barranco 's disregard for

                    FMLA and ADA protections, combined with selective attention to procedural issues, suggests a




                                                                                                              Page 3 19 of329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 319 of329                        Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25      Page 320 of 329




                    lack of diligence in understanding and applying relevant laws. This aligns with In re Lamdin,

                    where sanctions were imposed due to insufficient judicial competence and diligence.

                    983     Neglect or Lack of Diligence in Reviewing Case Evidence: Judge Barranco ignored

                    Dillon-Capps's supporting evidence and testimony, particularly regarding disability and leave

                    rights, thereby neglecting factual complexities central to the case. This conduct mirrors Attorney

                    Grievance Commission v. White, where failure to thoroughly review case materials was

                    sanctionable.

                    984     Evidence of Bias or Favoritism: Judge Barranco's dismissive comments regarding

                    Dillon-Capps' s filings, coupled with repeated adverse rulings, created an appearance of bias.

                    Such conduct is akin to In re Glover, where a judge' s bias and partiality in rulings justified

                    sanctions to uphold public confidence.

                    985     Impeding the Fair Administration of Justice: By disregarding ADA and FMLA

                    evidence and failing to consider Dillon-Capps's motions fairly, Judge Barranco compromised the

                    impartiality required in judicial proceedings. This aligns with Caperton v. A.T. Massey Coal Co.,

                    which established that judicial bias undermines public trust and requires corrective action.


                    8       Conclusion
                    986     Judge Barranco's actions in Dillon-Capps's case violate Maryland Judicial Code Rule

                    18-102.5. His lack of diligence, disregard for relevant evidence, and apparent bias compromise

                    judicial impartiality and the fair administration ofjustice. Maryland case law and broader legal

                    precedents support imposing sanctions to reinforce judicial competence, uphold public

                    confidence, and ensure that judicial duties are performed w ithout prejudice. The court should




                                                                                                          Page 320 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page # 320 of329                     Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25       Page 321 of 329




                     impose sanctions in line with In re Lamdin, Attorney Grievance Commission v. White, and other

                    relevant cases to preserve judicial integrity and reinforce fairness in adjudication.


                                  V 18-102.11 (Disgualification Due to Bias and Conflict oflnterest)

                     1      Foundation for Sanctions under Maryland Judicial Code Rule 18-102.11
                    987     Maryland Judicial Code Rule 18-102.11 mandates that judges disqualify themselves in

                    any proceeding in which their impartiality might reasonably be questioned. This includes cases

                    involving personal bias, conflict of interest, or any situation where a judge' s impartiality could

                    be compromised. Rule 18-102.11 is integral to ensuring that judicial proceedings remain fair and

                    that no appearance of bias or prejudice exists. Violations of this rule call for sanctions to uphold

                    judicial impartiality and protect public confidence in the court' s objectivity.


                    2      Judicial Standards, Pm:pose, and Criteria for Imposing Sanctions under Rule 18-
                    102.11
                    988     Sanctions under Rule 18-102.11 serve several purposes:

                             I.      Promoting Judicial Impartiality: Ensures that judges avoid cases where their

                            decisions could be influenced by personal interests or biases.

                            2.       Upholding Public Confidence in the Judiciary: Reinforces public trust by

                            ensuring that judges act without bias or conflict of interest.

                            3.      Preventing Prejudice or Favoritism in Legal Proceedings: Protects litigants'

                            rights by ensuring that judges adjudicate cases solely on the evidence and legal

                            principles.

                            4.      Deterring Improper Judicial Participation: Sanctions discourage judges from

                            presiding over cases where they may lack impartiality.



                                                                                                            Page 321 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts   Page # 321 of329                       Exhibit 108
             Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25      Page 322 of 329




                     3       Criteria for Imposing Sanctions under Rule 18-102 .11 :
                     989     Existence of a Personal Bias or Interest: The judge has a bias, personal relationship, or

                     financial interest that could affect their impartiality.

                     990     Reasonable Appearance of Bias or Conflict: Sanctions are warranted if a reasonable

                     observer could question the judge's impartiality based on the circumstances.

                     991     Failure to Disqualify Despite Conflict: Sanctions may apply if the judge knowingly

                     proceeds despite the presence of disqualifying factors.


                     4       Mruyland Case Law
                     992     In re Turney, 311 Md. 246, 533 A.2d 916 (1987): The Maryland Court of Appeals

                     emphasized that judges must avoid cases where their impartiality could be questioned, and

                     failure to disqualify themselves in such cases justifies sanctions to maintain public trust in

                    judicial fairness.

                     993     Attorney Grievance Commission v. Blum, 373 Md. 275, 818 A.2d 219 (2003): The

                     court ruled that judges must recuse themselves in situations involving personal relationships or

                    potential biases that might affect impartiality, underscoring the need for disqualification to avoid

                    prejudicing judicial outcomes.

                    994      Attorney Grievance Commission v. White, 354 Md. 346, 731 A.2d 44 7 ( 1999): This

                    case reinforced that any reasonable appearance of bias, whether real or perceived, warrants

                    recusal, with sanctions appropriate when judges ignore these obligations.




                                                                                                           Page 322 of 329



Memorandum of Law in Support of Mandato!)' Hearing of Adjudicated Facts    Page # 322 of329                     Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10            Filed 01/03/25     Page 323 of 329




                    5          Supporting Case Law Beyond Maryland
                    995        Liteky v. United States, 510 U.S. 540 (1994) : The U.S. Supreme Court held that judges

                    should disqualify themselves whenever personal bias or prejudice might affect the case, with

                    sanctions imposed for failure to uphold impartiality.

                    996        Caperton v. A.T. Massey Coal Co., 556 U.S. 868 (2009): The Court ruled that judges

                    must avoid even the appearance of bias to protect public confidence in the judiciary,

                    underscoring the importance of disqualification in cases involving potential bias.


                    6          Cross Argument Case Law
                    997        In re Scholl, 684 A.2d 1073 (Del. 1996): The Delaware Supreme Court sanctioned a

                    judge for failing to disqualify in a case involving personal interests, establishing that impartiality

                    is central to the integrity of judicial proceedings.

                    998        In re Murchison, 349 U.S. 133 (1955): The U.S. Supreme Court emphasized that any

                    situation creating an appearance of bias requires disqualification to ensure fairness and

                    impartiality.


                    7       Application to Dillon-Capps' s Case
                    999     In Dillon-Capps's case, Judge Barranco' s actions reflect potential violations of Rule 18-

                    102.11 based on:

                    I 000   Existence of Apparent Bias: Judge Barranco' s dismissive comments toward Dillon-

                    Capps's filings, combined with adverse rulings, create an appearance of bias. This parallels

                    Attorney Grievance Commission v. White, where the reasonable appearance of bias necessitated

                    recusal.




                                                                                                          Page 323 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts     Page# 323 of329                      Exhibit 108
             Case 1:24-cv-03744-BAH                  Document 16-10         Filed 01/03/25       Page 324 of 329




                     l 00 l       Reasonable Appearance of Conflict: The pattern of rulings adverse to Dillon-Capps and

                     preferential treatment towards M&S suggests a lack of impartiality. In In re Turney, such

                     behavior justified sanctions due to its impact on public confidence in judicial fairness.

                     l 002        Failure to Disqualify Despite Appearance of Bias: Judge Barranco's refusal to

                    disqualify himself despite apparent bias aligns with In re Murchison, where failure to step aside
                              '
                     in cases involving potential bias warranted sanctions to ensure impartiality.


                    8             Conclusion
                     l 003        Judge Barranco's refusal to disqualify himself despite a reasonable appearance of bias in

                    Dillon-Capps' s case constitutes a violation of Maryland Judicial Code Rule 18-102.11.

                    Maryland and national precedents support imposing sanctions to reinforce judicial impartiality

                    and maintain public trust in the fairness of legal proceedings. The court should impose sanctions

                    consistent with In re Turney, Attorney Grievance Commission v. White, and other relevant cases

                    to uphold the principles of judicial impartiality and fairness.


                                               W 18-102.16 - Compliance with Judicial Integrity

                    1             Foundation for Sanctions under Maryland Judicial Code Rule 18-102.16
                     l 004        Maryland Judicial Code Rule 18-102.16 prohibits judges from allowing their conduct

                    or behavior to bring the judiciary into disrepute or diminish the respect for judicial office. The

                    rule mandates that judges conduct themselves in a manner consistent with judicial integrity and

                    authority. Conduct that reflects poorly on judicial integrity or suggests misconduct violates Rule

                    l 8-102.16 and undermines public respect for the judiciary.




                                                                                                             Page 324 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts       Page # 324 of 329                   Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10           Filed 01/03/25       Page 325 of 329




                     2      Judicial Standards, Pumose, and Criteria for Imposing Sanctions under Rule 18-
                     102.16
                     I 005   Sanctions under Rule 18-102. I 6 are imposed to:

                             I.      Protect Judicial Integrity and Authority: Ensures that judges conduct

                             themselves in a manner that reflects the authority and dignity of the judiciary.

                             2.      Preserve Public Respect for Judicial Office: Reinforces public trust by

                             preventing judges from engaging in behavior that undermines respect for the judicial

                             position.

                             3.      Deter Conduct that Reflects Poorly on Judicial Office: Sanctions discourage

                             actions or comments that bring the judiciary into disrepute.

                             4.      Hold Judges Accountable for Misconduct: Enforces a standard of behavior that

                             reflects the integrity required of judicial officeholders.

                    3        Criteria for Imposing Sanctions under Rule 18-102.1 6:
                     I 006   Conduct that Reflects Poorly on Judicial Integrity: Any behavior that diminishes

                    public respect for the judiciary or undermines judicial authority.

                     I 007 Behavior that Diminishes Judicial Office: Sanctions apply if a judge' s conduct lowers

                    public confidence in the judiciary or reflects poorly on their office.

                     I 008   Failure to Maintain Proper Demeanor and Respect for Judicial Role: Conduct or

                    comments that disrespect the authority or impartiality expected of a judge.


                    4        Mazyland Case Law
                    1009     In re Lamdin, 404 Md. 631 , 948 A.2d 54 (2008): The Maryland Court of Appeals

                    sanctioned a judge for conduct that diminished respect for the judicial office, underscoring the

                    importance of judicial integrity and appropriate demeanor.

                                                                                                          Page 325 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts     Page # 325 of 329                    Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25     Page 326 of 329




                     1010    Attorney Grievance Commission v. Blum, 373 Md. 275, 818 A.2d 219 (2003): The

                    court held that judicial behavior or comments that damage the public's perception of judicial

                    integrity warrant sanctions, highlighting the importance of preserving respect for the judiciary.

                     1011    Attorney Grievance Commission v. White, 354 Md. 346, 731 A.2d 447 (1999): The

                    court sanctioned a judge whose actions diminished the authority of the judiciary, emphasizing

                    that judges must conduct themselves in ways that inspire respect for judicial office.

                    5        Supporting Case Law Beyond Maryland
                     IO 12   In re Glover, 759 So.2d 546 (Fla. 2000): The Florida Supreme Court imposed sanctions

                    on a judge whose behavior reflected poorly on the judiciary, affirming that judicial integrity and

                    respect are fundamental to public confidence.

                    1013     In re Adams, 283 Kan. 365, 153 P.3d 512 (2007) : The Kansas Supreme Court

                    sanctioned a judge for conduct that diminished public respect for the judicial role, highlighting

                    the importance of maintaining the dignity of judicial office.


                    6        Cross Argument Case Law
                    1014     Chambers v. NASCO, Inc., 501 U.S. 32 ( 1991): The U.S. Supreme Court recognized

                    that courts have authority to sanction judges whose conduct diminishes public respect for the

                    judiciary, upholding the need for accountability to preserve judicial integrity.

                    1015     Caperton v. A.T. Massey Coal Co., 556 U.S. 868 (2009): The U.S. Supreme Court

                    reinforced the requirement for judicial integrity, holding that actions diminishing public

                    confidence in the judiciary are sanctionable.




                                                                                                        Page 326 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 326 of329                    Exhibit 108
             Case 1:24-cv-03744-BAH               Document 16-10          Filed 01/03/25      Page 327 of 329




                    7         Application to Dillon-Capps' s Case
                     10 I 6   In Dillon-Capps' s case, Judge Barranco' s conduct reflects potential violations of Rule 18-

                     102. I 6 based on:

                              I.      Conduct Reflecting Poorly on Judicial Integrity: Judge Barranco' s dismissive

                              remarks about Dillon-Capps's filings, combined with decisions favoring M&S, create an

                              appearance of bias and reflect poorly on judicial integrity. This aligns with In re Lamdin,

                              where judicial behavior that diminished public respect warranted sanctions.

                              2.     Behavior that Diminishes Judicial Office: The disparaging comments made by

                              Judge Barranco toward Dillon-Capps' s ADA and FMLA claims contribute to a

                              perception of judicial disregard for impartial adjudication, similar to Attorney Grievance

                              Commission v. Blum.

                              3.     Failure to Maintain Proper Judicial Demeanor: Judge Barranco's pattern of

                              adverse rulings and dismissive comments compromise the dignity and authority of his

                              position. This mirrors Attorney Grievance Commission v. White, where a judge's conduct

                              that lessened respect for the judicial role was sanctionable.

                              4.     Impact on Public Confidence: Judge Barranco' s conduct undermines public

                              confidence in the fairness and impartiality of the judiciary, warranting sanctions. The

                              Caperton case highlights the need for corrective measures in cases where judicial

                              behavior risks diminishing public trust.

                    8         Conclusion
                    IO 17     Judge Barranco's actions in Dillon-Capps' s case violate Maryland Judicial Code Rule

                    18-102.16, warranting sanctions to address conduct that undermines public respect for the


                                                                                                          Page 327 of 329




Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts     Page# 327 of329                     Exhibit 108
             Case 1:24-cv-03744-BAH              Document 16-10          Filed 01/03/25     Page 328 of 329
         "




                    judiciary. Maryland and national precedents support imposing sanctions to uphold judicial

                    integrity and preserve the dignity of judicial office. The court should impose sanctions in line

                    with In re Lamdin, Attorney Grievance Commission v. Blum, and other relevant cases,

                    reinforcing the need for judicial behavior that promotes respect and confidence in the judiciary.




                                                                                                        Page 328 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts    Page# 328 of329                    Exhibit 108
         'f
              Case 1:24-cv-03744-BAH             Document 16-10          Filed 01/03/25      Page 329 of 329




                                             RESPECTFULLY SUBMITTED

                    November 4, 2024                                       /s/ Ryan Dillon-Capps
                                                                           Ryan Dillon-Capps (Pro Se)
                                                                           Email : ryan@mxt3.com
                                                                           1334 MapleAvenue
                                                                           Essex, Mary land 21221
                                                                           Telephone: (703) 303-1113




                                                        CERTIFICATE OF SERVICE
                I HEREBY CERTIFY that on November 4, 2024, a copy of Memorandum of Law in Support of

                Mandatory hearing of Adjudicated Facts via email to rbrennen@milesstockbridge.com and

                served on via first-class mail, postage prepaid on:



                            Robert S. Brennen
                            Miles & Stockbridge P.C.
                            100 Light Street
                            Baltimore, Mary land 21202



                                                                           ls/Ryan Dillon-Capps
                                                                           Ryan Dillon-Capps (Pro Se)




                                                                                                        Page 329 of 329



Memorandum of Law in Support of Mandatory Hearing of Adjudicated Facts   Page # 329 of 329                  Exhibit 108
